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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


   LUTHER GRAHAM,
                         Plaintiff,               Civil Action
                                          DOCKET NO. 16-1578(PGS) (LHG)
                    V.
                                        DECLARATION OF DANIEL R. ROBERTS,
   MONMOUTH COUNTY BUILDINGS AND       ESQ. IN SUPPORT OF MONMOUTH COUNTY
   GROUNDS, DAVID KRYZANOWSKI,          BUILDINGS AND GROUNDS AND ROBERT
   ROBERT W. COMPTON, and CRAIG           W. COMPTON’S CROSS MOTION FOR
   BELL,                                         SUMMARY JUDGMENT

                         Defendants

        I,  DANIEL R.  ROBERTS,  an adult over the           age   of   18,   do
   hereby swear under penalty of perjury as follows:

      1.      I am an Attorney at Law licensed in the State of New
              Jersey.   I make   this   declaration  in   support  of
              Defendants Monmouth County Buildings and Grounds and
              Robert W. Compton’s Cross Motion for Summary Judgment.

      2.      Attached hereto as Exhibit A is a true and correct
              copy of the deposition of Plaintiff Luther Graham,
              pages 6—9,  10—13,  106—109, 114—117,  and 162—165; as
              well as the February 16, 2005 letter appointing Mr.
              Graham as an electrician, and the CAMPS Transaction
              history document evidencing Mr. Graham’s promotion to
              Senior Electrician on or about May 3, 2008.

      3.      Attached hereto as Exhibit B are true and correct
              copies of the March 12, 2015, April 30, 2015, June 18,
              2015,   and  October  1,   2015   complaints filed  by
              Plaintiff,   together  with   the   County’s responses
              thereto.

      4.      Attached hereto as Exhibit C is a true and correct
              copy  of  Plaintiff’s  Answers  to   Defendant County’s
              Requests for Admissions without attachments.

      5.      Attached hereto as Exhibit D is a true and correct
              copy of the March 8, 2016 posting for Crew Supervisor
              Building  Maintenance  Worker  along   with the Civil
              Service Commission Job Specifications.
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      6.       Attached hereto as Exhibit E is a true and correct
               copy of the August 2, 2018 declaration of Robert W.
               Compton, with Exhibits.

      7.       Attached hereto as Exhibit F is a true and correct
               copy of a portion of the deposition transcript of
               Robert W. Compton, Volume II held October 18, 2019
               with pages 250—301 and 314—317.


                                  VERIFICATION

        I, Daniel R. Roberts, do hereby swear under the penalty of
   perjury that the foregoing declaration made by me is true and
   correct.




                                                  Daniel R.   Roberts
   Dated:   November 15,   2019




   State of New Jersey

   County of 4onmouth

        On November 15, 2019 before me, personally appeared Daniel
   R. Roberts, known to me and whose name is subscribed to the
   within declaration, and acknowledged that he executed the same
   in his capacity as attorney, and who, being duly sworn on oath
   under penalty of perjury, deposes and says that he has read the
   foregoing declaration and that it is true and correct.




                                            Attorney at Law




                                        2
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            EXHIBIT A
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                                                    d 04/21117   Page 7 of 221 PageiD: 424



                 1                                                              Page 1
                                           UNITED STATES DISTRICT COU
 O              2
                                         FOR THE DISTRICT OF NEW JER
                                            NO. 16—1578(PGS)(LHG)
                                                                      RT
                                                                     SEY
             3
                       LUTHER GRAHAN,
             4                                     :    Civil Action
                                Plaintiff,              Deposition of:
             5
                          vs.
             6
                      MONMOUTH COUNTY                    LUTHER GRAHAN
             7        BUILDING AND GROUNDS,
                      DAVID KRZYANOWSKI,
             B        ROBERT W. COMPTON and
                      CRAIG BELL,
            9
                                Defendants.
        10
        11
        12                    COMPUTERIZED transcript
                                                        of the stenographic
        13            notes of the proceedings
                                                in the above—entitled
        14           matter, as taken by and
                                               before DONNA J. MAUSER, a
        15           Certified Court Reporter
                                                of the State of New Jersey
                                                                           ,
        16           held at the Monmouth Co
                                             unty Hall of Records, One
                                                                         East
        17           Main Street, Freehold, New
                                                  Jersey 07728, on
       18            Wednesday, February 1,
                                             2017, commencing at 9:45
                                                                        in
       19            the forenoon.
       20
       21

       22
                                      SENTRY COURT REPORTING
       23                                        &
                                     LITIGATION SERVICES, LLC
       24                       100 Hanover Avenue, Suite
                                                          202
                               Cedar Knolls, New Jersey
       25                                               07927
                        Phone:  1—973—359—8444 rex:   1—973—359—1049


                                                             Condcnsed


                                                                                             I
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                                                                                  Pace 6
                                    answer as though ft is swarm under oath                                                                                             Pa9e 8
                           2
                                                                            .                                                  yor counsel >tiu have provided a raum
                                          Your rpons hove to be veibs! a                                                                                            bcr of
                           3
                                                                               nod of                                   documents arcadybywaycf ovei
                                    the head or even mcthlng like uh.huh
 0                         4
                           a
                                    clear on the record. Yes and no and
                                    helps because as you can soa wc c
                                                                              aren’l melly
                                                                          cleniy speaking                       4
                                                                                                                        you ucc uith that?
                                                                                                                        A. Yes.
                                                                                                                                                           y requests. Do


                           a                                              taking                            S
                                   everything down, and lilt’s not clear                                                    Q. Okay. This subpoena asked you ti produce
                           7
                                                                          cm the record                     I           widitiarel documents. witfrtgs. materfair
                                   what you are saying. we woWt have                                                                                               , that you
                          a
                                                                         your testimony,                    7           havcni already produced. Do you have
                                   A I sold, nonverbal responses by way                                                                                          any docwecnts
                          a                                                 of nods can’t                   I                you brought with you today?
                                   be recorded by the s1enoapher.
                                                                                                            a           A. No.ldon’thsveanydocwneinstod
                                         Aro you undu the Iniluence of any                                                                                      oy.
                                                                             substwc                       to
                      it           or mcdloudcm that miU Inhibit your                                                      Q. Are there any othet documents that you
                      12
                                                                          abilIty to                       II          believe you will beceiying upon at the time
                                  1estIt,’ rruthfblly or undcretand What                                                                                              of trial
                                                                         im asking you?                    12          that you haven’t already produced toda
                      13          A. No.                                                                                                                       y?
                      14                                                                               is                       MR.11EMAN Objection.
                                      Q. Okay. Generally, unless 1 speclficafly                        14
                      15          ask you to guess something oree                                                               You con answar.
                                                                      lirnale or                       is              A. Can you repeat the question
                      I’          speculate on something. gcncmlty I doWi                                                                                again. please?
                      17
                                                                             want you to               II
                                                                                                                               MR.KOVA1’S: t’flaskitbcreadbock.
                                 dothaL Gcncrailylwananswerftomyo
                                                                                 urown                 17
                     Is                ,iencn. not guessing. If you have to gues                                               (The requested portion was read back.)
                     I,
                                                                                  s or                 is              A. According to my recolicetlon. on.
                                 you are telling mc you we going to gues
                                                                           s. please                   ii
                  20             tell me that in advance, okay?                                                           Q. Are there any ether writings you have in
                                                                                                       20             you: xession dial you have not already
                  22             A. Sure.
                                                                                                   21
                                                                                                                                                                  produced
                  22                                                                                                  that are relevant to this proceading?
                                     Q. All right. I’m going to show you a                         22
                  23             document consisting of three pages.                                                  A. No.
                                                                                                   22
                  24
                                          MR.KOVATS Andrllaskluobenwkvd                                                   Q. Slr,l’mgclngtoaskyouyotrrdrueor
                                                                                                   24                 birth?
                                 lguessG-l.
                                                                                                   25                 A. 3113(67.


0                                        (\Vhaupon a subpoena to produce
                                                                                Page 7
                                                                                                       1
                                                                                                                                                              Page 9
                  2              documents, information or objects to perm                                               Q. Okay. Can you give me the benefit of
                  3
                                                                           it                          2              your employment history stoning back
                                 Inspection of prmnises ma civil actio was                                                                                      to the 1990s1
                                                                      n                            a                  A. 1990s. I worked at the Division of
                  4              received and masked as Exhibit 04 for
                                                                                                   4
                                                                                                                                                                 Employment
                  S             idcntlflcatlon.)                                                                      arid Training as a ireith insuuctor, us
                                                                                                   5
                                                                                                                                                              a proum
                  I                                                                                                   monitor, contractor manager. From there
                                    Q. lilaskyouotakealookatthaa                                   6
                                                                                                                                                                   I conic to
                 7              threc.çage document and I’ll ask you you                                             Freehold,
                                                                      if     recognize             7
                 e             ft lirt and YlI o.sk you some quesilanc abou                                              Q. Lesrecatapyouthcrr. forwhotpcriad
                 a                                                          t that.               a                  of time did you work for the Div islam of
                               A. Sothequecdandaltecognlzcdils                                                                                                   Employment
             to                                                                                   a                  and Training?
                                    iciardocumct?
                                                                                                  3°                 A, lsiortedlnl994.
             LI
                                   Q, Thercisnoqucsiionbcfcreyou at this                      IL
             12                point irttime.                                                                            Q. And when did you leave that position?
             t3                A. Okay.                                                                              A. )wvrkedihcrcforabout l3ycsrs, l2rir
                                                                                              II                     13 years.
             14
                                   Q. All right. Have you hod an opportunIty                  34
             15                toceview it?                                                                           Q. And the other titles you talked about
            I’
                                                                                              Is                    were all with the Division of Employm
                                A. RlghLnaw,ycs.                                                                                                             ent and
            11
                                                                                              ‘a                    Training?
                                   Q. Doyou recognize that as a subpoena that                 17
                                rulrcd your eppotlee at this dqroshio                                               A. Yc.
                                                                        n7                   II
                                                                                                                              That
            is                 A. Yea.                                                                                 Q.       was all within that period of ifme
                                                                                             I,                     bcuvcen 1994 and I3ycoss thereafler’?
                                   Q, 0ncanondsbcct,takcalookatiha.                          20
                               theta ore three things you were ked to                                               A. Yes.
                                                                       produce at            2)
           2]                  this deposition. Co you recognize those                                                Q. Okay. Was diet a civil service position?
                                                                       things you            U                      A. Yes.

a
           23                  were rucated Co produce?
                                                                                             23
           24                  A. Yas.                                                                                Q. This is a civil service position?
                                                                                             24                     A. Yes,
           2.5
                                 Q. Okay,latmestophae. Iknnwthnt
                                                                                                                      Q. What was your title?
          3 (Pages 6 to 9)
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                                                                        Page 10
                                                                                                                                                          Page 12
                            A. What was my dde?
                     2                                                                                     dorit know thin exact year, but I know thai
                               Q. Your spcclflc tide under cMt service.                             2
                                                                                                                                                        I was a
                  3                                                                                        senior electrician and human resources has that
                            A, Asfarvi1scrviccwIththecoimtkwas                                  3
                  4         the prooln monitor— pcem monitor.                                              mformalion.
                                                                                                4
                  S
                  6
                  7
                               Q. That was your civil service thic7
                           A. Y,endaly&lthcohrtktcswere
                                                                                                5
                                                                                                C
                                                                                                               Q. Pm aslting from your recollection, not
                                                                                                           from a dlfrereru entity. So ro are clear, you have
                                                                                                           no recollection of the specific year that you becom
                                                                                                                                                                    0
                           eMi service titles.                                                  7
                                                                                                                                                                e
                  S                                                                                        a senior lectrlcian?
                               Q. Vhaiwerethcothees1                                            a          A. tflhaveecatendor,wecamlookbrtck
                  a        A. The math s’xuctor and the iii Is I gave                                                                                  forthc
                                                                       you                      9         years, eMl n tell you elcassly what year.
                15         befora.
                                                                                               to                  MR. 11EMAN You can azwcr his qurstiom.
                21
                              Q, So basically you held a clvii service                         II                  Do you want to read dust bock?
                           poshlon from 1994 to the proscn comrel?
                                                                                              Is
             13            A. Yes.                                                                                 (The requested portion was read beck.)
                                                                                              Is          A. ‘fin exact year — I don’t know the exact year.
             14
                              Q. After you ce no longer employed with                      Ii
             IS            the Division of Employment end Training, where                                     0. lblicveyoulcstiflcdtlcforethutthe
                                                                          were             t5             position of senior electrician itrike that.
             ii           you cuipt’ed7                                                                                                 -,
                                                                                           I’                   Your present title eondnuea to be senior
             12           A. Afleriwasnobngtremployedwhhth
                                                                    e                      I,             electrician, coereci?
             II           Dvis1on of Employment end Training?                              II             A. Yes.
             13
                              Q. After 13 ycars where ware you employed?                   I,
             U            A. Maninoiah County, here, Building and Groun                                      Q. To the prcra?
            U
                                                                          ds.             to              A. Yes.
                              Q. Andbwhat capadtywcre you fir5l                            71
            U             emplayed In buildings and rounds?                                                  Q.    I’m going to show you a doetmuent which
                                                                                          31                   previously marked Kcrmcy.S. lean take Q.
            as            A. Electrician.                                                                                                               I front
                                                                                          13              you. Ifyvunccdtore1ertoGl at aIi,I1t place
            24
                             Q. And for how long were you employed —                      74
            25                                                                                            kontheithlchern Vilshowyooadocumsnr
                          from what ymx were you employed as an electric
                                                                              ian?        it              previously marked as Kenney.5 at an earlier

                                                                      Page 11
                                                                                                                                                       Page 13
                          A. 19—fromthstimelkft—fromthetim
                                                                    el                                    deposition. Taku your time and take a ior*.ai
             2            left the Division ofTrmdnlng and Employment until                                                                             that
                                                                                           I             documeni
            3             preseni.                                                         3                  Have you had in opportunity to review that
            4
                             Q. Dukncwtheyenrycustatledazen                                4             document?
            S             etsetrlcian7                                                     S             A. Ycs
         a                A. I’m no’ sure the yonr I storied, but I know it                6
         7                was aflcr that time frame. I esn’t recollam                                       Q. Would you agree with me Kcnney.5 is the
                                                                      that                7              lust wnoidcd complaint you filed In this action
         a               right now.                                                       I              brought against the county, Mr. Kszyanowski, Mr.
         a                  Q. Okay. Other than the position or
        so
                                                                                          a              Conipton and Mr. Bell?
                         decuiclan, what other utles did you hold under               It
        12                                                                                               A. Yes.
                         buUflngs and rounds for Momnouth County?                     It
        13               A. Selertriciwm.                                                                    Q. Now. prmo to having that complaint
                                                                                      12                 flied, did you have an opportunity to review that
        ‘3
                            Q. Do you recall what you bccemc a senior                 Is                with your counsel?
        t4               ciecitician?                                                 ‘4                A. ThIsrlghhere,ycs
       15                A. Excuse me?                                                IS
       Is                                                                                                    Q. 9’nls right hcre’ being Kenney-3, did you
                            Q. Do you recall when you bccamc a senior                 I’                 have an oppoctunhy to review due contents
       17                electrician?                                                 I,
                                                                                                                                                    of the
       Is                                                                                                first amended complaint with your counsel prior
                         A. Approximately two ycars oiler transferring from          11
                                                                                                                                                           to Ii
       I,                                                                                               being flied?
                         die Division ortEmpioymerti and Training.                   I,                 A. No, no. Prior to it being tiled, no.
                         epto,dmatcly IWO yeah after that.                           as
       U                    Q. Soyouarenoteurcofthedatcs,butyou                                             Q. You uvan aware they ware filing ii on
                                                                                     1t                 your behalf?
       U                 on son of sure of the time &‘eme?                           22                 A. iwasauvareofthal,yos.
       U                 A. Fm not simeof the aact da*e no.                          23
       24                                                                                                   Q. I’m going ask you same questions ahout
                           Q. Do you know a year?                                    14                 Kenrrey.5 specific to some of the dainis that
       25                A. Th:yenrlbecamcesatiocetactrlcian-i                                                                                        arc
                                                                                     21                 being made within that complaint. Do you underosud


                                                                                                                                        4 (Pages 10 to 13)
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                                                                 Page 106
                                                                                                                                   Page 108
                              MR- lIEMAN: Objectfoa                                       rby never Inform anyone even alt thoi
                a             You can enswcr.
                                                                                                                     —

                                                                                     2    positions, we ate nat informed who received It. W
                I    A. I believe he abndncd the posldon.                            S    hove to seek. We have to find. We have to scorch.
                4
                        Q. This iniIddiIlontoanyoLhcr                                4    We have to beg who received that position.
                S    position that he had held In the county?                        S
                S    A. 1—Imnotsure.
                                                                                             Q. Same question, do you kjiow whether that
                                                                                     a    pacitian was filled?
              1        4. isn’t it tnie that Mt. G@wran basically
                                                                                          A. No,idom’iiaiuw.
              I      was the cbieipojcci coordittator ‘u this time in the            a
              9                                                                               Q, So you n provide no testimony it was
                                                                                     a    fitted with a less qualified candidate or a
          to         A. Yes.
          11
                                                                                 I,       black candidate, correct?
                        Q. And again. the position w posted in                   U        A. Right. I don’t know lilt was filled.
          is         emlcipatlon of hIm chhet vacating the position or       I:
          LI         lcavhig the position open, correct?                                      Q. Neitt posi lion on page four is the general
                                                                             IS           supeivisor of building services, correct?
          :4        A. Yes.                                                  14           A. Correct.
          is           Q. And to the best ofcut )aiowlcdge, that             Is              Q. We have already established that you bold
          a.        didrt happen. Gwrun didn’t vacate the position or        18           no prornoliwed title ut building services, correct?
          17        leave it open, correct?                                  17           A. Correct.
          Is        A. IcpceL that question again, please.                   ii
                                                                                             Q. There was no posting number’?
          19                 MR. KOVATS: ro ask It be read back                           A. No.
                            (Whereupon the requested pardon was read         25
         11         back)
                                                                                             Q. Ouithcsewasaposting?
                                                                             2:          A. Yes.
         a          A. Vacate the position of what, the chiefor              21
         D          the-
                                                                                             Q. Whntwastherianjreofthatjob?
                                                                             23           A. Geitenil manager general supervisor cfbuitdln
         24
                       Q. Chief project coordinator.                         7,           services.
         2.5        A. Olcey, according tomyitnowiedge, Waiter Gawron        Is              Q. Okay. Who’s Scott Griffin?

                                                                Page 107                                                            Page   109
            I        is the thielpmject coordinator.
                                                                                         A. Who’sScortGrtflin?
          2                    AndhewezpwthIspostlng
                       Q.                                                        a         Q. Ycs,slr.
          a         cLTcct7                                                      I       A. He’s the farmer maintenance supervlsot far
          4         A. Prior to the posting for the chief penject                4       buildings end gecunds, one oftho maintenance
          S         cconfmaior?                                                  5       supervisors for building end grounds.
          a            Q. Correct.                                           a              Q. So he held a position within the building
          7         A. No,lcan’t—                                            7           services promotional tiilcs. correct?
          S            Q, isn’t It true Mr. Gaweon they                      a
                                                       —
                                                                                         A. Yes,
          S         anticipated Mr. Oawrors leaving his position in the      9
        IC          county tIred then En anticipation oithat thac was a
                                                                                            Q. You weren’t granted en Interview by Mr.
                                                                            to           Shirley, correct?
        a)          posting. correct?                                       II           A. Yes.
        52                  MR. TIEMAN: Chjecilon,                          12
        23                                                                                  Q. You were not succcfu1 in inking die
                    A. Yes.                                                 is           position?
        34
                       Q. But when he dldM leave, they didn’t                            A. Correct.
        IS          fill diet position with someone else, comet?            Is
                                                                                            Q. To your knowledge based upon the
                             MR. TIEMAN: Objection.                         iS           information here, Mr. Scott Griflirt obtained the
        17                   You cat answer.                                17           position?
        La          A. I don’t know.                                                     A. Yes.
        SC             Q. You don’t have any information to testify         19
                                                                                            Q. Was the posting - dii) the posting
                    that a less qualified candidate obtained that                        identify div need to have qualifications in building
        2.1         position or a non.black applicant obtained that         at           crvlces’?
        U           position, correct?                                      U            A. I’m not sure about that.
       23           A. Ii’s-Idon’tknow. Thee intybase                       23
       24                                                                                   Q. Moving on lo page five, you identify the
                    practice of not kiting people know who ntcdvcs the      24           position there at the top of the page as management
       25           position. They keep that a secret. h’s a secret.                     assistant, correct?


                                                                                                                   28 (Pages 106 to 109)
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                                                        Page 114                                                   Page 116
          not again, excuse me. This was something in or about          supervisor building maintenance worker, can you
      2   March of 2016?                                            2   describe this position for us?
      3   A. Correci.                                               I    A. SupervIse — crew supervisor. It’s a new
      4       Q. What was the natare of this position?              4   position that was posted and thIs position is to         C
      S   A. That you would do maintenance and repair, minor        S   supervise the crew. Crew supervisor building
      6   repairing that you would supervise maintenance            6
                      -
                                                                         maintenance worker, they supervise the crew.
     7    repair individuals. Sorry.                                7       Q. This is again within the building
      a       Q. Maintenance repair and what7                       a    services promotional job title?
      9   A. It could be changing light bulbs, changing             9   A. Yes.
    to    light fixtures, repairing wails.                         10       Q. Okay. And to be clear, building
     11       Q. Was it your understanding that this title         11    services, basically is it your understanding that the
    12    was in the — strike that.                                12   job titles involve basically building maintenance
     13         That this was a promotional title within           13    worker, baslcolly janitorial services?
     II   building services?                                       14   A. Yes.
     Is   A. Yes.                                                  Is
                                                                            Q. And you never held any of those positions
    16
             Q. I think you indicate here a Kevin                  16   In any civil service titled position, correct?
    17    Baxter — you indicate you are not sure, but you          17   A. Correcl.
    18    believe Kevin Bsxter may have received this position,    18
                                                                            Q. You indicated that position went to
    19    correct?                                                 to   Robert Briscoc, B.R4.S.C.O.E, is that correct?
    20    A. Correct.                                              20   A. Correct.
    21               You also indicated he once held the title
             Q.                                                    21      Q.     And do you know Mr. Briscoe?
    22    of senior electrician?                                   22   A. Yes.
    22     A. Ccmect.                                              23
                                                                           Q. Do you know what positions he has held in
    24
             Q. Do you know whether or not he changed his          24   the county?
          job title to be within building services?                2$   A. He is a carpenter.

                                                       Page 115                                                    Page 117
          A. He did not change his job title,                              Q. Any other positions he has held in the
     2
            Q. But you axe not swv he rcccivcd this                 2   county?
     3    position?                                                 3   A. That’safllknowof. Hewasacarpenterprior
     4    A. I’m absolutely sure he received a position as a        4   to that that never completed his pmbationwy
     S    maintcnancc repair supervisor.                            S   period.
     6        Q. Butyouarvnotsurewhethcrornothe                     6       Q. So he has not maintained being a
     7    received this position?                                   7   carpenter in the county?
     a    A. I-Ic received the position as supervisor of            a   A. No, he is not. He is no longer a carpenter
     9    maintenance repair so...                                  9   now, but he never received a probationary period to
    to        Q. I’m going to ask you to listen to my              10   even transfer to receive a promotion for
                                                                                        —


    It    question very carefully. The position you ideritilicd    11   supervisor.
    12    here is an application that was made by you in or        12
                                                                            Q. And you know that why, because he didn’t
    13    about March 2016 in your interrogatory responses, you    II   complete his probation period?
    14    staie ‘Plaintiff Is unsure but believes Kevin Baxter     14   A. Just from his supervisor Jason Dezeoto informed
    15    may have received this position who once held a title    15   mc he did not complete his probationary period for
    16    as senior clectricion. Did I read that correctly,        16   any promotion for that matter.
    L7                                                             17
                                                                            Q. Doyouknowwhctherornotheheldany
    18    A. Yes.                                                  15   other titles?
    19       Q.     Is it your testimony today that since the      19   A. No.
    20    production of these intcnogatorics you have now          20
                                                                           Q. Any promotional titles?
    21    confirmed your belief that he did receive this           21   A. No.
    22    position?                                                22
                                                                           Q.     hs entirely possible that he did? Did
    23    A. I’m not sure but — I’m not sure he received           23   you understand my question?
    24    the position.                                            34   A. Well, tin not going to assume that he did.
    25       Q. Looking at the next one in lins, crew              25      Q. You certainly don’t have any knowledge

                                                                                                   30 (Pages 114 to 117)
Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 9 of 293 PageID: 3240



                                                        Page 162                                                         Page 164
                  Q, And whet, were you prescribed that                       Q. Do you recall when?
         2    medication?                                                 A. lcon’trecailthccxacttime.
         3    A. That was in a few weeks within a few weeks
                                           —                          I
                                                                              Q. Do you recall how many times you visited
         4    or a month or so.                                       4   Dr. Holstcin?
         3        Q. So none of the acts that you complained          $   A. I visited him 01 one point for a period.
         6   or caused you to take anxiety medication until a few     6   actually, it was a tw visits, I said twice, but it
         7    weeks ago?                                              7   was a few visits and then I started going to the
         a   A. No, that’s not true. I have been seeing my            a   Strts.s Care because I needed a littie bit more talk
         9    therapist, Stress Care therapist, Barbara Russo, and    a   therapy.
     so       I brought it to her attention, and she re4uestcd       so     Q. But 1 thought your testimony was Ms.
     II       that I do same either get medication from a
                            —                                        11   Russo recommended you engage its homeopathic methods
     12      doctor or do sonic homeopathic type things to reduce    12   and thereafter you spoke with Dr. Holstein.
             my stress,                                              U    A.   Excuse mc?
     14
                  Q. When did you first seek treatment with          14
                                                                               Q.  Your testimony earlier was that you met
    Is       Dr. Russo? Excuse mc, she’s not a doctor.               is   with Mr. Russo who suggested homcopathic methods and
                    When did you first shut treatment with the       16   then you spoke with Dr. Holstein,
    57       licensed clinical social worker Ms. Russo?              17   A. No.1 was doing oil those in conjwiclion with
    ‘a       A. I don’t have the dates with me now, but it           15   each other.
    19       was I met with her quite sometime— probably
                  —                                                  19
                                                                             Q. You ware seeing four health care
    20       almost aycarcirso ago.                                  20   professionals at once?
    21
                 Q. When did she refer you strike that.
                                               —                     21   A. Yes, some is better than others, believe it or
    22              When did she recommend you take medication       21   not, some is better than others.
    23       for anxiety or stress?                                  23
                                                                             Q. Whodoyoucurrcntiytrcalwithfor
    24       A. When I spoke to her, she said maybe I should         24   anxiety and stress?
    25       take something for that to help calm me down within     2$   A. IstittgotothcStressCarcCcnterundDr.


                                                       Page 163                                                         Page 165
             the Rest couple of visits I met with her.                    Russell Holstein and i see my general practitioner.
     2           Q. And you believe you started treatment             2
                                                                            Q. Who was the individual who actually
     a       with her about a year ago so maybe January 2016?         3   prescribed you medication for anxiety and stress?
     4       A. I’m not sure of the exact date but on or about.       4   A. Only a doctor can do that.
     S           Q. Approximately a year ago. I don’t wont            5
                                                                               Q.    Which doctor prescribed you medication?
     a       you to guess, maybe approximately?                       6   A. Dr. Graebel M.D.
     7       A. Yes, on or about.                                     7
                                                                            Q. And what kind of doctor is Dr. Russell
     a           Q. Dr. Russo recommended you obtain                  a   Holstein?
     9       pedcation for anxiety for stress within the first        9   A. He is a psychiatrist.
    10       few sessions with her, yet it only took you in the      10
                                                                            Q. And Dr. Holstein has not prescribed you
    I,       last few weeks to receive medication for the anxiety?   11   any medication?
    12       A. Well, I’ve been doing homeopath ic things to         12   A. Dr. Oraebel prescribed the medication,
    La       uflevc my stress and anxiety.                           13
                                                                             Q. Is ft your testimony you are currently oct
    14
                 Q. What homeopathic methods have you been           14   medication for anxiety and for a sleep disorder?
    Is       doing?                                                  55   A. It’s anxiety medication and for rest.
    16       A. Stress taik with her. I’ve been talking with         56
                                                                             Q. Is it one medication or two medications?
    17       my psych Dr. Robert Holstein. I’ve been talking         57   A. It’s one medication.
             with him and just communicating, unloading.             18
                                                                             Q. How often do you take this medication?
    19           Q. How is talking to another doctor a               19   A. It’s a medication I take every day, as needed
    to       homeopathic method?                                     20   every day.
    21       A. I wouldn’t say homeopathic is not taking
                                —                                    21
                                                                             Q. Doyoutakeltinthemomingorot
    22       medication or trying not to take medication.            22   night?
    23
               Q, When did you first visit Dr. Russell               2)   A. As needed every day! take It.
    24       Holstein?                                               24
                                                                             Q. Doyougenerallytake, for lack ate
    25       A. I vi5ited him in 2016. I still see him now.          25   better word, one pill a day?

                                                                                                       42 (Pages 162 to 165)
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                 OeId R. Plotikk
                 Bnfi Coord,nIor                                                                             Fai: (732)43 L.724
                  (732) 303.7655
                  February 16, 2005



                  Mr. Luther S. Graham
                  474 Sairs Avenuel6B
                  Long Brancb New Jersey 07740

                  Dear Mr. Graham

                  On behalf on the Board of Chosen Freeholder, we are pleased to confirm that
                                                                                              you have accepted the
                  County of Morimouth’sjob offer for the position of ElecErclan in the Monmouth
                                                                                                  County Building
                  and Grounds DepartmenttTrades Area. You Will receive an annualized salary
                                                                                                   of 334)000. The
                  start date of your employment wilt be Monday. March ‘7 2005.

                  This job offer is conditioned upon the successful completion of reference cheeks,
                                                                                                    fingei-pz-ints and any
                  medical clearances as required of your position. Unsatisfactory results may be cause
                                                                                                         for this offer to
                  be rescinded.

                  This “permanent” appoinent will become filIal after you complete a work test period
                                                                                                      . You will
                  receive additional information about this evaluation period from this office.

                  Please review the attached schedule for you New Hire Orientation program, which
                                                                                                  coincides with
                  your rst day of work. Your required participation will help you appreciate the
                                                                                                  many excellent
                  County benefits and the advantages of becoming a Public Service employee.

                  Should you have any questions, please do not hesitate to contact me.

                  Once again, welcome and good tuck.

                  Sincerely,




                           Y. Signoreth
                  Personnel Assistant

                  Eric). (3)
                          1. Orientation Schedule
                          2.List of Required Doculnents
                          3.Map & Parking

                  CF: D. Krzyzanowski, B&G
                      3. Cerreta, B&G




      flflCfl
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     Case 3:16-cv-01578-PQS-LF-G Document 36-6
          CAMPS Transaction History
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                                               Filed 04/21/17                                  Page 216 of 221 PagelD: 633
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Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 12 of 293 PageID: 3243




             EXHIBIT B
                                                                                                ___          ____________________
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                                                          Luther Graham
                                                      56S Manchester Court
                                                  Freehold, New Jersey 07728
                                                        (732) 809-6908
                                                   luihers.gmail.corn

              March 12,2015




              Incident Dewi1s

             Please accept this complaint detailing my unfair, unjust
                                                                        and undue experience as a stellar
             employee of Monmouth County. Management has been
                                                                    given a fall description of events daring
             a previously scheduled meeting, which include but
                                                                 are not limited to, on-going lwassment,
             discrimination, hostile work environment, unfair
                                                              practices, job promction discrimination and
             procedural defects In job promotions, which arc
                                                               violations of the New Jersey State Policy
             Prohibiting Discrimination in the Workplace.

             Management has also been made aware of, to includ
                                                               e but not limited to, the egregious conduct
             centered toward me by Robert W. Compion, Superintende
                                                                    nt 8uildinga and Grounds, and David
             Kiyzanowski, Supervisor of General Services and
                                                             Craig Bell, General Trades Supervisor. They
             continue to abuse and misuse their authority.

             I have been retaliated against by virtue of participating
                                                                       in protected activity which has resulted in
             several adverse employment actions. I applied for
                                                                        a position that was posted; Robert V.
             Compton and David Krzyzanowski have blatantly refin
                                                                        ed to till the project coordinator position
             that is currently vacant. I have been denied an intervi
                                                                         ew, There seems to be a disadvantage
             toward minorities (rules are not applied even bandedly
                                                                          ) when it comes to job postings and
             promotions but not limited to. I em an eligible employ
                                                                       ee and I have been denied an opportunity
             for an interview and promotions because of bias, this is
                                                                       illeani. 1. have rights!
            Next, I was told by Aaron Kinney. Electrical Supervisor
                                                                     that David Kxzyzanowaki, Supervisor of
            General Services told him to “get rid ofme.” I tale
                                                                this threat serious and fear for my safety and
            job security. Aaron Kinney. Electrical Supervisor also
                                                                       inforaied roe that when be and I are
            driving around in the county vehicle, they make a mocke
                                                                      ry statement, La., “Driving Ms. Daisy.”
            This rises to the level of discrimInation, employment
                                                                     bullying and it’s egregious, others are
            aware of these comments. Management has proof
                                                              and to date have done nothing. Due to their




                                                                                                                      (‘so
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               March 1Z2015
               Page 2



              inactions, they have now created a hostile envIronment,
                                                                        1 am the victim. This is also negligence
              retention on management’s part; I have the protection
                                                                       of long-term employment, coupled with
              my unblemished employment history, and should not be
                                                                          subjected to threats to my life and job
              security, such as “Oct rid of ttha” I also have copies
                                                                       of 3 emafla that are descriptive showing
              derogatory references, La., see New Jersey State
                                                                    Policy Prohibiting Discthiination fri the
              Workplace, page 3, bullets 3 end 5. By way of this letter,
                                                                         I am making a third party complaint.
              As a remedy, Luther Graham demands, including but not
                                                                             limited to, management to take
              whatever actions It deems appropriate removal, re-assi
                                                                        gnment, refer to other appropriate
              authorities for review of violations of slate and
                                                                   federal statues, rightful opportunity for
              interviews, non-bins approach when placing supervisor
                                                                      to work in the Building and Grounds
              Trades Department There are a disproportionate numbe
                                                                        r of minority supervisors and staff
              compared to Caucasian; correct procedural defects
                                                                 in job promotions; cease and desist in job
             promotion discxhnination; apply all rules even.handediy
                                                                       without a disadvantage to minorities;
             recruit minority managerneat compel affirmative offIcer
                                                                        to assist staff. Cease and desist in
             violations of the New Jersey State Policy Prohibiting
                                                                      Discrimination in the workplace stop
             workplace bullying and nil unlawfuL conduct. Offer assistance
                                                                            to victims to help them cope with
             the devastating effect of such unlawful conducL

             In. closing, I have presented substantial evidence to prove that
                                                                              Mr. Compton, Mr. Krzyzanowski
             and Mr. Bell are guilty and should be charged arid discipl
                                                                         inary consequences should flow from
             the aforementioned conduct.

             1 greatly appreciate your time, attention, and just consideration
                                                                                 of my circumstances. I hereby
             certil’ that the foregoing statements made by me are
                                                                         all tnie to the best of my knowledge,
             information, and beLief. I am aware that if any of the
                                                                          foregoing statements made by me are
             willfully false, that I ama subject to punishment under
                                                                     the law.
             Respectfully submitted,



            Luther Graham, Senior Electrician

            attachment




                                                                                                                    p
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           Kinney, Aaron
           From:                      Kinney Aaron
                                      Wednesday, November 28, 2014 2:14 PM
           Ta;                        ‘Iuther.gmhamgrnaH,com’
           Subjoot:                   PiN: HepatJtis shots




          From: Kinney, Aaron
          Sent; Wednesday, November 26, 2014 121S PM
          To; ‘aamnklnney©optonhlne.nee
          Subject; PW; Ilepatlhs shots



          Front: Deslato, Jason
          Sent: Wednesday, March 19,2014 3:20 PM
          ro lOnney, Aaron
          Subject FW: HetItus shots



         From: KrzyzanowskJ, Dave
         Sent: Wednesday, March 19, 2014 i3L PM
         Ta: DeSlato, Jason
         Subject RE: tiepautus shots

         Do you want me to put you over my knee and teach you the
                                                                      meaning of’ Chain of ccmmand?
         Thanks
         Cave

         From: DeSlato, Jason
         Sent: Wednesday, March 19, 2014 1:11 FM
         To: Krzyzarowskl, Dave
         Ca Cell, Craig
         Subject: RE: Hepatitis shots

         I’m sorry, It was your name James Mogee referenced In his weekly e•mall
                                                                                 so I thought It was   best to go right to the
         Source.


         From: Kzyzanowski, Dave
         Sent: Wednesday, March 19, 2014 10:42 AM
         To: DeSlato, Jason
         Subject RE: Hepatitis shots

         I’m sorry, I don’t recognize you as someone directly In my tower chain
                                                                                of command. Please discuss your concerns with
         your immediate supervisor and If appropriate, they will brlnB your concer
                                                                                   ns to my ettentton.
         Thanks
         Dave




                                                                                                                                 P52
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                                                        1/17                                                                     Page 164 of 221 PagelD: 581


                                                                                                                                                                              —-I




           Thank you for your ceopetatlon

           Dave

          From: DeS!ao, Jason
          Sent Wednesday, March 19, 2014 7:34 AM
          Tot Kaznowsd, nave
          Cc sell, Cr&g
          Subject Hep&Itts shots

          Dave, have several employees who want the vac1cte, Includ
                                                                    ing myself.


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     Case 3:16-cv-01578-PGS-LHG Document 36-6 Fed 04/2
                                                       1117 Page 165 of 221 PagelD: 582




            KInneyaron

            From:                              Befi, Craig
            Sent:                              Friday, July 26,2013 10:45 AM
            To:                                1nny, Aaron; Koziol, Chris; Pliimmer, Paul
                                               Mogee, James
            Subject                            FW: Confined space
            Attachrnenta:                      MReoO44o4oa.JPG; MH900301300.JPG

           Aaron, other than the pit 0FF Pt, I don’t know of
                                                                    any others that pertain to the Electricians.
           various lift stations; le. 1)1st II?. Chris, you have                                                 Paul? yours should just be
                                                                 the roos          t to Identify.
           Guys, try to get me something by the end of
                                                       next week                 ; Friday, August 2nd.,.20131
           Thanks,
           Craig

           From: KrreanowskI, Dave
          Sent FrIday, July 26, 201.3 1027 AM
          Ta: Bell, Craig
          Subject Confined space

          Craig,

           We talked a couple of weeks ago about having
                                                            to complete the Confined Space inventory for
         the formal training to operate inside those spac                                                  )Cathy before we can have
                                                          es. You asked your Supervisors to make som
         this out of the way, but I haven’t seen anything yet. I know                                  e time to sit down end get
                                                                        we are all EXThEMLY busy but this needs
         Inventory and pictures. If your staff does the Inve                                                     to be done.
                                                             ntories, I’m sure we can get some help
         plctureS,                                                                                  from Building Service5 for the
          it you need some assistance in persuading your staff
                                                                  to make this happen, perhaps the two
         motivate...                                                                                    attachments will help

         Thanks
         Dave
                                                                      David Krzyzanowski
                                                             Supervisor General Services Operations
                                                             Monmouth County Buildigs & Grounds
                                                                       250 Center Street
                                                                      Freehold, NJ. 07728
                                                                 OffIce 731-431-7360 X-2172
                                                                       Cell 732•299-4863
                                                                       Fax 732-409-7592
                                                             E-mail dkrvzanrco.moamouth.nI.nj



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     Case 3:16-cv-01578-PGS-LHG   Document 36-6 Filed 04/21117 Page 166 of 221 PagelD
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Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 20 of 293 PageID: 3251

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     Case 3:16-CV-01578PGS-LHG Document 366_Eiid 04/21117                                                  PaQe 168 of 221 PacielD: 585


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       *    ‘Kinney, Aaron

             From:                        Kinney, Aaxon
             Bent                         Thursday, Mardi 07, 2013 7’.25 AM
                                          Kizyzanowskl, Dave; Complon, Robart )(Jrin
             Cc:                          Compton, Robet                               ay,Aaron
             Subjeci:                     RE: Procedure being followed by electrical
                                                                                     dept. for work request

             I went to your office on 3/5/13 to dLscuss
                                                         my over all work performance, (my re)at
             made In refrence to my doing nothing at                                                 km with Mr. Bell) and accusations
                                                       DIt 8. At no time did you ever ask me what
            Mr. Bells complaints about me Intal whic
                                                 l      h were numerous acusatlons, Instead             I did at dist 8 or quesllon what did
            by luther like Miss Dalse. Held me respo                                             you accused me of being driven arou
                                                     nsible far a false assumption that my                                                nd
            3/4(13) which wasn’t true. How do you                                              employee (luther) wasn’t on thejob
                                                     ecspect me to justifle a false accusatio                                          on
            At no time has CraIg Bell asked me what I did                                       n that has no foundation of truth.
            that If I need down time I shouldn’t be ridin at DIst 8 and again on 3/6113 while he was In my office he lmpiyed again
                                                          g around with luther.
           On 3l5)13 you told me that I should talk to Crai
                                                              g and support him.
            My Attempt to place all of my self and respo
                                                           nsibility under his review gets me more
           How do you ezpect me to work for any one                                                    corndemnatlon from you.
                                                           who twist every thing you do.
           So I will make at Time managtnent sheet
                                                      for my sell’ aa I will label it Driving Miss
           At any time you or any one wish to see what                                             . DaIse,
                                                           I do ask and It shall be give to you
           lam no a happy camper and your right this
                                                          probable Is not a smart move, but when
           TRUTH will pervali.                                                                        all else falls you have to believe that



                                                           Aaron KInney


           From: Kinney, Aaron
           Sent Thur!day, March 07, 2013 7:03
                                                AM
           To: Kr2yzancwskl, Dave
           Subject RE: Procedure being followed
                                                 by etethfcai dept. for work request
           You havent seen nothing Dalse ant happy

        From: Krzyzanowskf, Dave
        Sent: Wednesday, March 06, 2Q13 3:22 PM
        To: Kinney, Aaron
        Subject RE: Procedure being followed by
                                                electical dept. for work request
       Pore smart person ‘tHAT was a real silty mov
                                                   e Aaron.

       Prom: Kinney, Aaron
       Sent: Wednesday, March 06, 2013 :Z0 PM
       To: Kiyncwtid, Dave
       subject RE: Procedure being fofowed by cle±
                                                   Ical dept for work request
       Your right I did not. I missed Mcgee to

       From: Krzyzanowskl, Dave
       Sent Wednesday8 March 05, 2013 2:14 PM




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Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 22 of 293 PageID: 3253

     Case                                                                                 :36-6 Filed 04121/17



               4       ,


             To: Kinney, Aaron
             Subject RE: Procedure being followed
                                                                     by eiecbical dept. for work request
            Did ycu send this to Cri?

            Dave

           Frcm Kinney, Aaron
           Saat Wednesday, Mardi 06, 2013 2:10 PM
           To: Ccmpn, Robetti Krzyzanowskl, Dave
           Stanley; Kinney, Aaron; Thoroas, Ceceta; ; Shirley, 3ames; Gawron, Walter; Curti, 3ohn; Palurnbo, 3arrs; rzo
           Alairi; Rotcndo, Ken, entien, David; SbiicCoylo, Tom; Gibson, Paul; Devito, t.efla; Unck, Thomas; griffin, Sttzows)d,
           3eson; Ganloy, Marty; Peda, )ohn; Kiex ek, Richard, SbICIi, Ron, Robert Vignoilni; I nasmonrnouthnL Fotlar,
                                                 hins                                                                    tj DeSlato,
           Subject Procedure being Mlowed by electicy, Steve; Kmiol, Chris; Piun,mer Paul
                                                      rical dept for work request
           Par your    review.
                       I.aoklng forward to your cooperation In
                                                               this matter.

                                                                         Aaron Kinney


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                                                              Luther Graham
                                                           56B Manchester Court
                                                       Freehold, New Jersey 07728
                                                (732) 809-6908; luthers.arahaxnginail.
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              April30, 2015

              incident Details

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             promotions, which are violations                                        ion and procedural defects in
                                               of the New Jersey State Policy Pro                                  job
             Workplace. La, addition wrongf                                       hibiting Discrimination in the
                                             il promotion of two candidates to
             Service (job specicadon 06467)                                     pos itions of Assistant Supervisor,
                                                                                                                    Building

            Management baa also been made
                                               aware at; to include but not limited
            toward mc by Robert W. Coxnpt                                           to, the egregious conduct centere
                                              on, Superintendent Buildings and Gro                                    d
            Supervisor ofGeneral Services                                            unds, and David Krzyzanowaki,
                                             end Craig Bell, General Trades Sup
            misuse their authority (violation                                     ervisor. They continue to abuse
                                              of contact 2C.6). Further, they are                                  and
            well aware of what’s going on.                                        responsible for position placeme
                                                                                                                   nt and

             I was denied my rightM opportu
                                              nity to express my interest in a pos
            opportunity for a promotion for                                        ition that would have provided
                                             me. A job posting was posted Dec                                      an
            December 26,2014 for Assista                                         ember 18, 2014 with a closing date
                                           nt Supervising HVAC Mechanic (Re                                            of
            employee with HVAC mechanic                                            gular) and a worksitc (T’BD).
                                              experience would apply. Thus, I                                    Onl y an
            that two candidates were placed                                     did not apply. I find it extremely
                                             in the (Anticipated 2015 vacancy)                                     curious
            Mechanic yst promoted to Assista                                      for Assistant Supervising HVAC
                                               nt Supervisor, Building Service,!
            express why I am a better candid                                       was not given my rightful opportu
                                             ate for Assistant Supervisor, Buildin                                     nity to
           for Assistant Supervising 1{VAC                                           g Service because the job posting
                                              Mechanic NOT Assistant Superv                                             was
           conveys a notion of a tendency to                                     isor, Building Service. This proces
                                               abuse the possession of power. By                                     s
           rightful opportunity to apply end                                        way of this complaint I would like
                                              be coidered for the two positions                                         my
           in which Michael Markert was                                             in Monmouth County. The first pos
                                           wrongfully promoted to at the cou                                             ition
           Service and the second position                                     rthouse as Assistant Supervisor,
                                            in which Michael McCulough was                                       Building
           coxnzmmication center.                                                 wrongfully promoted to at the
                                                                                                                 911

           I greatly appreciate your time, atte
                                                ntion, and just consideration of
           foregoing statements made by me                                        my circumstances. I hereby cert
                                               are all true to the best of my kno                                  ify that the
           that if any of the foregoing stateme                                   wledge, information, and belief: lam
                                                 nts made by me are willfully fals                                       aware
           the law.                                                                  e, that I am subject to punishment
                                                                                                                         under

           Respectfully submitted,


           Luther Graham, Senior Electtician
                                                                             __                                               ___________________________



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                                                                 Documcnt 36-6                    Fund 04/21/17                  Page 175 of 221 PagelD:
                                                                                                                                                         592




   1:
    ‘I
                                                           MONMOUTH COUNTY
                                               ‘   REPORTABLE INCIDENT I COMPLAINT FORM
                    Propar workplace condud It a top prforlty o Monmouth County. County Ernptoyaaf
                    miles, ragulasloru and N) and Federal Iaturs. Isi order to                                 ranpededIo adhere to all podesprocediires.
                                                                               maintain
                    the publlct talirfeion with our cervic.. INs Reportable Incident a rnpemnt, edilcal and raspontlble work anvironrasne and to ansuna
                    compl&nts. ThIs form Is toW mp1etad by the employee receMng        / ComplaInt Form             has
                                                                                                               been aitabllthed to track. respond and rectify all
                    reportable lnddanIt indude violations of coi.zrny policies and        the complaint or a designated department Intaka Pt non. ximples of
                                                                                      procedures, misuse of county uehJciez, safety luues and any repstable
                       condu. Complete this tonvi In (s.itl tn,secdlalely upon receiving a
                    or Dt ICOn as psadlabla.                                               reportable Incident and submit to Human Re.iources wIlbin 24 hcuri

                                                                                                                                 OR CDM)LJ4NANT
             I. REPORTABLE INCIDENT ICOMPLAINT INFORMATION
                                                                                                                                                  tS     Lc3j’
                                                                                                                                   Teday’s Data
                   Hire. of Isiteka Person jt.tttir-
                                                                                                      —




                                                                                   4’             Lail Name
                                       ‘    C.5g1’               lL
                   Date of Incident        5%, L4tj                          Qam fn               Location
                                                                                                                    4d.45
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                                                                                                                                  -



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                   H was the Incident reported?
                                                         Q     Phone   D    Mail          Q Email             wrnten Ø5i.r              j      , T
                   Pu,on r.posllngcosnplalni          QMJI.     Qca.       Luc44,,-.
                  mpiayag Qthban                                          FkstMasai                                          LutHem,
                  TelephonaNumbare          Home                                   Cell    C732’I         -
                                                                                                                                      Wosk   (7           Lf 5                    -




                  Email addrsaj             L           5rt
                  Complete home addrau                  ,
                                                                                                              F4’rLcL             t           u’T17.8
                  Erejsloy,rnamladdreai            /SAh,d.     .S’4                                                c$ak?c?               4n,p,i.f
                                                                      tPCDr
           II,    MONMOUTH COUNTt EMPLOYEE(S) INVOLVED                             ‘/       7                             S7          v4t           t’JJ’,    Q-i’l
                  finoloy.sjull nasa                                                                                      Cssnlv Owned Vehicle Inromietton
                                                            FnoTcy.f’s tab Iftie orwrb as.lwsm.nt                         (11 involved wIth complakilllncldaat)
                  S7ZW’4)       Iei’4t,i4 ri             ,      Hcwd O!&l,1               1.4
                  Ocj                                        ss4

                            name unknn, DesaR,. .n1sJopa tj1rq            nçitahfrig cfamai, a g heir                rrlghl, bsdçc ID. A, u’cim eto, Iatt, pend, ather.



          III. INCIDENT DETA(L.S
                  Fufl dorlaUon & awan(E

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                                                                                                          Additional aLchmanLi andlot dooum,ntation?              Ye   Q Na
                                                                                                                                .4;lz
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    ATFNTIDtd Frank Tregna                                        Computed fcrm hou1d bi bead Ia 737-431.7924 or eRialled ta nicftrlntsbeca.sxnmauth.nJ.us
  nftu flftG
Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 27 of 293 PageID: 3258


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                                                                                             PagelD: 593


    I




                                                            Luther Graham
                                                        56E Manchester Cowt
                                                     Preebold, New Jersey 07728
                                                           (732) 809-6908
                                                      luthegtaharnajt.com
                 June 18, 2015

                 Incident Details: Monmouth County Hum
                                                       an Resources
                         Please accept this correspondence with supp
                                                                     orting documentation regarding violations
                 the New Jersey State Policy Prohibiting Disc                                                  of
                                                              rimination in the Workplace and Breach of
                 Fiduciary Duty by County Counsel, Steve
                                                           ICieimnan, Special County Counsel but not limI
                                                                                                          ted to:
                        Charge of Discrimination: Reta1iation Race
                                                                       frum November 2014 to the present but
                        not limited to.

                       PerSonal Harm: Complainant alleges he was
                                                                       subjected to acts of racism, reprisal and
                       job promotion discrimination and hostile work
                                                                       environment. Complainant working in a
                       situation that has been acrimonious and hostile
                                                                       for some time, yet nobody hal had the
                       foresight to deibse the siuaLiou

                       The Charge is based on the following:
                         a Complainant belongs to a protected class
                                                                    in that he is African-American.
                         b.    Complainant engaged in activities protected
                                                                           by law. Speciflcaliy on or about
                               November 18, 2014, February 4,2015, Marc
                                                                            h 12, 2015, April30, 2015 and Iune
                               18, 2015. Client made good faith complain
                                                                         ts. Client cnrnplaincd verbally and in
                              writing to the following Morimcuth County Hum
                                                                                an Resources via Monmouth
                              County Reportable Yncident/Complaint Fozm
                                                                           , State of New Jersey Public
                              Employment Relations Commission (PEP.C)
                                                                            via two unfair practice charges and
                              CWA Local 1075, AFL-CIO via Grievance
                                                                          Form, and in a meeting on Fel,ruary
                              4, 2015 with Mr. Burke. To date, there has been
                                                                                no response from Human
                              Resources,

                        c.    Thereafter, Complainant has been subjected
                                                                           to adverse employment actions.
                              Specifically on or about April 2015 and May 2015
                                                                                 , he has been harassed about
                              time, discrimination in job promotion and
                                                                        issues of concern regarding racism and
                              victim of conduct unbecoming of Steve Kleinrna
                                                                               n, Special County Counsel.
                              Specifically, on May 5,2015 after a PER,C
                                                                         matter with Steve Kicinman, mysel±



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                  [ocideni Details? Mnmouth County Human
                                                         Resources
                  June 18, 2013
                  Page 2




                                 Mr. Ablon, Mr. Kiethmaa failed to execute the
                                                                                  best legal capabilities in order to
                                 protect the interests of Complainant and viola
                                                                                ted confidentiality by disclosing
                                 liiformation to Craig Daniels regarding my matt
                                                                                  er at PER.C on May 5,2015 and
                                Breach of Fiduciary Duty and inconsistencie
                                                                              s in his position of statements to
                                ?ERC; two diffetent versions in which I received
                                                                                    after I complained May 2, 2015.
                                I received on or about May 12, 2015.

                           d. There is a casual connection between
                                                                   Cowplainant’s protected activity and
                              Respondent’s adverse employment actions.

                         Claimant reserves the right to amend this com
                                                                        plaint to include any public ancilor private
                entities also responsible upon additional infor
                                                                mation learned through discovery.

                      1 hereby certify that the fbregoing statements
                                                                      made by me are all true to the best of niy
               knowledge, information, and beUef I am awar
                                                               e that if any of the foregoing statements mad
               me are wiUfully false, that I am subject to                                                    e by
                                                           punishment under the law.




               Date
                                                                                     Luther Graham




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                                    ent 36-6 Filed 04/21/17 Paqe 207 of 221
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        ,—   8..




                                                              Luther S. Graham
                                                            56 Manchester Cowt
                                                         Freehold, New 3ersey 07728
                                                               (732) 809-6908
                                                         IiiIiernrahangp1Lccm

                     October 1,2015

                    Incident Details:

                    RE: Ott-going differential treatment based on race and
                                                                             reprisal; on-going unlawful employment
                        discrimination and acts of unlawful reprisal; taint
                                                                            ed luveetigafloosby Monmouth County
                        Human Resouzes; on-going hostile work environm
                                                                               ent and unfair labor pmctices.
                            I continue to be adversely affected in retaliatio
                                                                              n for asserting my complaints against my
                    superiors, Monmouth County Human Reou
                                                                  ices and Steve Kicizurran, In-House Counsel but
                    limited to.                                                                                      not

                           I contend that! have been discriminated against to inclu
                                                                                    de but not limited to, promotion
                    because I am an African American, I indeed prov
                                                                     ed that, subsequent to ilhing my complaints
                   with various agencies (to include but not limited
                                                                     to Monmoutb CountyThuxian Resources, New
                   Jersey Public Employment Relations Commiss
                                                                   ion and State of New Jersey, Department ofLaw
                   and Public Safety Division on Civil Rights) my supe
                                                                        riors andIor Monmouth County Human
                   Resources and Steve ICleinman but not limited to, have
                                                                           alienated rue and misrepresented the facts
                   regarding an 9ntasview” with mc for the Proj
                                                                 ect Manager, Construction Promotional
                   Opportunity. I was not interviewed far this position on January 28, 2Q14.
                         In a letter dated September 24, 2015 furs Frank!.
                                                                           Tragno, Jr., Director Human
                   Resources Deprutnent stated:

                           “Aa noted within my August 511) writing, this language
                                                                                  refers to your claim that you were
                          not interviewed for the Project Manager, Construc
                                                                             tIon Promotional Opportunity. Our
                          investigation revealed that you, along with three
                                                                            other individuals were interviewed for
                          the position on January 28, 2014.”

                          I contend that the aforementione
                                                       d statement is materially false information. I also
               contend that the truth has been concealed for the
                                                                 purpose of misleading the facts    in this
               investigation. One ofmy nisin points of contentio
                                                                  n in this matter is that I did not have my
               dghtfIi) opportunity to interview for Project Manager
                                                                      , Construction Promotional Opportunity. In
               truth, I was never interviewed for said position. Air obje
                                                                          ctive investigation was not conducted




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              tacideut Details
              October 1)2015
              Page 2


              and to date, no substantial evidence has been submitted proving that [interviewed for Project
              Manager.

                      Next, on or about September 15,2015, 1 was subjected to differential treatment.
              Specificeily, I was fafonned by my Supervisor/Manager, Aaron Kinney, that the two of us
                                                                                                        could
              no longer ride In the same vehicle when responding to a pending job. This directive was ordered
              by David Krzyzanowaki, Supervisor of General Services and Craig Bell, General
                                                                                                 Trades
              Supervisor. On the contrary, Aaron Kinney continues to ride In the same vehicle with his
              caucasian workers, to include but not limited to, Wade Cahocri, Robert Taylor, James Ruotolo
              and Wayne Edwards. This has been ordered by David Kxzyzanowskl and Craig BeU with no
              directive that these workers cannot ride its the same vehicle with a supervisor/manage.
              Cnn-andy, other caucasian supervisors and their Caucasian workers ride togethei the painting
              crew, John Peda, Supervisor and his worker, Chris Cummons FIVAC crew Chris Koziol,
             Supervisor and his worker, Richard Amorosa. This has also been ordered by David
             Kiyzanowski and Craig BcU with no directive that these workers cannot ride in the same
             vehicle with a supervisor. lam Afiicsn-Amerlcan and I cas.uot ride in the same vehicle with my
             caucasian supervisor, Aaron Kinney, again thin directive was ordered by David Kiyzanowski
             and Craig Bali. Please note lbr quite some iliac my supervIsor/manager and! have rode
             together In the same vehicle with tic incidents, no problems. Why the sodden change? I
             coatinue to suffer adverse employment action such as the aforementioned. This Is retaliation.
             My working conditions axe becoming intolerable. Why would my superiors want me to travel
             alone? I contend that all the adverse employment actions arc to compel me to resign, (A
             constructive discharge).

                     A large amount of the adverse actions have been initialed by my superiors because of my
             complaints. Monmouth County Human Resources had proof of this and did nothing, due to their
             inactions, they further contributed to my hostile work environment. I have been victim of
             numerous adverse actions by Mcnniouth County, my superlor and Steve Kleinman, !n.House
             Counsel. Monmouth County failed to protect me, this constitutes negligence on their part.

                     Ta sum, I am a victim of on-going retaliation for making good faith complaints, thus
             exercising my tights, including but not limited to, those under the New Jersey Law Against
             DIscrimination, NJ.S.A. 10:5-12 (a) and (d).




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                                                                                                                  : 626




              Incident Details
              October 1, 2015
              Page 3


                      1 hereby certify that the foregoing statements zn9de by
                                                                              me axe all true to the best of my
              knowledge, Ixzfortnatlon end belief. lam aware that
                                                                    if any ofthe foregoing statements made by
              rue are willfully false that I am sibject to puni&iment
                                                                      under the law.


              Dated:____________________
                                                                            LUThER. (3RAIIAM
                                                                            SENIOR ELECTRICIAN




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                                                                                                              r
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                                                                                                         C.    I
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                                                MONMOUnCOUNTr
                                  DEPAATMr OP HUMAN RE
                                                                     SOURCES
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                       w,Unt,t                                                      flQCfl ioh




               August 5,2015


              /jCert1fled R.R,R. and Regular Mail
              Luther S. Graham
              56B Manchester Court
              Freehold, New Jersey 07728

              RTh Your Various Complalnis

              Dear Mr. Graham:

                     This letter Li to advise you that we
                                                               have completed our review of the
              investigative reports and Interviews
                                                      conducted by Kevin J. Burke, Jr.,
              County Administrator, and, James Cer                                        Deputy
                                                         reta, Assistant Director, Departm
              Public Works and Engineering, concern                                        ent of
                                                       ing your february 2. 2015; March
              and April 30, 2015 complaints aga                                          12, 2015;
                                                       inst your superiors, Robert
              Superintendent Buildings and Ground                                      Compton,
                                                     s; David Krzyzanowsld, Supervisor
              Services; and, Craig Bell General Sup                                      General
                                                    ervisor Trades.
                     All of the complaints were treated seri
                                                              ously and the investigation looked
             all of the information you, your cowork                                               at
                                                       ers, and, witnesses brought to the Cou
             attention. Based upon the numero                                                   nty ’s
                                                     us Investigative Interviews and a
             comprehensIve evaluation of the facts,                                        full  and
                                                        we concur with the investigative
             that it Is not possible to conclude, as                                       findings
                                                     you allege, that you have been the subj
             workplace disaimlnatlon arid or har                                              ect of
                                               /        assment based upon race nor that
             superiors took inappropriate action reg                                            your
                                                       arding Job appointments rising to the
             of violations of laws or of any unlawf                                             level
                                                      ul violation of county policies Cou
             or policies.                                                                 nty rules


                   By way of review, the investigati
                                                     on revealed your complaints stem
             from the foUowing allegations;                                           med




                                                                                                             pig
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                Luther S. Graham
                August 5, 2015
                Page 2


                            February 2, 2015. Violations
                                                             of various county policies to
                            include, selective enforceme
                                                           nt of the lateness policy, not
                            permitted to visit Human Res
                                                              ources for clarification of a
                            COUnty policy, buildin
                                                   g sa.fety concerns and other
                            conduct centered towards                              Improper
                                                        you by Superintendent Compto
                            Supervisor Krzyzanowskl; and                                 n;
                                                            Supervisor Bell.
                            Mardi 12, 2015- Denied an opp
                                                               ort.mity to be interviewed for
                           vacancy for jle p nL                                               a
                                                             1xoject Mngrwlthhi_the_—
                           Buildings and Grounds Depar                                                 -—-

                                                               torent “...There seems to be
                                                                                                             -




                           disadvantage towards minorit                                       a
                                                              ies (rules are not applied even
                           hariclecily) when it comes to job
                                                                 postings and promotions but
                           not lImited to. I am an elig
                                                             ible employee and I have bee
                           denied an opportunity for                                          n
                                                              an Interview arid promotions
                           because of bias, this is Illegal.
                                                             I have rlghtsl”
                      •    March 12, 2015- Was informe
                                                           d by my supervisor, Aaron
                           Kinney, Supervising Electri
                                                       cian, that he was 1nforued by
                           Supervisor Krzyzanowskt, to
                                                          ..get rid of me...”
                                                          “.




                     •    March [2, 2015- Was Informe
                                                             d by my supervisor Aaron
                          Kinney, Supervising Electrician
                                                            , that when “...he and I are
                          driving around In the county
                                                           vehicle together, they make
                          mockery statement, I.e., Drivin                              a
                                                          g Ma. Daisy...”
                     •    April 30, 2015-”.. .two candid
                                                          ates were placed in the
                          (antIcipated 2015 vacancy)
                                                     for Assistant Supervising HV
                          Mechanic yet promoted to                                AC
                                                       Assistant Supervisor, BuDdin
                          Service.”                                                 g

                   Byway of background, you are
                                                   a Senior Electrician, Buildings and
             Department. You have served                                               Grounds
                                         in this title since provisionaUy bein
             August 27,2007 and permanentl                                     g appointed on
                                           y appointed on May 3, 20DB,

                     Regarding the allegations of Peb
                                                        ruary 2, 2015, March 12, 201
             2015, the investigation reveale                                         5 and April 30,
                                                 d there was no unlawful
             policies made by your superio                                    violation of County
                                                rs towards you; or about you
             Supervising Electrician, et a),, as                               ; to Aaron Kinney,
                                                 you aliege.




                                                                                                                 p79
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               k.




               Luther S. Graham
               August 5, 2015
               Page 3


                     Regarding your February 2, 2015 alleg
                                                                ation that on March 31, 2011 you
               were singled out by your department
                                                        in its application of the tardiness polic
               could not be supported. The Investiga                                                y
                                                            tion revealed you were not teat
              differently than twelve other coworkers                                             ed.
                                                        and supervisors In your department who
              received counseling notices and or disci
                                               I          pline who were found to be In viola
                                                                                                 tion
              of the County’s lateness policy. Fw
                                                      thennore, the Investigation revealed you
              supervisor, Supervising Electrician                                                   r
                                                     Kinney, attached documentation to
              March 3l 2011 NotIce f CeflnaL                                                    you r
                                                      yoavtendency-to-be.$ate-&o
              several minutes to ten (10) minutes                                                  m
                                                   on a regular basis, In response, you advi              -—


              Supervising Electrician Kinney that                                                 sed
                                                     lateness is acceptable and that a ten (10)
              minute grace period Is customary.
                                                         The nvestigatlon findings could not
              corroborate your response to suppor
                                                    t a ten (10) mInute grace period or that
              were treated differently from your                                                 you
                                                       coworkers and I or superiors in you
              department’s application for those foun                                               r
                                                      d to be In violation of the lateness polic
                                                                                                y.
                     Moreover, your February 2, 2013 alleg
                                                                 ation that a 2011 departmental
              posting advised employees that they are
                                                        prohibited to go to the Human Resources
              Department could not be supported by
                                                      the hwesligation.
                    By way of review, in your March 12,
                                                              2015 complaint you stated that you
             were denied an opportunity to be inter
                                                     viewed (or an anticipated Project Man
             Constniction promotional opportunity                                           ager,
                                                          within the Buildings and Grou
             Department. This was an anticipated                                              nds
                                                    internal job that had been posted on Octo
             10, 2013 In various locations within the                                         ber
                                                        worlplace. You properly submitted
             requisite paperworic resume etc., to                                             the
                                                   the Superintendent’s Office of Building
             Grounds on the dosing date of October                                         s and
                                                          17, 2013 at 1:10 p.m. according to the
             electronic time stamp on your cover shee
                                                         t. The investigation revealed that
             along with three others, had been                                              you,
                                                      interviewed by appropriate high level
             supervisory staff within the Buildings and
                                                            Grounds Department on January 28,
             2014, for the position of Project Manager
                                                       , Construction. Your allegation that
             were not interviewed for the position of                                        you
                                                          Project Manager, Construction, In the
             Buildings and Grounds Department is
                                                    completely baseless and unfounded
                                                                                        .
                   Regarding your March 12, 2015 alleg
                                                          ation that Supervising Electrician
             Kinney told you that Supervisor Krzyzano
                                                      wski, told him to “...get rid of roe...”,




                                                                                                               PSO
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                Luther S. Graham
                August 5, 2C15
                Paged


                the Investigation revealed that
                                                  when Supervising Electrician
               Interviewed on AprIl 17, 2015                                        Kinney was
                                                 about the exact words used
               Krzyzanowskl to either substan                                     by Supervisor
                                                tiate or dismiss your allegati
               Electrician Kinney stated1 “Mr.                                  on, Supervising
                                                Krzyzanowski told me to do
               Luther Graham.” ‘Nhen pressed                                   som  ething about
                                                   further about what was exactly
               Supervisor Kzzyzaxtowakl during                                         stated by
                                                this particular exchange, Superv
               Kinney then alleged that Superv                                  ising Electrician
                                               isor Krzyzanowski eaid, “‘You
               something about It’.”                                            created him, do

                      Moreover, Supervising Electrician
                                                         Kinney was asked directly abo
               statement to you that Supervisor                                            ut his
                                                y Krzyzastoweki allegedly said “.
              him...” Supervising Electrician                                    , ..get rid of
                                              Kinney responded that was only
              and perception of what Supervisor                               his interpretation
                                                   Kxzyzanowekl had said to him
              Electrician Kinney further stated                                   . Supervising
                                                 that to the best of his knowledge
              Krzyzanowsk.I never utilized the                                       Supervisor
                                               phrase “get rid of him” nor any
              terminology or vernacular dur                                      closely aligned
                                            ing their exchange. This allegati
              and cannot be supported.                                       on is pure hearsay

                    tri. your March 12, 2015 allegatI
                                                        on, which was also relayed to
             Supervising Electrician Kinney                                              you by
                                               regarding the comment, ‘tlr
             was also fully investigated. You                               iving Miss Daisy”,
                                               allege this comment was made dire
             because of race whenever you                                        ctly about you
                                             and Supervising Electrician Kinney
             a county vehicle together. The                                     wer e driving in
                                               investigation could not suppor
             accused made the statement nor                                   t that any of the
                                                did they make the comment tow
             Supervising Electrician Kinney                                     ard yourself or
                                            .

                     However, the investigation
                                                   did reveal Supervising Electrician
              use the comment referring to                                               Kinney did
                                                 you and himself in in two
              transmissions to Supervisor Kiz                                       sep arate email
                                               yzanowskl, “You haven’t seen
             happy” arid “...and I will label it                                nothing Dalse ant
                                                 Driving Miss, Daise,,.”. When
             emalls during the investigation,                                     asked about the
                                                 Supervising Electrician Kinney
             supervisors had become angered                                         stated that his
                                                    because you and he were
             together in a county work veh                                        driv  ing around
                                             icle against their previous dire
             practice. Mr. Kinney stated that                                 ctiv es to cease this
                                                he would always drive his assi
             and you would be In the passenger                                   gned work truck
                                                  seat while driving to various job
                                                                                     sites.
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                                                         1/17 Page 188 o 221 PagelD: 605




               Luther S. Graham
               August 5, 2015
               Page 5


                      According to the Investigation, the origin of the
                                                                         statement dates back many
              years and was riot attributed to any parti
                                                         cular race or person and referred to any
              two employees who rode together in a
                                                            County-assied vehicle during the
              performance of their duties or in their offid
                                                              ai capadty regardless of race, It Is
              difficult to determine if the statement was
                                                           made with any radal erthnus towards
              yourself, or others, In mind. Nevertheless, It is
                                                                 at a minimum In poor taste and we
              understand how it could be perceived by othe
                                                                rs in such a way. Accordingly, the
              County has addressed this matter by ensuring
                                                                supervisors’ mandatory attendance
              at management education and proper workp
                                                              lace behavior awareness training as
              designed and conducted by the County’s EAP
              Anthony Rlccio, MA, CEAP, CAP, SAP, who               I Quantum Executive Director,
                                                               is a highly qualified professional In
              workplace resolution processes and employe
                                                            e I supervisor rebtionabips.
                     Regarding your allegation of April 30, 2015
                                                                   wherein you stated, “1 was
              denied my rightful opportunity to express
                                                          my interest In a position that would
              have provided an opportunity for a promotion
                                                             for me. A job posting was posted
              December 18, 2014 with a dosing date of Dece
                                                            mber 26, 2014 ...The first position In
              which Michael Markert was wrongfully
                                                          promoted to at the courthouse as
              Assistant Supervisor, Building Service and the
                                                             second position in which Michael
              McCulough was wrongfully promoted to at
                                                         the 911 comniunication center.”
                     There seems to be some confusion.
                                                                   The investigation revealed the
              following which dears up that confusion.

                    Both Michael Markert and Michael McCui
                                                               ioch held the title of Heating and
              Air Conditioning (HVAC) Mechanic and were
                                                              promoted to the title of Assistant
              Supervising HVAC Mechanic on Januaiy 31,
                                                            2015. Additionally, both Tracy Ntis
              and Lou Bellardino held the title of Senior
                                                            Building Maintenance Worker and
              were promoted to the title of Assistont Supe
                                                           rvisor Building Service also effective
              Januaxy 31,2015.

                      The New Jersey Civil Service Commission
                                                                       (N3CSC) is the ntate regulatory
              agency that has the authority to determine
                                                                   and establish the promotional title
              series and title scope for each civil service title.
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                                                                                                 —       —--a.--—




                                                                                                     -




              Luther S. Graham
              August 5, 2015
              Page 6


                     In the case of the HVAC Mechanic Series, the
                                                                       series goes as follows:
                     I.       RVAC Mechanic
                     2.       Assistant Supervising HVAC Mechanic
                     3.       Supervising HVAC Mechanic.

                    In the case of the Building Service the series
                                                                     goes as follows
                     1.      Building Maintenance Worker
                     2.      Senior Buildllng Maintenance Worker
                     3.      AssIstant Supervisor Building Service
                     4.      Supervisor Building Service.

                   Furthermore, regarding title scope, in acco
                                                               rdance to NCSC Title 4A:4-2.4
              Promotional title scope local service
                                         -




                    a) If a title which Is the subject of a pronotional
                                                                           examination is
                       part of a title series, the examination, with
                                                                     or without all or part
                       of the open competitive requIrements. as appr
                                                                         opriate, shall be
                       open to one of the following:
                          1. The next lower In series title used in the
                                                                        local
                                                                    jurisdiction;
                          2. The next two lower in series titles
                                                                 used in the loca]
                             jurisdictiix; or
                          3. All applicants In the unit scope who
                                                                       meet the open
                             competitive requirements and all appl
                                                                    icants in the next
                             lower or next two lower In-series titles
                                                                      use In the local
                             jurisdiction.

                   By way of review, there were two separate
                                                             internal departmentpostings;
                   1) one for Assistant Supervising Heating
                                                            and Air Conditioning
                      Mechanic which was pasted from Decembe
                                                              r 18 to 26, 2014; and
                   2) one for Assistant Supervisor Building
                                                            Service; which was
                      posted from December Ito?, 2014.




                                                                                                                    PSI
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              Luther S. Graham
              August 5,2015
              Page 7


                     These Internal department postings were for
                                                                          anticipated vacancies and
              opened to all employees who met the irdidznum
                                                                   job requirements as atated on the
              New Jersey Civil Service Job Description for eac.h
                                                                       of the title postings. Several
              internal candidates applied for both positions
                                                                 and were Interviewed; resulting in
              four employees who were promoted as provision
                                                                    al appointments to the positions
              that were in direct-in.line to the next higher title
                                                                   within the title series.
                       As the employees were appointed provision
                                                                  ally, the next step In the civil
              5ervice promotional process is that the NJC
                                                                 SC officially announces the
              promotions. A copy of each of the NJC
                                                             SC announcements for Assistant
              Supervising Heating and Air Conditioning
                                                             Mechanic, Symbol PCO7O6T; and
              Assistant Supervisor, Building Service, Sym
                                                            bol PCO71T are enclosed for your
              Information. Additionally, as stated on the armo
                                                               uncements, and as determined by
              the NJCSC, each of the promotional titles was only
                                                                  open to the next lower in-line
              title series as noted above,

                    Our investigation into your complaint show
                                                                     s you did riot submit an
             application in response to the internal prom
                                                          otional announcement opportunities
             for either the title of 1) Assiatant Supervisi
                                                            ng Heating and Air Conditioning
             Methanlc which was posted in your departme
                                                              nt from December 16 to 26, 2014;
             or, for 2) Assistant Supervisor, Building
                                                        Services; which was posted in your
             department from December 1 to?, 2014; as note
                                                               d above. As such, you were not
             considered for the position nor were you eligi
                                                             ble as provided under the NJCSC
             estabUshed aforementioned title scope. ‘tour alleg
                                                                  ations the County wrongfully
             promoted two candidates to the positions of Assi
                                                               stant Supervisor Building Service
             could not be supported.

                     Based on the foregoing, we do not believe
                                                                further action is needed from this
             office, with one exception. The investigation into
                                                                    your allegation involving the
             March 12, 2015 complaInt wherein you
                                                            slated that you were denied an
             opportunity to be interviewed for an anticipated
                                                                  Project Manager, Construction
             promotional opportunity within the Buildings
                                                              and Grounds Department. For an
             employee to knowingly file a false complaint again
                                                                  st his superiors and the County
             of Morunouth Is a very serious matter In viola
                                                                   tion of county policy. Your
             allegation and subsequent investigative findings
                                                                have been referred to the County
             Administrator for review and possible disciplina
                                                               ry actions.




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               Luther S. Graham
               August 5, 2015
               Page 8


                      Please be assured that we take all allegations seriously and
                                                                                    there is a strict
               prohibition of retaliation against anyone who alleges harassm
                                                                               ent or anyone who
               provides Information in the course of an Investigation as provid
                                                                                  ed In the County
               Policy Prohibiting Workplace Discrimination and Harass
                                                                          ment. However, please
               a]o be reminded that any employee who knowingly or
                                                                          in reckless disregard of
               the truth makes a false accusation of discrimination
                                                                          aMfor harassment, or
               provides false or misleading information in the cousse of an
                                                                                investigation, may
               face dlsdpline up to and Including ternilnation of employment
                                                                                    . Finally, we
               request that you treat this matter confidentially and withou
                                                                               t discussion in the
               workplace.

                     If any future matters arise that you believe warrant this
                                                                               office’s attention,
              please do not hesitate to contact me or any other represe
                                                                         ntative of the Human
              Resources Department. For your reference, a copy
                                                                        of the County Policy
              Prohibiting Workplace Discrimination and Harassment Is enclos
                                                                              ed.
                      We trust this fully address-es the concerns raised in your
                                                                                 complaint.

                                                         Sincerely,




                                                         Frank J. Tragno, Jr., Director
                                                         Human Resousces Department


              c.     T. OtDnnor, County Administrator
                     K. Burke, Jr., Deputy County Adzninistra tot
                     A. Bazer, County Counsel
                     J, Tobia, Director Department of Public Works & Engineering
                     J. Cerreta, Assistant Director Department of Public Works & Engineering
                     (all via interoffice mall wfo enclosure)
                     File
  _______




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                                            Document 366 Filed 04/21/17 Page 193 of 221 PagelD 610




                                                   Luther S. Graham
                                                 56BManchestcrCcurt                            tFCIVFfl
                                              Freehold, New Jersey 07728
                                                    (732)809-6903
                                                                                            2I5 SEP 18 PH 3 37
                                                                                                ,,:i1 ij4j ii L... : (1 1
                                VIA CERTIFIED MAIL. R.R.R. AND REGULAR MAIL, PEso:nEL 0ErMTNEH.

            September 15, 2015

            Moornouth County Department of Human Resources
            One East Main Street
            Freehold, New Jersey 07728

            AlL: Frank I. Trugno, Jr., Director

             RE: ONGOING RETALIATION AND UNLAWFUL VIOLATIONS OF COUNTY
                 POLICIES AND RUI.E

             Deer Mr. Tragno:

             [am in receipt of your response dated August 5, 2015. 1 hereby respecti’uIly request a
             reconsIderation of your decision with regards to my various complaints, as I feel the concns
             raised in my complaints were not addressed foily. The mailers of my concern include, but are
             not limited to, my subjcction to workplace di5Criminadon and/or harassment bused upon race and
             my superiors indeed took inappropriate action regarding job appol tmeats rising to the level of
             violations of laws or of any unlawful violation of county poLicies, rules and union contrcct.

             The facts have been misrepresented, thus, I stand by my belief that the determinations made are
             incorrect and Ibat further action is needed from your office.

             With regard to my March 12, 2015 complaint, I take umbrage that Human Resources attempts to
             paint me as an abuser of the system, citing: “For an employee to knowingly le a false complaint
             against his superiors and the County of Moomouth, is a very serious matter in violation of
             County policy. Your allegation and subsequent investigative findings hsvc been referred to the
             County Adminisator for review end possible disciplinary actions.”

             1, Luther S. Graham, did not file false complaints; please reference the last paraaph of my
             letter dated March 12,2015 stating: I hereby ceztifj that the foregoing statements made by me
             ore all true to the best of my knowledge, infonnation and belief I am aware that if any of the
             foregoing statements made by me are willfully false, that 1 am subject to punishment under the
             law.” I contend that this is retaliation used against me as a lactic to intimidate me, and undue
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               Monmouth County Department of I3uman Resources
                September 15,2015
                Page 2

               actions continue as I glst against being silenced by my superiors and the County of Moomouth.
               As! continue my just pursuit of this mailer, (have been subjected to r imion for exercising
               my rights, Including but not limited to, those under the Conscientious Employee Protection Act,
               and this also is an unfair labor practice, and Steve Kicinman’s breach of his duty of fair
               representation a.s County counsel. Please reference previously submitted corraspoadence in
               which I made a formal complaint ainst Mr. ICleinman, who did not treat this matter
               confidentiafly and discussed it in the workplace with Craig Daniels, Security Officer, In
               violation of the County policy prohIbiting workplace discrimination and harassment. I contend
               that Human Resources has wrongfully referred the aforementioned allegation and subsequent
               investigative finding to the County Administrator for review and pos[ble disciplinary actions.

               I contend that wrongfully mentioning the issue of such dacipline has been done in retaliation
               against me1 Luther S. Graham, for making good faith complaints.

               In addition, my superiors have demonstrated a wanton disregard for my contract, end the County
               Policy. They have been vindictive, arbitrary and capricious in their efforts to intimidate me and
               other County staff members. The County needi superiors with an interest to adhere to union
               contracts and County policies. I desire fair and equitable treatment, which I am entitied to under
               the preamble of my contact. I must emphasize, far my superiors and the County of Monruouth
               to knowingly file a false complaint, conduct insufficient Investigative reports and interviews
               against me, Luther S. Graham, in an extremely serious matter and In violation of County Policy.
               lam a tenured end stellar County employee with more than two decades of dedicated service and
               I strive for a harmonious environment, In sum, I respeciHy request your support to thoroughly
               investigate my various complaints. I respectfully request an answer regarding your consideration
               of the aforementioned matter and thanic you in advance for your consideration.

                Respectfiully yaws,



                Lither S. Oraham
                Senior Electrician

                cc T. O’Connor, County Adnilnistrotor
                   S. Kleinman. County Counsel, In-house
                   K. Burke, Jr, Deputy County Administrator
                   A. Bazer, County Counsel
                   3. Tobia, Director, Department of Public Works and Engineering
                   3. Cencta, Assistant Director, Depaxtneut of Public Works & Engineering
                   (Note: AU via Inte!offlce mail)




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                                                                             Fo Irftn cat




              September 24, 2015

             yfrçertifled R2R. and Re1ar Mail
             Lutlier 5. Graham
             568 Manchester Court
             Ireehcld, New Jersey 07728

             REi Yourieguesi for reconsideraiton

             Deax Mr. Grahaim

                   This will acknowledge your September 15, 2015, writing to me wherein yon
                                                                                                    have
             requested a reconsideration of the “...varlous compIa1nis... raised earlier in the year4.

                    With the exception of two new issues now raised in your September 15th writing,
             your earlier complaints were fully investigated and thereafter responded to
                                                                                                  In my
             August 5, 2015 wrIting to you. As to these matters, your writing of September
                                                                                                     15’
             provides no new information, nor cogent argument for reconsideration end
                                                                                             accordingly
             your request for “...reconslderation of [myj dedsiori... Is respectfuily declined.

                   With regard to the two new Issues raised in your writing, speci&ally

                  1) That portion of your writing which takes exception to that portion of my
             August   writing which in relevant part provides

                   For an employee to knotufngly file a false complaint against hi superiors and the
                   County of Manniouth is a very serious matter in violation of county polky. YOUT
                   allegation and subsequent lnvesHgative findings have been referred to the County
                   Administratorfor review and possthle disciplinary actions.


             ‘Our records reveal submission from you of         February 2, 2015, March U, 2015 and
             April30, 2015.




                                                                                                           P88
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         —   S   t



                     Luther S. Graham
                     September 24, 2015
                     Page 2


                            As noted within my August 5th writing, this language refers to your claim that
                     you were not Interviewed for the Project Manager, Consthction promotional
                     opportunity. Our Investigation revealed tbat you,. along with three other Individuals,
                     were Interviewed for the position on January 28, 2014. As noted in the August 5th
                     wrfflng

                            Your aflegnHon that you were not interviewedfor the posiHon.,. is completely
                            baseless an,1 unfounded.

                            The language within my August 5th writing concerrdng false claims, places you
                     on notice that such c]aims are a serious matter. Your denial of such action(s) Is noted
                     and will be taiwrt Into consideration.

                            2) The next niatter raised Involves allegations against Special Counsel Steven
                     Kielonnan. Though I am not conducting this Investigation, I have been able to con&m
                     that Special Counsel Douglas Kovata, assisted by Gwendolyn Thomas are reviewing
                     your claims. Pending the conclusion of their Investigation, further action by my office is
                     not warranted.

                                                                 Respectfully submitted,




                                                                 Prank). Tragno, Jr., Director
                                                                 Human Resources Department



                     c.    T. O’Connor, County Administrator
                           K BuxIe, Jr., Deputy County Administrator
                           A. Bazer, County Counsel
                           J. Tobia, Director Department of Public Works & Engineering
                           J. Cerreta, Assistant Director Department of Public Works & Engineering
                           File




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                February t0,201

                Via HandDciiverv. US Ma
                                        ll &_C’er:lfled Mail: Re              turn Receipt ReQuested
               Mr. Luther Graham
               56B Manchester Ct.
               Freehold, NJ 07728

               Re:      Monmouth County Report of
                                                             JncidentlComplaint October
                                                                                                1,2015
               Dear Mr. Graham:

              As you know, 1, together with Spe
                                                 ciaL Labor Counsel for Monm
              Kovats, Esq., were assigned to rev                                 outh County, Douglas 3.
                                                  iew a portion of the claims set
              correspondence dated October                                        forth by you in
                                              1,201.5. The principle focus
              that portion of your correspond                               of the present investigation Is
                                             ence which states:
                       “Next, on or about September
                                                      15,2015, 1 was subjected to diff
                       Specifically, I was informed                                     erential treatment.
                                                    by my supervisor/manager, Aaron
                       two of us could no longer ride                                    KInney, that the
                                                      in the same vehicle when resp
                      job. This directive was ordered                                 onding to a pending
                                                         by
                       Services, and Craig Bell, General David Krzyzanowski, Supervisor of General
                                                           Tra
                       American and I cannot ride in the des Supervisor.          I am en African
                                                                                         ,..

                                                           same vehicle with my Caucasian
                      Aaron Kinney, [F)or quite som                                          supervisor,
                                         ...
                                                          etime, my supervisor/manager
                      together in the same vehicle wit                                    and I rode
                                                       h no incidents, no problems. Wh
                      change? I continue to suffer adv                                    y
                                                         erse employment actions such as the sudden
                      aforementioned. This is retaliat
                                                       ion. My working conditions are the
                      intolerable. Why would my sup                                      becoming
                                                        ervisors want me to travel alon
                      all the adverse employment acti                                   e? I contend that
                                                      ons are to compel me to resign,
                      discharge)...”                                                    (a constructive

            As set forth within this corresp
                                             ondence1 after a thorough inv
            allegations, we are unable to sub                              estigation of your
                                               stan
            discriminatory motivation and/or tiate that the direction given was based upon
                                                retaliatory in nature.

            ‘IL l noted that the correspond
                                             ence
            County, and instances whre1n you r teratas details of events previously cinplained of by you to the
                                                   took exception to certain conclus
            of an eadier 6nding which con                                            ions reached. Specifically, that
                                                                               a ProJect Manager position. Althou portion
                                             cluded you were interviewed for
            will review a portion of that inv
                                              estigation within this writing, we
                                                                                 find no basis with which to distu
                                                                                                                     gh we
            conclusions reached, to itte effe
                                              ct that you were interviewed for                                     rb the
                                                                               the position.

                                          Monnuth cern Brzorc ot Cnoson Fre
                                                                            ehcleis
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     Case 3:16cv.O1578PGSLHG                  Document 36-6 Fed




             Discussion.

              We were unable to conclude that
                                                 the meeting described in your Oct
              on September 15, 2015, though                                            ober 1 writing took place
                                               all parties agreed some form of
              described occurred on or about Sep                                   that the events that you
                                                    tember 15, 2014,
             Messrs. Krzyzanowski and Bell bot
                                                    h
             their supervisory actions were mad advised that after a series of allegations concerning
                                                   e by you1 as of the date of Sep
             not have supervisory responsibilitie                                   tember 15, 2015, they did
                                                   s
             supervisors’ meeting occurred on over you. Assuming for the moment that the
                                                 or
             a meeting between the supervisor about September 15, 20141 we were able to confirm that
                                                s took place. However, all, par
             meeting agreed that the direction                                    tIes in attendance at the
                                                provid
            you were not present during the dire ed to Mr. Kinney 1) was not reduced to writing, 2)
                                                    ction given to Mr. Kinney, and
            provided the direction to you, neit
                                                her Mr. Krzyzanowski nor Mr. 3) at the time Mr. Kinney
                                                                                    Belt were present.
            During the September 15, 2014
                                             meeting
            the meeting was to improve perform , all supervisors present agreed that the purpose of
                                                    ance within Mr. Kinney’s sec
            K.rzyzanowski and Bell referred to                                      tion. Both Messrs.
                                                  either Kinney’s “performance
            which in relevant part were designed                                    objectives” or “objectives”;
            department, 2) ensure that work          to: 1) improve performance of
                                                                                       work orders givers to the
                                             orders were distributed in a timely
           ‘ion the road” earlier In the workday,                                     manner, 3) trucks were
                                                     and 4) that the practice of you and
           riding together was to be discontinu
                                                  ed. On this final point, both Krz Mr. Kinney routinely
           were specific. If on a limited bas                                          yzanowski and Bell
                                              is
           a specific job, and you would ben you needed assistance from Mr. Kinney in “planning ouV’
                                              efit
           would be permitted. However, on from Mr. Kinney’s experience, riding with Mr. Kinney
                                                 a day-to-day basis, you were not
           with Mr. Kinney, but rather, you                                           to routinely ride along
                                             should be assigned your own veh
           perform, and Mr. Kinney should act                                       icle and work orders to
                                                   in a supervisoiy role, traveling to
          that work was being produced in a                                              the site only to ensure
                                                timely and appropriate mariner.
          On this last point, both Messrs. Belt
                                                  and Krzyzanowski advised that
          section explained that on a routine                                         other workers within the
                                                basis you and Mr. Kinney were
          oftentimes it appeared to these wor                                       traveling to job Sites and
                                                kers that you were acting in a cap
          supervisor, not performing separat                                          acity of pseudo-
                                               e work responsibilities, but rath
          sites with Mr. Kinney.                                                   er simply traveling to job

          With regard to your observations that
                                                other workers are permitted to trav
          has been confirmed. However, we
                                             find no discriminatory nor retaliat el together, the same
          different travel arrangements.                                        ory basis for the

          It is noted that the painting crews,
                                                HVAC crews and certain other trad
         together. A further review of thes                                             es do routinely travel
                                               e claims reveals that the jobs for
         respond to, often entails work whi                                        which these workers
                                               ch
         However, certain trades, specificall requires more than one person to attend to the task.
                                                y the electrical work, for which
         oftentimes only requires one individ                                      you are responsible,
                                                 ual to perform the task. In fact
         are more vehicles used for the elec                                      , it is reported that there
                                               trical
         one-vehicle distribution of work assi trades to specifically accommodate a one-person,
                                                  gnments. However, where wor
         electrical workers, those individuals                                      k does entail one or more
                                                  may travel together.



                                                                                                                   P97
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                                                                 e 212 of 221:69_




            We conchide that the direction provided
                                                       was neither motivated by race or retaliatio
            rather Intended to improve performance.                                                 n, but
                                                        As noted hereinabove, there were addi
            aspects of the meeting with Mr. Kinney                                              tional
                                                      above and beyond simply the cessation
            traveling together between you and Mr.                                              of the routln
                                                     Kinney. We find it credible that the over
            of the meeting was designed to improve                                                all dlrectton
                                                      performance of Mr. Kinney’s section.
           A brief digression is appropriate here to
                                                      address the collateral claim made by you
           for retaliatory action. Although it is note                                            as the basis
                                                       d by
           various allegations against County members, the investigators that you have presented
           these allegations were thoroughly inve           in each and every Instance, it appears clear
                                                   stigated and responded to. tn instances                that
           have not been satisfied with the conclusio                                         where you
                                                       ns,
           various appeals either to PERC, EEOC and/ it is our understanding that you have taken
                                                          or the Civil Service Commission, As of
           writing, we are not aware that any outside                                                this
                                                        “appellate” review has found your claims
           of a different conclusion.                                                                 worthy

           In the present instance, we find no evidence
           actions taken against you. Rather, as note which substantiates that there were retaliatory
                                                      d, we
           improve the performance of the department. find the directions given were designed to
           allowed to travel with your supervisor is not, To the extent that you are no longer routinely
                                                           in our opinion, the basis to find that an adve
           employment action hd been taken against                                                        rse
                                                        you. Though it is true as you have stated
           are A&ican-Arnerlcan and your supervisor                                                 that you
                                                        is Caucasian, we do not find that the action
           based or motivated in any manner what
                                                   soever because of either or both of your races was
           era simply unable to sustain such a conc                                                  , We
                                                    lusion.
           Interviews:

            One final point is worthy of discussion, It is
                                                            noted that in September/October of 2013, a
            time employee of the County, simply iden                                                         long
                                                       tified for purposes of this writing as “Wa
            advised that he was considering ‘eaving                                                  lter”
                                                     his County employment to retire. Administ
           staff within the Division of Buildings and                                                 rative
                                                       Grou
          job responsibilities of”Watter’&’ position, expands, saw this as an opportunity to modif’ the
                                                              nd them, and began to take steps to inter
           applicants for the position. Although the post                                                  view
                                                            ing and closing dates for the job position
           October 10, 203 through October 17, 2013                                                       was
                                                         , respectively, due to various scheduling issue
           you were not interviewed until January 28, 2014                                                   s,
                                                               . Other interviewees for the position were
           interviewed at various times after the October
                                                             posting, inclusive of interviews held over
          December holidays. At the conclusion of the                                                      the
          included, appeared to be in the beat position     inter views, two (2) candidates, yourself
                                                          to assume the responsibilities of the prop
          new position, Supervisory staff provided                                                      osed
                                                      an opportunity to further test and/or groo
          candidates under consideration. It is our unde                                            m  the
                                                            rstanding that as a result of your performan
          in the interview, you were afforded the oppo                                                      ce
                                                          rtunity to supervise renovations/work that
          occurred at the Monmouth County Correctio
                                                          nal Faci
          to assist you in your work responibllities to over lity and, assigned a fleet vehicle in order
                                                                see the tasks involved with the work. In
          fact, Mr. Krzyzanowski, expressed pride in your
          assigned, he was copied on emails, demonst           appr  oach to the task, noting that once
                                                        rating your organizational skills, and
          coordination of the work. The other candidate
                                                             was given an assignment associated with
          demolition at a County probation facility, at
                                                         Seaview Square Mall. For reasons not know
                                                                                                           n,
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     a,.




           nor necessarily relevant to our conclusions In this instance, “WaIte
                                                                                 r”, the individual who
           originally advised that he was going to retiie, did not do so, and the new
                                                                                         expanded position
           never caine to fruition The other candidate under consideration, who
                                                                                     also performed well,
           advised that they were aware that the position was for “Walt’s job”. Thoug
                                                                                           h he was not
           “offLcially” notified by the County that the new position would not
                                                                                  be filled, they assumed
           that because “Waft” did not retire, the position would not be filled.

           We have confirmed that the County does not routinely write to interviewees
                                                                                        when a position
           is not filled. Although a letter may have assisted you in your understandin
                                                                                      g of this matter, it
           does not appear that there was a violation of any protocol or County policy
                                                                                       with regard to the
           failure to issue a post-interview letter.

           Conclusion:

           For the reasons set forth above, after a thorough investigation of the Inform
                                                                                         ation presented
           and/or made available to us, we find no basis to substantiate your claims that the
                                                                                               action taken
           to preclude you &om riding with your supervisor was either discriminatory
                                                                                         and/or retaliatory.
           Nor do we find that the conclusions reached earfler by Mr. Tragno to the effect that
                                                                                                  you were
           interviewed for a promotional opportunity is materially false. Though all
           individuals may not have been interviewed on January 28, 2014, we find no basis
                                                                                                to
           disturb the conclusions reached by Mr. Tragno that you were Interviewed on Januar
                                                                                                  y 28,
           2014.

           Accordingly, we recommend that no further action be taken with regard to this matter
                                                                                                and
           investigation is hereby concluded.

           Very truly yours,



           o%omas,LIA
           Human Resources




           Douglas 3. Kovats
           Special Labor Counsel

           Cc,;   T. O’Connor, County Administrator
                  K. Burke, Jr., Deputy County Administrator
                  A. Bazer, Esq., County Counsel
                  F. Tragno, Jr., Director of Human Resources
                  I. Tobia, Director of Public Works and Engineering
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             EXHIBIT C
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                                       UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF NEW JERSEY
              LUTHERGRAHAM                             :      C1VILACTION
                        Plaintiff,                            No.: 16-1578



         MONMOUTH COUNTY
         BUILDINGS AND GROUNDS
              and
         DAVID KRZYANOWSKI
              and
         ROBERT W. COMPTON
              and
         CRAIG BELL

                        Defendants.


              PLAINTIFF’S RESPONSES TO DEFENDANT
                                                 MONMOUTH COUNTY BUILDINGS
                         AND GROUNDS’ FIRST REOUESTS FOR ADM
                                                             ISSIONS
               Plaintiff Luther Graham, by and through his unde
                                                                rsigned counsel, hereby responds to
         Defendant’s First Request for Admissions as follows:

         I.      RESPONSES

                 A.    Cencral Obiections.

                       I.      Plaintiff generafly objects to Defendant’s First Requ
                                                                                    ests for Admissions to
         the extent they are ambiguous, vague, over-broad and/
                                                               or unduly burdensome.
                      2. Plaintiff generally objects to Defendant’s Requ
                                                                            ests for Admissions to the
        extent they improperly call for information protected
                                                              by the attorney-client privilege and/or the
        attorney work-product doctrine.
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                          3. Plaintiff generally objects to Defendant’s
                                                                            Requests for Admissions to the
          extent they improperly seek information that
                                                          is not relevant to any of the issues in this
                                                                                                       dispute,
          and/or are not reasonably calculated to lead to
                                                          the discovery of admissible evidence.
                         4.      Plaintiff generally objects to Defendant’s Requ
                                                                                     ests for Admissions, as
          discovery has not yet closed, and this matter
                                                        has not yet been prepared for trial.
                         5.     Accordingly, these Answers are made without
                                                                              prejudilce to Plaintiff’s right
         to amend the answers set forth herein and/or
                                                       to present additional information that is here
                                                                                                        after
         obtained or evaluated.

                        6. Plaintiff generally objects to Defendant’s
                                                                       Requests for Admissions to the
         extent they cause unreasonable annoyance, emb
                                                        arrassment, oppression, burden and/or expense.
                        7. Plaintiff generally objects to each of the Adm
                                                                           ission Requests to the extent that
         their scope exceeds the scope of discovery perm
                                                          itted by the Federal Rules of Civil Procedure.
                 B.     Sccific Oblectians and Answers

               Without waiver of the foregoing general obje
                                                            ctions, Plaintiff responds as follows to
         Defendant’s Requests for Admissions as follows:

          PLAINTIFF’S RESPONSES TO DEFENDANT
                                             MONMOUTH COUNTY BUILDINGS
                     AND GROUNDS’ FIRST REOUESTS FOR
                                                     ADMISSIONS
        1.     You did not apply for the position identified
        attached hereto as Exhibit A.                        in the posting, identified us G-3,

            Admitted.


        2.     You did not apply for the position identified
                                                             in the posting, G.4, attached hereto as
        Exhibit B.

            Admitted.




                                                         2
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          3.    You have no personal knowledge that
                                                       the clock punches identified in Mo
          County 01015-01019 (attached hereto                                            runouth
                                              as Exhibit C) are inaccurate.
             Admitted.


         4.     You have no personal knowledge that
                                                    the persons identified in Monmouth
         01020 (attached hereto as Exhibit                                              County
                                           D) did not receive a Notice of Counseling
         Tardiness.                                                                  related to

             Admitted.


         5.     You admit that the document Monmou
                                                   th County 01021-01024 (attached her
         Exhibit E) was received by you.                                               eto as

             Admitted.


         6.     You admit the document Monmouth
                                                        County 01021-01024 (attached hereto
         Exhibit E) was the response received from                                               as
                                                       Moumouth County Department of Hum
         Resources relevant to a portion of the                                                 an
                                                claims set forth by you in a correspondenc
         October I 2015.                                                                   e dated

            Admitted,


        7.     You admit that the document Monmou
                                                  th County 01025-01029 (attached her
        Exhibit F) was received by you.                                               eto as

            Admitted.


        8.     You admit that the document Monmouth
                                                        County 01025-01029 (attached hereto
        Exhibit F) was the response received from                                            as
                                                   the Monmouth County Department of
        Resources relevant to a portion of the                                         Hum  an
                                                  complaint of the claims set forth by
        correspondence dated June 18, 2015.                                            you in

           Admitted.


        9.     You admit that the document Monmou
                                                  th County 01030-01037 (attached here
        Exhibit G) was received by you.                                                to as

           Admitted.

                                                    3
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          10.    You admit that (he document Monmouth County
                                                                01030-01037 (attached hereto as
          Exhibit G) was the response rcceivcd by you from
                                                           the Monmouth County Department of
          Human Resources relevant to your written complaints
                                                                of February 2, 2015; March 12,
          2015 and April 30, 2015 against your superiors
                                                            , Robert Compton, Superintendent,
          Buildings & Grounds; David Kryznowskt, Supervisor,
                                                               General Services; and Craig Bell,
          General Supervisor, Trades.

             Admitted.


          11.    You admit that the document identified in the pages
                                                                     of Monmouth County 0 1038-
          01039 (attached hereto as Exhibit N) was received by
                                                               you.
             Admitted.


         12.     You admit that the document Monmouth County 01038
                                                                    -01039 (attached hereto as
         Exhibit H) was the Monmouth County Department of Human
                                                                    Resources response to your
         September 15, 2015 correspondence wherein you
                                                                requested reconsideration of
         the”.,.various complaints” raised earlier In the year.

            Admitted.


         13.    You admit that during your employment with dcfcndnnt,
                                                                      Monmouth County, you
         received a promotion to Sr. Electrician.

            Admitted.


                                                       KARPF, KARI’F & CERUTTI, P.C.

                                                       ‘s/ Mark D. Tietnan

                                                      Mark D. Tieman, Esq.
                                                      Two Greenwood Square
                                                      3331 Street Road, Suite 128
                                                      Bensalem, PA 19020
                                                      (215) 639-0801 phone
                                                      (215) 639-4970 fax
         Date: March 21,2017
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                                       UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF NEW JERSEY
          LUTHER GRAHAM
                                                       :       CIVIL ACTION
                         PIajntiff                     :       No.: 16-1578
                 V.


         MONMOUTH COUNTY
         BUILDINGS AND GROUNDS
              and
         DAVID KRZYANOWSKI
              and
         ROBERT W.COMPTON
              and
         CRAIG BELL

                        Defendants.


                                          CERTIFICATE OF SERVICE

               I certify on the date set forth below that I served
                                                                   Defendant with Plaintiff’s Responses to
         Defendant’s First Requests for Admissions:

                                              Daniel R. Roberts, Esq.
                                         Kenney, Gross, Kovats & Parton
                                          130 Maple Avenue, Building 8
                                               Red Bank, Ni 0770)
                                              (732) 530-7500 Phone
                                              droberu(kenneyrcss,com
                                     Attorney for Defendant Monmouth County


                                                      s/ Kristin Stipo

                                                     Kristin Stipa
                                                     Para1eaI

        Dated: March 21, 2017




                                                           5
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            EXHIBIT D
                                                                       __________
                                                                                                      ___
                                                                                                            ___
                                                                                                                __________________
                                                                                                                                         ________________
                                                                                                                  ___
                                                                                                                     ___
                                                                                                                            ___
                                                                                                                                   ___
                                                                                                                                        ___
                                                                                                                                               ___
                                                                                                                                                ___
                                                                                                                                                   ___
                                                                                                                                                    ___
                                                                                                                                                       ___
                                                                                                                                                        _
                                                                                                                                                              ___




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                                                               -—



                                                                                                                                         —




                                                         JOB POSTING
                                           Posting Date
                                                                                    Closing Date 0345/16
                                                                                                                                       ID 4
                                                                                                                                  ,.




            Departneat) DivisIon DPW
                                                                                                          ...
                                                                                                              ...
                                                                                                                   ...
                                                                                                                        .




                                          &   Engineering
                                                                                                  /   Buildings and Groun
                                                                                                                          ds
            Position Title   Crew Supervisor Bu
                                                ilding Maintenance
                                                                                    Worker
                                                                                                        Salary Range 55,000 /yr.              69,600   /yr.
            Workalte   Various


         OFICPT                4 Of linJWk M-F
                                                                                                            0       Regular                   Temporary
                                                     shift   7:00   a.m.        -    3:30        p.m.
                                                                    fron                    to
            JOB REOUTREMENTS NO
                                T LISTED ON THE                            ATTACHED NJD
                                                                                        OP                      JOB DESCRIPTION
        JVal1d NJ Drivers Ucense
                                                                                                   DLlcense. Tvoe ofEndon
                                                                                                                          ement
        )re-Employnient Testing
                                                                                         /
         ELIGIBILITY
           Must meet the minimum requir
                                           ements listed on the NJDO
           requirements listed on this Job                              P fob Description, as well as,
                                            Posting as of the closing dat                              other
         *
           Must be actively working as of                                 e.
                                           the closing date.

        SELECTION
             Consideration will first be giv
                                             en to qualified, internal emp
             for a minimum of one year.                                    loyees, who have permanen
                                                                                                       t job title status
        *    Work performance records wil
                                              l be reviewed with employees
             selection process.                                               current supervisors as part
                                                                                                           of the
             NOTE: Candidates on        existing   Certification of Eligibles for
             may take priority.                                                   Appointment (Open NJ                            DOP Lists)

       PR1tFEIRED JOB OUALIFJ
                             CATIONS
       Applicants who possess one
                                  or          more   of the following qualification are
                                                                                   s                        preferred:
       5Th1s job posting is for anticipat
                                          ed         vacancy/promoti
                                                                                         opportunities.
       **All interested emplo                                        ona             l
                                     yees please deliver your job
                                                                         posting applicatio
      main office,      250 Center Street, Freehold NJ                                      n to Cecelia                      Thomas @ the B&G
                                                             07728     by 4:30 pm on 3/1346.

      APPLICATION PROCEDUR
                                      E
      Complete Job Posting Applicat
                                      ion, available in each Count
      and submit it to the Interview                               y Department and on the Emplo
                                     ing Manager listed below by                                 yee Intranet,
                                                                  the closing date.
                  David Krzyzanowki
                  lntervfrrUig Manager’s Namsi                             i   Supervisor of Gener
                                                                                                   al Services
                                                 Title

     09/09/05
                                                                                                                                       FORM
                                                                                                                                  •DEDM4T’S
                                                                                                                                    EXHIBIT

                                                                                                                                                                    P2
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                                                                                                                  Page I of3

                        New Jersey
                      CMI Serce
                    Cocnmlsslon


              You era reading the State of
                                           New 3ersey Job Deiptian
                                                                   s. This is net a Job Vacancy
                                                                                                Announcement.
                  Job   Speciticatlon
                  CREW SUPERVISOR BUX
                                      LDZN MA!NTENANCE
                                                       WORKERS
                  DEFXNZTION

                  Under upervislon of a sup
                                              erv
                  institution or agency1 takes isory official in a state or local department,
                                               the lead In and supervisss
                  engaged In the cleaning and                                  a
                  and the making of minor repairsgeneral maintenance of officgroup of employees
                                                                                   es and furniture
                                                      to bui ldin gs and app urte
                                             activities. Prepares and sign nances.
                  SupervIses staff and work
                  performance evaluations for                                  s
                                                subordinate staff; does oth official
                                                                                er related duties.
                  ROTE: The examples of work
                                                  for this tit’e are Par iiusb’a
                 A particular position using this                                tlve purposes only.
                 job specification. Conversely title may not perform al duties listed In this
                                               , all duties performed on
                 listed.                                                     the job may not be

                 EXAMPLES OF WORK:

                Inspects arid determines the clea
                and the equipment, materia       ning and mantenance work
                                           ls and supplies needed,        to b done
                Develops work plans For clea
                effective work methods.     ning and maintenance work
                                                                      and develops

                Provides assignments to Buil
                Maintenance Workers, end ding Maintenance Workers, Senior Building
                maintenance work; superv
                                                other employees engaged
                                              ises the performance of theiInr cleaning and
                                                                              work.
                Supervises the work operati
                responsibIlity for affectively ons end/or functional programs and has
                                                recommending the hiring,
                demoting and/or disciplining                               fIring, promoting,
                                                  of employees.
               Takes a leading part in clean
                                                 ing
               lighting fixtures, windows and and maintenance of desks, chairs, rugs,
               department or agency build other furniture and fixtures in a state institution
                                               ing.                                           ,
                Supervises and takes a leadi
                                                  ng
                windows, doors and other glas part in the cieaning arid washing of
                                                    s areas.
                Supervises and takes a leading
                floors, in applying filler, shellac part in sweepIng, washIng and sanding
               wax end polish to wooden lino , paint and varnish to floors and In applying
                                             ,      leum and composition floor
                                                                                   s.
               Supervises arid takes a leadi
                                                 ng part in applying pain
               turpentine or other suitable                                 t remover and
               discolored areas and in appl agent to furniture, In sanding rough and
                                               ying linseed oil, varnish,
               enamel and/or paint to varied                                 stain, lacquer,
                                                   types of Furniture.
               Conducts inspection of buildings
                                                     , offices arid other roo
              end other significant conditi                                   ms to note hazards
                                               ons and sees that needed
                                                                              work Is done.
              Obtains, safeguards and dist
                                                ribu
              and general maintenance equ tes and supervises the use of cleaning
                                                 ipment, materials and sup
                                                                               plies.
              Prepares and maintains reco
              supplies and work complet        rds  of  personnel, time, equipment,
                                             ed.                                        materials,
             Will be required to learn to utiliz
             manual recording and informati e various types of electronic and/or
                                               on systems used by the
             or related units.                                        agency, office




        bttp:/riofo.csc.state.nj.usljo
                                       bspec/      44 I 35.htm
                                                                                                                3/412016


                                                                                                                               P2
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                                                                                                       Page 2 of 3
                    REQUEREMNTS:

                   EXPERIENCE:

                   Two (2) year, of experie
                                           nce In work invoiving
                   and general maintenance                         the
                                            of offices, furniture and inspection, cleaning
                                                                       buildings.
                   UCENSE:

                   Appointees will be require
                                              d
                   New Jersey only if the ope to possess a driver’s license valid In
                                              ration of a vehicle, rat
                  mobility, is necessary                               her than employee
                                         to perform the essent
                                                                ial duties of the position.
                  Appointees may be req
                                          uire
                  License (CDL) and applica d to possess a valid Commercial Driver’s
                  of vehicle being operated. ble endorsements for the class and type

                 NOTE: The responsibility
                 required motor vehicle licefor ensuring that employees possess the
                 of vehicles they operate, nse, commensurate with the class and typ
                                           rests with the Appointing Aut            e
                                                                         hority.
                 KNOWLEDGE AND AB
                                         ILiTIES:
                 Knowledge of the problem
                 determining the cleaning s and procedures used in inspecting pre
                                                                                  mi
                 equipment and tim. req and maintenance work to be done and the ses,
                                        uired.                                      staff,
                 Knowledge of the method
                 of desks, chairs, rugs, lighs and materials used in cleaning and maint
                                              ting fixtures, window                        ena
                 end fixtures in buildings.                         s, floors and other furn nce
                                                                                            iture
                Ability to organize iarge.
                                           sca
                work and to deveiop effe le supervisory cleaning and maintenance
                                           ctive work schedules
                                                                and methods,
                Ability tO provide assign
                                          ments to employees doi
                maintenance work and                              ng cleaning and
                                         to supervise their work.
                Ability to supervise assigne
                projects within the unit. d staff and plan, organize and implement

                Ability to conduct inspecti
                                            ons of offices end bul
                cleaning and general ma                            idings, determIne
                estimates of staff, equ intenance work to be done and to make
                                       ipment end time require
                                                                 d.
               Ability to supervise end lead
               maintenanc, of desks, cha the work involved in the cleaning and
               other furniture and fixtwe irs, rugs, lighting fixtures, windows and
               sanding of floors; In app s in a buildIng; the sweeping, washing and
               poliSh to wood, ilnoleumlying filler, shellac, paint, varnish, waxes
                                        ,                                            and
              remover, turpentine or othor composition floors; in applying paint
              end/or discolored areas; er agent to furniture; in sanding rough
              lacquer, enamel and painand In applying linseed oil, varnish, stain,
                                          t to varied types of furn
                                                                    iture.
              Ability to supervise was
                                       hing and cleaning of
              glass areas.                                    windows and other

              Ability to note hazards end
                                             notify the proper offi
                                                                    cial.
             Ability to prepare and mai
                                           ntain records of wor
             completed, personnel, mat                          k
                                            erials used and tim in progress, work
                                                               e.
             Ability to requisition, Sto
                                         re and supervise the use
             end materials.                                          of equipment

             Ability to learn and utilize
                                          various types f electron
             recording and information                             ic end/or manual
                                          systems used by the
             related uni,                                      agency, office or

             Ability to read, write, spe
                                         ak,
             sufficiently to perform the understand, or communicate in English
                                          duties of this position.
             Language or Braille may                               American Sign
                                        also be considered as
             of communication.                                  acceptable forms




       http://info.csc.state.ni .us/jobsp
                                             ec/4413 5.htm
                                                                                                    3)4/2016


                                                                                                                     P26
Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 59 of 293 PageID: 3290




                                                                                                                Page 3 of 3

                 Persons with mental or phys
                                             ical disabilities era eligible
                 as they can perTorm essentia                               as long
                 reasonable accommodation. lfuncttons of the job with or without
                 made because it would cause     the acco  mmo  datio n can not
                                               the employer undue herdsh be
                 such persons may not be eligi
                                               ble.
                                                                              lp,
                 This job apedilcadon Is app
                                             licable to the following title
                 3ob                                                        codei
                              Variant    State,   Class of Work
                 Spec                    Local or ServIce We                  State   Local   Salary
                 Code                                         ek              Class                    Note
                                         Common                                       Class   Range
                 44135                                                        Code    Coda
                                             C        N    40                 09      05      RiO
                 This job specification is for stat
                 Salary range is only applicable e and local government use.
                 Local sale 1es are established to state government.
                                                 by individual local jurisdictions.
                  2/20/2016




        http://info.csc.state.nj.us/jobspec/44
                                               135        .htm
                                                                                                              314/2016


                                                                                                                              P2
                                                                                                                ___
                                                                                                                    ___




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                                             JOB POSTING APPLICATIO
                                                                                            N

                    Postion Applied For         Crew Supvr BldgMaint Wrkr
                                                                                                PARP ID #
                    Posting Date                                                                (ff,pplkabi.)
                                                03/08/2016
                                                                                Closing Date 03/15i2016
                    DepartmeDt I Dh’lsion       DPW & Engineering
                                                                                / Buildings & Grounds

                    Name
                   Present Position

                   Department I Division
                                                                                I
                   Supervisor’s Name

                   Date of Hire


                   In the space below, outline your skil
                                                         ls, knowledge, and abilities that
                   position.                                                               qualif’ you for this




                  In the space below, outline your
                                                   current and prior work experie
                  qua lil’ you for this position.                                 nce andlor education that




                 I certif’ that all the Information pro
                                                        vided by me in connection with
                 Application Is true and complet                                          my Job Posting
                                                   e. I understand that any misstateme
                 omission of Information shall be                                         nt, falsification or
                                                    grounds for refusal to hire or if
                                                                                      hired, termination.
                 Emp1oye’s Signature
                                                                                     Pale

      09116/05
                                                                                                                FORM:   HR-03




                                                                                                                                P2
Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 61 of 293 PageID: 3292




             EXHIBIT E
Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 62 of 293 PageID: 3293
    Case 3:16-cv-01578-PGS-LHG Document 78 Filed 08/02/18 Page 1 of 171 PageiD: 2278



                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


    LUTHER GRAHAM,
                          Plaintiff,                   Civil Action
                                               DOCKET NO. 16-1578(PGS)(LHG)
                     V.
                                           SUPPLE1NTAL DECLA1AT ION OF ROBERT
    MONMOUTH COUNTY BUILDINGS AND              COMPTON, IN SUPPORT OF ALL
    GROUNDS, DAVID KRYZANOWSKI,               DEFEDANTS’ SECOND MOTION FOR
    ROBERT W. COMPTON, and CRAIG                    ST.Th4ARY JUDGNNET
    BELL,

                          Defendants   -




         I, ROBERT COMPTON, an adult over the age of 18,          do hereby
    swear under penalty of perjury as follows:

       1.      I am an adult over the age of 18 and am employed by
               the County of Monmouth as Superintendent of Buildings
               and Grounds in the Department of Public Works &
               Engineering. I make this declaration in support of
               Defendants’ Second Motion for Summary Judgment.

       2.      It is my understanding that Plaintiff objects to my
               prior declaration because no documents were attached.
               Accordingly, I have searched my records and provide
               the following backup documentation relative to the
               Crew Supervisor position.

       3.      Attached hereto as Exhibit A is a true and correct
               copy o.f. te interview acknowledgement forms for the
               Crew Supervisor position.

       4,      Attached hereto a.s Exhibit B is a true and correct
               copy of the Job Posting applications for all
               applicants.

       5.      Attached hereto as Exhibit C is a true and correct
               copy of Mr. Graham’s application for the Crew
               Supervisor position [personal identifiers redacted].

       6.      Attached hereto as Exhibit D is a true and correct
               copy of Mr. Briscoe’s application for the Crew
               Supervisor position [personal identifiers redacted].



                                           1
                                                                        DEFENDANT’S
                                                                          511T9
Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 63 of 293 PageID: 3294
   Case 3:16-cv-01578-PGS-LHG Document 78 FUed 08/02/18 Page 2 of 171 PagelD: 2279




         7.      Attached hereto as Exhibit E is a true
                                                        and correct
                 copy of the Job Posting for the Crew
                                                      Supervisor
                 position.

         8.      Attached hereto as Exhibit F is a true
                                                         and correct
                 copy of the blank scoring worksheet for
                                                          the Crew
                 Supervisor position.

         9.      Attached hereto as Exhibit G is a true and
                                                            correct
                 copy of the completed scoring worksheets
                                                          for the Crew
                 Supervisor position.

         10.     Attached hereto as Exhibit 11 is a true and
                                                              correct
                 copy of the change in status form for Mr.
                                                             Briscoe.


                                  VERIFICATION

           I, Robert Compton, do hereby swear under the
                                                        penalty of
      perjury that the foregoing declaration made by
                                                     me is true and
      correct.




                                                 Robert Compt
      Dated: August 2,   2018




     State of New Jersey

     County of Monmouth

          On August 2, 2018, before ne, personally appe
                                                        ared Robert
     Compton, known to me and whose name is subscribe
                                                      d to the within
     declaration, and acknowledged that he executed
                                                     the same in his
     capacity as Superintendent, and who, being
                                                 duly sworn on oath
     under penalty of perjury, deposes and says that he
                                                         has read the
     foregoing declaration and that it is true
                                                and correct.




     - -SEAL--                                    JJ    CECELI A. tHOMAS   -




                                       2                My Corn
                                                  4L.      JIfluaryQ
                                                                           J
    Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 64 of 293 PageID: 3295
                  Case 3:16-cv-01578-PGS-LHG          Document 78             Filed 08/02/18   Page 3 of 171 PagelD: 2280


                                                                                                  Bnsee.
              INTERVIEW ACKNOWLEDGEMENT FORM
              The COUNTY OF MONMOUTH is an Equal Opportunity Employer and does
              not discriminate on the basis of race, creed, color, national origin nationality,
              anOestry age, sex or any other protected classification,
                                                                                                 www visitmonmouth corn

                                                                                                          732 431 7300


             POSITION INFORMATION
                                                                                                                          I
         [    Department:
                                                                     appicaIe)

              u   •t                                                Anticipated
              (If app’icable)                                       Position:
                                                                                                  ri/c,’           Pt(
         INTERVIEWER INFORMATION
    /1       (1) Last Name:                                         First Name:
             (print)

             Signature:         7JJ?,
                                                                    (print)

                                                                    Date:()/4                             Time:
                                                                                                                                  (Zi
             (2) Last Name:                                        lFirstName:
             (print)                                                (print)
                                                                                               AfriS                              (1/’
I            Signature:         jate:342/i                                                                Time:
                                                                                        —
                                                                                                      I
             (3) Last Name:                                         First Name;
             (print)                                                (print>

             Signature:                                             Date/22//                             Time:    /cYJ
                                                                                                                                  4/
             (4) Last Name:                                         First Name;
                                 /•r.&—


                                                                                                                                  V
             (print)                                                (print>

             Signature:                                             Date:                                 Time:    // ‘
         My signature on this Interview Acknowledgement Form confirms my participation as art Interviewer for the above
         referenced anticipated position.


         INTERVIEWEE INFORMATION
             Last Name:
             (punt)                c:&&c”ci.i                       First Name:
                                                                    (print)
                                                                                                                              -




             Signature:                                             Date;
                                                                                         3        jime:

         My signature on this Interview Acknowledgement Form confirms my appointment / attendance for the above referenced
         anticipated position.


         HR-25                                                                             T’S
                                                                                         8-1
                                                                                               DEFENDAN
                                                                                               2.2015
Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 65 of 293 PageID: 3296
      Case 3:16-cv-01578-PGS-LHG                 Document 78          Filed 08/02/18    Page 4 of 7    PagelD: 2281




   INTERVIEW ACKNOWLEDGEMENT                                                    FORM
   The COUNTY OF MONMOUTH is an Equal Opportunity Employer and does
   not discriminate o thebasis of race, creed, color, national origin, nationality,
   ancestry, age, sex or any other protected classification
                                                                                          www vsitmonmouth corn
                                                                                               732 431 7300


  POSITION INFORMATION
                     -


                                                                                                        13
   Depament:
                                                            p)

  Unit                   ,
                                                            Anticipated
  (ilappticabe)
                                         )                  Position:           (‘Jtr    NlII          3\   ftj’$


  INTERVIEWER INFORMATION                    -




  (1) Last Name:                                            First Name:
  (print)                                                   (pnnt)                LV/7-/
  Signature:                                                bate:                              Time:     /f’          K
  (2) Last Name:                                            First Name:
  (print)                                                   (prnt                 JO     UI

  Signature:                                                                                   Time:
                                                            Date/2t)6                                    )& Vi
                                                                      I,   /
  (3) Last Name:                                            FiTSt Name
  (print)                                                   (print)
  Signature:        I’7                                     Date9,l;
                                                                           2/          I: /S   Time:

  (4) Last Name:                                            First Name:
  (print)                                                   (print)

  Signature:                                                Date:                              Time:

 My signature on this Interview Acknowledgement Form confirms my participation as an Interviewer for the above
 referenced anticipated position,


 INTERVIEWEE INFORMATION




 My signature on this interview Acknowledgement Form confirms my appointment
 anticipated position.


 H R-25
                                                                                                         08-12-2015
Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 66 of 293 PageID: 3297
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                                                                                               EA4d
       INTERVIEW ACKNOWLEDGEMENT FORM
       The COUNTY OF MONMOUTH is an Equal Opportunity Employer and does
       not discrimInate on the basis of race, creed, color, national origin, nationality,
       ancestiy age, sex or any other protected classification.
                                                                                       www.vlsltmonmouth.com
                                                                                                 732 431 7300


      POSITION INFORMATION                                                                                3     -




       Department:
                         J)f2j                                    pcabe)

                                                                  AnUcipated
                cable)
                                                                                                          1Jiis
     INTERVIEWER INFORMATION




      (2) Last Name:
                          w4--                                    First Name:
      (print

      Signature:

     (3) Last Name:
      (print)
                         —                                       priflt)

                                                                 Date:

                                                                 First Name:
                                                                                   /i&)
                                                                                                  Time:

                                                                 (print)


“1    Signature:                                                 Date:                           Time:

      (4) Last Name:                                         1 First Name:
                          ,L.j   itL
     (print)
                                                             j   (print)

      Signature:          _44/          1-t—-                j_Date:                             Time:              •2,
                                                                                    I     (
     My signature on this interview Acknowledgement Form confirms my particpation as an Interviewer
                                                                                                    for the above
     referenced anticipated position.

                         i
     INTERVIEWEE INFORMATION                     -




     Last Name:                   A                              First Name:
     (print)                 ,44QYt’                             (print)
     signature:
                         J 1iAL       JL                         Date:                           Time:
                                                                           i   r
 My signature on this Interview Acknowledgement Form confirms my app6lntrnent attendance
                                                                             /           for the above referenced
 anticipated position


     HR-25
                                                                                                            08-1 2-2015
                                                                                                       _____




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                                      JOB POSTING APPLICATION


            Postion Applied For        Crew Supvr Bldg Maint Wrkr
                                                                                     PARFIT3#
                                                                                     (II .ppIicabJ9)
            Posting Date               03/08,2016                     Closing Date 03/15/20!6
            Department / Division      DPW & Engineering               / Buildings & Grounds

            Name
            Present Position

            Department / Division          2ph,’                      I_________
            Supervisor’s Name                            /<i-7
            Date of Hire                  5/3j1q                 /
            In the space below, outline your skills, knowledge, and abilities that qualify you for this
            position.




           In the space below, outline your current and prior work experience and/or education that
           qualify you for this position.




                                 5-

                                                                                                               (j)

           I certify that all the information provided by me in connection with my Job Postin’           —
                                                                                                               1’,:’

           Application is true and complete. J understand that any misstatement, falsificati r
           omission of Information shall be grounds for refusal to hire or if hired, terrninatloul[ >
                                                                                                                     c-i

                                                                                                    =
                                                                                                                     I-f,


           Employee’s   .S’ignalure                                          Date


09115105
                                                                                                         DEFENDANT’S
Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 68 of 293 PageID: 3299
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                                             56 B Manchester Court         (732> 809-6903
                                             Freehold, NJ 07728            1utJiersgra1rnmgmaiI.corn



                            Luther S. Graham
                    More than seven years of experience as programming and electrical operator, as
    Summary         well as acting manager for Monmouth County Building and Grounds; 10 years
                    experience as Contract Manager, Assistant Director of a non-profit educational
                    program, and related maintenance, repair, construction and occupational safety
                    experience; and 20 years of various types of office and electronic equipment
                    experience.




    ExperIence      0812005 Present
                             -               Monmouth County Buildings and Grounds
                                             Freehold, NJ
                    Senior Electrician
                    For past seven years I have served as acting manager in the absence of my supervisor
                    Responsibilities include, but arc not limited to, conducting investigations of complain
                    identifying resolutions, ensuring high-level jobs completed in given timeframe,
                    managing a staff of three electricians, providing colleagues with technical advise and
                    assistance and managing schedules and payroll of other tradesmen. Other duties
                    include installing and repairing wires, electrical fixtures, safety and control
                    equipment, indentifying potentially unsafe conditions and taking proper action to
                    protect and preserve property, maintaining adequate inventory of supplies and
                    equipment, testing continuity of circuits to ensure eleethcal compatibility and
                    exercising prudent care over district equipment, vehicles and tools.

                    Monmouth County Division of Employment & Training                   Red Bank, NJ

                    Program Manager for Contractors
                    Managed 75 subcontractors en an annual basis, supervised and performed site
                    visits, ensured facility compliance with ADA and Construction Code requirements,
                    made recommendations for corrective action when required, prepared reports for
                    and provided recommendations to the Workforce Investment Board and its
                    committees, conducted lectures based on fmdings to the Administrator of Contracts
                    and Planning, as well as other appropriate staff, and initiated the discontinuation of
                    funds for subcontractors found not to be in compliance.


                    1995-2005                ASTEP Tutorial Program
                                             NeptunelAsbuiy Park, NJ
                    Assistant Director
                    Part ovner of a nonprofit youth education program that hosted three sites in Mon
                    mouth County. Managed a staff of 25 volunteers and an advisory board of 20.
                    Prepared reports for programs and sponsors, conducted meetings and wrote grants.
                    Sponsors included Brookdale Community College, Neptune and Asbury Park
                    Housing Authority, ShopRite and Foodtown,
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    Education         Ocean County Community College
                      Toms River, NJ
                      Continuing Education Units

                      Brookdale Community College
                      Lincroft, NJ
                      (ICS) Electrical Inspector (Approved by Uniform Construction Code)
                      Associates Degree in Science/Electrical Engineering

                      Monniouth County Vocational School
                      Freehold, NJ
                      2-Year Course in Computer Science Technology




   Technical Skills   Computer
                      Proficient in PC and Network Computer Systems, Peripheral Connections, “C,”
                      UNIX Operating System, Windows 2011, Basic Programming Languagcs,
                      AutoCAD, NP Electrical Simulator and Fortran,
                      Familiar with: Microsoft Word, Access, Excel and Carte Graph

                      Electrical
                      Proficient in AC/DC Current and Voltage Theory, Schematic Diagram Reading,
                      Parallel Circuits, Ohm’s Law and Kirehof’s Rule, Voltometers, Electro Magnetic
                      Fields, and Function Generators in Performing Test.




    Int&ests          Musician, including guitars and piano, wood-working, tutoring and community
                      service.
                                                                                                                                       _________________


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—                   —                        -




                                       JOB POSTING APPLICATION


            Postion Applied For             Crew Supvr Bldg Maint Wrkr                        -   PARF ID #
                                                                                                  (If oppikable)
            Posting Date                    03/08/2016                        Closing Date 03/15/20:16                        —




            Department / DMsi              DPW & £ngneering                    / Buildings     Li’   rb1ps
                                                                                                                                   r
                                            Robert Brlscoe
            Name
                                                                                                                        ,-,
                                                                                                             .---




            Present Position               Carpenter
                                           —                                                         -   H

                                            Public Works                           Buildings & Ground
            Department I Division                                              /

            Supervisor’s Name               Jason Deslato                                                       -   -




            Date of HIre                    1112012



            In the spate below, outline your skills, knowledge, and abilities that qualify you for this
            position.
           have installed and repaired doors, windows, walls, floors and ceilings in coully run buildings. l have hu1t.
       finished and installed cabinets, shelves and raiing& I am trained and confident lii my ability to use all tools
       and equipment employed in the building maintaince profession. worked as a Building Maintenance Worker in
       the Monmouth County Courthouse: where I became knowledgeable in all In-house building repairs, including
       door locks, door closures, lighting and troubleshooting leaks and HVAC issues, worked with building tenants to
       ensure trouble tree building operations. As a “carpenter’s helper” in maintenance repair crew A, I have
       assumed supervisor duties on numerous occasions, exhibiting my skills in scheduling, working with coworkers
       to help ensure tasks are completed In a timely manner. I have run the crew, passed out daily work
       assignments, prioritized work orders and assIgned tasks to individual crew members based on their skill sets. I
       processed all necessary paperwork including daily assignment sheets, material lists, and crew attendance
       issues. I take pride in my ability to communicate effectively with my superiors. othei’ crew supervisors and
       coworker’s to ensure timely coordination, productMty, quality of work and avoid unnecessary delays. I am
       capable of organizing work, with a willingness to work overtime, so that It will not interfere with building
       occupant’s daily routines.
            In the space below, outline your current and prior work experience and/or education that
            qualify you for this position.
       I have worked as a private contractor remodeling various homes and businesses including restaurants. I have
       worked with architects and designers to help redesign building plans that work with a customer’s business
       format and fit Into his/her planned budget. I worked at the Asbury Park Press h the position of Insert
       Coordinator. This position’s responsibIlities Included managing the receMng department, overseeing the
       delivery, processing and organization of over 2O weekly advertisements going into 12 different daily and
       weekly publications. I created and maintained staff hours, production volume, and budget reports on a daNy
       weekly, monthly and year end basis. I am skilled in the use of Microsoft Excel, Outlook. and vVord programs. I
       have customer service experience through direct dealings with sales staff and clients ensuring all the
       advertisements were processed correctly in the newspaper.



             I certify that all the information provided by me in connection with my Job Posting
             Application is true and complete. I understand that any misstatement, falsification or
                 ission    n o mation shall be grounds for refusal to hire or if hired, termination.
                                                                                          i’ //2v-
             Employ e’sSigitaftue                       -




09115105                                                                                                                          FORM:          HR-03
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               -




                                      JOB POSTING APPLICATION


           Postion Applied For         Crew Supervisor Building Maintenance         PARF m # TBD
                                                                                    (If applicable,)

           Posting Date                03/08/16                     (‘losing Date 03/15/16

           Department / Division       Public Works & Eng.           / Buildings      C-6ds


           Name                        Louis Bellardino

           Present Position            Assistant Supervisor Buildwg Maintenance

                                       Public Works & Eng.               Buildings & Grouids n
           Department I Division                                     ,
                                                                                          ::           C)
                                                          -




           Supervisor’s Name           Scott Griffin

           Date of Hire                4/162 007


           In the space below, outline your skills, knowledge, and abilities that qualify you for this
           position.

       .1 have experience in light plumbing, carpentry electrical and painting. I have a good
      understanding on how to take care of all the every day.operations of the buildings and the
      people in them. I think I have good leadership skills, when the Supervisor is not here I am
      always the lead man for all the Boro buildings. I can order supplies, deal with contractors
      and vendors and have some knowledge of the pay roll and work order systems that we use.




           In the space below, outline your current and prior work experience and/or education that
           qualify you for this position.

        I have been second in charge at the Hall of Records and the rest of the Freehold Boro
      buildings since Januanj 2008. I took the Black Seal course atMomnouth County Vocational
      School and received my license in May 2013.
      I work part time in charge of the night time maintenance and supervision of the cleaning
      crew it Holy Family a parochial school and church in Lakewood.



           I certify that all the information provided by me In connection with my Job Posting
           Application is true and complete. I understand that any misstatement, falsification or
           omissia      i         ti shall be grounds for refusal to hire or if hired, termination.

            mpi’ee s Signature    ‘                                          Date



09115105                                                                                                    FORM:   HR.03
            ____                       ________________________                                         _______


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                                    JOB POSTING APPLICATION


            Postion Applied For        Crew Supur Bldg Maint Wrkf                     PARF ID #
                                                                                      (If applicabte)

            Posting Date               03/08/2016                     Closing Date 03/15/2016

            Department / Division      DPW & Engineering               / Buildings & Grounds


            Name                          Coc Th
            Present Position           Cr.ii.)                             i’Jjtj
            Department I Division                                                                       L)
                                                                       /
            Supervisor’s Name                       T1?   1cr.)
            Date of Hire


            In the space below, outline your skills, knowledge, and abilities that qua:lify op for 1tkis
            position
                                  ,QQ_,




            In the space below, outline your current and prior work experience and/or education that
            qualify you for this po5iti0
                                             j>t          o.-k-*
                                                               C (,Lf”QTh”71




            1 certify that all the information provided by me in connection with my Job Posting
            Application is true and complete. I understand that any misstatement, falsification or
            omissl n of information
                          je           shall   grounds for refusal to hire or if hired, termination,


            Emp 4eet,gnature                                                   Date
                                                                                      3        /
 09/15105                                                                                                    FORM:   HR-03
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                                            Craig Daniels, Sr.
                              15 Jackson Street, Freehold, New Jersey 07728
                                           (732) 7428769 (cell)
                                          (732)780-7854 (home)
                                         CCRAlG4040@ao1.com

      Key Skills/Aclivities: Security, YMCA Coach basketball, Little League
                                                        —                                      —   baseball.1soccer

      Educa(ion: Freehold Borough High School

      Military: United States Army— 1978—1986
                United States Army Reserve 1986— 1990
                                             —                     —   Drill Instructor

       Volunteer: Freehold Borough YMCA      —   1974       2016

       Training: Computer Insight Learning Center —2013 —2016

       Experience:
       County ofMoninouth, Freehold, NJ                                      1989 Present
                                                                                   --




       Security Guard                                                        2008
       Sr. Building Maintenance                                              1998
       Building Maintenance                                                   1995
       Youth Detention Center—Juvenile Correction Officer                    1989— 1991

       1’faces Liquor Store, Freehold, NJ
       Assistant Manager                                                     2005 —2013

       Centra State Healtkcare, Freehold, NJ
       Security Guard                                                         2004      —   2005

       Battleground country club, Manalapan, NJ
       Truck Driver                                                           1992          1995

       Chicken Date/Holiday, Manalapan, NJ
       Vice President/Assistant Manager                                       1974          2006, 2015   —   Present
                                            __________________Closing                                      ____




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    Case 3:16-cv-01578-PGS-LHG                    Document 78   Filed 08/02/18        Page 13 of 171 PagelD: 2290



                                      JOB POSTING APPLICATION
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             Postion Applied For             Cj            ri      d/J,4     MA,1tPARF
                                                                                       (If applicable)

             Posting Date                                                      Date    -      is

             Department / Division                    G                /


             Name                             /4111       464&
             Present Position                c__ e-k4
             Department / Division            -1                       /___________




             Supervisors Name                (Jr
             Date of Hire


             In the space below, outline your skills, knowledge, and abilities that qualify you for this
             position. —
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             In the space below’, outline your current and prior work experience and/or eJcntin tlat
             qualify you for this position.
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              I certify that all the information provided by me in connection with my Job Posting
              Application is true and complete. I understand that any misstatement, falsification or
              omiss      of luf mation shall be grounds for refusal to hire or if hired, termination.


            / rnp!oyee’s Signal rc                                             Dak


0911 5105                                                                                                        FORM:   HR..03
 Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 75 of 293 PageID: 3306
     Case 3:16-cv-01578-pGSLHG               Document 78      Filed 08/02/18     Page 14 of 171 PagelD: 2291


                                   JOB POSTING APPLICATION
                                                      —




           Postion Applied For       Crew Supervisor Building Maintenance            PARF ID # TBD
                                                                                     (If applicable,)

           Posting Date              03/08/16                         Closing Date 03/15/16

           Department I Division     Public Works & Eng.              / Buildings & Grounds


           Name                      Kofi Kyeremateng

           Present Position          Sr Maintenance

           Department I Division     Public Wo,ks & Eng           -   / Biflidings & Grounds
                                     Scott Griffin                                                      >
           Supervisor’s Name
                                                                                                                 (.1

                                      772372007                                                         cz
           Date of Hire                                                                                 -J



           In the space below, outline your skiDs, knowledge, and abilities that qualify you for this
           position.

       I have a good understanding on how to take care of all the every day operations of the
      buildings and the people in them. I think I have good leadership skills, and believe I can
      run any County building and its crew. I have experience in light plumbing, carpentry
      electrical and painting.




           In the space below, outline your current and prior work experience and/or education that
           qualify you for this position.

        I have been at the Hall of Records and the rest of the Freehold Boro buildings for almost
      nine years and have worked closely zvith both the Assistant and the Supervisor at these
      facilities. In occasion when the Supervisor and Assistant have been out I took over
      responsibility of the leadfor the day.




            I certify that all the information provided by me in connection with my Job Posting
            Application is true and complete. I understand that any misstatement, falsification or
            omi sion of information shall be grounds for refusal to hire or if hired, termination.

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            Emp4yee ‘s Si1nature                                              Date



09115/05                                                                                                     FORM:     HR-03
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     Case 3:16-cv01578-pGS-LHG Document 78 FiJed 08/02/18 Page 15 of 171 PagelD: 2292


                                   JOB POSTING APPLICATION


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           Postlon Applied For                   I2          1LJf   k2-y               PARFID #
                                                                                       (If app1icbIe)
           Posting Date                 )/ //           (,      —       Closing Date   )g/1/ /
           Department lDivislon                                         /

           Name
           Present Position           e /,--i1r; c.
           Department/Division         Op t4J, e/c/ (j
           Supervisor’s Nanie        44/JiZ)
           Date of Hire               /1,/i / 1.3

           In the space below, outline your skills, knowledge, and abilities that qualify you for this
           position.




           Jn the space below, outline your current and prior work experience and/or education that
           qualify you for this position.

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           Application is true and complete. I understand that any misstatement, flsiulcationcêi.
           o      ion of infor      on shall be grounds for refusal to hire or if hired, term’ ation.

           EkJyee Signature                                                    Date


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Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 77 of 293 PageID: 3308
   Case 3:16-cv-01578-PGS-LHG                       Document 78     Filed 08/02/18 Page 16 of 171 PagelD: 2293




                                         JOB POSTING APPLICATJON


             Postion Applied For              Crew Supvr Bldg Maint Wrkr              PARFLD
                                                                                      ((F 8ppIIcabIe)

             Posting Date                     03/08,2016              Closing Date 03/15,’2016

             Department / Division            DPW & Engineering        / Buildings & Grounds

             Name                                 CL
             Present Position                     5€  Cc
             Department I Division                yPE                  /_________




             Supervisorts Name                —            ‘/

             Date of Hire                         IA)C,;H        L3


             In the space below, outline your skills, knowledge, and abilities that qualif) you for this
             position.
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             In the space below, outline your current and prior work experience and/or education that
             qualify you for this position.

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             I certify that all the information provided by me in connection with my Job Posting
             Application is true and co plete. I understand that any misstatement, falsification or
             omission o infor ation s all be r        s-fcrr refusal to hire or if hired, termination.

             Emp’oyee’s Signu(ure    (                                         Dare



  09115/05                                                                                              FORM:       HR-0
Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 78 of 293 PageID: 3309
   Case 3:16cv-01578PGs-LHG Document 78 Piled 08/02/18 Page 17 of 171 PagelD: 2294




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             Postion Applied For        Crew SupvrBldgMaint            zA
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             Posting Date               03/08/2016              —                      93/Z5/2016

             Department / Division      DPW & Engineering             p:    ithih&.rQunds


             Name                          CLr)’ L7
             Present Position                 $nir                 cer
             Department I Division            e,-Cr,                   /    Tc’Jes
             Supervisor’s Name                r-h’            (.
             Date of Hire                -i

             In the space below, outline your skills, knowledge, and abilities that qualify you for this
             position.              ci vL                                     :‘wb/ P k




             In the space below, outline your current and prior work experience and/or education that
             qualifyyouforthisposition.                ,,,,


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             Application is true and complete inded taanYnisstatement, falsification or
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  09115105                                                                                            FORM:   HR.03
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                                           JOB POSTING APPLICATION


              Postion Applied For               Crew Supvr Bldg Mint Wrkr                         PARF ID
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              Posting Date                      03/08/2016                           Closthg Date O3/l5/2iJi6H                           C—
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              Dep.rtment / Division             DPW & £ngWeering                     / Buildmg & Grounds
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              Name                                                        D//v;C/c
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              Present Position                   BMC             !oSer
              Department! Division               V(i,1 c                                                         I
              Supervisor’s 1’lame                chts’           IOLiO/
              Date of Hire                        //2i           I/gqq
              In the space below, outline your skills, know’edge, and abilities that qualify you for this
              position.
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              qualify you for this position.                            tx    /,_y
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               Application is true and complete. I understand that any misstatement, falsification or
               omission of information shall be grounds for refusal to hire or if hired, termination,
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   09115105                                                                                                              FORMS         HR.03
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   Case 3:16-cv-01578-pGS-LHG                 Document 78 Filed 08/02/18                Page 19 of 171 PaelD: 2296




                                       JOB POSTING APPLICATION


              Postion Applied For       Crew Supvr Bldg Maint Wrkr                      PARJ ID #
                                                                                        (I! applicable)

              Posting Date              03/08,2016                     Closing Date 03/15/20i6

              Department / Division     DPW & Engineering               / Buildings & Grounds


              Name

              Present Poition

              Departnieit / Division          /-G                       /__________




              Superviso9s Name                Ci.’,s          fr._oz.’o\

              Date of Hite                         -




              In the space below, outline your skills, knowledge, and abilities that qualify you for this
              position.
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              In the space below, outline your current and prior work experience and/or eduction iat
              qualify     for this position.                                                              —




               I certify tht all the information provided by me in connection with my Job Posting
               Application is true and complete. I understand that any misstatement, falsification or
               omission o info ation shall by grounds for refusal to hire or if hired, term,inatpn.
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               Employee’s Sitature                                               Dale



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Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 81 of 293 PageID: 3312
   Case 3:16-cv-01578-PGS-[HG            Document 78 Piled 08/02/18           Page 20 of 171 PagelD: 2297




                                Gabrielle Muench
           belrnarbridgc:5:iaol.corn   905 wall road, Spring lake iieight. NJ 07762 732-440-1232.
                                             [Type your websitel



     Experience
     Building and grounds 1 250 center street, freehold, NJ 07728
     Building maintenance worker
               • Training workers in using cleaning tools and equipment
               • Fill in for employees in case of absenteeism 01’ overtime
               • Swept and mopped floors stairwells and offices. Vacuumed rugs, waxed
                  floors
               • Wash bathrooms and replace supplies as needed
               • Dust and polish furniture
               • Cleared grounds and parking lots of debris and dust and assisted in
                    weeding
                • Emptied trash cans and ensured that trash and recyclable goods were
                    separated and disposed of properly
                • Inspected sites and ensured no injuries to staff and building occupants
                • Replace light bulbs as necessary, minor maintenance around building
                • Clean roof of debris, make sure drains are dear
                • Have worked and master a cleaning schedule for most buildings with the
                    least disruption of clients during working hours
                • When other building needed help because of low staffing, I was able to
                    use staff at police academy to help clean new 911 and 250 Center Street
                    and still keep police academy and old 911 up to standards
                • Handled parts of renovation and repair for old 911, also helped move old
                    911 out and move warrant sheriff in
      Para tours travel agency
                • Preparing and maintain record for accounts receivable and payable,
                    payroll, budget
                 • Hiring staff for inside sales and outside sales, also training




      Skills
            In-depth understanding of cleaning tools, solutions, and agents/chemicals
            Ability to use and repair cleaning tools artd equipment
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   Case 3:16-cv-01578-pGS-LHG Document 78                  FHed 08/02/18   Page 21 of 171 PageID: 2298




                                             Lii:1kJi


          Ability to speak, write, and follow instructions in English
          Basic knowledge of computer
          supplies procurement and distribution
          stock inventory management
          cleaning procedures and equipment
          customer service protocols
          safety regulations
Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 83 of 293 PageID: 3314
   Case 3:16-cv-01578-pGS-LHG Document 78                                 Piled 08/02/18      Page 22 of 171 PagelD: 2299


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                                                 POSTING APPLICATiON


              Postion Applied For               v.    E’ c’ ‘4                              PARE 1D4
                                                           e’c.L4                           (If eppIIcabl’Y

              Posting Date                03/08,2016                         Closing Date 03/15/2016

              Department I Dision         DPW & Engineering                   i   Buildings & Grounds


              Name                                                    .
                                                                                                                  —




              Present Position                 “.‘-          _4’    %f% Q_             or           L.P L

              Department/Division                            \,               /

              Supervisor’s Name                                  .L\D

              Date of Hire


              In the space below, outline your skills, knowledge, and abilities that qualily you for this
              positIOn




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              in the space below, outline your current and prior work experience and/or education that
              qualify you for this position.




                certit’ that all the information provided by nie in connection with my Job Posting
               Application is true and complete. I understand that any misstatement, falsification or
               oinssion of information shall be grounds for refusal to hire or if hired, termination.

               Employee’s Signature



   09/1 5l0                                                                                                       FORM:   HR-Ga
Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 84 of 293 PageID: 3315
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                      Addendum to application for Title Code 44135 Frank Vetter


                                          Frank Vetter
                                         29 North Circle
                                       Aberdeen, N.J. 07747
                                       Phone 732-583-7751


        Additional andlor detailed information:

               • I have been employed by Moiunouth County for over fourteen years. I started
                 working for Monmouth County Buildings and Grounds; December 30, 2011
                 to present. Monmouth County Bridge Department; April 2, 2002 to December
                 29, 2011. Both positions are for full time employment at a minimum of forty
                 or more hours per week.
               • I have worked in the Hall of Records, Annex, Vet’s, Probation, and County
                 Clerk buildings as a building maintenance worker. 1 am well versed in most
                 duties assigned to this position. I clean offices and Lavatories as needed, on a
                 daily basis. I sweep and mop floors, vacuum and shampoo carpets. I have
                 stripped floor tile and linoleum, bulled and waxed them as well. I use various
                 sized ladders to fix, replace and clean ceiling tiles, replace light bulbs, light
                 fixtures and ballasts. Also to clean, repair or replace venetian blinds as
                 needed. I also use extension ladders to raise and lower flags on my various
                 buildings as well as decorative bunting and banners.
               • I continuously move heavy furniture and filing cabinets throughout all the
                 buildings I maintain and service. I set up offices and furniture according to the
                 many functions that are held, which usually includes desk, different size tables
                 and chairs, which can amount from a few dozen to a few hundred.
               • I take stock of and have my supervisor or senior maintenance worker, reorder
                 supplies and various chemicals that are used on a daily basis. I will then
                 unload the truck and restock the cleaning supplies and office supplies to the
                 proper closets, cabinets, and offices that are in need of them.
               • I maintain the tool cabinets. Use and maintain various machinery throughout
                 the work day. This includes vacuum cleaners and shampoo cleaners, snow
                 throwers and leaf blowers.
               • As stated I worked for the Monmouth County Bridge Department. My duties
                 there included cleaning and maintaining the various buildings I worked in
                 there, as well. On a daily basis, I would sweep and mop the floors, take out the
                 trash. I would clean the rest room, clean the windows and polish the furniture.
                 I had to dust and wash walls and cabinets, and maintain light fixtures. Change
                 different types of light bulbs.
               • In both positions, I swept outside and around the different buildings. Picked
                 up and bagged all trash and debris. I am and was required to remove any and
                 all snow and ice that accumulated on the sidewalks by utilizing snow shovels
                 and/or snow throwers.
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                       Addendum to application for Title Code 44135 Frank Vetter

        Additional andlor detailed information

                      I worked for the Freehold Regional School District in 2007. 1 worked as a
                      custodian doing building maintenance which included, cleaning
                      classrooms, halls, bathrooms, gymnasiums, and auditoriums. I washed and
                      scrubbed floors, desks, and windows daily. I was responsible to ensure
                      that each classroom was safe and clean for students, everyday.
                      As stated, I have worked for Moninouth County for over fourteen years. I
                      have kept daily, detailed work logs, payroll and timesheet reports and
                      records. Working for the bridge department, I had to train other personnel
                      on how to do their job to the best of their ability everyday. That is the only
                      way I know how to work and try to instill that in my co-workers.
                    > In April 2012 1 obtained my low pressure boiler operator license.
                    > I have also obtained, in May, 2002 a certificate in Water!Wastewater
                      Technology from the Monmouth County Vocational School Disttict

        Description of Supervisory capabilities:

        I believe I am level headed when faced with problems. I try to look at things from
        different angles. I know that there are usually more than one solution to any problem. I
        don’t have a problem with asserting myself and voicing my opinions to solve a problem
        if I feel it is a more efficient solution,

        In my current position and location I tend to take the lead when we are working together
        to accomplish a task. When 1 feel there is a better way of doing something, I will try it or
        suggest it to my co-workers. I find that many people are hesitant about changing things
        up or trying a different way of doing things. I am not. Especially if I think it will work.
        If I see that a co-worker has strengths in a particular field I am not intimidated and will
        see how they do the task, ask them for information and help. I believe this helps me be
        more productive and better at my job.

        I also know that I can Learn a lot about people by just listening to them. And I ask
        questions concerning things about my work envfronment that is unfamiliar to me. The
        more I know about my buildings the better I can do my job and be able to spot trouble if
        something is not working correctly.

        And, as for working correctly, safely is always the correct way of working.

        I always take the time to make sure I am working in a safe manner. It is always wrong to
        put others in danger to complete a job. When I don’t know something, 1 will tell you I
        don’t know. But I will find out.

        I have had past opportunities taking the lead of my co-workers. At my previous position
        as bridge attendant I had the responsibility of making sure that the bridge opened and
        closed in a safe and timely manner. I had to make sure that the gate men were not injured
        and that there was no property damaged. As a young man I was a manager of a local
        McDonald’s restaurant, I ran a shift of ten people and made schedules, assigned
        personnel to their jobs. I kept the restaurant running efficiently, kept inventory of all
Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 86 of 293 PageID: 3317
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        products and supplies, and kept a monetary ledger. I was also responsible for tallying all
        cash drawers.
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              Case 3:16cv-01578-PGS-LHG                        Document 78                        cLed 08I02I18.. Rage 26 of 171 PagelD: 2303                                                 —




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                                               reasonable accommodions to the application end/or                                            n, age. marital statu
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       Permanent Residence/Number & Street/Apt                                     -.,-
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       (P.O. Box not accepab4e)                #                                Town                   County                            State                                 Zip Code
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      List any other names used if different from nam
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     Are you at least 18 years of aria?
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     List exact position or type of work for which you
                                                       wish to apply:
     Saly rige required:                                                                         Ekr’it’i                                           j
                                                                                           Date of Application:



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     Type of employment desired:
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                                                       Futt-.Time                If shift work, circle one: 1                 2t                    3rd
     Pa(t-Trne (indicate aveililtty)
                                                       Mornings       1         Afternoons        Evenings                  Temporary
     How did you learn ebout the position?             County Employee                           Job Fair     [1 Newspaper_______________________
                                                       Internet Job Posting                      Clvii Service Exam                 D Other
    Have you ever been ernpioyd y the Cou
                                         nty      of Monmouth? Q YES                                     U     NO
    if YES give Dates:                        Toe)L. DepartmentjZ
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    FOR DRIVER A?PLZCANIS:
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    ent
         Drivers License # (if required for poeition)
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Do you have a valid Co mercDrwer’s Lroenss []Y
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Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 88 of 293 PageID: 3319




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                                                               PERSONAL EFN
        Do not se relatives as referencea
                                          .
            Name
                                                     Full Address                                                        sness or         Years
                                                                        .
                                                                                        Telephone
                                                                                                                        Occuption          K.nwn
                                                                                      15i3o
       2. hcrci       Cjps                                                                                           ATE
      3..bll                                        P&- M                                              762
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                                                                    LEGAL HISTORY
     Have you ever been convicted of
                                     a crim     e that has n been expunsd
                                                                              by the Courts?         DYES            NO
    This question refers to instan
                                    ces where you have been con
    any disorderly persons offense                                   victed, pled guilty, or paid a fine
                                      , petty disorderly offense (suc                                     . This includes COflvi
   driving, death by auto, other                                      h as shoplifting), or any motor                                ctiQn for
                                   than a parking ticket).                                               vehicle violations (suc
                                                                                                                                 h as drunk
   If your answer is “Yes”, give
                                   the date and nature of each
   case.                                                         offense, the name and location of
                                                                                                       the court, and the disposit
   A conviction will not necessarily pre                                                                                           ion of the
                                         clude you from employment,
   A false statement or omission will                                 unl ess the nature of the conviction
                                        disqualify you from empioyrne                                      relates adversely to the
   Officer or other law enforcement                                   nt. ATTN: Sherifts Officer, Cor                                position.
                                       applicants: You are required                                      rection Officor, Juvnlle
                                                                    to disclose arrests, conviction                               Dtentio
                                                                                                      s nd expungements.
   Date and   Nature of Cherges):
   Name ed Location of Cou’t:




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  The County of Monmouth req                      SUBSTAC AUS POLPC                                                                       _


                                 uires all offers of employmen                      Y
  Commercial Drivers License                                   t extended to applicants who
                              including the performance of                                  se job duties require that they
  and Federal Trisit Ackninistr                             safety sensitive funcdons as                                    hold a
                                ation, Dep    artment of Transportation reg              dened by Federal             Highway Admin?stTetion
   Department of Transportation                                                ulations, he conditioned on the
                                    mandated physical examinatio                                                 app licant’s ability to pas
  employees, former employees                                        n wNch includes a drug screen.
                                     returning to County service via                                      This shall also apply to transfer s a
  duties required a CDL. Failure                                        re n3ployrrnt lists, interim or                                       red
                                     to pass pre-employment scre                                           temporary employees, who
  Refusal to sign the appropriate                                    ening will result in withdrawa                                      se   job
                                    release and consent forms                                       l of a conditional offer of emp
  regarded as a failed test, ther                                 for testing, or any failure to pro                                  loyment.
                                  eby rendering the applicant disq                                   vda a valid specimen for test
                                                                    uaiiftd for employment.                                          ing will be
 If an applicant has any questio
                                   ns regarding this Policy, add
 the County of Monmouth.                                         itional information may be
                                                                                                requested from the Personnel
                                                                                                                                Department of
PLEASE READ ThE FOLL.OW
AD ACCIPTACE Y tGU ItG STATEENT CAREFULLY AtD 1DtCATE YOUL UtttES
                       G BELOW.                                   T[cc4DiPfG
I certify that all the informa
                               tion provided by me in con
misstatement, falsification or                              nection with my application
                                omission of information shall                               is true and complete. I underst
a condition of employment, I will                              be grounds for refusal to hire                                   and that any
                                     be required to provide legal                              or if hired, termination. I underst
Monmouth to contact any of                                          proof of authorization to wor                                  and that as
                                 the persons or oranizstions                                        k in the U.S. I authoze the
County of Monmouth all info                                      referenced in this application                                     County of
                               rmation concerning my previo                                      . I authorize the references
have with regard to any of the                                 us employment, education, or                                       to give the
                                 subjects oovered by this app                                   any other oertinerr information
                                                              lication.                                                            they might


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_________LUTHER
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   Case 3:16-cv-01578-PGS-LHG            Document 78        Filed 08/02/18 Page 30 of 171 PagelD: 2307


                                S. GRAHAM________________________
                                             ,iii_q_   -‘---.“-
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                                                                  Jit-it

OBJECTIVE:     To acquire a position that will allow me to utilize my previous experience, education, computer,
               and technical skills.

TEChNICAL      Electrical: Have an understanding of AC/DC current and voltage theory, electron flow
SKILLS:        theory and schematic diagram reading. Understand series and parallel circuits. Have the
               ability to apply the concept of electrical energy to series and parallel circuits. Experience in
               analyzing circuits using the basic concepts of Ohm”s Law and Kirchof”s Rule. Have used
               various voltmeters, power supplies and function generators in performing Tests.
               Have a lcnowledge of electro magnetic fields (EMF).

               Computer: PC and network comouter systems and peripheral connections. DOS, Windows 2002
               and UNIX operating systems. “C’, Fortran, and BASIC programming languages. AutoCAD and
                HP electrical simulator software programs. Knowledgeable in MS Word, Access, WNJPJN
                and various Internet Service Providers.

EXPERIENCE:    Monmouth County Division of Emploent & Training Red BankJIJ                   (1993- Present)

               Program Monitor- Monitor those subcontractors twice yearly who have contracts with this
               agency, Perform site visit which includes the review of participants, subcontractor files and
               all required service areas as per contracts. In addition, key staff and administrators are
               monitored. Written reports of all monitoring visits are complied, recommendation are made
               and/or corrective actions if warranted, along with follow up visits as needed.

               Reviewer/MIS Specialist Review applications and supporting documentation to determine
                                               —




               eligibility for training programs. Computer data entry. (1996-2002)

               Mathematics Instructor Provided individual tutoring and group instruction in
                                              —




               mathematics skills. (1993 1995)     —




               LABCOM, Electronics Technology & Devices, Fort Monmouth, NJ            (1989-1991)
               Assistant Engineer Developed a “C” program to simulate a LED modulator Circuit.
                                         —




               Wrote minor “C” programs involving mathematical manipulations. Utilized UNIX
               to retrieve CAD/CAM files from remote workstations. Tested and assembled power
               supply sweeper box for testing Gunn devices. Fabricated and assembled electronic
               circuits. Compiled and organized test data for reports.

               Independent Sub-Contractor
               Electrician installation of electrical outlets, lighting circuits (rough and finish),
                            —




               major appliances and low voltage systems.

               Brookdale CommunityDollege, Lincroft, NJ    (1988 1991)     —




               Math Assistant Provided computer/mathematics assistance using software programs.
                                 —




CIVIC          After School Tutorial Educational Program (A.S.T.E..P. Inc.) Cl 995-2002)
ACTIVITIES:    Assistant Director Oversee non-profit youth education program with sites in
                                     —




               Monmouth County, NJ.
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EDUCATION:     New Jersey Institute of Technology
               Electrical Engineering Courses (20 credits)

              l3rookdale CommuniryjDollcgc
              Associate in Math and Science
              Graduated
              Monmouth County Vocational School
              Computer Science Technology Course (2-ye prog
                                                      ar    ram)
              C’ert/icate received
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               APPLICATION FOR                                                                                              The County of Monniouth
                                                                                                                          Human Resources Department
                        EMPLOYMENT                                                                                              Hall of Records
                                                                                                                              I East Main Sireet
     The CeQn*y of MoniouIh is on Equal Opporfwity Employer and
                                                                                                                             Freehold, NJ 07728
     do.e not cc,imir.ate on the bans oF race, creed, color, POtJO,-,OI
     o$gW, nut enalify, crnc.tty,      age, sex or any other protected                                                           732-43 T -7300
     ekniificafkn.                                                                                                        www.visilmonmouth.com


     APPLICANT INFORMATION

     Name               Briscpe                              Robert                                  F        Soeal Security #
                        Lan Name                            FIr Name
                                                                                                                                                J J
                                                                                                     Mi
  Address          1T -t                                                                                     Telephone #s we may use to contact you:
                    -   Permanent Residerice/Nunbar & Street/Apt. U (P.O. ‘ox not occepfbIe)
                                                                                            -




                                                                                                             Home:                 I   -_




                        City                               County                    Stot        Zip Code
                                                                                                             Cell:
  Mailing           j•__
  Address                                                                                                    Work:

                                                                                                             E-Mail:       ..LLL                -
                                                                                                                                                     -.e_     -




 POSiTION. INFORMATtON
 Title Applying foT                      Security Gugrdeclamation Center                                     Salary Requirements
 Type of Employment                       El Full-Time Q Part-Time                                           What shift(s) are you able to work?
 Would you be interested in temporary employmeni?j Yes                                          No            QN/A        D1t                       3’ ZAny
 QUESTIONNAIRE
          Can you provide proof of citizenship or authorization to work In the
          U.S. upon employment?                                                                                   Yes   El No
 2.       Are you at least 1 8 years of age?                                                                 J Yes J No
 3.       Were you ever employed by the County o( Monmouth?
                                                                                                             j Yes        No
                                                                                                                                        eae(s
 4.       Have you ever applied to the County of Monmouth before?                                                 Yes     No
                                                                                                                                        Pot
          Are you related to anyone currently working for the County of
          Monmouth? (The County of Monmouth rnczinkins on onli-nepolism policy)                              El   Yes     No
         ñmi,ra (rmmrfnrH          -         phil                IHIIcil..   -   hrnfher.in-lw
                                               -.-.   .—

          If yes, provide names) & relationshipis:.

         Hove you ever been discharged or asked to resign from any
6.       employment?                                                                                        El Yes        No


         If yes, provide an explanation.
7.       Hove you used any other name(s) different from name listed above?                                  El Yes El No
         If yes, provide name(s).

8.       How were you referred to the County? (Check all that apply).

         Q NJ Civil Service Commission Exciminotioi List                          ElAdvertisemen                                       Other
                                                                                                            Specify                                 Specify
         El Monmouth County \‘Vebsite                                             J Employee                Debra Comerford
                                                                                                            FjiL Name


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                                                                                                                                                                  3/2011
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                                                                        F?obert                 Briscoe
                                                                                            Neme                                          Lost four dilts of
  REQUIREMENTS                     —   You are only
                                     required to answer questions on this page relevant to the requirements stated in the
  job specification and/or job posting for which you are applying. If a question is not applicable, you may write N/A.


  EDUCATION                  -   Proof of specific education requirements must be submitted wWi the opplicotion e.g., copy of degree,
                                 transcript with specific courses identified.


                         Name                            State              Major and                  Degree         Miner and # of Credits              Graduated
                                                                      # of Credits Completed           (e.g B.S.)           Completed
                                                                            (e.g. Business)                                                               Yes   No
                                                                                                                          (e.g. Accounbng)
  High School

  Middletown HS South                                    NJ                                                                                     —
  ED

  Eostr,n,s   / Technical or Vocotionoi

  Undergraduate College

 Brookdale CC
  Graduate College
                                                         NJ      HiRthI                    25                                                           LI [ZI
  Doctorote                                                                                        -




  LICENSES           / CERTIFICATIONS              —   Relevant to    the position you are applying For.

   Name of          License                 Issuing Authority                   License
          .                                (State/Other Authority)              Number                  Dote Issued                     Expiration Date




 DRIVER’S           LICENSE         —   Relevant to the position      you are applying for.
 Do you have a valid NJ Driver’s License?
                                                                                       J Yes           No
                                                                                                                NJ   Driver   icense
 Do you have a valid NJ Commercial Driver’s License                        (CDt)?      flThS           No
                                                                                                                Class                  Endorsements


 KNOWLEDGE AND ABILiTIES

 El Typing           —       WPM                    fl    Transcribing                                  Word Processing         MS Word
                                                                                                                                 Name

 jJ    Accounting        /       Bookkeeping        0     Spreadsheet       MS Excel                    Web Design
                                                                             Nrm                                                 No,r,e

                                                    0     Database          con                         Other
                                                                            Nne



 HR.18                                                                   Page 2 of 4                                                                      01/13(2011
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                                                                           Robert                        riscoe                                              2656
                                                                                                        NDme                                        Last rour digit5 F SS#
   EMPLOYMENT EXPERIENCE
   Starting with your present or mast recent employer, list all ftlI-time and part.time employment history for the pcst ten years.                                           I
   understand ttiat any misstatement, falsification or omiSsion of information haiI be grounds for refusal to hire or if hired, termination.
                                                                                                May we contact your present employer?                       Yes   Q    No
   1. Asburv Park PresS. Gannett Irto.                          Jaci Roth. VP Production                                               (732         ) 922-6000
           Employer                                            Supervkor, Title                                                        Telephone

   235 Wiliowbrook Rd.                                        Freehold                                          NJ                     07728
  Address (rnrns.ber & Street)                                City                                             State                   Zip Code

  Distribution Supervisor
  Title
                                                               Employed From 02                   / 2007       To      Qj         / 2009
                                                                                       Month      /    Yocr             Month     /   Year

          Full-Time   jJ   Part-Time       5Q                 Starting Salary          545 pfyj pp             Final Salary           551.00000
                                           # of hrs/wk,
  Job Duties    Suoervise the delivery, orocessina grid production of preorinted advertisements. Track and report labor
  hourslcost production volume, and budget costs on multiple reports. Ensure product quality to be distributed.
  Reason for Leaving             Staff Reduction

  2. Asburv Park Press. Gannett Inc.                           Gabe Musto,                                                             (732     ) 922-6000
          Empioyer                                            Supervisor, TWe                                                          Telephone

  3601 Hwy 66                                                  NeDtune                                          NJ                     07750
  Addre5s tnumber &   treet)                                  City                                             State                   Zip Code

                                                                            From      03          / 1992       To      02         / 2007
  Title                                                                                Mntl      /     Year             Month     / Year
  J Full-Time         Q Part-time           4                 Starling   Salary       S27 000 pp               Final Salary $42,000.00
                                          # of tirs./wic.

  Job Duties      Program the daily seqnce and operate the advertisement insert machines,perform daily maintenance and
 repair to distribution corivevors, wranping machines. oower lacks and forklifts, Distribution department safety representative

  Reason for t.eavirg            Promotion

  3. RAE Automated Systems. Newark Air                        James Perry                                                              (972     ) 56-1Q61
          Employer                                           Svpervisor, Title                                                         Telephone

 2525 Carter Drive                                           Carroliton                                        TX                     75006
 Address nurnber & streetl                                                                                     State                         code

 Conveyor Mechanic                                           Employed From 02                    /1989         To      02       /1991
 Title                                                                                Monti            Year            Month      1   Year


         Full-Time       Port-Time         40                Statling Salary          $2400000                 Final Salary $33000.00
                                          ff of hrs./wk.
 Job Duties     Prioritize, schedule and perform repair to bagga&contro1 &conveyor systems. Inspect daily all mechanicaL.
 and electrical parts, troubleshoot system software inteQration issues. Ensure all safety measures are ‘ri ilace.

 Reason for Leaving            BAE contract at Newark Airport was terminated

 MILITARY EXPERIENCE
 Are you a Veteran?              El Yes          No
                                                            Brcr,ch of Service                  Rank                    Spralty
 Duties     / Special Training:
 Are you a survivln9 spouse or parent of a veteran? (Civil Service Veterans Preference may apply).                                             Yes
 HH•1B                                                                            Page 3 of 4                                                                  01/1312011
                                          _________________________________________________________________________________

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                                                            Robert                       Briscoe                             2656
                                                                                       Nottie                          Lati fo,,r digits of SS#
  REFERENCES
  Provide the names of three people (no re1otives that have known you at least five yeor, who con attest to your character, job skills,
  knowledge and abilities.
  I.     Name           2mela Wynn                              Travel Mpnager                             (908    ) 295-8559
                                                               Occupotlan                                  Telephone
         Address        A
                        ....-
                              ..-t-,.,                         1nrrisville                                 PA                 11)S7
                             Street                            City                                        State               Zip

  2.     Name           James Holcambe                         Hsme Renovation          Buaii.J132 1_fi2fld23i3.L
                                                               Occupation                                  Telephone
         Address       29 Oakwood Rd                           Lennardn                                    NJ                 O777
                             Street                            City                                        State               Zip

  .      Name           Mark Erig                              negery Buyer                                (973 ) 464-2051
                                                               Occuptlon                                   Telephone
         Address        20 Tremont Ave                         West Orançe                                  NJ
                             Stree’                            City                                        State               Zip
                                         :.
 LEGAL HISTORY
 HAVE YOU EVER BEEN CONVICTED OF OR PLED GUILTY TO A CRIME, MISDEMEANOR, DISORDERLY
 PERSON’S OFFENSE, OR OTHER OFFENSE (other than a parking ticket), (N NEW JERSEY OR ELSEWHERE, WHICH
 HAS N.QX BEEN EXPUNGED?     flYes JNo

 SHERIFF’S OFFICER, CORRECTION OFFICER, AND JUVENILE DETENTION OFFICER APPLICANTS ARE REQUIRED TO
 DISCLOSE ALL ARRESTS, CONVICTIONS AND EXPUNGEMENTS.
 IF YOUR ANSWER IS “YES,” GIVE DATE AND NATURE OF EACH OFFENSE, THE NAME AND LOCATION OF THE
 COURT AND THE DISPOSITiON OF THE CASE.
 Date(s) nd Nature of Charge(s):
                                                                             No:re at Chcirget)

 Name nd Location of Court:                                                   --




                                                                             States)
 Disposition:
                   Specify
 A conviction will not automatically disqualify you from consideration for the position. Whether a Conviction will disqualify an
 appflcant depends upon (1) the nature and gravity of the offense, (2) the nature of the job being sought, and (3) the length
 of time since the conviction and/or completion of the sentence. A false statement or omission will disqualify you from
 employnient.
 SUBSTANCE ABUSE POLICY
 The County of Monmovih requfres all offers of employment extended to applicants whose job duties require that they hold a
 Commercial Driver’s License including the performance of safety sensitive functions as defined by Federal Highway Administration
 and Federal Transit Administration, Department of Transportation regulations, be conditioned on the applicant’s ability to pass ci
 Department of Transportation Thondated pre-employment physical examination, which includes a drug screen. This shall also
 apply to transfer employees, former employees returning to County service via appeals, re-employment lists, interim or
 temporary employees, whose job duties require a CDL. Failure to pass pre-ernployment screening will result in withdrawal of a
 conditional offer of employment. Refusal to sign the oppropricite release and consent forms for testing or failure to provide a
 valid specimen for testing will be regarded as a failed test, thereby rendering the applicant disqualified for employment. if an
 applicant has any questions regarding this Policy, additional information may be requested from the County of Monmouth
 Personnel Department.
 PLEASE READ THE FOLLOWING STATEMENT CAREFULLY AND INDICATE YOUR UNDERSTANDING AND
 ACCEPTANCE BY SIGNING BELOW.
 I certify that all the information provided by me in connection with my application is true and complete. I understand that any
 misstatement, falsification or omission of Information shall be grounds for disqualification for employment or If hired, termination. I
 understand that as a condition of employment, I will be required to provde legal proof of outhorizotion to work in the U.S. I
 authorize the County of Monmouth to contact any of the persons or orgonizorons referenced in this application, I authorize the
 referenes to’gjve the County of Monmouth all information concerning my previous employment, education, or any other pertinent
 infQrlpdtlon i’ might have with regard to any of the subjects covered by this op [Icotion.

 SIGNAtURE                                                                   DAtE
 HR.18                                                            Paqo4of4                                                            0111312011
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               AUTHORIZATION FOR RELEASE OF INFORMATION
               FOR EMPLOYMENT PURPOSES



                Rb&L.                RrirnR                  authorize the County of Monmouth
                                                                  ,




              to contact any of the persons or organizations referenced in the Application for
              Employment. 1 authorize the references to give the County of Monmouth all information
             concerning my previous employment, education or any other penmen! information they
             might have with regard to any of the subjects covered by the Application of Employment.


             I hereby release the County of Monmouth, former employers and all other persons from
             any and all claims, demands or liabilities arising   Out   of or in any way related to the
             examination of my background.



            Robert                 Brtscoe
            Applicant’s Name (Print Legibly)                          Previous Name(s)


             Social Security Number



             .,j
             Signature                                                Date




                                              The County of Monmovth
                                  I East MaIn St.8 Freehold, Ni 07728 732-431 -7300


                                                                                                           01(13/2011
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 ROBERT F. BRJSCOE
 JI    -

                                                                                                     “—f                 1JI
              -




 QB3ECTYF
 A Production position requiring a team player with solid manufacturing experience, a strong mechanical aptitude, and a
 track record for maintaining high production and quality standards

 PROFESSIONAL AWARDS:
         • Employee of the Month, 2007: For Rapid Adaptability’ To A New Position
         • Blue Chip Award, 2006: For Outstanding Performance
         • Gannett Rising Star Award, 2005: For OutstanclingProduction

EXPERIENCE:
            Distribution Supervisor, Asbwy Park Press      Gannett, mc, Freehold, NJ                           2007-2009

       Received promotion to a management position due to diligent work ethic, exceeding production deadlincs and
       improving production quality.
      Organized Mailroom production and Quality control issues of the Asbury Park Press and its 4 subsidiary
       publications. Managed insertion of preprint advertisements and .preprinted sections, the labeling, bundling and
       distributing of all Newspapers and related publications.
    • Responsible for Supervising the delivery, processing and production of over 250 preprinted advertisement inserts
      into the 4 daily and 12 weekly Newspapers printed onsite, Responsible for each paper’s changing daily deadlines.
    • Responsible for Scheduling, layout and creating production packages for five Heidelberg preprint insert machines
      running to meet the daily production requirements for 5 Newspaper groups.
   • Responsible for managing and coordinating multiple daily, weekly, monthly, deadlines to fit tbe changing
      production needs of all publications.
   • Created and distributed multiple weekly, monthly, and yearly reports tracking staff hours, production volume and
      budget costs for multiple publications.
   • Responsible for overseeing the production and quality of in-house printed and stitched books for Commercial
      Accounts and the S Gannett publications produced on-site,
   • Led the creation of process of improvements to streamline production, reduce staff hours, and improve Quality
      Control.
   • Responsible for calculating the changing daily volume of all in-house printing for 3 Goss Metro liners offset
      printing presses to fit the need of all publications and commercial printing.
   • Responsible for Budgets and ordering all consumable supplies used by the Distribution Department.

           Machinist Operator, Asbu.’y Park Press - Gannett’ Inc. Freehold, NJ                                  I 992-.’Q7

   •       Responsible for the operation and repairs of machinery for processing of insert advertisement preprints,
           distribution, wrapping, and packaging for the delivery of multiple newsprint products.
   •       Responsible for creating operational procedures to meet the daily production schedule.
   •       Volunteered to assist on special projects, creating new production processes for the new and expanding
           publications brought in-house though corporate restructuring.
   •       Often created process improvements to increase production enhance Quality Control.
   •       Assisted with training of other machinists


           Conveyor Mechanic, B.A.E. Automated Systems Inc.     —   Newark Airport, NJ                         1989-1991

  •    Responsible for scheduling, prioritizing and repairs for various parts of conveyor machinery.
  •    Responsible for conducting daily inspections of all mechanical and electrical parts, often troubleshooting and
       repairing under emergency conditions.
  •    Assisted with training of new staff
  •    Expert knowledge of computer software associated with conveyor sorting system and all related baggage handling
       Systems.
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       Computer Hardware Representative, DIMIS, mc, Eatontown, NJ
                                                                                                          1.9864987
   •   Responsible for superior customer service associated with installation and servicing of various software
                                                                                                                and
       hardware.
   •   Responsible for troubleshooting and repair of customer computer systems.
   •   Responsible for Customer service for Hardware department.
   •   Maintained electronic inventory and processing of hardware and related supplies orders
   •   Created schedule and performed monthly back-up of data.


       Per:strncziliiteresis,

       Member of the Tinton Falls Open Space committee
       I enjoy Tennis, Hiking, and Kayaking.
                                                           ______________               ______________________
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                                    3331Piled 08/02/18
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                                             JOB POSTING
                                    Posting Date 03/0846            Closing Date       03/15/16      PAR?            ID #




  Department / Division DPW & Engineering                                        / Buildings   and Grounds
  Position Title   Crew Supervisor Building Maintenance Worker                     Salary Rauge 55,000        /yr.     -    69,600     /yr.

  WorIsite Various                                                                             Regular                      Temporary

                     14 of Hra,fWk. M—F     shirt   7:00     n.m     330        p.m.

 JOB REQUIREMENTS NOT LISTED ON THE ATTACHED                                       NJDOP JOB DESCRIPTION

 []Valid NJ Drivet’s License
                                                                                  E1CDLicense Tw,e of Endorsenieni
 PreEnaployrnent Testing                                                    /                            I

 ELIGIBILITY
      Must meet the minimum requirements listed on the NJDOP Job Description,
                                                                              as vell as, other
      requirements listed on this Job Posting as of the closing date.
  *
      Must be actively     working as of the closing date.

 SELECTION
  *
      Consideration     will   first be given to quahfied, internal employees, who have permanent job                       title status
      for a minimum of one year.
  ,   Work performance records         will he   reviewed with employees current supervisors as part of                     the
      selection process.

      NOTE:        Candidates on existing Certification of Eligibles for Appointment (Open                   NJDOP Lists)
      may take priority.


 PREFERRED JOB qUALIFICATIONS
 Applicants who possess one or more of the following qualifications are preferred:

Th1sJobpost1ng is for anticipated vacancy/promotional opportunities.
*‘+
    All Interested employees please deliver your job posting application to                       Cecella Thomas            @   the   B&G
main office, 250 Center Street, Freehold NJ 07728 by 4:30pm on 3/15/16.



 APPLICATION PROCEDURE.
 Complete Job Posting Application, available In each County Department and on                        the     Employee Intranet,
 and submit it to the Interviewing Manager listed below by the closing date.
           David Krzyzanowki                                         Supervisor of General Services
           intervlewIiig Maaagcr4.s Name / Thk

09109106
                                                                                                     i DEFENDANT’S
                                                                                                     Ii               EXT
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                                                                                                        Page 1 of 3


             Naw Jersey
           CMI S.ivfce
         Ccwnmlssiwl


    You are reading the State of New Jersey Job Descriptions. This is not a Job Vacancy Announcement.

        Job Specification
        CREW SUPERVISOR BUflDrNG MAINTENANCE WORKERS

        DEFXNETEON;

        Under supervision of a supervisory official ,n a state or local department,
        institution or agency, takes the lead in and supervises a group of employees
        engaged In the cleaning and general maintenance of offices arid furnIture
        and the making of minor repairs to buildings and appurtenances,
        Supervises staff and work activities. Prepares and signs official
        performance evaluations for subordinate staff; does other related duties.

        NOTE The examples of work for this title are for diustrative purposes only.
       A partcular position using this title may not perform au duhes listed in ths
       job speclfcatiori. Conversely, all duties performed on the job may not be
       listed.

        EXAMPLES OF WORK;

        Inspects and determines the cleaning and maintenance work to be done
        and the equipment, materials and supplies needed.

       Deveops work plans for cleaning and maintenance work and develops
       effective work methods.

       Provides assignments to Building Maintenance Workers, Senior Building
       Maintenance Workers, and other employees engaged In cleaning and
       maintenance work; supervises the performance of their work.

       Supervises the work operations and/or functional programs and has
       responsibility for effectively recommendIng the hiring, firing, promoting,
       demoting and/or disciplining of employees.

       Takes a leading part In cleaning and mantenance of desks, chairs, rugs,
       lighting fixtures, wIndows and other furniture and fixtures In a state Institution,
       cepartment or agency building.

       Supervises and takes a leading part in the cleaning and washing of
       windows, doors and other glass areas.

       Supervises and takes a leading part in sweeping, washing and sanding
       floors, in applying filler, shellac, paint and varnish to floors and in applyIng
       wax and polish to wooden, linoleum and composition fioor5.

       Supervises and takes a leading part in applying paint remover and
       turpentine or other suitable agent to furniture, in sanding rough and
       discoiored areas and in applying linseed oil, varnish, stain, lacquer,
       enam& and/or paint to varied types of furniture.

       Conducts Inspection of buildings, offices and other rooms to note hazards
       and other significant conditions and sees that needed werk is done

       Obtains, safeguards and distributes and supervises the use of cleaning
       and general maintenance equipment, materiais and supplies.

       Prepares end maintains records of personnel, time, equipment, materials,
       supplies arid work completed.

       Will be required to learn to utilize various types of electronic and/or
       manual recording and Information systems used by the agency, office
       or related units.




  http ://info.csc.state.nj .us/jobspec/44 135 .htm                                                      4/4/2016
Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 102 of 293 PageID:
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        RQU1REMENTS:

        EXPERIENCE:

        Two (2) years of experience in work Involving the inspection, cleaning
        arid general maintenance of offices, furniture and bj:dings.

        LICENSE:

        Appointees wIl be required to possess a drivers ilcense vaiid In
        New Jersey only if the operation of a vehicle, rather than employee
        mobility, Is necessary to perform the essential duties of the position.

        Appontees may be required to possess a valid Commercia: Dr;ver’s
        License (CDL) arid applicable endorsements for the class arid type
        of vehicle being operated.

        NOTE: The responsibility for ensuring that employees possess the
        required motor vehicle license, commensurate w th the c ass and type
        of vehicles they operate, rests with the Appointing Authority.

        KNOWLEDGE AND AIUTIES

        Knowledge of the problems and procedures used in inspecting premises,
        oeterminng the cieanlng and maintenance work to be done and the staff,
        equipment and time required.

       Knowledge of the methods and materials used in cleaning and maIntenance
       cf desks, chairs, rugs, lighting fxtures, windows, floors and other furniture
       and fxtures In buiidlngs.

       Ability to organize largescaie supervisory cleaning and maIntenance
       work and to develop effecbve work schedules and methods.

       Ability to provide assignments to employees doing cleaning and
       maintenance wcrk and to supervise their work.

       Ability to Supervise assigned staff and plan, organize and .mpiement
       projects with n the unit,

       Ability to conduct Inspections of offices and buIldings, determine
       cleanIng and general maintenance work to be done and to make
       estimates of staff, equIpment and time required.

       Ability to supervise and lead the work involved In the cleaning and
       maintenance of desks, chairs, rugs, lighting fixtures, windows and
       other furniture and fixtures in a bulidlng the sweeping, washing and
       sanding of floors; in applying filler, shellac, paint, varnish, waxes arid
       polish to wood, linoleum, or composition floors; in applying paint
       remover, turpentine or other agent to furniture; in sanding rough
       and/or discolored areas; arid In applying linseed oil, varnish, stain,
       lacquer, enamel and paint to varied types of furniture.

       Ability to supervise washing and cleaning of windows and other
       glass areas.

       AbIlIty to note hazards and notify the proper official.

       AbIlity to prepare and maintain records of work in progress, work
       completed, personnel, materials used end time.

       Ability to requisItion, store and supervise the use of equipment
       arid materials,

       Ability to learn and utilIze various types of electronic and/or manual
       recording and Information systems used by the agency, office or
       related units.

       Ability to read, write, speak, understand, or communicate in English
       sufficiently to perform the duties of this position. American Sign
       Language or Braille may also be considered as acceptable Forms
       of communication.




  http://info.csc.state.nj .us/jobspec/44 135 ,htm                                      4/4/2016
Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 103 of 293 PageID:
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        Persons with mental or physical dlsabIItes are eLglble as long
        as they can perform essentia’ funcbons of the job with or wIthout
        reasoneble accommodation If the accommodaton cannot be
        made because It wouid cause the employer undue hardship,
        such persons may riot be e[glblo.

        ‘this job specification Is applicable to the following title code:
         Job       Variant     State,     Class of Work       State      Local   Salary
         Spec                                                                             Note
                               Local or Service Week          Class      Class   Range
         Code                  Common                         Code       Code
         44135                      C          N    40        09         05      RIO
        This Job specficatior is for state and local goverrir’ent use,
        Salary range Is oriy applicable co state government.
        Local sa’aries are estabi shed by individual local jurisdictions.

         2/20/2016




  http://info.csc.state.nj us/jobspeu/44 135 .htm                                                 4/4/2016
 j Crew Supervisor Building Services 2316                           I
  JOB TITLE                                                                                                                                                               C)
                                                                                                    APPLICANTS NAME
                                                                                                                                                                          CD
                                                SCORING WORKSHEET                                                                                                        c)
    Columns A&B are detenvThed BEFORE inteiviews are conducted.                                                                                                          0)
                                                                                                                                                                         C)
                       A                                B                   C              D              E                    F                       G
              Competency Name                    Percentage of          Question 1    Question 2     Question 3
                                                                                                                    Applicant’s Average Applicants Adjusted             (i-i
                                                  Importance             Score          Score                       Points without % of   Score with % of
                                                                                                       Score
                                                                                                                       importance.         importance.
                                                 Write or type in                                                                                                       (p
                                                                          Write or type in each score from the     If doing manually, round If doing manually, round
                                                 decimal format -


 EXAMPLE: Write or type competency name.                                      Applicant Evaluation Form.           upto two decimal points up to two decimal points     I
                                                       .xx
                                                                                                                             x.xx                     x.>o(             C)
 e.g. Organizational Skills                           0.20                 0.             2.0            2.0                 1.50                    0.30
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 Required Education
 Required Expenence
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                                                                                                                            0.00                   0.00                D
 Analytical                                         0.10                                                                    0.00                   0.00
 Teamwork                                           0.20
                                                                                                                                                                                                            3335




                                                                                                                            0.00                   0.00                -n
 Leadership                                         0.10                                                                                                               CD
                                                                                                                            0.00                   0.00                a
 Customer Service                                   0.20                                                                                                               C
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 BusinessSuccess                                                                                                                                                       C
                                                    0.10                                                                    0.00                   0.00                N)
Administrative! Clerical Support                    0.10                                                                    0.00                   0.00
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SUM OF PERCENTAGES
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                                                                                                                  (=sum of all #s in                                   TJ
100%)
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HIRING MANAGER’S NAME                                                                                                                                                  NJ
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I-IR-22                                                                                                                                                                C
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     Promotional Interviewers Check List for Crew Supervisor Building Maintenance Worker:

         1.   Welcome    /
        2.    Sign Interview Acknowledgment form     d’




         3.        the reviewed the NJDOP j?b spec   /
        4.    Explain the Position:

              The current posted positions are anticipated promotional opportunity that has not been
              approved by County Administration. After selection of a candidate the Division has to justify the
              Employee Change of Status and identify funds in the current operating budget. At that time the
              County Administration will approve or disapprove of the promotional opportunity.

              The current assignments will be utilized to provide supervision within B&G Monday thru Friday
              from 7:00 am to 3:30 pm.

              The position is deemed essential and you may have to report during emergencies arid closures.

        5.    As a reminder the Department has the authority to reassign any employee to any County
              location and change work hours and work days to meet the current needs of the County. The
              Department will always provide two week notice.

        6.    Now we will start the interview process. I am gong to ask you a series of questions and please
              answer them to the best of your ability.

        7,    Close the interview and advise them we will notify them when a selection has been made to
              bring closure.
                                           __________   ______________________________________________________

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   Interview Report                                                                                        Page 1 of 8




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                      Depaiient lame:
                               Posttion: Crew Supervtsor Guiding Services 2016
                              Applicant:
                            Interviewer
                          (pint & sign):                              /x
                                  Date:




              Question ‘I: Tell me about a situation where your analysis of a problem was deemed to be
              incorrect? What would you do differently today?


              Answer 1: Has the character to admit mistakes. Also clarify-Were the steps ho took
              correct? More importantly, has ha/she learned from this mistake?


              Notes:


             Ratti:[ Jnsatisfactory=O             asfacor1           Very Goorl=2          eIIe3
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              Question 2: Tell me about a recent project you received, What are some of the first things
              you do?


              Answer 2: Accurately anticipates the duration and difficulty of projects and plans
              accordingly.


              Notes:


             Ratinfl[ 1tnsadsfactoI)1 j Satisf              oiy—i    Veiv G ood=2 EjEoeIlcnt=3        Fi!ILTs
        Analytical

              QuestIon 3: How would you measure the strength of your management team?


              Answer 3: Uses and employs modern analytical and management techniques to measure
              management value and ability.
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   Interview Rep oi



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                                                                                                     L_J
                                     TOTAL COIJiPETNCY AVERAGE POINTS

                                        SLIM OF        TOTAL#Or         TOTAL AVERAGE
                                        POINTS         QUESTIOI$S           POINT$

                                       ‘L_
                                      -




        Teamwork

                                                                     ance of cooperation in todays
              Question 1: How would you persuade people of the import
              workplace?


                                                                       work farce is v/tally /mpoiant for
              Answer 1: Realizes that a pos/tive balanced, cooperative
              success in business today.


               Notes:



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         Teamwork
                                                                     tried your best to get along with a
               Question 2; Give me an example of a time when you
                                                     think that was?  What did you learn from that
               work colleague but failed. Why do you
               experience?


                                                                   spends time and effort to mainta/n
               Answer 2: Thee to cooperate with all colleagues and
               and keep these relationships in a healthy state.


                Notes:
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                                                  Satisfactol         Vent C ed2         Eceltant3
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          Teamwovlc

                                                                       sornbody who had a reputaiion as
                Question 3: Tell me about a time you had to work with
                                                                  did you use?
                an uncooperative belflgerent Person? What tactics


                                                                    with uncooperative colleagues,
                Answer 3: Remains cooperative and poised when faced
                emphasizes the mutual advantage of cooperation.
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  Intcr view Report



             Notes:

                                                                                                      POINTS
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                                        TOTAL COIIPETNCY AVERAGE POINTS

                                          SUMOr         TOT/L0F         TOTALAVRAGE
                                          Polt4rs       QUESTIONS          POINTS

                                         Ejir


              Question 1: Have you      ever
                                           tried to do a job for which you were unqualified? How did you
              react at that :ime? Were you  able to accomplish your task?


              Answer 1: Can take risks and chances to achiae gods at wor also inspires others.


              Notes:


             Rat          Lin   sfact      4 Satisfactonj3          Very Good=20 Ecoltent=3


        Leadership

              Question 2: Have you ever tried to do a fob for which you were unqualified? How did you
              react at that time? Were you able to accompiish your task?


              Answer 2: Can take risks and chances to achieve goals at work; also inspires others.


              Notes:


             Ratin[ U sasFactry=O                   Satsfactary= JVe G ood=2            Ecceltent=3


        e adersh!

               QuestIon 3: How have you contributed to the company strategies and policies?


               Answer 3: influences the company to develop and implement innovative coiporale
               strategies and technically advanced procedures, successfully adapting leadership style to
               accommodate the diverse needs of team members.
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    Interview Repoi t                                                                                         Page 4 of 8




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              Ratin: Un        tisfctor=O   Li   Sati actonn1 []Very Gooth2         Li Exceilen3
                                       TOTAL COMPETNOY AVRAG POINTS

                                         SLIM OF         TOTAL#OF           TOTAL AVERAGE
                                         POINTS          QUESTIONS              POINTS

                                        [                               H                I
         Customer Service Orientation

                Question 1: How do you handle negalJve feedback from angry clients? How do yo
                normally respond to them?


                Answer 1: Able to enteiain customer corn plain(s without being dominated or getthig
                emotional; does not get veiwheImed while been criticized.


                Notes:



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                                                                   Li Ve God=2 Li Eaelrt3 [
          Custome- Service Orientation

                Question 2: This position requires interacting With the general public as well as existing
                employees and all levels of management. Tell me about some of your experiences. If no
                experience, what are your thoughts on this?


                Notes:

                                                                                                           POINTS
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          Customer SeMce Orientation

                Question 3: Tell inc about a time when you beieved a policy or procedure vjas not in the
                customers best interest. What did you do?                             ‘c-:’.I
                                                   \   Si                                        V’

                 Notes:

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    hiterview Report




                                      TOTAL COWIPETENCY AVERAGE POINTS

                                        SWfiOr          TOTAL#OF         TOTALAVEft’cE
                                        POI!TS          O,UESTIOIS          POINTS
                                                                             I

         eusiness Success

                                                                               How do you know which
               Question 1: Some battles are worth fighting and otheis are not.
               are worth fighting? Can you give me an examp  e?


               Notes:
                                                                                                      P0 It!TS
              RatinJ:Lj   1lrisafactoy=4         Saisfatonj=4    j Vefooct’2            xcaIlerit=3

         BuressSuccess

                                                                                   coworkers from other
               QuestIon 2: What kind of workIng relationships do you have with
                       ents? I-low have these relatio nships been benefic ial in accom piishing your work?
               departm


                Woes:


                                                                                         [xcelIant3
               c.atieci:[j Uitfaetonj=O j Sadsfacor=’I                Very Good=’2


          Sueiness Success

                                                                              decide what Information
                Question : When given a specific problem to solve, how do you
                is essential to making an inform ed decisio n?


                                                                                    make an informed
                Answe’ 3: Capable of deciding what information is necessary to          dge and experience
                decision; if they are not, are they capable of using their team’s knowle
                to bring about a succes  sful conclu sion.


                 Notes:


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                                         TOTAL COIWPTNCY AVRAG POINTS
Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 111 of 293 PageID:
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  Interview Report


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                                        POUTS          cWEST1ONS              POINTS

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       Admlriistt’ativelClerical Sui.por

                                                                     pace and change in priorities in your
              Question 1: Describe a situation that is typcal of the
                                                          Would  you  give me a specific example?
              department How does it effect your work?


              Notes:
                                                                                                      POINTS
             Rtirlg: hr        tlfactory=h) LIsatisfactorv=i     [ Very Good2           ExeeIkt3
                                                                                                       []
        AdminlstrativeiCleri ccl Suppoft

                                                                 had to cope with inadequate resources.
              QuestIon 2: Tell me about a situation in which you
              How did you de3l with it?




                                                                                                       POINTS
                                                                      Very Good2         Ecelknt=3
              Reting:          tisfacoiy=( []Satisfc{ory=i

        Ad ministrativeIClericl Spor

                                                             you have for supporting the woil< of other
               Question 3; What specific responsibilities do      hold? What specific tasks do you
               people in your department? What positions do they
                                                              Which tasks may require some
               perform? Which tasks reflects your strengths?
               development?


                Notes:


               RatinJ[] Uns al is      tortr—O   [] Satisfactery=i [] Very Good’2 LI Excel ten=3 E]
                                        TOTAL COMPETINCY AVAGI POINTS

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                                           POINTS          QUESTIONS           POINTS




          Requited EnerlenceÙ=
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   Interview Report


                Question l: This position requires         years of experience with
                                               How do you meet these qualifications?                       -




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                       q
                Notes:


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             Rath: Unsatisfactoj=(I

        Required Experience,
                                                                     cv1;-’-.-                   .



                QuestIon 2: What
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                                                                                     •-




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                Notes:


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                Ret   ic:Lj LJnaatTsfactcr1f=t      Satiscaetory=1

         Recwird Exorience

                                                            e qualifies you for this position?
                 QuestIon 3: How do you feel your experienc


                 Notes:


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          any specific physical requirements.
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          job functions, as long as all applicants in                       unde  rstan d that I may ask   this  applica nt
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           applicant has an obvious disability, (e.g. uses              the  job.
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           alone to describe or demonstrate how s/he would
Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 113 of 293 PageID:
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 Jnterview Repon

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     NOTE. if an appcat says that s/h neod mmodation that does not create an undue hardshp or allow
     you must either: provide a reasonab’e acco ld perform the job function.
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     the applicant to simply describe how s/he
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 Crew Supervisor uilding Services 2016                                                                         jRobert Brscoe
 JOB TITLE                                                                                                     APPLICANT’S NAME                                                    C)
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            Notes:

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                                   TOTAL COMPETENCY AVERAGE POiNTS

                                      SUM OF             TOTAL#OF       TOTALAVERAGE
                                      POiNTS             QUESTIONS          POINTS
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     Teamwork

            Question 1: How woud you persuade people of the iriportance of cooperation in todays
            workplace?                j
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                                                                           (‘,      ,
            Answer 1: Realizes that a positive balanced, cooperative work force is ‘itally important for
            success in business today.


            Notes:

                                          —                                                             POINTS
           RatIng:Ej Uneatisfactoiy=O     [J   Sallsfactory-.1
                                                                 f   Very G ood=2         ExceICent=3

     Teamwork

            QuestIon 2: Give me an example of a time when you trEed your best to get along wth a
            work colleague but failed, Why do you think that was? What did you learn from that
            experence?
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            Answer 2: Trie. to cooperate with all colleagues and spends time and effort to maintaIn                —.

            and keep these relationships in a healthy state.
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            Notes:                        jL               —     ‘—L
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           RatingiJ tinsatisfactory=O
                                          j Satisfactory=1           Very Good=2          Excelient-3

     Teamwork

            Question 3: Tell me about a time you had to work wth somebody who had a reputation as
            an uncooperative b lligerent person? What tactics did you use
                                                   Ljcu
                           u               .                              -


            Answer 3: Rémns cooperative ‘nd poised when faced wtfh unoopdrative col/eaIues,
            emphasizes the mutual advantage of cooperation.
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             Notes:


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                                      SUM OF          TOTAL#OF         TOTALAVERAGE
                                      POINTS          QUESTIONS            POiNTS
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      Customer Service Orientation

            Question 1: How do you handle negative feedback from angry clients? How do you
            normally respond to them?                              1
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                                 (                    Lçi
            Answer 1: Able to entertain customer complaints without being dominated or getting
            emotional does not get overwhelmed whfle been criticized.                I,
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            Rating: Unstisfactory4
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      Customer Service Orientation

            Question 2: This position requires interacting with the general public as well as existing
            employees and all levels of management. Tell me about some of your experiences. If no
            experience what are your thoughts on this?
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            Notes           —
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            Ratin!J:LJ Untfactory=            t1ictory=1 veGoo1=2
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      Customer Service Orientation

            Question 3: Tell me about a time when you believed a policy or procedure was not in the
            customers best interest, What did you do?             ?oi.c.%.( .
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            Notes:                           -                     0    JL—                    do .k-J
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Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 119 of 293 PageID:
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                                     TOTAL COMPETENCY AVERAGE POINTS

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                                          POINTS        QUESTIONS                POINTS
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      Business Success

            Question 1: Some battles are worth fighting arid others are not, How do you know which
            are worth fighting? Can you give me an example?
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            Notes:                             it       C4—           A-j                    &-L       O-J
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           Rting; Unsatisfactory=Q             Stisfactory=1 )Uer Good=2                 ExceIIent3

      Business Success

            Question 2: What kind of working relat onships do you have with co-workers from other
            departments? How have these relationships been beneficial in accomplishing your work?
                           M ci1J Lcs c            —         -‘                 i’           ,
            Notes:                         ?sv ClAy          O?t’-)

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           RatIag: Unsatisfactory=9 tjSatisfacory=1            ,          Very Good’=2   Excellent=3

      Business Success

            Question 3: When given a specific problem to sove, how do ou decide what information
            is essential to making an informed decision?              I
                                                                                         /   /
                                 (           JCJ        -?.   -

            Answer 3: Capable of deciding what information is riecessaiy to make en informed
            decision; if they are not, are they cepabe of using their team’s knowledge and experience
            to bring about a successful conclusion.
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            Notes:

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           Ratinj: Utistisfctory”U j SatIsfactory1                    Very Goorl=2 ExceIIent=3



                                     TOTAL COMPETENCY AVERAGE POINTS




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  1nerview Report                                                                                              Page 6 of 8
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                                           SUM OF       TOTALIOF         TOTALAVERAGE
                                           POINTS       DESTIONS             POINTS
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       AdmlnlstrativelClerical Support

             Question 1: Describe a situation that is typical of the pace and change in priorities in
             department. How doe it affect your work?
                                                                                                        yoir
             Notes:


            RatInq[] Unsatisfactory=O []Satisfactory=1 []Very G oocI-2

       AdministrativelClerical Support

             Question 2: Tell me about a situation in which you had to cope with inadequate resources,
             How did you deaI     it?
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             Notes:O                                        I
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            RatinJf1 Utsat[sfactory’O           Satisfactorylfery Gooi=2               Excel(ent3
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       AdministraiivelClerlcal Support

             Question 3: What specific responsibilities do you have for supporting the work of other
             people in your department? What positions do they hold? What specific tasks do you
             perform? Which tasks reflects your strengths? Which tasks may require some
             development?
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                                     TOTAL COMPETENCY AVERAGE ?OINTS

                                           SUM OF       TOTAL#OF        TOTAL AVERAGE
                                           POINTS       QUESTIONS           POINTS
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       Required Experience




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               Ouestiori t: This position requires         years of experience with
                              sV’$             How do you meet these qualifications?
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               Notes:                          —




             Ratini:j LJnsatsfactory=O        j Satisfactory’1      Veiy Good=2 ?Exceflentt3

      Required Experience
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             Raling:[j Unsatisfactory=8
                                              [j   Satisfactory=1   Very G ood2 jExcellent3

      Required Experience

               QuestIon 3: How do you feel your experience qualifies you for this position?
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               Notes:
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                                        TOTAL COMPETENCY AVERAGE POINTS

                                            SUMOF         TOTAL#OF          TOTALAVERAGE
                                            POINTS        QUESTIONS             POINTS
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      Notes;

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         /
         I have reviewed the essential job functions with the applicant including the work schedule, location or
      any1pecific physical requirements,

      Lf)4ave asked the applicant directly, “Are you able to perform the essential functions of this position
      wi or without a reasonable accommodation?’ I have not asked, ‘Do you need an accommodation?”

           I understand that I may ask applicants to describe or demonstrate how they would perform any or all
      job functions, as long as all applicants in the job category are asked to do ths. However, if a part cular
      applicant has an obvious disability, (e.g. uses a wheelchair) I understand that I may ask this appcant
      alone to describe or demonstrate how s/he would perform the job,




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      NOTE: If an applicant says that s/he needs a reasonable accommodation to perform a job demonstration,
      you must either: provide a reasonable accommodation that does not create an undue hardship or allow
      the applicant to simply describe how s/he would perform the job function.
      Comments:




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    Crew Supervtsor Building Services 2016                                                                Kevin Baxter                                                       I
JOB TITLE                                                                                                 APPLICANT’S NAME                                                       C-)
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                                                SCORING WORKSHEET                                                                                                                L)

     Columns A&B are determined BEFORE interviews arc conductcd                                                                                                                  0,
                          A                             B                  C                     D             E                     F                       G                   C-)

                                                                                                                         Applicant’s Average Applicant’s Adjusted                C
                                                 Percentage of] Question I              Question 2        Question                                                               F-’
                 Competency Name                                                                                         Points without % of   Score with % of                   0]
                                                  Importance      Score                   Score             Score                                                                —.1
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                                                 Write or type in                                                        If doing manually, round If doing manually, round       0
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    EXAMPLE: Write or type competency name.
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                                                       0.20                0.5                  2.0            2.0                 1.50                     0.30                 0
    e.g. Organizational Skills                                                                        1
                                                                                                                                                                                 C
                                                     0.00                                                                          0.00                   0.00                   a
    Required Education                                                                                                                                                           C-)

    Required Experience                              0.20             2.0                       3.0         .3.0                   2.67                   0.53
                                                                                                                                                                                 CD
Analytical                                           0.10             2.0                       2.0         :2.0                   2.00                   0.20
Teamwork                                             0.2D             1.0                       2.0           1.0                  1.33                   0.27
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                                                                                                                                                                                                                      3354




    Leadership                                       0.10             2r                2i-                   2.0                  1,67                   0.17
                                                                                                                                                                                 CD
    CustornerService                                 0.20             2.0                2.0                  2.0                  2.00                   0.40
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           Notes:

                                                                 Very Good=2         Exce1lent3



                                   TOTAL COMPETENCY AVERAGE POINTS

                                      SUM OF         TOTALOF            TOTALAVFRAGE
                                      POINTS         QUESTIONS              POINTS




      Teamwork

                                                                           cooperation in odays
            Question 1: How would you persuade people of the importance of
            workplace?                                4——               e.
                                                cJ       -
                                                              C.-t—
                                                                               is vitally important for
            Answer 1: Realizes that a psitive balanced, cooperative work force
            success in business today.               o                   r

            Notes:


                                                                      Very Good=2
            Ratin[] Unsatisfacooj4 Satisfactory=1
                                                                                      EcelIerW=3
                                                                                                       Lii
       Teamwork

                                                                                         along with a
             Question 2: Give me an example of a time when you tried your best to get        that
                                failed. Why do you think that was? ‘Nriat dd you learn from
             work colleague but
             experience?


                                                                                  effort to maintain
             Answer 2: Tries to cooperate with all colleagues and spends time and
             and keep these relatio nships in a healthy state.
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                                                Satisfactoiy=1 ‘VeryGood2           [J   Excellent=3


        Teaniwok

                                                                                 had a reputation as
              Question 3: Tell me about a time you had to work with somebody who
              an uncoo ative belligerent person  ? What tactics did you use?
                                                         ‘V    _‘
                                                                             I.
                  V




                                                                              erative colleagues.
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              Answer 3: Remains cooperative and poised when faced with uncoop
              emphasizes the mutual advantage of cooperation.
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Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 126 of 293 PageID:
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            Notes:


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                                       POINTS        QuESTIONS             POINTS

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             Question 1: Have you ever tried to do a job for which you were unqueified? How did you
             react at that time? Were you able to accomplish your task?
                              —
             Answer 1: Can fake risks and chances to achieegoaIs at work; also inspires others.
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             Notes:


            Ratfj:[1 Unsatisfactcy=U atisfactor                    Very Goo=        [ Excelfat=3
       Leadership

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             Answer I      an e<e risks and chances to achie ye goals at work; also inspires others.


             Notes:

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             Question   3: How have you contrbuted to the company strategies and policies?
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              Answer 3: Influences the company to develop and implement innovative coporate
              strategies and technically advanced procedures, successfully adapting leadership style io
              accommodate the diverse needs of team members.
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Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 127 of 293 PageID:
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  Interview Report
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             Notes:


            Rating:j tJn atisfactory=O



                                      TOTAL COMPETENCY AVERAGE POINTS
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                                       POINTS         QUESTIONS              POINTS

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       Customer Service Orientation

                                                                                          you
             Question 1: How do you handle negative feedback from angry clients? I-low do
             normally respond to them?

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             Answer 1: Able to entertain customer corn pie/its Wit/lout being dominated or getting
             emotional; does not get ovet elmed while been criticized.


              Notes:
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             Rating: UsetisfactoryO        H   Sa1isfector=1jVerf Goocl=2                   EcelIeit3       [j
        Customer Service Orientation

              Question 2: This position requires interacting with the general public as well as existing
              employees and all levels of management. Tell    me about some of your experiences. If no
              experie nce, what are your though ts on this?
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              Notes:                  k_r/,_/!                             L           i/     1// ‘V

             Rail ng: Unsaisfectoiy=O       j Seiisfactorj=1
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        Customer Service Orientation

               Question 3: Tell me about a time when you believed a policy or procedure was not in the
               customer’s best interest. What did you do?            ‘Pet         -




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                                         POINTS         QUESTIONS              POINTS

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       Business Success

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             Question ‘1: Some battles are worth fighting and others are not. How do you
             are worth fighting? Can you give me an  axample?                                                   I


             Notes:




       l3uslncss Success

                                                                                           from other
             Question 2: What kind of working relationships do you have with coworkers
             cieprtn. i-low have these relationships been     beneficial in accomplishin g  your work?
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        Business Success

              Question : When given a specific problem to sove, how do you decide what information
              is essential to making an informed decision?
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                                                                        *t                  —J-
              Answer 3: Capable of deckling what information is necesswy to make an informed
              decision; if they are not, are (hey capable of using (heir team’s knowledge and experience
              to bring about a successful conclusion,


              Notes:


             P.ating:j Unsiiisf:ctory=U atislactorr=i                     Very Good-’2   EcelIeri=3     LI
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                                       SLIM OF           TOTAL # OF     TOTAL AE RAGE
                                       POINTS            QUESTIONS          POINTS




       AdmirstrativelClericai Support

             QuestIon 1: Describe a situation that is typical of the pace and change in priorities in your
             department. How does it affect your work? Would yu give me a specific example?
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       Admlnistrative!Clerieal Support

             Question 2: Tell me about a situation in which you had to cope with inadequate resources,
             How did you deal with it?
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       Adminlstrativ&CIerical Support

             Question 3: What specific responsibilities do you have for supporting the work of other
              people in your department? What positions do they hold? What specific tasks do you
              perform? Which tasks reflects your strengths? Which tasks may require some
              development?
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                                      TOTAL COMPETENCY AVERAGE POINTS

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        Recwired Experience




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  Inteview Report

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             Question 1: This       position requires         years of experience with
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                                Ii                How do you meet these qualifications?                    ,‘-




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      u3rad Experience

               Question 2: What

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       Required Experience

               Question 3: I-low do you feel your experience qualifies you for this position?
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                                                                                    the work schedule, location or
            I haye reviewed the essentia job functions with the applicant including
        any ycific physical requirements,
                                                                                                of iNs position
            haye asked the app!icant directly, ‘Are you able to perform the essential functions
                                                 ion?” 1 have not asked, ‘Do you need   an accommodat   ion?’
        withyithout a reasonable accommodat
                                                                                          they would perform any or all
             I understand that I may ask applicants to describe or demonstrate how
                                                                                        this.   However, if a particular
        job tunctions, as long as all applicants in the job category  are  asked to do
                                   disability, (e.g. uses a wheelchair)  I understand  that   I may ask this applicant
        applicant has an obvious
        alone   to describe or demonstrate   how   sfhe would perform  the job.




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 Interview Report

                                                         able accommodation to perfomi a job demonstraron,
     NOTE: If an applicant says that s/he needs a reason
                                                            that does not create an undue hardship or allow
     you must either: provide a reasonable accommodation
                                                     perform  the job function.
     the applicant to simply describe how s/he would
          ents:
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        Crew Supervisor Building Services 2016                                                                                                Lou BeUardino                                                                 I
        JOB TITLE                                                                                                                             APPLICANTS NAME                                                                    C-)
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              Notes:


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                                          POINTS          QUESTIONS           POINTS
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       Teamworlc

             Question 1: How would you persuade people of the importance of cooperation in todays
             workplace?
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                                                                          -            1     (
             Answer ‘I: Realizes that a posthve balanced, cooperative work force Is vitally important for
             success in business today.


             Notes:


            Rating:[] tinsatisfactory’=O          Sa(isfactoty=1
                                                                   LI Very Gocd=2 [] Excellent=3
       Teamwork

             QuestIon 2: Give me an example of a time when you tried your best to get along with a
             work colleague but failed. Why do you think that was? What did you learn from that
             experience?                                   —                         !

                                             4\
             Answer 2: Tries to cooperate with all colleagues and spends time and effort to maintain
             and keep these relationships in a healthy state.
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             Notes:                                       (
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                                                                                                      POINTS
            Rating: Unsatisfactory=O              Satisfactory”4      Very Good=’2     Exceltent=3
                                                                                                          [3J
       Teamwork

             Question 3: Tell me about a time you had to work with somebody who had a reputat on as
             an uncooperative belligerent person? What tactics did you use?


             Answer 3; Remains cooperative and poised when faced with uncooperative colleagues,
             emphasizes the mutual advantage of cooperation.

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             Notes:

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            Ratinti{j Unsatifactory=O_DSatisfc”ry_Goad=2
                                                                                                        j I
                                                                                    Excellent=3



                                    TOTAL COMPETENCY AVERAGE POINTS

                                      SliM OF        TOTAL#OF         TOTALAVERAGE
                                      POINTS         QUESTIONS            POINTS
                                                                 HI__
      Leadership

             Question 1: Have you ever tried to do a job for which you were unqualified? How did you
             react at that time? Were you able to accomplish yoRtask?
                              L        A)U           0-CL
             Answer 1: Can take risks and chances to achieve goals at work, also inspires others.

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             Notes:

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           R atInjI IJnsatisfactoiy=O                            Very G oocl=2      Exceltent=3
                                             Satis1actoivIN
      Leadership

             Question 2: Hays ypu   evr triedlo cjob fqLwhich YQU wre unqualifled? How did you




            Notes:


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           Rat?nij Unsatisfactory=O Satisfactory=1               Very Good=2        Exceilent=3

      Leadership

            Question 3: How have you contributed to the company strategies and policies?

                       7 47L                            rLc
            Answer 3: Influences the company to develop and implement innovative corporate
            strafegies and technically advanced procedures, successfully adapting leadership style to
            accommodate the diverse needs of team members,




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             Notes:

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            Rating:l Unsatisfacteiy=4J          Satisfactor,=1
                                                                 D   Very Good2           Excellent=3



                                     TOTAL COMPETENCY AVERAGE POINTS

                                       SUM OF          TOTALOF           TOTALAVERAGE
                                       POINTS          QUESTIONS             POINTS

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       itomer Service Orlentatign

             Question 1: How do you handle negative feedback from      angry olrrt? How do you
             normally respond to them?
                                                          ‘-             t                              -




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                                                        4’L
             Answer 1: Able to entertain customer compramts without being dominated or getting
             emotional; does not get oveiwhelmed while been criticized,

                                   Si       —     (       C3
             Notes:

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            Ratinq:Unsatisfactoiy=O 1SatisfactoIy”                   Very Good2
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       cjistomer Service Orientation

             Question 2: This position requires interacting with the general public as well as existing
             employees and all levels of management. Tell me about some ot your experien es. if no
             experience, what are your thoughts on this?
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             Notes:                                                          j1-.
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            Rating:J Ur1satIsfactorY=O’]atisfactQrY=1

       Customer ServIce Orientation
                                                                     VeryCood=2Lj Excaltent=3
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             QuestIon 3: Tell me about a time when you believed a policy or procedure was not in the
             customer’s best interest. What did you do? -k e,, 7ec.               .


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             Notes:   Nb &c            ei               JL                                -,    /
                                     _/                                                                 POINTS
            Rating:j tJnsat1sfactory=IJSatisfactoiy=4                Very Good=2 EcceI!ent3
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                                     TOTAL COMPETENCY AVERAGE POINTS

                                          SLiM OF      TOTALIIOF       TOTAL AVERAGE
                                          POINTS       QUESTIONS           POINTS
                                      I             HI__                    I
       Business Success

              Question 1: Some battles are worth fighting and others are not. How do you know which
              are worth fighting? Can you give me an example?


              Notes:


             Rting:j Unsatisfactory=O          Satisfactory1        Veiy Good2       Excollont=3

       Business Success

              Question 2: What kind of working relationships do you have with co-workers from other
              departments? How have these relationships been beneficial in accomplishing your work?


              Notes:
                                   r           JkL              j          LQ      -rL
                               ‘4 Qf      -     ‘-     -1                           _L (


            RtIng1J lJnsatlsfacfoy=OSatisfactory1
                                                               j Very Good’-         Excellent=3

       Business Success

              Question 3: When given a specific problem to solve, how do you decide what information
              is essential to making an Informed deci&on?
                                                                      d
              Answer 3: Capable of deciding what Thformation is necessary to make an informed
              decision; if they are not, are they capahe of using their team’s knowledge and experience
              to bring about a successful conclusion.


              Notes:


            Ratinq:J Unstisfactoiy4’atisfactory=1              j Very Good=2         ExcelIent’3



                                     TOTAL COMPETENCY AVERAGE POINTS




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                                           SUM OF       TOTAL#OF          TOTAL AVERAGE
                                           POINTS       QUESTIOrIS            POINTS
                                                                              r
       Administrativ&CIerical Support

              Question 1: Describe a situation that is typical of the pace and change in priorities in your
              department. How does it affect your work? Would QU give me a specific example?
                           6t                                             J                C--
              Notes:


             iiinq:j Unsatisfactory’’D          Satisfactory=1   j Very Goad=2 bcceIIent=3 :3
       AdmirtistrativelClerlcal Support

              Question 2: Tell me about a situation n whch you had to cope with inadequate resources.
              How did you deal with it?
                                                         S
        --    Notes:                           J1Vj              L-



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             Rating: Unsatisfactaiy—O           Sa isftctory’1 2/ery Good=2             Excellent=3

       AdmlnlstrativelClerical Support

              Question 3: What specific responsibilities do you have for supporting the work of other
              people in your department? What positions do they hold? What specific tasks do you
              perform? Thich tasks reflects your strengths? Which tasks may require some
              development?


              Notes:                                      I
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                                                                                                      POINTS
             Ratinj:j Iinsatisftctory4 LI Satisfactory=1 Very Guo&2                    Excellent=3



                                     TOTAL COMPETENCY AVERAGE POINTS

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                                           POINTS      QuESTIONS             POINTS
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       Reciutred Experience




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                 QuestIon 1: This position requires         years of experience with
                     1JO’1.. tii                How do you meet these qualifications?
                ,.

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                 Notes:                                     A             4)          Lc.f           G\



                Ratin: Unsatisfactory4          j                          G oo&’2 ExueIIent=3

       Required Experience

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                 QuestIon 2: What
                 COYplr                                                                                 ‘     ‘1


                 Notes:                                                         r
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             Ratin g:[j Uns atisfactoiy$I       []s atlslactci       Very G ood=2,xceIIenI=3
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       Required Experience

                 Question 3: How do you feel your experience qualihes you for this position?


                 Notes:
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             Rating: Unsatisfactcny=D



                                          TOTAL COMPETENCY AVERAGE POINTS

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                                              POINTS       QUESTiONS         POINTS
                                          i
       Notes:

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           I h,ave reviewed the essential job functions with the appfcant including the work schedule, location or
       any secfic physical requirements.

       cl hay asked the applicant directly, Are you able to perform the essential functions of this position
       with ycvithout a reasonable accommodation? I have not asked, ‘Do you need an accommodation?’

             understand that I may ask applicants to describe or demonstrate how they would perform any or all
       job functions, as long as all applicants in the job category are asked to do this. However, if a particuar
       applicant has an obvious disability, (e.g. uses a wheelchair) I understand that I may ask this applicant
       alone to describe or demonstrate how s/he woud perform the job.




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        NOTE: If an applicant says that s/he needs a reasonable accommodation to perform a job demonstration,
        you must either: provide a reasonable accommodation that does not create an undue hardship or allow
        the applicant to simply describe how s/he would perform the job function.
        Comments:




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J Crew Supervisor Building   Services 2016                                                          (Chad Aretino
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JOB TITLE                                                                                               APPLICANTS NAME                                                        0
                                                                                                                                                                               If,
                                                                                                                                                                               CD
                                              SCORING WORKSHEET
  Columns A&B are determined BEFORE interviews are conducted.                                                                                                                  a,
                       A                              B                 C                 D                 E                        F                       G                 C)

                                                                                                                      Applicants Average JApplicants Adjusted                  C
                                               Percentage of        Question I       Question   2           tbon 3
               Competency Name                                                                                        Points without % of        Score with % of               C),
                                                Importance            Score            Score              Score                                                                —‘I
                                                                                                                         importance.              importance.
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                                                                      Write or type in each score from the
                                               decimal format   -
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EXAMPLE: Write or type   competency name.            .xx                    Apphcant Evaluabon Form.
                                                                                                                                    x.xx                    XXX
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e.g. Organizational Skills                          0.20               0.5       I       2.0        I      2.0                      1.50                    0.30               C

Required Education                                 0.00                                                                                                                        0
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Required Experience                                0.20               1 .0               2.0              1.0                     1 .33                0.27                   B
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Analytical                                         0.10               2.0                2.0              1.0                                                                 D
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Teamwork                                           0.20               1.0                2.0              1.0.                    1.33                 0.27
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Leadership                                         0.10               2.0                2.0              1.0                     1.67                 0.17                   11
                                                                                                                                                                              CD
CustomerService                                    0.20               2.0                1.0              1.0                     1.33                 0.27                   C
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\dministrativef Clerical Support                                                                                                                                              NJ
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(the sum of all #s in column B   must equal                                                                          (sum of all #s in
100%)                                                                                                                column G)
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Iio&r                         (owriJ                                                                                 points   —   x.xx                                        CD
HIRING MANAGERS NAME
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         Applicant vaiuatlon Form                                                     Edit Job Title    I   Print Repg±i

                        Department Name:              PL
                                Position: Crew Supervisor Building Services 2016
                               Applicant:        CAd

                                    Date:


        Analytical

               Question 1: Tell me about a situation where your analysis of a problem was deemed to be
               incorrect? What would you do differently today?

                                             c-         Cvi’4 1t-J                         CAL-3            -    tLL
               Answer ‘1: Has the character to admit mistakes. Also clarify-Were the steps he took ‘
               correct? More importantly, has he/she learned from this mistake?
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               Notes:
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        Analytical

               Question 2: Tell me about a recent project you received. What are some of the first things
              you do?
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                                                        i                  L1Z—--, 4?                         J
              Answer 2: Accurately anticipates the duration and difficulty of projects and plans
              accordingly.
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              Notes:                                                  6
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             Ratin:j Unsatisfactory=O
                                             D   Satisfactory=1       Very G ocnfr2        ExceIlunt3
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        Analytical

              Question 3: How would you measure the strength of your management learn?

                                 cfL                                      Lj
              Answer 3: Uses and employs modern analytical and management techniques to measure
              management value and abilTh,’.




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             Notes:


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                                     TOTAL COMPETENCY AVERAGE POINTS

                                       SliM OF        TOTAL#OF         TOTAL AVERAGE
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      Teamwork

             Question 1: How would you persuadAe pele of the rportance of cooperation in today’s
             workplace?        —

                                                 -
             Answer 1: Reali7eS that a positive balanced, coopra live wor* force is vitally important for
             success in business today.


             Notes:


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           Ratingfjj tinsatisfactoy=O         Satisfactory’.l
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      Teamwork

            Question 2: Give me an example of a time when you tried your best to get along with a
            work colleague but failed. Why do you think that was? What did you learn from that
            experience?                               44
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            Answer 2: Tries to cooperate with all colleagues and spends time and effort to maintain
            and keep these relationships in a healthy state.                       J)
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            Notes:


           Ratinq:[] Unsatisfactaiy=e []Satisfactorv1             Very Good2
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      Teamwork

            Question 3: Tell me about a time you had to work with somebody who had a reputation as
            an uncooperative belligerent person? What tactics did you use?

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            Answer 3: Remains cooperative and poised when fa ed with uncooperative colleagues,
            emphasizes the mutual advantage of cooperation.



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              Notes:


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             Rating: Unsatisfactorv=O3’            tisfactoiy1
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                                     TOTAL COMPETENCY AVERAGE POINTS
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                                       POINTS          QUESTIONS          POINTS
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              QuesUon 1: Have you ever tried to do a job for which you were unqua!ifed? How did you
              react at that time? Were you able to accomplish your task?
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                                    -->                           “—--          ‘r—
              Answer 1: Can take nsks and chances to achieve goals at work; also inspIres others.


              Notes:

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            Radn:FJ Unsatisfactory=O SaIis1actoiy1                 Very Guot1=2       EcoIIent=3

       Leadershh

              Question 2ve-vr1ticF{6d_ajob for which you were unqualified? How did you
              react aiflhlime?Were you able to acc5m1ui1sR?


             Answer 2: Can take dsks and chances to achieve goals at work also inspires others.


             Notes:


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                                          [j Satfsfactory=1 []Ver(ood=2               ExceItent3
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       Leadership

             Question 3: How have you contributed to the cGelstrategies and poIicie?           j



             Answer 3: Influences the company to develop and implement innovative corporate
             strategies and technically advanced procedures, successfully adapting leadership style to
             accommodate the diverse needs of team members.
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              Notes:


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                                      TOTAL COMPETENCY AVERAGE POINTS

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                                           POINTS        QUESTIONS                POINTS
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       Customer Service Orientation

              Question 1: How do you handle negative feedback from angry clients? How do you
              normally respond to them?                                           4jY
                                                                                        j\A-’
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              Answer 1: Able to entertain customer complaints without being dominated or getting
              emotional; does not get ovent’heImed while been criticized,
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              Notes:                          dLv-4’        .ft c                     —

             Rating: UnsatIsfactaryO              Satisfactory1        Very Good=2       Excel’ent=3

       Customer Service Orientation

              QuestIon 2: This position requires interacting with the general public as well as existing
              employees and all levels of management. Tell me about some of your experiences. If no
              experience, what are your thoughts on this?    ,




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              Notes:                                                   (it.              L.




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            Rating:j I.Jnsatisfactory=O atIsfactory=1
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       Customer Service Orientation

             QuestIon 3: Tell me about a time when you believed a policy or procedure was not in the
             customers best interest. What did you do? jp .
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                                     TOTAL COMPETENCY AVERAGE POINTS

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                                         POINTS        QUESTIONS         POINTS
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       Business SUCCeSS

              Question 1: Some battles are worth fighting and others are not, How do you know which
              are worth fighting? Can you give me an example?

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       Business Success

              Question 2: What kind of working relationships do you have with co-workers from other
              deprtmnts? How have these relationships been beneficial in accomplishing your work?

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             Notes:                  —   ‘c—
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            Rating: Unsatlsfactory=O 1Sallsfactory=1 D Very Good=2 [] ExceIient3
       BusIness Success
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             Question 3: When given a specific problem to solve, how do you decide what informaton
             is essential to making an informed dec:sion?
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             Answer 3:
                                                             ‘i3 /t4
                         Capable of deciding what information is necess’aiy to make an informed      •-
                                     era
             decision; if they are not,   they capable of using their team’s knowledge and experience
             to bring about a successful conclusion,


             Notes:

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            Rating:Lj Unsatlsfactory=O Satisfactory=1            Very Good=2 LjExcelIent=3
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                                     TOTAL COMPETENCY AVERAGE POINTS




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                                        POINTS          QUESTIONS              POINTS
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       AdministrativelClerlcal Support

              QuestIon 1: Describe a situation that is typical of the pace and change in priorities in your
              department. How does it affect your work? Would you give me a specific example?
                         7 G —i                       °— “             — - s3

                              A4t,a S z--                                   -
              Nofes


             RatlnfJ:[1 Unsatisfactoiy=O []Satisfactory’1        D Very Good2 [ExeeIIents3
       Admn1stratIveIClorlcaI Support

              Question 2: Tell me about a situation in which you had to cope with inadequate resources.
              Howdidyoudealwithit?                                            •




                                                                   ---                 ‘--‘.            ‘v’
              Notes:

                                                                                                      POiNiS
             Ratin:[] Unsatlsfactary=O []Satisfactory=1 ‘Ve!y Geod=2
                                                                                    [] Excel!ent=3
       AdrninistratlvelClerlcal Support

              Question 3: What specific responsibilities do you have for supporting the work of other
              people in your department? What positions do they bold? What specific tasks do you
              perform? Which tasks reflects your strengths? Which (asks may require some
              development?


              Notes:    4ç
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             RatIng:j Unsatisfactory=O 11SatIsfactory=1
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                                      TOTAL COMPETENCY AVERAGE POINTS

                                        SUM OF          TOTAL#OF         TOTA[.AVERAGE
                                        POINTS          QUESTIONS            POINTS




       Required Experience




  hi-f-wi/i 79 9(1.1 .156/TntervjewAtyo/renortasi,                                                             3/11/2016
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  1nte.rview Report                                                                                         Page 7 of 8


                Question 1: This position requires       1  years of experience with
                    w’C\*.                    . How do you meet these qualifications?   ,,


                                 I



                Notes:
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              RatingilJnsatTsfacto!y=D4’Satisfactoryi                   VeIyGod=2L1ExceIh?nt=3
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       Required Experience

                                     Kw’ac                                               L’V’

                QuestIon 2: What
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                øt £ i
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                Notes:
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      )——
                                                                                                      POINTS
              Ra1ingFj Ut satisfactory0          Satisfactorv=’l      j Vey Good=2      Excellent=3

       Required Experience

                Question 3: How do you feel your experience qualifies you for this position?
                                     -otvb-\             Cjq)
                                                     3
                Notes:



              RatIntJ[L Unsatisfactoiy=’U                               Vety Good2      ExceIIent3
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                                       TOTAL COMPETENCY AVERAGE POINTS

                                            SUM OF       TOTALi/0F         TOTALAVERAGE
                                            POINTS       QUESTIONS             POINTS
                                        I                                                I
       Notes;



             I have reviewed the essential job functions with the appicant including the work schedule, location or
       any      eciiic physical requirements.

       ‘   l)ve asked the applicant directly, MAre you able to perform the essential functions of this position
       wityor without a reasonable accommodation?’ I have not asked, Do you need an accommodation?”

            I understand that I may ask appicants to describe or demonstrate how they would perform any or all
       job functions, as long as all applicants in the job category are asked to do this. However, if a particular
       applicant has an obvious disability, (e g uses a wheelchair) I understand that I may ask this applicant
       alone to describe or demonstrate how s/he would perform the job.




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   Tnterview Report                                                                                Page 8 of 8
                                                                                                                 4:
       NOTE: If an appcant says that s/he needs a reasonabce accommodation to perform a job demonstration.
                                                                                                                 cJ
       you must either: provide a reasonable accommodation that does not create an undue hardship or allow
       the app:icsnt to simply descnbe how s/he would perform the job function.
       Comments




  hi-tn 1117220 1 1 S6itnterviewAoD/reDort.aso                                                      3/11/2016
    f Crew Supervisor Building Services 2016                               I                                 I   Kofi Kyerrnanteng                                                     .1
    JOB TITLE                                                                                                    APPLICANT’S NAME                                                            C-)
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                                                                                                                                                                                             (I,
                                                                                                                                                                                             CD
                                                 SCORING WORKSHEET                                                                                                                           c)
      Columns A&8 are detemined BEFORE inteiviews are conducted.
                          A                                                                                                                                                                  9-,
                                                                                                                                                                                             C-)
                                                         B                         C                D                    E                    F                        G
                                                                                                                                   Applicant’s Average Applicant’s Adjusted                  a)
                                                  Percentage of                Question I       Question 2           Question 3
                 Competency Name                                                                                                   Points without % of   Score with % of                     C)-,
                                                   Importance                    Score            Score                Score
                                                                                                                                      importance,          importance.                       cc
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                                                  Write or type in                                                                 It doing manually, round If doing manually, round         C)
                                                  decimal format   -
                                                                                 Write or type in each score from the
                                                                                                                                  up  to two decimal points up to Iwo decimal points         C’)
    EXAMPLE: Write or type competency name.             io:                          Appilcant Evaluation Form.
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    e.g. Organizational Skills                         0.20                       0.5       I      2.0       1          2.0                  1.50                     0.30                   C)

    Required Education                                                                                                                                                                       0
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    Required Experience                               0.20                       2.0              2.0                   1.0                 1.67                    0.33                     -J
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     nalytical                                        0.10                       2.0              2.0                                                                                       D
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    Teamwork                                          0.20                       2.0              1.0                   1.0                 1.33                    0.27                    cc
                                                                                                                                                                                                                                 3381




    Leadership                                        0.10                       1.0.             2.0                *1.0                   1.33                    0.13                    11
                                                                                                                                                                                            CD
    CustomerServce                                    0.20                       1.0              1.0            .    ..i.0.                1.00                    0.20                    ci
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    Business Success                                  0.10                       2.0              1 .0               : 1.0                  1 .33                   0.13                    cc
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I                 cti \J               (QAI ?l/J                       I                                                                -
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    HIRING MANAGER’S NAME
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    HR-22                                                                                                                                                                                   CJi
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       Interview Report                                                                                       Page 1 of 8




            AppHcan vuatio Form                                                   I edit Job Titie j Print RI

                          Department Name:           )VU                                         C
                                   Position: Crew Supervisor Building S”rvices 2016
                                 Applicant:
                                 Interviewer
                              (print &
                                                                                  -4&
           AniytTcal

                 Question ‘1: Tell me about a situation where your analysis of a problem was deemed to be
                 incorrect? What would you do differently today?
                                                                              -
                              L
                 Answer 1: Has the character to admit mistakes, Also clarify-Were the steps he took
                 correct? More importantly, has he/she learned from this mistake?

                                                                /JL/
                 Netes:

                                                                                                       POINTS
                Rt3ng: Unsatisfactay=O         j Satisfactoiy=i’Ver1, Gnod2              Excellent3
                                                                                                       L
           AnalytIcal

                 Question 2: Tell me about a recent project you received. What are some of the first things
                 you do?         —    ?c’v4            4Cd
                                —      Zik                          L } cL         9E ç-       b
                 Answer 2: Accurately anticipates the duration and difficulty of projects anpIans
                 accordingly.
                                                                                            fVS

                 Notes:


                RatIn:r] Linsatisfactoiy4 [jSatisfacterv1 Vey Goocl=2                    Excellent=3
                                                                                                       [
           Analytical

                 Question 3: I-low      Id yo me   ure the strengTh of your nanagement team?

                                                                     J
                 Answer 3: Uses and employs modern analytical and management techniques to measure
                 management value and ability.

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                                                                                                               ‘,   I,   I   Infll   ,
               ___




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 Interview Report                                                                                         Page 2 of 8


           Notes:

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           Ratinj:t] lJr’sfaetty4 []Satisfac(ori=i[] Very Go 12cellent=3



                                   TOTAL COMP2TENICY AVERAGE POINTS

                                     SUM OF         TOTAL#OF         TOTALAVERAGE
                                     POINTS         UJEST10NS            POiNTS

                                    L’[_                                        H
     Tea

            Quetlon 1: How would you ersuade people of the importance of cooperation in toda s
            workplace?         .-k- cfe        o-                                       c
                                                                                   -e.            -   s
            Answer 1: Realizes that a positive haIanced cooperative work force is vitally important for
            success in business today.


            Notas:


           RatIng:j UnsaUsfactury=O                                    Guod=2       ExceIIert=3
                                             SatisfactoTYZ?VerI

      Teamwork

            Question 2: Give roe an example of a hme when you tried your best to get along with a
            work colleague but failed. Why do you think that was? What did you learn from that
            experience?                 4c               i.q.
                                                                                          \       J
            Answer 2: Tiles to cooperate with all colleagues and spends time and effort to maintain
            and keep these relationships in a healthy state.


            Notes:


           Rating:[] tinsatisfactery=U yatisfaetevyi         [] Very Geed2           Exteeht=3

      Teamwork

            QuestIon 3: Tell me about a time you had to work wth somebody who had a reputation as
            an uncooperative belligerent person? What tact’cs did you use?

                                        L.
            Answer 3: Remains cooperative and poised when faced with uncooperative colleagues,
            empha sizes the mutual advantage of cooperation.

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                                                                                                            .,   I, I “flI C
Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 153 of 293 PageID:
                                      3384
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  Interview Report                                                                                       Page 3 of 8



            Notes:

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                                          D    Stisfactoy=’1      Very Gaod=2         Excellent=3
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                                   TOTAL COPTENCY AViRAG2 POINTS
                                        SUM OF       TOTALIIOF         TOTALAVERAGE
                                        POINTS       QUESTIONS             POINTS

                                    I            I’Ei                     r
      Leadership

            Question 1: Have you ever tried to do a job for which you were unqualified? How did you
            react at that time? Were you able to accom1ish your,sk?
                        -i2i                4. 4-                                —       r
            Answer 1: Can take risks and chances to achieveflals at work, also inspires others,
                                                                              o,
                       S°                                  i-”-                                             ,‘



            Notes:

                                                                                                     POINTS
           Rating:                                                      Gond=2        EceITe>t=3

      Leadership

                                     d.-]ob”rWfIlchyouiere unqualified? How did you
            Quioni Have you ever tried
            react at that time? Wer a le to accomplish your task?


                                                                              also inspires others.




                                                                                                      POINTS
           RaIin,:[1 Unsatisfactuiy       El   S-(ifactoiy=1 []Very (ood—2       []   [-xcellenI=3

       LeactershI                                                  L
            QuestIon 3: H w eve you contributed to t                          and policies?


            Answer 3 Influences the comoany to dove p and implement innovati coiporate
            strategies and technically advanced procedures, successfully adapting leadership style to
            accommodate the diverse needs of teem members.
      ________
                                         _HI_
Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 154 of 293 PageID:
                                     3385
                           Docu ment78  Fifed 08/02/18 Page 93 of 171 Pagel D:                                     2370


  Interview Report                                                                                        Page 4 of 8


             Nofes:


            Ratinfj:ü Unsatisfactoiy4 Satisfactory=1               Very Good=’2       EoeHent=3



                                    TOTAL CO’v1PTENCY AVRAG POiNTS
                                       SUMOF          TOTAL#OF         TOTAIAVEPAGE
                                       POINTS         QUESTIONS           POINTS

                                                                            I          I
       Customer Service Orientation

             Question 1: How do you handle negative feedback from angry clients? How do you
             normaHy respond to them?                                                 ,Q            /
                               u 1/           L      J
             Answer 1: Able to enterteircustomer complaints without being dominated or golfing
             emotiona does not get overwhelmed while been riticiz/d.


             Notes:

                                                                                                     POINTS
            Ratinti:j tinsatisfactory=O    j[i   Satisfactor=1isry G ood=2             ExcelIent3
                                                                                                        L41
       Customer Service Orientation

             QuestIon 2: This position requires interacting with the general public as well as existing
             employees and all levels of management. Tell me about some of your experiances, If no
             experience, what are your thoughts on this?                                  1’     /
                 -
             Notes:
                      A’iw
            Rating:[1 Unsatisfactory[) 3atisfactay=1           [] Very Goed2 [] ExceiIent’3 [[_
       Customer Service Orientation

             Question 3: Tell me about a time when you believed a policy or procedure was not in the
             customers best interest. What did you do? ‘i e ?e
                                                    \iC.) tt4C.              \?\c            \/a3

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            ating:IJ insatisfc1oiy=O
                                           F?fatisfactory=1
                                                                    Very Good=2    [] Excellent3
                                         __HI__                               _




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                                       TOTAL COMPETENCY AVERAGE POINTS

                                          SUM OF          TOTALOF         TOTALAVERAGE
                                          POINTS          QUESTIONS           POINTS




          Business Success

                Question 1: Some battles are worth fghf g and others are not How do you know which
                are worth fightin 7 Can ou give me an ex pie?
                                                             ‘y                  ---




                N t              pj         ç       A       Mt
                           w    -‘-
                                                       --            6                        - “4’
               Ratirji Unstisfachiiy=t            Satis   ctoi1
                                                                  { Very Good”2 [J Excellent—3
           Bisiness Success

                Question 2: What kind of working relationships do you have with coworkers from other
                departments? How have these relationships been beneficial n accomplishing your work?.
                                                             4.
                 Notes:


               I.atirig:[j Unsatisfactory=O atIsfctary=i          [] Very Good=’2 [] EceIleit=3
           Business Success

                 Question 3: When given a specific problem to solve, how do you decide what information
                 is essential to making an informed decision?
                                   \S                           g
                                 -d-7i         f’,9tA                    1éf(             i
                 Answer 3: Capable of deciding whet inforrnioh is nacessaiy to ma’ke an informed
                 decision; if they are not, are they capable of using fheir teem’s knowledge and experience
                 to bring about a successful conclusion.


                 Nfos:



                RatinJ:LJ 1hisatisfactey=O’tisfctory=’I J Very G uot=.                   ExceIisnt3



                                        TOTAL COi\WETLNCY iWRAGE POINTS
Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 156 of 293 PageID:
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                           Document 78                                                                                2372


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                                         SliM OF       TOTAL # 01      TOTAL    RAGE
                                         POINTS        QUESTIONS           POINTS

                                     I            J’EJI
     Ad m inistra tive/Cferical Support

            Question 1: Describe a situation that is typical of the pace and change in priorities in your
            department. How does it affect your work? Would you give ma a specific example?
                                If               /W /47z                                7/
            Notes:         /         /J
                                      C)t
                                                                        S’

                               2’

           Rating:J Wi       tisfactory=l         Satis1.ctory1 Very 000d=2D EueIIen=3

      Administrative/Clerical Suj

            Question 2: Tell me about a situation in which you had to cope with inadequte resources.
            Hdiddeaith?
                                          /       p                              h
            Notes:                                              4 jL-’.::,
           Ratinu:Lj Unsatisfacoay=D                                Very Guod=2     [    ExceIIent3

      Adminlstrative/Clerlcal Support

             Question 3: What specific responsibilities do you have for supporting the work of other
             people in your department? What positions do they hold? What specific tasks do you
             perform? Which tasks reflects your strengths? Which tasks may require some
             development?                    —

                                                   s11r4/


             Notes:                           /


            R atng:j                                                      G ood=2        Exc oltent=3



                                     TOTAL COMPETENCY AVERAGE tOlNTS

                                             SUM OF     TOTAL#OF         TOTALAVERAGE
                                             POiNTS     QUESTIONS            POINTS

                                         I            I’I                                    I
       Required Eçperience




                                                                                                                 Il
                                                             __




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                                                                                                              Page      7 of 8


               Question ‘I: This position requires         years of experience with
                   oC\.       si\v             How
                                               _,  do you meet these quafications?            ,
              ,                                                                            j

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                    iq

               Notes:                                                 ‘




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                                                                                                          [
         Recuired Experience
                                                                                           \-        ‘‘

                Question 2: What
                  c*\ ‘‘s
                                                                        f      Qidk)__i           -1
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              natng: Unsatisfactoiy=O j Satisfactoiy=1 I3fery Good=2                       ExceLierit3
                                                                                                          [4
         RsuTred xperience

                  Question 3: I-low do you feel your experience qualifies you or this position?
                               —S* L&                                   ‘-            -‘-‘-




                  Notes:

                                                                                                          POINTS
               Retin: Unsatisfactotisftj1                               ery G eod=2 Excellet=3



                                          TOTAL COPPETENCY AVERAGE IOINTS

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                                               POINTS       QLJSTIONS           POINTS

                                           I
         Notes:



             I have reviewed the essential job functions with the applicant including the work schedule, location or
         any specific physical requirements.
     /

          F’i have asked the appilcant directly, Are you able to perform the essential functions of th a position
                                                                                                           ion?
               or without a reasonable accommodation?’ I have not asked, ‘Do you need an accommodat

          12 I understand that I may ask applicants to describe or demonstrate how they would perform any or all
          jób functions, as long as all applicants in the job category are asked to do this. However, if a particular
          applicant has an obvious disability, (e.g. uses a wheelchair) I understand that I may ask this applicant
          alone to describe or demonstrate how s/he would perform the job.
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                                    3389                               ei

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 Interview Report

                                                                           ion to perform a job demonstration,
     NOTE: f an applicant says that s/ha needs a reasonable accommodat           an undue hardship or aUow
                                                       ion that does  not create
     you must either: provide a reasonable accommodat
                                    e how sine would perform the job function.
     the app[icant to simply describ

     Comments:




                                                                                                            ‘    -‘11
Crew Supervisor Building Services 2016                                                                          1FrankveUer

JOB TITLE                                                                                                           APPLICANT’S NAME                                                            C)

                                                                                                                                                                                               CD
                                                  SCORING                           WORKSHEET

  Columns A&B are determined BEFORE interviews are conducted.
                         A                               B                     C                     D                  E                      F
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                                                  Percentage of          Question        I       Question   2       Question   3
              Competency Name                                                                                                       Points without      %   of         Score with   %   of    Ci,
                                                   Importance                Score                 Score              Score                                                                   —1
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                                                  Write or type in                                                                 If doing manually, round If doing manually, round          0
                                                  decimal format -
                                                                             Write or type in each score from the                                                                             Ci)
                                                                                                                                   up to two decimal points up to two dedmal points
EXAMPLE: Write or type competency name.                 .)o(                     Appcant ..vaIuation Forrn
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e.g.   Organizational   Skills                          0.20                  0.5            1      2.0         I      2.0                    1.50                           0.30             0

Required Education                                      0.00                                                                                                                                  0
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Required Experience                                     0.20                  1 .0                 1 .0                1 .0                  1 .00                         0.20
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na(y1cal                                                0.10                  1.0                  20                 2.0                    1.67                          0.17
Teamwork                                                0.20                  10                   1.0                2.0                    1.33                          0.27               Co

                                                                                                                                                                                              11
                                                                                                                                                                                                                                  3390




Leadership                                              0.10                 2.0                   2.0                 1.0                   1.67                          0.17
                                                                                                                                                                                             CD
Customer Service                                        0.20                 1.0                   1.0                 1.0                   1.00                          0.20              C
                                                                                                                                                                                              0
Business Success                                        0.10                 2.0                   2.0                2.0                                                                     Co
                                                                                                                                             2.00                          0.20
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Administrative1CIenca Support                           0.10                 2.0                   1 .0               1.0                    1 .33                         0.13
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                                                                                                                                                                 I                           —I
100%)                                                                                                                              column G)
                                                                                                                                   If doing manually, round up to two decimal                (2
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HIRING MANAGER’S NAME
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HR-22                                                                                                                                                                                        C)
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  Interview Report                                                                                          Page 1 of 8




       AppUczt vakjtioi Form                                              MnLi Edit Job]itlet)e 1 Print Repf

                      Departmert Name:
                                Position: Crew Supervisor Building Srices 2016
                                                                                  c
                                                                                         /                   —-




                              Applicant:     ‘


                              lntervieweç
                           (print & sign):
                                    Date:


       Analyteal

              Question 1: Tell me about a suation where your analysis of a problem was deemed to be
              incorrect? What would you do dfferently today?          /           j /

                            :
              Answer 1: Has the character to admit mistakes. Also clarify-Were the steps ho took
              correct? More importantly, has he/she teamed from this mistake?
                                              /
               Notes:
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                                                                                                       POINTS
             Rating: Unsatisfaclory=U              tisfectoy=1      \krvGoodZLi Exc.elle,t3            [jJ
      rA nalytica I

               Question 2: Tell me about a recent project you received, That are some of the first things
               you do?
                                  1Z                                    L
                                                                              -i(4-t     (k-
               Answer 2: Accurately anticipates the duration and difficulty of projects and plans
               accomingly.


               Notes:                                                             (I



              Rfiig[ UnsetIsfactoy=O
                                             [] Stis    city1 ()Verm Good=2            [] xcelIent=3
        Analytical

               Question 3: How would you measure the strength of your management team?


                Answer 3: Uses and employs modern analytical and managem’nt technique’ to measure
                management value and ability.
                                                                           __




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             Notes:
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              tin:l Unstisfctoiy1                                      G ood=2j ceflent=3
                                           D Satisfactory     ieIy
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                                    TOTAL COMPETENCY AVERAGE POINTS

                                         SUOF         TOTAI#OF        TOTALAVERAGE
                                         POINTS       QUESTIONS           POINTS

                                     I            i’L
      Teamworl&

             QuestIon 1: How would you persuade peop e of the importance of cooperation in todays
             workplace?        3L        /J
                                          4          ii


             Answer 1: Realizes that a positive balanced cooperative work force is vitally important for
             success iri business today.


             Notes:
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               injJJ U    satisfactory=O
                                           H Satisfactory=1 Very G ood2 [] EeelIent=3                   fj
      Teamwork

          )Quostiori 2: Give me an example of a time when you tried your best to get along with a
            work colleague but failed. Why do you think that was? What did you learn from that
            experience?

                                                                      4/
             Answer 2: Tiles to cooperate with all colleagues and spends time and effort to maintain
             and keep these relationships in a healthy st&e.                      j
                                 jt
             Notes:

                                      /                                                            POINTS
            Ratin:J Unsattsfectoy4I43atisfactory=1
                                                              H   JeryGood=2         EccelIent=3
                                                                                                            I
      Teamwork

             Question 3: Tell me about a time you had to work with somebody who had a reputation as
             an uncooperative belligeren person? W at tactics did you use?

                  LA-L
             Answer 3: Remains cooperative and poised when faced with u        ooperative colleagues,
             emphasizes the mutual advantage of cooperation.

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  Interview Report



             Notes:

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                                    TOTAL COMPETENCY AVERAGE POINTS

                                       SUIuIOF        TOTAI#OF                TOTAL AVERAGE
                                       POINTS         QUESTIONS                   POINTS




       Leadership

             Question 1: Have you ever tred to do a job for whch you were unquaified? How dd you
             react at that time? Were you able to accomplsh your task?
                                    5i          4- c-                          iAJ&
             An8wer I     Can take risks and chancen to achicve goals at work, also inspires others.

                                                               CN           (S
              Notes:

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             Raing:     IJnsatisfactory=t
                                            1   Soiisfactory=1, Very Good2               LI   ExceUent=3




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              Notes:                                                -




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             Ratin:j Uns       isfctoO      [    Satsfactopj=1              Very Good2        ExcelIert=3
                                                                                                            []
         Leadership

              QuesUon 3: How have     you   contributed to the company stratege and policies?
                                                ciL.                            _L- \ L
                                                (-                                                 c
               Aaswe’ 3: Influences the company to develop and irWplement innovative corporate
               stmtegies and technically advanced procedures, successfully adapting leadership style to
               accommodate the diverse needs oft am members.
                                                            __                ______
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                 Notes:

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               Rati,: Unstisfactoiy=tisfactory=1                       Very Gooci2        ExcelIent3



                                        TOTAL COMPETENCY AVERAGE POINTS

                                           SliM OF        TOTAL#OF         TOTALAVERAGE
                                           POINTS         QUESTIONS            POINTS

                                                                                I
           Customer Service Orientation

                 Question 1: How do you handle neative feedback from angry clients? How do you
                 normally respond to                                 ,_4j
                                            -
                                                                                        4L
                 Answer 1: Able to entertak7 customercomplas without baing dominated or getting
                 emotional; does not get ove,w1?elmed while been criticized.


                 Notes:

                                                _/‘                                                     POINTS
                Ratin:[] UnsatisfactorY4JatisfactorY=1 []Very Goo€I=2                 [] EeeIleit=3      [j
           Customer Service Orleon

                 Question 2: This position requires interacting with the general public as well as existing
                 employees and all levels of management. Tell me about some of your experiences. If rio
                 experience, what are your thoughts on this?                                           s
                           4tJ         c
                 Notes:

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                Rat{ng: I1nsatis1ettoy=Otisfactnry1                j Very Good=2 [] ExceilenP’3
           omor Service Orientatioii
                                                                                                               ]
                  QuestIon 3: Tell me about a time when you believed a policy or procedure was not in the
                  customer’s best interest. What did you do?
                              O\    ijs                   \I’

           —-     Notes:
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                 Ratin!J:LJ Uns   isfactoirO [Setisfaotoiyi             Very Good=2    fl Excelkrnt=3      r       I

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                                   TOTAL COMPETENCY AVERAGE POINTS

                                       SUM OF        TOTALOF          TOTALAVERAGE
                                       POINTS        QuESTIONS            POINTS




       Business Success

             QuesUon ‘1: Some battles are worth fighting and others are not. How do you know whch
             are worth fighting? Can you give me an exam Ia?


             Notes:


            Rating:j UnstisfactonpO
                                          D Satisftctory=1               Good=’2     Ecellent=3

       Business Success

             Question 2: VVhat kind of working relationships do you have with co-workers from other
             daoartments? How have these relationships been beneficial in acco lishin yo work?

                          Ni j             g-oJ
             Notes:


            Rsting;j Unsatls(actoiy=Q     j Satisfactoiy’=l       Very Goorl=2       EcoIIon3

       Business Success

             Question 3: When given a specific problem to solve, how do you decide what information
             is essential to making an informed decision?
                            I      &                        t                   ccç              ,4?
                                                                     -        7t7     (_      jJ
             Answer 3: Capable of deciding what information is necessary to make an informed
             decision; if they are not, are they capable of using their team’s knowledge and experience
             to bring about a successful conclusion.


             Notes:


             Rting:[j Jnsatisfactury=O
                                          [ Saisfactor1’I Very Good=2 [] ExceIIont-3 Lz-]
                                     TOTAL COMPETENCY AVERAGE POINTS




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  Interview Report


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                                       POINTS          OLJESTIONS           POINTS

                                                i’EH L
       Adminlstrative/Cteilcal Supjort

                                                                                                   in your
             Question 1: Describe a situation that is typical of the pace and change in priorities
                                                                          me a specific examp  le?
             department. How does it affect your work?)’Vould you give
                                                                                                              z
             Notes:                                                                                      4/
            Rati,g:[] IinsatisfactcHy=O[] Satisfactoiy=i YVery 3 ood=2[1ExceIlent3

       Administrative!CIerIcaI Support

                                                                                                    es.
              Question 2: Tell me about a situation in which you had to cope with inadequate resourc
              How did you deai with it?

                           -       Vc- sL tL J
              Notes;


             Rating:J UnsatisfaetonjO Satisfactory=’1             j Very Gooth2 [] ExceI1ent’3           []
        AdminlstratlveiClerical Supp

              Question 3: What specific responsibilities do you have for supporting the work of other
              people in your department? What positions do they hold? What specific tasks do you
              perform? Which tasks reflects your strengths? Which tasks may require some
              development?
                                                              /

               Notes:        (\4 (/—-       -                          Q 4I
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              RatncJ:[1 Un     tisfactoty=41 j’Satistacoiy=i      LI   Very G ood=2   LI   IEcellent=3



                                       TOTAL COMPETENCY AVERAGE POINTS

                                         SUM OF          TOThL#OF          TOTALAVERAGE
                                         POINTS          QUESTIONS             POINTS

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         Reciuired Experii!
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             Question 1: This position requires       “ years of experience with                                                      (
            ,        ‘--                    How do you meet these qualifications?
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             Notes:


            Rathg: UnsatisfactorpO

       Required Experience

             Question 2: What
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                                   4S



             Notes:                                                          1)       1)
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                                                                                                             POINTS
                           Unsatisfactory=atistactary=d               Very God=2                ExceHentc3
            RatinJ:1
       Required Experience

                 Question 3: How do you feel your experience qualities you for this position?

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                 Notes:        c4.. 4{
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             Rating:[J llnsatisfactory=O          Satisf toiy”l       Very (3oocl—2        []   Excetient3



                                        TOTAL COMPETENCY AVERAGE POINTS

                                           SUM OF         TOThLtOF        TOTALAVERAGE
                                           POINTS         QUESTIONS           POINTS
                                                                                  [
        Notes:



        ,ihave reviewed the essential job functions with the appticant including the work schedule, location or
       (any specific physical requirements.

                                      directly, ‘Are you able to perform the essential functions of this position
       ‘1J. have asked the applicantaccommodat
        ttiith orw thout a reasonable             ion?” I have not asked, Do you need an accommodation?’

              understand that I may ask app:icants to describe or demonstrate how they would perform any or all
        iob functions, as long as all applicants in the job category are asked to do this. However, if a particular
        applicant has an obvious disability, (e.g. uses a wheelchair) I understand that I may ask this applicant
        alone to describe or demonstrate how s/he would perform the job.




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                                                                                                             n,
       NOTE: If an applicant says that s/he needs a reasonabe accommodation to perform a ob demonstratio
                                                                                                    or alovi
                                                         ion that does not creote an undue hardship
       you must either: provide a reasonable accommodat
       the applcant to simply describe how slhe would perform the job furcton.
       Comments:
    1Crew    Supervisor Buiding Services 2016                                  I                                                 [                              cc          frlL

    JOB TITLE                                                                                                                        APPLICANT’S NAME                                                                                     C)
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      Columns A&B are determined BEFORE inteiviews arc conducted.                                                                                                                                                                         C)
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                                                                                                                                                            Applicant’s Average jApplicant’s Adjusted
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                                                          Percentage of                Question I                  Question 2        Qistjoui         3                                                                                  (71
                   Competency        Name                                                                                                                   Points without % of                     Score with % of
                                                           Importance                    Score                       Score             Score
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                                                          Write or type   in                                                                               If   doing manually, rounri         If   doing manually, round               C)
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                                                          decimal format                                                                                            two   decimal points       up to   two   decimal points
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    EXAMPLE: Write                                              .
                                                                                                    Applicant Evaluation Form
                        or type competency    name.                                                                                                                        x.xx                              x.xx                       I
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    e.g. Organizational Skills                                 0.20                          0.5               I      2.0        1         2.0                             1.50                              0.30

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    Required Education                                        0.00                                                                                                       0.00                            0.00                          C)
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    Required Experience                                                                                             :2.0                                                                                                               -)
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    Leadership
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    100%)                                                                                                                                                  column G)
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    HIRING MANAGER’S NAME

    HR-22                                                                                                                                                                                                                         N)
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                       Department Name:
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                                Positon; Crew Supervisor uildng S’rv
                               Appicant:                                                           -




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        A nalvti ccl

                                                                 analysis of a problem was deemed to be
                Question 1: Tell me about a situation where your
                incorrect? What would you do differently today?
                                           ?rUe      -                     P.      cs
                                                                      clarify-Were the steps he took
                cnswer 1: Has the character fo admit mistakes. Also
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                correct? More importantly, has he/she learned from
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                                                                 received. What are some of the first things
                  QuestIon 2: Tell ma about a recent project you
                  you do?           kc,’.-J’ :4:x
                                                   z:
                                                                 — L%Pb)C4           A.-4.-
                                  —
                                                                and difficulty of projects and plans
                  Answer 2: Accurately anticipates the duration
                  accordingly.


                  Notes:



                 Latini:Li U     atisfactnry=U Satscadary=4         Li Vety   Gd2[]Ece!lan=3
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           Analytical

                   Question 3: How would you m       sure tho strength of your management team?
                                •
                                                             cal and management techniques to measure
                   Answer 3: Uses and employs modern analyti
                   management value and ability,
Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 170 of 293 PageID:
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               Notes:
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                                       TOTAL CO1tPTENCY AVEIAG POINTS

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                                         POINTS          QUESTIONS            POINTS




       Teamwork

                                                              the importance of cooperation in todays
                Question ‘I: How would you persuade people of
                workplace?


                Answer ‘1: Realizes that a positive balanced, cooper
                                                                     ative work force is vitally important for
                success in business today.


                Notes:


                Ratinifi:lnsatisfsctoiy=’U     [1 Saiisiactory=i       Very d2[] Exccl1oit3
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        Teamwork

                                                                   you tried your best to get along with a
                 Question 2: Give me an example of a time when
                                                   you think that was?  N1iat did you learn from that
                 work colleague but failed. Why do
                 experience? fJ/                         k.                        i- fL
                                                                      spends time and effort to maintain
                 Answer 2: Tries to cooperate with all colleagues and
                 and keep these re!afionships in a healthy state.



                  Notes:


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          Teamwork

                                                                    with scmebody who had a reputation as
                  Quostlon 3: Tell me about a time you had to work
                                                            tactics did you use?
                  an uncooperativ bellgeent person? What
                             5           D     L         L                 T     IY/
                                                               faced with uncooperative coileagu
                  Answer 3: Remains cooperative and poised hen
                  emphasizes tf ual advanfag’ of r0Pt                      1
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                                           POINTS




          Leadership
                                                                                            d? How did you
                                                     do a job for which you were unqualifie
                Question I Have you ever tred to accomplish your task?
                react at that time? Were you able to


                                                 nc7,chieve goals at work            ; also inspires others.
                Answer 1: Can lake risks and cha

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                notes:
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                               isfaetorV=O          Satisftctorv=1       Vary Good=2 ExceUertt’3
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                                                                                were unqualified? How did you
                 QuestIon 2: H         you ever tried to do a job for which you
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                                                                      ; also inspires others.
                                risks and chances to aJ,pgoaI&at work
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                   CuesdOn 3: How have you contrbute

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                                                       to develop and implement innovative
                   i\.nswor 3: Influences the company                           adap ting leade rship style to
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                   strategies and technically advanced      mem  bers.
                   accommodate the diverse needs of team                     )Lf ALJ
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            Notes:
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                                     TOTAL COMPETENCY AVRJ\GE POINTS
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       Customer Setvice Orientati


                                            nagative feedback from       angry   clients?   [-low do you
             Question ‘I: How do you handle
             normally respo nd to them?



                                  —we.--i-                                being dominated or getting
             Answer   ‘1: Able to entertoin customer complain s without
                                              elmed while been criticiz ed.
              emotional; does not get overwh
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                                  —            [(v-
              Notes:


             Ratng:[]    UnsatisfactoiyO Saisfactoiy
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                                   on
        Customer Service Orientati


                                                                               public as well as existing
                                         requires interacting with the general
              Question 2: This position
                                                 ement.   Tell me about  som e of your experences. If no
              employees and all levels of manag
                                                ts on this?
              experience, v/hat are your though

                                   k’ j          -    It
               Notes:                      -




              Rating:fl   Uistisfactaty=O      j Setisfctory1 [I Vary Good’2                  Excellevit=3


         Customer Soivice    Orientation


                                                                 d      a policy or procedure was     not in the
               Question 3: Tell me about a time when you believe
               customers best interest. What did you do? 1ts                           -




                Notes:                               ‘o


               Ratin: insatisactory=O                jSaftsfaoorv=   jj Veri?                                 jJ
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                                   TOTAL COMPETENCY AVERAGE POINTS

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       8usinees Success

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             Questori ‘1: Some battles are worth fightig and
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             ace worth fighting? Can you give me an 7xanpl
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        BusTness Suc

                                                              do you have with co-workers from other
              Question 2: What kind of working relationships
              departments? How have these   relatio nships been beneficial in accomplishing your work?



              Notes:


             Ratn:[]                       [ Jsisctoit=1 Li        Very Gooc’=2        Excel?ent=3
                                                                                                      []
         uslness Success

                                                                   how do you decide what infomation
               Question 3: When given a specific problem to solve,
               is essential to making an Informed decisio n?

                                   r(-,
                                                                      necessary to make an informed
               Answer 3: Capable of deciding vhat information is
                                                              using their team’s knowledge and eperienca
               decision; if they are not, are they capable of
               to bring about a successful conclusion.


               Notes:
                                                                                                      POINT
              Rain:[] Uns tisf torir=) [SatisfaciJrV=’I          []   ‘Jerv ‘3ood=2 []E-ceIlmt3
                                                                                                       []
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                                       S1iIi1OF           TOTALOF            TOTAtAVERAGE
                                                          QUESTIONS             F1OIITS
                                       FOINTS
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           jnistative(Cferca Support
                                                                                     in    ities in your
                                                   is typoal of the pace and change prior
             QuestIon 1: Describe a situation that                       me a specific exam ple?
                                            your work? Would you give
             department. How does it affect


              Notes:                            —
                                                      f,-J    ,         4
                                                                                            EeIlerrt=3
                                                    Satisfactory=1 fVervGood=2
             Rtint:D Jnstisf
                             actary=O           [
        Administrative!C!eric.al Suppj
                                                                                  inadequate resources.
                                                tion in whch you had to cope with
              Question 2: Tell ma about a situa
              Howdidyoudealwithit?                                —



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               Notes:                                          j

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              Ratin:Lj UnsatisfactoriiO üSatbfctorv=l t’Ver, Goe
         Adm!nistrative(Clovtcal Supjt
                                                                                             the work of other
                                                   nsibilities do you have for supporting tasks do you
               Question 3: What specific respo                          hold ? Wha t spec ific
                                                     positions do they
               people In your department? What                                                 some
                         Whi ch task s refle cts your strengths? Which tasks may require
               perform?                                               I
               development?                       I,




                                                                                               Excellent=3
               Fatin: linsatisfact’iiy=O              tisfactoy         j Very Good2
                                                                  POINTS
                                          TOTAL CO1IPETNCY AVRAQE
                                                SliM OF      TC’T(-’LAQF        TOTAtAVEP.AGIE
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                                                       years of experience with
            Question 1: This position requires             those qualifications?
           ,.
                                           How do you meet
                                                   ‘‘
                ?

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            Not                               9
           RtiiW JrstisfacIcO                     Satfacto ryi’ V:, Good=2


       Reqid xpoeica

                Question 2: Nhat
                    Cf’r\
                                                   —


                Notes:

                                                                       Gootl=2             Excellent
            Ratng:j llnsatisfactoiy=O              Satisfactory=1 Very

        Re uied xerience

                                                                    es you for this position?         9/
                    Question 3: How do you feel your experece qail:                           ,        LJ
                                fr        vt-                   -




                    Notes:                 M kt                                ‘

                                                                                                          POINTS
                                                    Satisfactory=l      Very Good=’2       Ecel?ent=3
                Reting:ü Unsatisfactory=O


                                           TOTAL COI’J1PTNCV AVRAG POINTS

                                             SUM OF             TOTAI.#OF    TOTALAVEftGE
                                             POINTS             QUESTIONS       POINTS

                                                          ‘I            H
         Notes:



                                                                  the applicant including the work schedule, location or
             I nave reviewed the essential job functions with
         any 4eciic physical requirements.
                                                                    to perform the essential functions of this position
              I ue asked the applicant directly, “Are you able not asked, ‘Do you need an accommodation?”
                                                             I have
         with 6r without a reasonable accommodation?”
                                                           describe or demonstrate how they would perform any or all
          Lfi understand that I may ask applicainntstheto job  category are asked to do this. However, if a particular
         job functions, as long as all applicants
                                                              wheelchair) I understand that I may ask this applicant
          applicant has an obvious disability, (e.g. uses a perfoim the job.
          alone to describe or demonstrate how     s/he would
                                                         _
                                              __________
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                                                                      modation to perform a ob demonstration,
        NOTE: if an eppcant says that s/he needs a reasonable accom not create an undue hardship or allow
                                                                  does
        you must either: provide a reasonable accommodation that
                                                                   job function.
        the applicant o simply describe how s/he would perform the
        Comments:
    ECrew Supervisor Building Services 2016                                                      1WadeCahoon                                                           I
    JOB TITLE                                                                                        APPLICANT’S NAME                                                       C)
                                                                                                                                                                              )
                                                                                                                                                                            (I,
                                                                                                                                                                            CD
                                                                                                                                                                             C)
                                                  SCORING WORKSHEET
      Columns A&6 arc determined BEFORE interviews are conducted.                                                                                                           C)
                                                                                                                                                                            C)
                          A                               B               C              D               E                    F                       G
                                                                                                                                                                            C)
                                                                                                                   Applicant’s Average Applicant’s Adjusted
                                                   Percentage of] Question I        Question 2       Question 3                                                             ci,
                 Competency Name                                                                                   Points without % of   Score with % of
                                                    Importance      Score             Score      j     Score                                                                OD
                                                                                                                      importance.          importance.
                                                                                                                                                                      J
                                                   Wiite or type in                                               If doing manually, round If doing manually, round         C)
                                                                        Write or type in each score from the                                                                (I)
                                                   decimal format   -
                                                                                                                  up to two decimal points up to two decimal points
    EXAMPLE: Write or type competency name.               .
                                                                            Applicant Evaluation Form
                                                                                                                             X.)cX                   x-xx                   I
                                                                                                                                                                            C)
    e.g. Organizational Skills                          0.20             0.5            2.0             2.0                  1.50                   0.30
                                                                                                                                                                            0
    Required Education                                 0.00                                                                 0.00                   0.00                     C)
                                                                                                                                                                            C
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                                                                                                                                                                            -)
    Required Experience                                0.20             1 .0           1.0             2.0                  1 .33                  0.27                     CD
                                                                                                                                                                            C
    rialytical                                         0.10             1.0            2.0             1.0                  1.33                   0.13                     —1
    Teamwork                                           0.20             1.0.           1.0             1.0                  1.00                   0.20
                                                                                                                                                                            -n
                                                                                                                                                                                                                3408




    Leadershp                                          0.10      —      2.0            2.0             2.0                  2.00                   0.20                    CD
                                                                                                                                                                           0.
    CustomerService                                    0.20             1.0            1.0             1.0                  1.00                   0.20                    C)
    Business Success                                   0.1 0            1 .0           1 .0            1 .0                 1 .00                  0.1 0                   0
                                                                                                                                                                           N)
    dministrative/ClehcalSupport                       0.10             1.0            1.0             2.0                  1.33                   0.13                    OD
                                                                                                                            0.00                   0.00
                                                                               -                                            0.00                   0.00                    (C
                                                                                                                                                                            CD
                                                                                                                            0.00                   0.00
                                                                                                                                                                           C)
    SUM OF PERCENTAGES                                                                                                                                                     0
                                                 1100% I                                                          TOTAL SCORE                    1.23                      -÷


    (the sum of all #s in column B must equal                                                                     (sum of all #s in
                                                                                                                                         [                         I
    lOO7y)                                                                                                        column G)
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1     KciLr U-
    HIRING MANAGER’S NAME
    HR-22                                                                                                                                              512212008           (0
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    Interview Report                                                 Page 1 of 8




         Applicant Evaluation Form                                               I Edit Job Title

                      Department Name:            )PL1                            -   c             (-
                               Position: Crew Supervisor Building Services 2016
                              Applicant:           j(O.L€     c4-c’ci
                            Interviewer
                          (print & sign):                            /x                    4
                                   Date:


             tici

              Question 1: Tell me about a situation where your analysis of a problem was deemed to be
              incorrect? What would you do differently today?
                                            -‘   v-   s    r Cc              ‘




              Answer 1: Has the    character to admit mistakes. Also clarify-Were the steps he took
              correct? Moie importantly, has he/she learned from this mistake?


               Notes:


              Rating:D UzisatsfactrnyU           atisfactory1        Very G ood=2         Excelient=3

         yjical

               Question 2: Tell me about a recent project you received. What are some of the first things
               ycudo?

                                                                    Dr   ---—-            Jj -_.A /
               Answer 2: Accurately anticipates the duration and difficulty of projects and plans
               accordingly.                                                                     J-

               Notes:

                                                                                                         POINTS
              RatInçj: UnsatIsfactoryO           Satisfactory=1,’        ry Good=2        Ecellent=3

         Analytical

               Question 3: How would you measure the strength of your management team?
                        —•         c0       ---                 -
                                                                     r?9)

               Answer 3: Uses and employs modern analytical and management techniques to measure
               management value and ability.




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            Notes:

                                                                                                       POINTS
           Ratitig: Unsatisfavtory=U 1Satisfactory1               \/eiy Good=2       Excellentr=3
                                                                                                       (     1
                                    TOTAL COMPETENCY AVERAGE POINTS

                                      SLiM OF         TOTAL#OF        TOTALAVERAGE
                                      POINTS          QUESTIONS           POINTS

                                     1’L_1__
       Teamwork

             QuestIon 1: How would you persuade people of the importance of cooperation in todays
             workplace?                                                     {
                                                          pL7                                                    L
             Answer 1: Realizes that a positive balanceo cooperative work force is vitall.V important for
             success in business today.


             Notes:


            R ating:j Uns atisfactory=atisfactory=1            D Very Go od=2            Excellent=3

       Teamwork

             Question 2: Give me an example of a time when you tried your best to get along with a
             work colleague but failed. Why do you think that was? What did you learn from that
             experience?                                               _.




                                                                                  C i
             Answer 2: Tries to cooperate with all colleagues andbsperids tmo and effort to maintain
             and keep these relationships in a healthy state.


             Notes:

                                                                                                       POINTS
            RatIng:J                                               Very’ Goud=2          Excellent=3
                                                                                                        L
       Teamwork

             Question 3: Tell me about a time you had to work with somebody who had a reputation as
             an uncooperative belligerent person? What tactics did you use?
                                                      -

                                                                                k2   .   j-   r’
                                                                                         rativ?olIeagues,
              Answer 3: Remains cooperative and poised when faced with unfo
              emphasizes the mutual advantage of cooperation.



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             Notes:


            Rat1nq: Unsatisfactory’4     j SatIs1actory=jry Good=2                  ExceI1et=3



                                   TOTAL COMPETENCY AVERAGE POINTS

                                      SLiM OF        TOTAL#OF            TOTALAVERAGE
                                      POiNTS         QUESTIONS               POINTS
                                                Ji-                         Li
       Leadership

             Question 1: Have you ever tried to do a job for which you were unqualified? How dd you
             react at that time? Were you able to accomplish your task?
                                  ‘                               r   ç
                                                                                   ç     441X        Q
             Answer 1: Can take risks and chances to achieve goals at work; also inspires others.


             Notes:

                                                                                                    POINTS
            Rating:fl UnsatTsfaeory’O LjSatislactory=1                VeiyGood2      Excellent=3
                                                                                                    I2J...
       Leadership




             Answer2: Cai             sk                        ‘a goa   at VJO ;elspires of era.


              Notes:


             F atngF L3rs atIsfactory8

        Leadersh1i

              Question 3: How hav’o contributd          the c    pany strateie and policies?
                                            -   ç1 115                              -



              Answer 3: influences the company to develop and implement innovative corporate
              strategies and technically advanced procedures, successfully adapting leadership style to
              accommodate the diverse needs of team members.




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            Notes:


           Ra(ingiJ Unsa sfactory=O          Satsfactory)ry G oud2                  [1 Exceilent=3 [-4            —




                                    TOTAL COMPETENCY AVERAGE POINTS

                                      SUM OF          TOThLtIOF        TOTALAVERAGE
                                      POINTS          QUES11ONS            POINTS




       Customer ServIce Orientation

             QuestIon 1: How do you handle negative feedback from angry clients? How do you
             normally respond to them?
                  S          to                         c-
             Answer 1: Able to entertain customer complaints without being dominated or getting
             emotional; does not get overwhelmed while been criticized.


             Notes:

                                                                                                      POINTS      -




            Rating: Unsatisfacti =OSatIsfactory=1                  Very Good=2           EceIIent=3

       Customer Service Orientation

             QuestIon 2: This position requires interacting with the general public as well as existing
             employees and all levels of management. Tell me about some of your experiences. If no
             experience, what are your thoughts on this?

                      d
              Notes:                                                            -




                                                                                                      POINTS
             Ratingij 1JnsatisfactoiyfJ ‘itisfactory=1              VeiyGood2            xceIIent=3
                                                                                                      F   j   I
        Customer Service Orientation

              QuestIon 3: Tell me about a time when you believed a policy or procedure was not in the
              customers best interest. What did you do?         t               w
                          das 3-L                      \1Oj   4.
              Notes        1?D                      iOJ. ciA’)            ,-itd      —            4
                          fL

             Rating: Unsatisfaclory=O atisfectory=1                 VaryGood2E1 Excetient=3




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                                   TOTAL COMPETENCY AVERAGE POINTS

                                      SUM OF           TOTAL#OF        TOTALAVERAGE
                                      POINTS           QUESTIONS           POINTS
                                                                          I
       Business Success

             QuesUon 1: Some battles are worth fight ng and others are not. How do you know which
             are worth fighting? Can you give me an example?
                                                           Jç
                                                                (c
             Notes:

                                                                                                   POINTS
            Raflng:j LJnsatisfactory=ti’Satisfactory=1              Very Good=2     Excel Iewt=3
                                                                                                    j
       Business Success

             Quest!on 2: What kind of working retatonships do you have with co.workers from other
             departments? How have these relationships been beneficial in accomplishing your work?
                              c jo                 -     })                   (‘ c      -




             Notes:

                                                                                                   POINTS
            Rating: Iinsatlsfactory=t         Satsfac(oty=1
                                                                D   Very Good=2      Exc€Ient=3
                                                                                                   [1 1
       Dusiness Success

             QuestIon 3: When given a specific problem to solve, how do you decide what information
             is essential to making an informed decision?
                         ‘Th-) -4              -         -.A-   -                 —          -
                                                                                                   4-_
                                                                     V---
             Answer 3: Capable of deciding what inform ation is necessa,y to make an informed
             decision; if they are not, are they capable of using their team’s knowledge and experience
             to bring about a successful conclusion.


              l4Jofes:

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             Rating[J Unsatisfactory=O,SatIsfactary=1           [   Very Good=2      Excellent—)
                                                                                                    [ ]
                                     TOTAL COMPETENCY AVERAGE POINTS




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                                       SIJMOF            TOTAL#OF        TOTALAVERAGE
                                       POINTS            QUESTIONS           POINTS




      AdminIstrative/Clerical Support

            Question 1: Describe a sti.ation that is typical of the pace and change in priorities in your
            department. How does it affect your work? Would you give me a sectf c example?
                    -                                                ocf     -          c

             Notes;

                                                                                P iN S
            RatiniF]          IJnsatisfactorjtisfactarv1 []Very Good 2 []Excellent=3[J

      Administrative!CIerical Support

             QuestIon 2: Tell me about a shuation in which you had to cope with inadequate resources.
             How did you deal w:th it?
                          —




                      •                                                                   do
                                                                                                      POINTS
            Rating:LI Uuisatisfacto,0                  1sf toi-y=1   Very Gaod=2   []   Exeellent=3
                                                                                                      (I
       AdministrativelCierical Support

             Question 3: What specific responsibilities do you have for supporting the work of other
             people in your department? What positions do they hold? What specific tasks do you
             perform? Which tasks reflects your strengths? Which tasks may require sorpe

                :m0nt?                  Sd62I(L



             Rating:[] U nsatisfactoiy=O
                                              LI Satisfacior=1)1 Very G ood=2           E xce1Ient3



                                       TOTAL C01PETENCY AVERAGE POINTS

                                            SliM oi:        TOTALaOF      TOTAIAVERAGE
                                            POINTS          QUESTIONS         POINTS

                                        I
        Roauired Experience




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             Question 1: This position requires
                                                     -9
                                                     ‘‘ years of experience with
                                            How do you meet these qualifications?
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                                14
                                                                            44l 2      •P   ie c
                  q




       Required Experience
                                                                                                  ‘
                              Kn ONtJ4. 01                       ‘‘   4
             QuestIon 2: What rreraenei                                                                        w
                 Cp-

              Notes:      I  /
                          ICtLj    k d-1                                      -‘      k_ 1fr-4/L
                                                                                                       F1O1HJ
            Rating:j Unsatisfactay=O t,tisfactory=1                  Very Good=2ü Excellent”3

       Required Experience

              Question 3: How do you feel your experience qualifies you for this position?


                 Notes:
                                                                        )
                                                                                                       POINTS
                                                                     Very G ood=2        ExceIIeit=3
             RatinFj Unsatlsfaetoiy=O            Satisfacory=1   [

                                       TOTAL COMPETENCY AVERAGE POINTS

                                         SUM OF           TOTALOF           TOTAL AVERAGE
                                         POiNTS           QUESTIONS             POiNTS



        Notes:



          I have reviewed the essential job functions with the applicant including the work schedule, location or
        any5c physical requirements.

        1i1i have asked the applicantaccommodat
                                       direct y, Are you able to perform the essential functions of this position
                                                  ion?’ I have not asked, ‘Do you need an accommodation?’
        with or without a reasonable

         inderstand that I may asic applicants to describe or demonstrate how they would perform any or al
        job functions, as long as all applicants in the job category are asked to do this. However, if a particular
        applicant has an obvious disability, (e.g. uses a wheelchair) I understand that I may ask this applicant
        alone to describe or demonstrate how s/he would perform the job.




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                                                                                                             n,
      NOTE: If an applicant says that s/he needs a reasonable accommodation to peorm a job demonstratio
                                                         ion that does not create an undue hardship or allow
      you must either: provide a reasonable accommodat
      the applicant to simply describe how s/he would perform the job function.
       Comments:




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                                             WADE CAHOON
                                                                                     -




                                             Professkrnal Summary
 Meticulous Electrician, excellent at juggling multiple tasks and working under pressure. Broad industry experience
 including diagnosis,repair, and installation in both residential and commercial environments. Strong managerial,
 time-management and communication skills.


                                                     Qua ilfications
     .   Superior troubleshooting skills                            •   AC/DC power and control systems
     •   Test equipment operation                                   •   Electro-mechanical proficiency
     •   Sub-panel installation                                     •   NEC codes and codebook
     .   Diagnostic testing                                         •   Digital circuitry
    •    Commercial and industrial electrician                      •   Branch circuit wiring
    •    Welding                                                    •   Journey-level background
    •    Excellent written and verbal communication skills          •   Efficient




                                                      Experience
 Electrician                                                                                               1112013 to 0312016
 rilonmouth County Building & Grounds                                                                           Freehold, NJ
 Manage, develop, and organize various projects. Collaborate with colleagues to exchange information and complete
 necessary projects in a timely manner. Testing, repairing, and installation of lighting, power, and distribution. Installation
 and maintenance of heating, cooling, lighting, and power circuits. Preventive maintenance on new and old constructions.
 Work on projects, which provide value to thedepartment.

 Journeyman Electrical Foreman                                                                     0611998 to 1012014
 IBEW Local 400                                                                                   Wall Township, NJ
 Responsible for all aspects of commercial and industrial work. Managed, developed, and organized various
 projects.Troubleshooted electrical/electronic control circuits. Working knowledge of transmission lines, substations, and
 transformers. High voltage testing and troubleshooting. Repair and retrflt breakers, current limiting devices, and
 controls. Continued internal education, training and certitications to stay ahead of an evolving industry landscape,
 learned new product releases, and increased value to the company and the client base. Quoted prices, credit terms and
 other bid specifications.

 Electrical Foreman                                                                                    0911993 to 06/1996
 Aggressive Mechanical                                                                                  Neptune Citç NJ
 Responsible for both residential and commercial work. Oversaw various jobs, coordinated crews, and ordered necessary
 materials. Troubleshooted repetitive service problems. H.V.A.C,R. installations and service. Answered customers’
 questions about products, prices, availability and product uses. Prepared sales contracts for orders obtained, and
 submitted orders for processing.

                                                       Education
 Electrican                                                                                                             2003
 J.A.T.C. Program                                                                                          Wall Township, NJ
 High School Diploma                                                                                                     1989
 Freehold Township High School                                                                                   Freehold, NJ
 Electrician                                                                                                             1989
 Monmouth County Vocational                                                                                      Freehold, NJ
                                    ___




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                                                                                      cc
                                                 CerUfication
   •   Air Conditioning & Refrigeration Institute for E.P.A.
   •   Honeywell Source for Gas Ignition
   •   Honeywell Powerpro Controls
   •   OSHA3O
   •   Lull Certification
   •   Refrigeration & Air-conditioning Technician Type 2
   •   Commercial Driving License
    Crew Supervisor Building Services 2016                                I                                                 Luther Graham
                                                                                                                            APPLICANTS NAME                                                                                      C)
    JOB TITLE
                                                                                                                                                                                                                                 Cl)
                                                                                                                                                                                                                                 CD
                                                     SCORING WORKSHEET
                                          interviews   are conducted.
      Columns A&B ar determined BEFORE
                                                                                                                                                                                                                                 C)
                          A                                   B                      C                          D                           E                                       F                       G
                                                                                                                                                                        Applicant’s Average Applicant’s Adjusted                 0
                                                       Percentage of          Question I            Question 2                      Question 3                                                                                   Cii
                 Competency Name                                                                                                                                        Points without % of   Score with % of
                                                        Importance              Score                 Score                           Score
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    EXAMPLE: Write or   type competency name                 .xx                       App.icant Evaluation Form.                                                                  xVxx                    x-xx
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    Required Education                                     0.00                                                                                                                   0.00                   0.00                    C)
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    Required Experience                                    0.20                    0.0                     j.:,                            1 .0                                   0.67                   0.13                    CD
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     eamwork                                               0.20                    1.0                     1.0                             ‘1.0                                   1.00                   0.20
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    Leadership                                             0.1 0                   1 .0                    2.0                             1 .0                                   1 .33                  0.1 3                   CD
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    Business Success                                       0.10                    1 .0                    1 .0                            1 .0                                   1 .00                  0.1 0                   0
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   Interview Report                                                   Page 1 of 8




         Applicant Evaluation Form                                              MSJJd I Edit Job TitiL PilOt Repoi
                              Department Name:               )€‘L               /f    ‘
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                                      Position: Crew Supevisor Building Srvces 2016
                                     Applicant

                                                r?c3J                        Ix
                                           Date:


         Analytical

               Question 1: Tell me about a situation where your analysis of a problem was deemed to be
               incorrect? What would you do differently today?
                                       L                         •r


               Answer 1: I-las the character to admit mistakes. Also clarify-Were the steps he took
               correct? More importantly, has he/she learned from this mistake?
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                Notes;


              RathJTJ Unsatlsfaeory4,Satisfactory=1                      D Very Good=2L1 Excellent=3
         Analytical

                QuestIon 2: Tell me about a recent project you received. What are some of the first things
                you do?
                                                                          J&l—i F(Lfrf7&S                  LA


                Answer 2: Accurately enticip es the difraTron and difficulty of projectS and plans
                accordingly.


                Notes

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               Rting:                                                       Very Goüd=2 Exceilent3
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         Analytical

                Question 3: How would you measure the strength of your management team?


                Answer 3: Uses and employs modern analytical and management techniques to                 measure
                management value and ability.
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            Notes:

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                                          j
                                      TOTAL COMPETENCY AVERAGE POINTS

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                                       POINTS         QUESTIONS             POINTS

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       Teamwork
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             Question ‘1: How would you persuade             of the importance of cooperation in today’s
             workplace?
                                                               L
             Answer 1: Realizes that a positive balanced, cooperative work force is vitally important for
             success in business today.
                                           j        4..i.      b-    Su          A. ,t_
                                            Y’M4
             Notes:

                                                                                                      POINTS
            Rating: Unsatisfactory=O ‘atisfctory’=1             j Very Good=2          Excellerit=3
                                                                                                      [7
       Teamwork

             Question 2: Give me an example of a time when you tried your best to get along wth a
             work colleague but failed. Why do you think that was? What did you learn from that
             experience?                     tL          k                   —


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                                            k                j
             Answer 2: Tries to cooperate with all colleaguss and spends time and effort to maintain
             and keep these relationships in a healthy sEate.


             Notes:                                 ky           ‘-5’    c   1    /1L4

                                                                                                      POINTS
            RatingF Iinsatlsfactory=O ISatsfctoiy=1                 Very Good=’2       Excelient=3
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       Teamwork

              Question 3: TelL me about a time you had to work with somebody who had a reputation as
              an uncooperatve belligerent person? VVhat tactics did ou use?
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                                                                             \cLL.’fr’
              Answer 3: Rêfnains cooperative and #oised when faced with uncooperative cIleagues,
              emphasizes the mutual advantage of cooperation,


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 Interview Report                                                                                        Page 3 of 8




            Notes:



           Rati:[] Unsatisfacory{)         [      atisfactoVery Good2          [] ExceIlet3 Ill
                                   TOTAL COMPETENCY AVERAGE POINTS

                                         SUM OF         TOTAL#tW       TOTALAVERAGE
                                         POINTS         QUESTIONS          POINTS

                                     I            I’LI
      Leadership

            Question 1: Have you ever tried to do a job for which you were unqualified? How did you
            react at that time? Were you able to accomplish your task?

                   i%       pe              iL            L- 1L-h--
            Answer 1: Can take risks and chances to achieve goals at work; also


            Notes:

                                                  /                                               POINTS
           Ra1in; Ustisfacto,y=O               atisfactory=’1        Very Good=2   Excellent=3
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      dershIp

             Questign
             react at that time? Were you able to accomplish your task?




             Notes:


            Ra(inq:f Unsatisfactory=O             Satisfactory=1   j Very Good=2    Excellent=3


       Leadership

             Question 3: How have you contributed to the ceny strategies and policies?
                      ?d1tc)                      (?O            iVy2y              1
             Answer 3: Influences the company    to develop and implement  innovative corporate
             strategies and technically advanced procedures, successfully adapting leadership style to
             accommodate the diverse needs of team members.



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 Interview Report


            Notes:
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           Ratin:L1    Unsatkfactor =OSaiisfctor=1          L   Veiy Gooci2         Excelient=3



                                      TOTAL COMPETENCY AVERAGE POINTS

                                        StJMOF      TOTAL#OF          TOTALAVERAGE
                                        POINTS      QUESTIONS             POINTS

                                       L1’I__
      Customer Service Orientation

                                                                                ? How do you
             Question 1: How do you handle negative feedback from angry clients
             normally respon d to them?                      4u
                                                           103 ji1rL&-

                                                                                 ated or cDtting
             Answer 1: Able to entertain customer complaints without b9ing domin
             emotional; does not get ove,’w helino d while been criticiz&d.


             Notes:

                                                                                                       POINTS
            Ratlng:[] Unsatisfactory=9       Stisfactory=1   [      Very Gootfr2   []   E.cceIIent3


       Customer Service Orieiitatlon

                                                                                       well as existing
             Question 2: This position requires interacting with the general public as
                                                                about  some  of your experie nces. If no
             employees and all levels of management. Te me
             experience, what are your though ts on  this? j                                  c.) tJ-v

                           ‘     +fJL     C..o       -           wi&               v                  k 4-
              Notes:


             Rating[] Iinstisfacta[y=O,Satisfactory1                Very Good=2 []ExcelIent3

        Customer Service OrientatIon

              Question 3: Tell   me
                                  about a time when you believed a policy or procedure ws not in the
              customers best interest. What did you do?         e ?o c’j
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                                      TOTAL COMPETENCY AVERAGE POINTS

                                          SLiM OF            TOTAL#OF      TOTAL AVERAGE
                                          POINTS             QUESTIONS         POINTS




      BusIness Success

              Question 1: Some battles are worth fighting and others are not. How do you know which
              are worth fighhng? Can you giye me an example?
                                   .LiSh?t                                      Le             ccrJ3
              Notes:                   *J c-A(                      (      ?—     t-ç() LLJ J
                                                                 t.i’f     6—’-       ‘-‘.
                                                                                                            POINTS
             Rating: tinsatisfacto               Satisfaetwy=1           Very Gnod=2         xcef lent ‘3


      Business Success

               Question 2: What kind ot working relationships do you have with co-workers from other
               deateis? How have these relationships been beneficial in accomplishing your work?
                                                        k c.J—                  /_c-r

               Notes                                           p’
                                                                                L,
                                                                                                            POINTS
              Rating:[] tins atisfac(aiy=O’Satisfactory=1 []Very Gaud—2                []    Excelleiit=3
                                                                                                            I
       BusIness Success

               Question 3: When given a specific problem to solve, how do you decide what information
               is essential to making an informed decision?                       -


                        Cop                                                  tktci L_
               Answer 3: Capable of deciding what information is necessary to make an informed
               decision; if they are not, are they capable of using their team’s knowledge and experience
               to bring about a successful conclusion.

                                           o
               Notes:


               RatIng: Unsatisfac(orY=$3JatIsfactorY=1                    VeryGuod’2LjExceIIent3                Li-   1
                                          TOTAL COMPETENCY AVERAGE POINTS




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 Interview Report


                                      SLiM OF         TOTALOF          TOTALAVERAGE
                                      POINTS          QUESTIONS            POINTS

                                     L’[__
      ârnInlstrative/ClerIca) Support

                                                                                                     your
            Question 1: Describe a situation that is typical of the pace and change in priorities in
            department. How does  it affect your work?  Would   you  give me a specific example?
                               kLç
                                         r                  Z --I r
            Notes:       —      -




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                        Unsatisfactory=O’Satisfctory1              Very Good=2         ExceIIent3
           Ratinfl:LJ
      AdminlstrativelCleiical Support

             uestion 2: Tell me about a situation in which you had to cope with inadequate resources
             How did you deal with it?
                          ‘Foces
             Notes:                                .




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            Ratinj:Lj UnsatisfecloPrOj LSaflsfactorv=I              VeryGoiMI=ZLj Exaellenl=3         Lj I
       AdmlnistrativeiClerical Suøort

             Question 3: What specific responsibilities do you have for supporting the work of other
             people in your department? What positions do they hold? What specific tasks do you
             perform? Which tasks reflects your strengths? Which tasks may require some
             development?
                                 TcL-                  -‘w                        —


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              Notes:

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                                      TOTAL COMPETENCY AVERAGE POINTS

                                         SIJMOF         TOTAL#OF         TOTALAVERAGE
                                         POINTS         QUESTIONS            POiNTS

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        quired Experience




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  Interview Report                                                                                                                          Page 7 of 8


                   QuetJon 1: This posftion requires            years of experience with
                                Vci              I-low do you n,eel these qualifications?


                   Nos:’4                                      C                                   ?
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                                          Iinsatisfactory=11                 Satisfactory=i        Very Good=2        Excellent=3
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            Required Experience

                   Question 2: What r
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        r          Rating: IJnsatlsfaco=O,;”Satisfactory=1

            Reuired Experience
                                                                                                   Very Good=2        ExceIIent3
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                     Question 3: How do you feel your experience qualifies you for this position?
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                     Notes:
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                                                              TOTAL COMPETENCY AVERAGE POINTS

                                                                    SUM OF            TOTAL#OF         TOTALAVERAGE
                                                                    POINTS            QUESTIONS            POINTS



            Notes:




            havreviewed the essential job functions with the applicant including the work schedule, location or
            any specific physical requirements.

                        asked the applicant directly, “Are you abe to perform the essential functions of this position
             witiyf without a reasonable accommodation9 l have not asked, ‘Do you need an accommodation?’

                  I understand that I may ask applicants to describe or demonstrate how they would perform any or all
             job functions, as long as all applicants in the job category are asked to do this. However, if a particular
             applicant has an obvious disability, (e.g. uses a wheelchair> I understand that I may ask this applicant
             alone to describe or demonstrate how s/he would perform the job.




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  Interview Report                                                                                  Page 8 of 8


      NOTE: if an applicant says that s/he needs a reasonable accommodation to perform ajob domonstraton,
      you must either: provide a reasonable accommodation that does not create an undue hardship or allow
      the applicant to simply describe how s/he would perform the job function.
      Comments:




                                                                                                       3/12/2016
    J Crew Supervisor Building Services 2016                                1                                   Charles Lorigo
    JOB TITLE                                                                                                   APPLICANVS NAME                                                            0
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                                                  SCORING WORKSHEET                                                                                                                        C)

      Columns A&B are determined BEFORE interviews are conducted.
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                           A                                B                       C               D                E                     F                      G
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                                                                                                                                 Applicant’s Average Applicant’s Adjusted
                                                                                Question I     Question 2       Question 3                                                                (51
                 Competency Name                                                                                                 Points without % of   Score with % of                    -.
                                                    Importance                    Score          Score            Score
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    EXAMPLE: Write or type competency name.              jo(                            Applicant Evaluation Form.
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    e.g. OrganizatIonal Skills                            0.20                     0.5
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    Required Educalion                                  0.00                                                           :                 0.00                 0.00                     C)

    Required Experience                                 0.20                      1.0                                                                                                  -J
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    reamwork                                            0.20                      1.0             1.0               1.0                                                                cc
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    Leadership                                          0.10                      2.0             2.0               1.0                  1.67                 0.17                   CD
    CustomerService                                                                                                                                                                  0
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    Business Success                                                                                                                                                                 cc
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    Administrative/ Clerical Support                    0.10                      1 .0            1 .0             2.0                   1 .33                0. 13
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    100%)                                                                                                                    column G)
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   Interview Report                                                                                                     Page 1 of 8




            Appiicnt veluatiei tovri                                                         I EdiliJob TftIe   Print Renort

                                   DepartmentName:                      IPL     i\Vi’/c
                                           Position: Crew Supervisor Bu ilding rvices 2016
                                                                                              ‘     /‘.- (T        -




                                          Applicant:


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                                              Date:
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          Analytical

                     Question 1: Tell me about a situation where your analysis of a problem was deemed to be
                     ncorrect? What would you do differently today?


                     Answer 1: Has the character to admit mistakes. Also clarify-Were the steps he took
                     correct? More importantly, has he/she learned from this mistake?


                     Notes


                           ting:fJ tins atisfactoiy=13athfctory=1                 j Vei Good’2 H ExceI1ent3
          Analytical

                     Question 2: Tell me about a recent project you received. What are some of the first things
                     you do?            —                                -
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                     Answer 2: Accurately ‘nficipates tWa dL(ration and difficu7ty of projects and p!ar1
                     accordingly.


                     Notes:


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          Analytical

                     QuestIon 3: How would you measure the strength of your management team?
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                     Answer 3: Uses and employs modern analytical and management techniques to measure
                     management value and ability.




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             Notes:


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                                     TOTAL COMPETENCY AVERAGE POINTS

                                       SUM OF          TOTALIOF        TOTALAVERGE
                                       POINTS          (ttES1iONS         POINTS

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        Tea mwort

              Question 1: How would you persuade people of the importance of cooperation in today’s
              workplace?
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              Answer 1: Realizes that a positive balanced, cooperative work force is vitally important for
              success in business today.


              Notes:

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             Ratitg: tJnsatisfctory= Satisfactsry=i                 Vciy Gaod=2            Excelleiit=’3
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        Teamwork

              Question 2: GIve me an example of a time when you tried your best to get along with a
              work colleague but failed. Why do you think that was? ftiat dd you learn from that
              experience?                                              ,
                                                                                (‘4
               Answer 2: Tr(es to cooperate with all colleagues and spends time and effort to maintain
               and keep these r&ationships in a healthy state.


               Notes:

                                                                                                           POINTS
              Ratinqfj                                                    G ood=2           Eicc elIent3   [j
         Teamwork

               Question 3: Tell me about a time you had to work wtli somebody who had a reputation as
               an uncooperalive bellgerent person? What tactics did y use?
                                                                                            1 jd L
               Answer 3: Remains cooperative and poised when faced with uncooperative colleagues,
               emphasizes the mutual advantage of cooperation.


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            Notes:



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                                   TOTAL COMPETENCY AVERAGE POINTS

                                       SUMOF         TOTAL#OF           TOTALAVERAGE
                                       POINTS        QUESTIONS              POINTS
                                                                          J
       Leadershio

             Question 1: Have you ever tried to do ajob for which you were unqualified? How did you
             react at that time? Were you able to accomplsh your task?
                                                -



             Answer 1: Can take risks and chances to &chieve goals a! work; also inspires others.
                                   I                           4        •-




             tIotes:


            aating:] tJrisatisfactoy=O    j Satisfactoiy=1         ery God’2          ExotIettt=3
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       Leadership

                                                                                          -How did you
                                                                  task?


             Answer 2: Can take risks and chances to achieve goals at work; also inspires others.


              No!es:

                                                                                                     P0 NTS
             Rating:j Unsatisfectory=8fJ Satisfactoy=1             Very Goofr2   []   Excel!c.nt=3

             r2h

              QuestIon 3: How have you contributed to the company strategies and poicies?
                         l&t,                                       L<        c4i



              Answer 3: Influences the company to develop and implement Thnovative corporasa’
              strategies and technically advanced procedures, successfully adapting leadershfp style to
              accommodate (lie diverse needs of (earn members.




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  Interview Report


            Notes:
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           Rating: n         tsfaori4           atsfsctory=        Very (3cnd=2        EcelJent=3
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                                     TOTAL COMPETENCY AVERAGE POINTS

                                       SuMac           TOTALiIOF        TOTAL AVERAGE
                                       POINTS          QUESTIONS            POINTS

                                      r          H[ Z i
       Customer Service OrientatIon

                                                                                    do yci
             Question 1; How do you handle negative feedback from angry clents? How
             normally respond to them?
                                                                                              AL
             Answer 1: Able to enteitain customer complaints without being dominated or getting
             emotional; does not get overwhelmed white been criticized.


             Notes:

                                                                                                       POINTS
             Rating: Unsatisfaetuv=fatisfactory=1               fj   Very Guod=2        Excellent=3
                                                                                                       14 I
        Customer Service Orientation

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              Question 2: This position requires interacting with the general public as well
                         and all levels of management  . Tell me about  some  of your experiences.  If no
              employees
              experience, what are your thoughts on this?


              Notes:

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             Ratin:                                                  Very Gcod’2         Excetlent—3
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        Customer Service Orientation

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              QuestIon 3: Tell me about a time when you beiieved a policy or procedure
              eernrsbest interest. What did you do?
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                 tinj: Unsatisfactonp4l              isfactor1 Vy Good=2                 E>celIent3




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   interview Report                                                                                          Page 5 of 8
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                                        TOTAL COMPETENC’( AVQE POINTS

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                                             PONTS         QUESTIONS            POINTS

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       Business Success

                 Question 1; Some batbes are worth fighting and others are not. How rio you know which
                 are worth fighting? Can you give me an example?
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                                                              \t’_
                 Notes:    b


             Rflng:J
                                                                     LI Venj Goüd=2        xceIIent=3

        Business Success

                 Quoston 2: What kind of working relationships do you have with co-workers from other
                             How have these relationships been beneficial in accompflshing your work?
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                                         -       I             i i4--               -/4-    -        eJ
                 Notes:

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             Rating: UnsatisfactQly=I)
                                               Li   Satisfaotory=1        Vey Goud’2    LI Exceilant=3 I 2__—
        business Success

                 Question 3: When given a specific problem to solve, how do you decide what information
                 is essential to making an inforrnedMeision?                                     1


                 Answer 3: Capable of deciding what information is necessary to make an informed
                 decision; if they are not, are they capable of using their teams knowledge and experience
                 to brfng about a successful conclusion.


                 Notes:

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             Ratin:[]
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                                        TOTAL COMPETENCY AVERAGE POINTS
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  Intevtew Report                                                                                           Page 6 of 8



                                          SUM OF         TOTAL#OF      TOThLAVFAGE
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                                          POINTS         QUESTIONS        POINTS

                                      I              ‘I             I I
      AdrninlstrativelClerical SuiporE

             Question 1: Describe a situation that is typical of the pace and change in priorities n your
             department. How does it affect your work? Would you give me a specific example?
                          .Ii_        -ic            —


             Notes:

                                                                                                        POINTS
            Rating:[] Unsatisfacnj=O            Stisfactory1
                                                               []   Very GooI=2[] Excellent=3
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       AdministrativelClerical Spport

             Question 2: Tell me about a situation in which you had to cope with inadequate resources.
             How did you deal with it?
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             Notes:                 v’e      \çi(        L
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            Ratiriii:[]                                         []r Gcori=2        Li
       AdminlstrativelClerical Support

             Question 3: What specific responsbilities do you have for supporting the work of other
             people in your department? What positions do they hold? What specific tasks do you
             perform? Which tasks reflects your strengths? Which tasks may require some
                                                                                              £
             development?              ocL *--- cçç
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              J
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                                      TOTAL COMPETENCY AVERAGE POINTS

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                                           POINTS         QuESTIONS          POiNTS
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   Interview Report                                                                                              Page        7 of 8

                Question 1: This position requires
                    W
                                                   years of experience with
                               ‘/J14_, How do you meet these qualifications?               .
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                Notes:                                       (
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                                                                                                        POINTS
             Ratin:Lj                            Satisfactory=i
                                                                  [J Very Guu=2           Excellent=3
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       Required Experience

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                Questori 2: What
                ck-              %‘.•                                             .
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             RatincJjJnsatisfaeory=          j Sat    factory=1   j Very C ood2           ExcelIent3

       Required Experience

                Question 3: How do you feel your experience qualifies you for this position?


                Notes:

                                             _/                                                         POINTS
             Ratin:j Unsatisfactoy4J            Satsfactory=’1    j Very Geod=2           Excellent=3
                                                                                                        I         I
                                       TOTAL COMPETENCY AVERAGE POiNTS

                                          SliM OF        TOTAL#OF         TOTAL AVERAGE
                                          POINTS         (UIESTIONS           POINTS
                                                      ‘I_
       Notes:



          I have reviewed the essential job functions with the applicant including the work schedule, location or
       anY?ecifLc physical requirements.

            have asked the applicant directly, 0Are you able to perform the essential functions of this position
       with without a reasonable accommodation? I have not asked, 000 you need an accommodation?”

             understand that I may ask applicants to describe or demonstrate how they would perform any or all
       job functions, as long as all applicants in the job category are asked to do this. However, if a particular
       applicant has an obvious disabiity, (e.g. uses a wheelchair) I understand that I may ask this applicant
       atone to describe or demonstrate how s/he would perform the job,




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Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 205 of 293 PageID:
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  Interview Report                                                                                  Page 8 of 8
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      NOTE: (fan appcant says that s/he needs a reasonable accommodation to peorm a job demonstration,
      you must either: provide a reasonable accommodation that does not create an undue hardship or allow
      the applicant to simply descrbe how s/he would perform the job function.

      Comments:
Crew Supervisor Building Services 2016                                  I                                        ICraig Daniels
JOB   TITLE                                                                                                          APPLICANTS NAME                                                               ..C)
                                                                                                                                                                                                           In
                                                                                                                                                                                                           CD
                                                     SCORING WORKSHEET
  Columns A &B are determined BEFORE interviews are conducted.                                                                                                                                            a)
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                       A                                     B                  C                          0             E                            F                        G
                                                                                                                                            Applicant’s Average Applicant’s Adjusted                      0
                                                     Percentage of          Question 1            Question 2         Question 3                                                                           C),
              Competency Name                                                                                                               Points without % of   Score with % of                         -.J
                                                      Importance              Score                 Score              Score
                                                                                                                                               importance.          importance.                          cc
                                             -   J                                            f                  f                                                                                        .tJ
                                                     Write or type in                                                                      If doing manually, round If doing manually, round
                                                     decimal format -
                                                                              Write or type in each score from the
                                                                                                                                           up to two decimal points up to two decimal points             1’
EXAMPLE:     Wnte or type competency name.                                        Applicant Evaluation Form.                                          X.XX                     xxx                      I
e.g. Organizational Skills                                0.20                 0.5            I            2.0   1      2.0                          1.50                    0.30
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Required Education                                       0.00                                                                                        0.00                   0.00                       C,

RequiredExpenence                                        0.20                 1.0                      .0.0            t0...                         0.67                   0.13                       CD
Analytical                                               0.10                 0.0                       1.0.           1.0                           0.67                   0.07
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Leadership                                               0.10                 0.0                       2.0            tO                            1.00                   0.10                      CD
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Customer Service                                         0.20                 1.0                       0.0            0.0             .             0.33                   0.07                      0
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Business Success                                         0.10                 0.0                  -   0.0             0.0                           0.00                   0.00                     0
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dminstrative/ Cle9cal support                            0.10                 .1.0                     0.0             1 .0                          0.67                   0.07
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SUM OF PERCENTAGES                                                                                                                         TOTAL SCORE                                              0
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(the sum of all #s in column B must equal                                                                                                  (=sum of all #s in
100%)                                                                                                                                      column G)
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HIRING MA AGERS NAME                                                                                                                                                                                ci
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  Interview Report                                                     Page 1 of 8




       Applicant Evaluation Form                                             Mnii. I Edit Job Title   Print Report

                        DepartmentName:                                                      _(-

                                Position: Crew Supervisor Building Services 2016
                                   Applicant:                       i

                             (print &siQj/fr                             /                                           —




                                        Date


       Analytical

               Question I Tell me about a situation where your analys s of a problem was deemed to be
               incorrect? What would you do differently today?
                                                                              wL ‘
                                                               J. (-                -i.-t—    s4--
               Answer I: Has the character to admit mistakes. Also clarify-Were the steps he took
               correct? More impwtantly, has he/she learned from this mIstake?


               Notes:


              Rating1 tfnsatisfctory=[)
                                                [] Satisfactory=1 El Very G uud2 LI Excellent=3
       Analytical

               Question 2: Tell me about a recent project you received. What are some of the first things
               you do?           - Sc        -i-

                                                                         C4-L\               ‘()
                                                                                                      \
                                                            CVC’--
                Answer 2: Accurately anticipates the duration and difficulty of projects and plans
                accordingly.


                Notes:

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              Ratlng:[] Unsatlsfactory=O           Satisfactory=1
                                                                    El   Very G aod=2        EcelIent=3
                                                                                                             I I
        Analytical

                Question 3 How would you measure the stren th of your management team?
                                   I
                Answer 3: Uses and employs modern analytical and management techniques to measure
                management value and ability,




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  Interview Report                                                                                        Page 2 of 8


            Notes:

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           Rating: iJnatisfactoIY=O,’Satisfaeto1V=1               VeiyGood—2         Exceilent=3
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                                    TOTAL COMPETENCY AVERAGE POINTS

                                      SUM OF          TOTALtIOF        TOTALAVERAGE
                                      POINTS          QUESTIONS            POINTS

                                                                           L
       Teamwork

             Question 1: How would you                            impoance of cooperation in todays
             workplace?
                                 t)oT
                                    cJ-.’    ‘4-                ---

             Answer 1: Realizes that a positive balanced, coopèrative work force is vitally important for
             success in business today.


             Notes:

                                                                                                    POINTS
            RatingJ Unsaisfaetory=U MSatIsfuctory1 jj Very God2                       Exceilent=3
                                                                                                    ri
       Teamwork

             Question 2: Give me an example of a time when you tried your best to get along with a
             work colleague but failed. Why do you think that was? What did you learn from that
             experience?       ‘fl      j                  c                  ôj          -4L        cJ
                                -           2:                    ‘
                                                                    ‘s ti a and effort to maintain
             Answer 2: Tnes to crioperate with all colleagues and span
             and keep these relationships in a healthy state.


              Notes:


             Ratinq: Unsatisfac(ory=O atisfactory1                 Very Good’2        EceI1ent=3

        Teaniwork

              Question 3: Tell me about a time you had to work with somebody who had a reputation as
              an uncooperative belligerent person? What tactics did ou use?
                                      c”
                                            rp4
                                                        LJ s       °                   &
              Answer 3: Remains coope?ative and poised when faced with uncooperative colleague,
                                                                                                    .S
              emphasizes the mutual advantage of coo eration.                            I’
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   Interview Report                                                                                              Page 3 of 8




             Notes:


             Ratin’nsatlsfaetoryJ                      Satisfactory1        Veiy G oo=2   ExceIIerit3



                                        TOTAL COMPETENCY AVERAGE POINTS
                                          SUM OF             TOTAL#OF           TOTALAVERAGE
                                          POINTS             QUESTIONS              POINTS
                                                                                   I      1
        Leadership

              Question 1: Have you ever tried to do a job for which you were unqualified? How did you
              react at that time? Were you able to accomplish your task?
                               ‘/o’                /        ‘-v                               —k-.
                                   t
              Answer 1: Can take risks and chances to acl’lieve goals at work; also inspires others.


              Notes:

                                                                                                          POINTS
             RatintjUnsatisfactoy=O                    SatIsfactory=1
                                                                        J   Vei Good’2    ExceIIent3

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              QuestIon 2: Have you ever t                               .                               id you
                            e    ere you able to accomp is your


              Answer 2: Can take risRs and chances to achieve goals at work; also inspires others.
                                    I         \


              Notes:


              Ratinti:[] Unsatisfaotory=O         LI Satisfactonj1 LI Very G Dot1’2 LI ExceJIen=3
         Leadership

               Question : How have you contributed to the oornpofiy strategies and poicies?


               Answer 3: Influences the company to develop and implement innovative corporate
               strategies and technically advanced procedures, successfully adapting leadership style to
               accommodate the diverse needs of tea members.

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 Interview Report


            Notes:

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                                   TOTAL COMPETENCY AVERAGE POINTS

                                      SUM OF         TOTAL#OF          TOTALAVERAGE
                                      POINTS         QUESTIONS             POINTS

                                     ri’__
      Customer Service Orientation

            Question 1: How do you handle negative feedback from angry clients? How do you
            normally respond to them?                          —
                                                                        .




            Answer 1: Able to entertain customer complaints without being dominated or getting
            emotional; does not get overwhelmed while been criticized.
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             Notes:

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            RatIng: Unsatisfactc              Satifactury=1        Very Good=2            Excellent=3


       Customer Service Orientation

             Question 2: This position requires interacting with the general public as well as existing
             employees and all levels of management. Tell me about some of your experences. If no
             experience, what are your thoughts on this?
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             Notes.
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                                              atIsfactary=1         Very Goad2            Excellent=3
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       Customer Service Orientation

              Question 3: Tell me about a time when you beleved a policy or procedure was not in the
              customers best interest. What did you do? ic
                                                       S/o

              Notes:
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  Interview Report                                                                                          Page 5 of 8




                                    TOTAL COMPETENCY AVERAGE POINTS

                                      SUM OF              TOTAL#OF       TOTALAVERAGE
                                      POINTS              QLJES11ONS         POINTS

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       8usness Success

             Question 1: Some battles are worth fighting and others are not. How do you know which
             are worth fighting? Can you give me an example?                             N
                                    *            4-          ‘ct*             --t




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                        Unsatlsfactoiy4          Satisfactoiy1
                                                                 LI    Very Good=2   LI   ExceLIent3
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       Business Success

             Question 2: VThat kind of working relationships do you have with co-workers from other
             departments? How have these relationships been beneficial in accomplishing your work?
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       Business Success                            i-f-- 7L2           J                  e_c

             Question 3: When given a specific problem to solve, how do you decide what informatic
             is essential to making an informed decision?
                                      J-
              Answer 3: Capable of deciding whal information is necessaiy to make an informed
              decision; if they are nçt, are they capable of using thefr team’s knowledge and experience
              to bring about a succ ssful conctusion.


              Notes:
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      Administrative/Clerical Support

             Question 1: Describe a situation that is typica of the pace and change in priorities in your
             department. How does it affecork? Woud yoL9ive me a specific examole?
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             Notes:                    4J             j
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            RatIng:j Unsatisfactory=”atisfautory=1             jj Venj G ood=2          Excellent=3
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       AdministrativelClerlcal Support

             QuestIon 2: Tell me about a situation in which you had to cope with inadequate resources.
             How did you deal with itT                                                             .i.

             Notes:
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       Administrative/Clerical Suort

              Question 3: What specific responsibilities do you have for supporting the work of other
              people in your department? What positions do they hold? What specific tasks do you
              perform? Which tasks reflects your strengths? Which tasks may require some
              development?
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                                                                                                                              A
                                                          -,
                                                                years of experience with
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                 Question ‘1: This position requires
                                                    How do you meet these qualifications?
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                 Notes                                               Z&           ‘‘?

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                    ing: Unsatisfactory=O’isfactoiy=1                        Very Good’2        ExceII9nt=3J_

          Requirgd Experience

                 Question 2 What nJye4e                                               ‘‘



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                Rating:        nsatisftc(ory=’O       Satisfactery”l []Very G ood=2             Excellent=’3

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                  Question 3: How do you feel your experience qualifies you for this pc.stion?
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                  Notes:                     tt&.                         O&     C:.&4-    Jh            -



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           L1          LL’ ç       /   /L      SUM OF          TOTAL // OF       TOTAL AVERAGE
                                                                                     POINTS
           ‘‘—
                                               POINTS          QtJES11ONS


             4i            T
           Notes:6



                I have reviewed the essential job functions with the applicant including the work schedule, location or
                ,acific physical requirements.

                have asked the applicant directly, ‘Are you able to perform the essential functions of this position
      ,    i1h or without a reasonable accommodation?’ 1 have not asked, ‘Do you need an accommodation?’

                 I understand that I may ask applicants to describe or demonstrate how they would perform any or all
           job’ funcUons, as long as all applicants in the job category are asked to do this. However, if a particular
           applicant has an obvious disability, (e.g. uses a wheelchar) I understand that I may ask this applicant
            alone to describe or demonstrate how s/he would perform the job.




                                                                                                                  /1 1/7016
Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 214 of 293 PageID:
 Ca                                 3445                                   43O
                                                                                                       Page 8 of 8
 Interview Report
                                                                                                                       cj
                                                                                          a job demonstration,
     NOTE: If an applicant says that s/he needs a reasonaole accommodation to perform
                                            accommodat  ion that does  not create an undue hardship or allow
     you must either: provide a reasonable
     the applicant to simply describe how s/he would perform  the job function,

     Comments:




                                                                                                           /l1/’)fl1
    1Crew Supervisor Building Services 2016                                                                          Lames Daniels                                                            I
     JOB TITLE                                                                                                       APPUCANVS NAME                                                                   C)
                                                                                                                                                                                                      (/)
                                                                                                                                                                                                      CD
                                                                                                                                                                                                      ()
                                                  SCORING WORKSHEET
       Columns A&B are determined BEFORE interviews   are   conducted.
                           A                                                                                                                                                                          C,
                                                              0                         C                 D                  E                       F                       G
                                                                                                                                                                                                     0
                                                      Percentage of                                                                      Applicanfs Average Applicants Adjusted
                 Competency Name                                                 Question I         Question 2        Question 3                                                                    ci,
                                                       Importance                  Score                                                 Points without % of  Score with % of
                                                                                                      Score             Score
                                                                                                                                            importance.        importance.
                                                      Write or type in                                                                   If doing manually, round If doing manually, round         C)
                                                      decimal format     -
                                                                                      Write or type in each score from the                                                                          Ci)
                                                                                          AppIcant Evaluation Form.                      up to two decimal points up to two decimal points
    EXAMPLE: Write or type competency name.                 .xx                                                                                     x.xx                    x,xx                   I
    e.g. Organizational Skills                                                                                                                                                                     C)
                                                             0.20                      0.5      I        2.0     I          2.0                   1.50                     0.30
                                                                                                                                                                                                    C
    Required Education                                      0.00
                                                                             I                                                                  0.00                     0.00
                                                                                                                                                                                                   0
                                                                                                                                                                                                   C,
                                                                                                                                                                                                   C
    Required Experience                                     0.20                   1 .0                  1 .0               1 .0                1 .00                    0.20                     CD
                                                                                                                                                                                                   C
     nalytical                                              0.10                  0.0                    0.0          •.    tO.                 0.33                     0.03
    Teamwork                                                0.20                                                                                                                                  cc
                                                                                  1.0                    1.0                1.0                 1.00                     0.20
    Leadership                                                                                                                                                                                    11
                                                                                                                                                                                                                                      3446




                                                            0.10                  0.0                    2.0                1.0                 1.00                     0.10                     CD
    Customer Serv.ce                                        0.20                  1.0                                                                                                             ci
                                                                                                         1.0.               0.0                 0.67                     0. 13                    C
                                                                                                                                                                                                  cc
    Business Success                                        0.10                  10                     1 .0               10                  1 .00                    0.10
                                                                                                                                   •.                                                             0
    dmtnistrative! Clerical Support                         0.10                  20                     1.0               .2.0                 1.67                     0.17
                                                                                         .                                                                                                        cc
                                                                                                     .                                          0.00                     0.00                     -o
                                                .—                               ..                                                             0.00                     0.00                     (0
                                                                                                                                                                                                   CD
                                                                                                                                                0.00                     0.00                     ci,
    SUM OF PERCENTAGES                                                                                                                  TOTAL SCORE                                               0
    (the sum of all #s in column B must equal
                                                 I 100%I                                                                                                                0.93              I
                                                                                                                                        (—sum of all #s in
    100%)                                                                                                                               column G)
                                                                                                                                                                                                  0
                                                                                                                                        If doing manuaNy, round up to tio decimal
                                                                                                                                        points x.xx                                               (0
i                                               —iaj          c— i                                                                                                                                CD
    HIRING MANAGERS NAME                                                                                                                                                                          C
    HR-22
                                       :i   f’7JJ                                                                                                                             512212008
                                                                                                                                                                                                  Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 215 of 293 PageID:
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                                                   .VL                                       (r
                      Department Name:                                          j     /                  —




                               Position: Crew Supervisor Building Services 2016
                                                                    42
                              AppHcarit:                    j



                          (&)



        Analytical

              Question 1: Tell me about a situation where your analysis of a problem was deemed to be
              incorrect? What would you do dfferently today?
                        5e.     So                                   •—    1k L    (•
              Answer 1: Has the character to admit mistakes. Also clarify-Were the steps he took
              correct? More importantly, has he/she learned from this mistake?

                                                                             •4-                    4—
               Notes:


                         Unsatisfactoiy=J Sa(is1actor=1           f Very Good=2         Ec&lnt=3

        Analytical

               Question 2: Tell me about a recent project you received. What are some of the first things
               you do?                        dc.-                  -      ‘c-+


               Answer 2: Accurately anticipates the duration and difficulty of projects and plans
               accordingly.
                                  j,j                   f&,      /ic




               Notes:            /J4.-a           j6qv’_—,


                                                                                                        POINTS
              R’ing:iJnsatisfactory=J
                                             D   Satisfactory=1      Very Goad”2   []     Exceflenf=3
                                                                                                        [j
         Analytical

               QuestIon 3: How would you measure the strength of your management team?
                                                      gv- Lcr-            hiD SJ
               Answer 3: Uses and employs modern analytical and management techniques to measure
               management value and ability,
                                       __H
Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 217 of 293 PageID:
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   Interview Report


              Notes:

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             Fting;LJ   tinsatisfactory4   j   Satisfactory’=l      Very 6 ood2    LI   Exc aIant3



                                       TOTAL COMPETENCY AVERAGE POINTS

                                        S1)M01           TOTAL#OF        TOTAL AVERAGE
                                        POINTS           QUESTIONS           POINTS

                                                          [
                                                                                        -         <‘-—_-




        Teamwork

                                                                                         in todays
              QuestIon 1: How would you persuade people of the importance of cooperation
              workplace?                                            L J--—-.               c<±. ,

                               c__’,
                           Realizes that a positive balanced, cooperative
                                                                           t 1’—
                                                                          work force is vitaly iiportant for
              Answer I
              success in business today,


               Notes:                               CzLxo -k

              Ratin:j Unsatisfaeoiy=’O Satisfactory1                 Very Geod=2     LI Exceflent=3
         Teamworjç

               Question 2: Give   me an example of a lime when you tried your best to get along with a
               work colleague but failed. Why do you think that was? VJl’at did you learn from that
               experience?—ç (,


               Answer 2: flIes to cooper’sjith all c’lleagues and spends time and effort
                                                                                         to maintain
               and keep these relationships a healthy  state.        f
                         cV 1CLQ         cv-.-            4            -‘-




               Notes:


               ating: Iinsatisfactory=O [etisfactnry=1 EVery Goel=2                  [J Excellent=3 Lj
          Teamwork

                Question 3: Tell me about a time   you
                                                     had to work with somebody who had a reputation as
                an uncooperative belligerent person? What tactics did you use?

                           .-     coi                                                  e
                                                                                         1’
                                                                                         colleagues,
                Answer 3: Remainsooperative and pois d   when  faced with uncodperaliv
                emphasizes the mutual adntag e of cooperatior.
                                                                                sc1

                                                    .
Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 218 of 293 PageID:
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  Iritervew Report



             Notes:


            P.ating: LJnsatisfacto-y=ti       Satisfacnry=1       Very Güod2         Exceflent=3



                                    TOTAL COMPETENCY AVERAGE POINTS

                                      SUM OF          TOTAL#0f         TOTAL AVERAGE
                                      POINTS          QUESTIONS            POINTS

                                     L1’EZ1__
                                     —=-----




       Leadership

                                                                                             did you
             QuestIon 1: Have you ever tried to do a lob for which you were unqualified? How
             react at that time? Were you abie to accomplish your task?
                      J                                  —kL
             Answer 1: Can take ,isks and chances to achieve goals at wo,*; also inspires other.
                                                                                    $c tYLL
                          U-rcL-                         -‘-




              Notes:

                          /                                                                         POINTS
             Ratinj:LfIinsa4isfctoly=O     El   Satisfactoiy=1 []Veiy Geod 2          Excotlent=3
                                                                                                        [l
        Leadershit

                                                                                           How did you




              Answer 2: Can take                                  goalsat wotk; also inspires others.



              Notes:


              Rtinq1J ttnsatisfactonj=D         Satisfactoty1   [ Verj Good2           Excel kmt3
                                                                                                        LZI
         Leadership

               Question 3: How have you contributed to thec! rategies and policies?


               Answer 3: Influences tfle company to develop and implement innovative corporate
                                                                                             hip style to
               strategies and technically advanced procedures, successfully adapting leaders
               accommodate the diverse needs of team    members.
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   Interview Report


              Notes:                                                                                                       11
             Ratini:Lj iiusaflsfactory=OLJSatisfactoiy=1       j Very Goocfr2 LJExcelIent=3           LL1
                                     TOTAL COMPETENCY AVERAGE POINTS

                                       SUM OF          TOTAL#OF          TOTALAV[RAGE
                                       POINTS          QUESTIONS             POINTS

                                      ‘r_i                                                      -




        r


        Customer Service Orientation

                                                           back from angnj clients? How do you
              Question ‘1: How do you handle negative feed
              normally respond to them?                    c

                                               o             s
               Answer 1: Able to entertain customercomplaint withou
                                                                               -x &-
                                                                        t being dominated orgettThg
                                                   while been criticiz ed.
               emotional; does not get overwhelmed


               Notes:


              Rating:[] (Jnsatisfactory=U [Satisfactory=I        H Very    Goud-’2      Excellent=3


         Customer Service Orientation

                                                                       general public as well as existing
               Question 2: This position requires interacting with the
                                                              me  about  some of your experiences. If no
               employees and all levels of management. Tell
               experience, what are your though ts on this?
                                                                                                    -
                             -


                Notes:
                                                                                                         FQ1S
               Ratin:[] linsatlsfactory”4) [atisfactory=1          Li   Very Good=2   LI   Excellent-3


          Customer Service Orientation

                                                                   a policy or procedure was not in the
                Question 3: Tel) me about a time when you believed
                customer’s best interest. What did you do?  ‘i-

                 ‘_‘%                       L.iJ’l      \;o.?          :.:4.

                 Notes:
                               I       1LL        u\tC                     icsve
                                                                                                         POINTS
                Ratint:UsatIsfactary=O        H 53t    iactorj=i   H    Very Good=2        Excellent=3   [ç]
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  Interview Report



                                    TOTAL COMPETENCY AVERAGE POINTS
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                                          StJMOF          TOTALIOF          TOTAL AVERfGE
                                          POINTS          QUESTiONS             POINTS

                                      [                                         I          I
       =—




       Business Success

                                                             others are not. How do you know which
             Question 1; Some battles are worth fghting and
             are worth fiahting? Can yoiv e.ije an examp  le?
                                      \r                                             ‘



                                                                                         r .f,Jc \ çcç’-.cc
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                                 Sc c_                         \   ,
                                                                               e..
             Notes:
                               -T    ,


             Rafln:[] Jnsatisfactorip4) [ISatIsfctcry=i             [] Very Good2              ExceIlent’3
                                                                                                               [Z[]
        Business Success

                                                                you have with co-workers from other
              Question 2: What kind of working relatonships do         ial in accomplishing your work?
                                                         been  benefic
              departments? How have these relation shps
                                                   \      ç.
                                “J1-’ae
                                          LL>          cL’-.       cJ2..Q
                               (t
              Notes:
                                                                                                                INTS
              Ratin:[] lJnsatisfsctonj=U [atisfactory
                                                      1
                                                                       [   Very Good=2    []   Ecelknt=3
                                                                                                               LII
         8uslness Success

                                                                   how do you decide what information
               Question 3: When given a specific problem to solve,
               is essential to making an informed decision?
                      a                                            c

                           —1r-O w- ek
               Answer 3: Capable cf deciding wh1 inforriatIon
                                                                     is necessary to make an informed
                                              they capa ble of using  their team’s knowledge and experience
               decision; if they are not, are
               to bdng about a successful conclusion.
                            i’ )                               e.,C
               Notes:
                                             Sc         t
                                                                                                                  4TS
               Ratin:j Unsatisfactonj=O                Satisfactory=1 EVery Eood=’2              Exeellent=3    [jJ
                                          TOTAL COMPETENCY AVERAGE POINTS
Case 3:16-cv-01578-PGS-LHG Document 118-2 Filed 11/15/19 Page 221 of 293 PageID:
                           Docurnent 783452
                                         PiIedO8/O2/i8 Page        P&3

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  Interview Report


                                       SOF            TOTAL#OF         TOTAL AVE RAGE




       Administrative!Clerical Support

                                                                    pace and change in priorities in your
             Question 1: Describe a situation that s typical of the
                                                        Would   you  give me a specific example?
             department. How does it affect your work?
                         ç     _
                                                                        L
                                                                                      (c&)
              Notes:



                     [] IJnsatisfactory4I []SatisfectolV=i 2 Very G ood2
                                                                                       Eceileiit3
             R atm

        AdminlstrativefClerical Support

                                                                 had to cope with inadequate resources.
              QuestIon 2; Tell me about a situation in which you
              How did you deal with it?
                                                                  v                               c
                                                                    GtSY               d
               Notes:
        —
                                                                                                         PO1TS
              Raling:[] tiiisatisfactoiy=t)     Satisfactory’1       Very Good=Z    []   ExceIfent3


        AdnilnistrativefClerical Support

                                                                have for supporting the work of other
               Question : What specific responsibilities do you
                                                                 hold? What specific tasks do you
               people in your department? What positions do they
                                                                   tasks may require some
               perform? Which tasks reflects your strengths? Which
               development?
                                       r4                    La
                Notes:                                                        L
               Ratinfji Unsatisfactory=O      j Saiisfactoiy=i1 2Very Good=2               Excellent”3



                                        TOTAL COMPETENCY AVERAGE POINTS

                                           StThOF         TOTAL#OF         TOTA1AVE1AGE
                                           POINTS         QIJES1IONS           POINTS

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          Reguirejperience
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   Interview Report


                 Question 1: This position requires     years of experience with
                                  ve_ Howdo  ,      youme etthesequalifications?
                                          4
                           q
                 Notes:                                 l’     Y
                                                                                                                     POINTS



                nating:f            (ins atisfacto ry=U ‘Satisf
                                                                zctory’1       Very   Good=2          Excellent=3
                                                                                                                              11
           Required      Experience


                                                                                      t

                  QuestIon 2: What

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                                                                           ‘/   y,-y     !
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                                                                  /afd’
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                 cating: lJnsatisfectoy=Lt’atiefactory=t                       Very Good’2       El   ExceIIeit=’3

                                                                                                                       [J]
           Required Experience

                                                                                    position?
                  Questlo 3: How do you feel your experience qualities you for this
    J k-’                      1”                                                            Go):                             Jc
—tI-vY.s        LJ
                                       j k            e9as L                                                                           -

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                 RstInfJ Unsatifactory=OSatisfaetory1                           Very Good2             Excetlent=3
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                                                                CY AVERAGE POINTS
                                                 TOTAL COMPETEN




                                                    SliM OF        TOTALOF            TOTAL AVERAGE
                                                    POINTS         QUESTIONS              POiNTS
                                                                                             F
            Notes:

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                                                                               including the work schedule, location or
             L. I have reviewed the essential job functions with the applicant
            any speitic physical requirements.
                                                                                  essential functions of this position
                 I have asked the applicant directly, Are you able to perform the
                                         accom   modati on?” 1 have not asked, “Do you need an accommodation?”
             with o/without a reasonable

             LI1 understand that I may  ask applicants to describe or demonstrate how they would perform any or all
                                                                                                                   lar
                                    all applicants in the job category are asked to do this. However, if a particu
             Job functions, as long as
                                                                                    tand that I may ask this applicant
             applicant has an obvious disability, (e.g. uses a wheelchair) I unders
                                                                perform  the job.
             alone to describe or demonstrate how s/he would




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     Iutervicw Report


         NOTE: If ri ppllant says that se ieed a reasonable accommodat
         you must either provida a reasonab’e accormcdolon that does  flOt
                                                                            ion to peorrn a job cJemonsra1ioa,
                                                                           create an undue hardship r Uoi
                                                                                                                     fr
                                                      perfom the job functio ’.
         The appikant to srnpy describe how s/he wcJd
          CommeNs
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                                                                                    ]
                                                             EMPLOYEE CHANGE OF STATUS
                                                             Must be  tubmited to HR four weeks prior to requested effective date

                                                                                                                                                                    iI
      Employee Name Robed Brlscoe                                                              Requested Effective Date 0411612016
                                                                                                                                 Coincides w(siorI of pay pql id
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      Department DPW & Engineering! B&G
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      Replacement?         J    No     EJ     Yes—lfyesPARFID#
                                                                                               ECS                               (obSain from HR)
                                                                                                 Name_____________________________
                                                                                                                                                                                     I
                Title_______________________________ Action taken
                                                                                    I.e. Separatco, Pro   oIIn Tran1er


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                   • CHANGE(S)                                    CURRENT                                                       FROPOSED•
                TITLE.•                                                                                                          H
                                                 Carpenter
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                CPDEPARTMENT                                                                                                                        •
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      ‘iJ       SALARY                          “$42216.                                              $55000.                                :           ‘
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                OyçTlME STATUS                   Ci    Exempt           Ci Non-exempt                Ci    Exempt                Ci Non-exempt :;
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                APPOR9’MENT TYPE                • IPermanent
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     REDUI RED SEGNATURES
                                                                                                                                             .                      I

     Department Head)
                              obort W. Compton
     Detignee                   Prini Name

                              John W. Tobla
     Other Administrative
     Approval as required       ?rII Name                                          S/giaIvre                                                     taie


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     Effective Date L/ /I(D/c/TItIe Abbrev:_________________________ SIary Rene                                                                     -   co9 o2D                  I
 I   Titte Cede:       L{./J33                DOP Dept. Code: T130000_____ Agency ft                                                   Benefit Code:

 I   NJDOP ApptType:           idU— /2FI’/                   Cert#:                   Symbol Il:                    Statute#:
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                                                            EMPLOYEE CHANGE OF STATUS
                                                             Must be submitted (0 HR four weeks prior to requested effective date



  Employee Name
                              Robert Briscoe
                                                       j2D/ ?5z/                                  Requested       Effective Date
                                                                                                                                       04116/2016
                                                                                                                                       Colnddes WI stsrt oft pay ptrId
                      DPW &      Engineeringl B&G
  Department                                                                                      ECS #                               4cbtoin From HR)
  Replacement?                  No     El Yes   —   If yes PARF LD#                                    Name______________________________________

        Title_____________________________________ Action                       taken______________________________________________________
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            .   CHANGE(S)                                              CURRENT                                                        PROPOSED
        T1T1.E                                  Carpenter                                                     Crew Supervisor 8uic1ing Services
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  LI    ePDEPARTMENT

  D     BVDGETiuIIMency Code)
        I.e. 7.??4777??
 LI    WORKCHEDULE
   •    (Days offtie week If not M.F)
  LI    STATUS                                  [1     FT         LI   PT                         of   bra        LI   FT        fl   PT                       of bra
        Meya1eleernpfoyeosbenet1s                   Benefit Code                                                  Benefit Code
  LI    ROURSPER WEEK

  U     DAILY1!OURS

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  LI    OVERTIME STATUS                         U     Exempt                U Non   exempt                    U    Exempt              C] Non   exempt

  LI    UNION CHANGE                            C]             U       YES                                    U    NO       LI   YESnamt
                                                                                                                                                     f’)
        APPOINTMENT TYPE
        Jflcationtrequired
                                                [Permanent
                                                Choose      One
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                                                                                                              Choose One                                   —




 BQUIRED1GNATURFS                                                                        ji
 Designee                       Prim Nvie                                            Signature

                              John W. Tobla
 Other Adminirative
 Ap?rovat       as required     Print Name                                           S!W


                                                                             Personnel Use Only



 Effective Date
                       L11    IILO fcY’’ Title Abbrev:_                                                        Salary Range       55.tL               -




Title   Code:                                DOP    Dept. Code: T130000_                       Agency #                                    Benefit Code:

 NJDOP ApptType:                i9d1J        ,gN’            Certth                        Symbol 11:                        Statute#:_______________

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 Page 1 of 2                    /c4)                                                                           (‘S      177       -Lz1)FORl: HR.U5
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                                                      JUSTIFICATION
                                                EMPLOYEE CHANGE OF STATUS
 C4tasesofpromotidns, rectassifications and/or salary increases, an employee must experience a permanent invrease in
 the scope and complexity of their position, without a corresponding decrease in other areas of responsibilities Justification must
 ciarIyideni’ md detail the neea for additional or higher level responsibilities and describe the specific, additional duties, skills
 and/or respvnibliitfes for the requested change of status, Please elaborate on how this request meets these requirements.

 Employee Name Robert Brlscoe             -
                                                                              Department DPW & Engineering/ B&G

      Employee meets the “Job Requirements” listed on the NJCSC job specIfication for this position or If no NJCSC job
 specification, meets requirement of posted job announcement, (Musi yrify nd chek)

 a.   Justification; (Must meet above crlteria)
 Mr. Briscoe has proven himself to have the knowledge, skills, and abilities to be a Crew Supervisor Bu’!ding Services.
 interviews were conducted Oivlslon wide and it was determined that Mr. Brlscoe was the best selection. Robert has
 experience in Trades & Building Services with the County. Supervisory and management experience from prior careers.


 2.    State the business impact if position is not filled Eg. Position is required to comply with siiffing requirements of an oversight
       ogency and/or position is essential to a mandatedprogram (provide program name) etc.
 N/A



 3. Describe the financial impact of flllln9 this position. An authorized table of organization must be attached to
    the request. Be sure to Include any employee status changes that are linked to this vacancy. E.g. John Smith
    retired as a Supervisor at a salary of $)(X,xxx, his vacancy was tiled by Jane Doe who received a salary increase of $Xxxx. Jane
    Doe’s vacancy was filled by Thomas Jones who recoivod a salary increase of $X. xxx and/ar by filling this position at a lower salary
    savings of xx has been achiever! Attech add/f ic’nal sheets as needed.
 The funds are available in the 2016 operating budget. See attached “Fina9ciai impact Justification’, dated April 1, 2016.




MPLOYLE VOLt.JTARY REOUEST                         i: Voluntary Demotion               D Voluntary Reduction in hours
 Request/Explanation as stated by employee:




Employee Signature                                                                              Date


Fge2 ot2                                                                                                          FORM HR-O5 312013
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                                                MoNnlolJ’rH CoUNTY
                                  DEPARTMENT OF HuMN RESOURCES
                                       On. East Main Street • Freehold, Ni 07728
                                          Ptrcrre 732.43173OO Fcv 732-43’7924

            Frank 3. Tragno Jr.
                OtHr, 4QVVG                                                        Føt h*rmatlon oontac$




     MEMO TO : Robert Briscoe

     FROM                  Frank 3. Tragno, Jr., Director
                           Via: Elizabeth Vollbrecht, Keyboarding Clerk 2          (I
    DATE                   April 21,2016

    As you know, on April 16, 2016 you were appointed to the position
                                                                            of Crew Superi4sor
    Building Services, subject to the satisfactory completion of a threemonth
                                                                              working test period
    (WTP).

    The WTP is regarded as a highly significant step in the selection process.
                                                                                  The successful
    completion of the WTP is a condition of your appointment. This proces
                                                                               s consists of a trial
    working period after regular appointment; during which time your supervisor
                                                                                      will systematically
    evaluate the perforaance of your actual duties, This evaluation is utilize
                                                                                d to determine if you
    merit permanent status. That is why it is very important that you understand
                                                                                     your responsibility,
    as well as your supervisor’s responsibility, to identif’ performance
                                                                         standards, expectations,
    conflicts as well as resolutions, etc. This ongoing mutual communicatio
                                                                                n between you and your
    supervisor will eliminate the surprise of an unfavorable evalu.ation and
                                                                              the possibility of being
    released from your position during or at the end of the working test
                                                                          period.

   Therefore, you will receive a written evaluation from your superv
                                                                     isor at the end of each of the
   three months, You should direct all of your questions regarding
                                                                    this evaluation to your
   supervisor and/or the next managerial level. Of course, the services
                                                                        of this Human Resources
   Department are always available to you.

   We hope that you find this a favorable work experience, one, which
                                                                      will maximize your potential
   to the County of Monniouth.

   FJT/ev

   C: R. Compton




                                   Monmouth County acrd of Chosen FreefloIdrs
                                             www.vsitmonmouth .com
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                                              MoNMoum COUNTY
                              DEPARTMENT OF HUMAN RESOURCES
                                     One East Main Street .Freohold, NJ 07)28
                                        Pt-one: 732.431.73C0 Fci 72.4.31-7924

           F,an1 J. Tragro, Jr.                                                    For nformatlon contprh
         t’e. O(Mj,,an occcos                                                   mc4nQnrq,owcso.71rno,thi);




    MEMO TO               Robert Compton, Superintendent

    FROM                 Frank J. Tragno, Jr., Director                                                      Lc)
                         Via: Elizabeth Vollbrecht, Keyboarding Clerk 2

   DATE                : April 21, 2016

   RE                  : Working Test Period      —   Three (3) Months

   The employee(s) listed below has been appointed pending the satisfactory completion of
                                                                                          a three
   month working test period.

                                                      Robert Briscoe

   The working test period is a highly significant step in the selection process. It consists of a
                                                                                                   trial
   working period after regular appointment during which time, performance, and conduct of the
   appointees re systematically evaluated by supervisors. This evaluation is utilized to determ
                                                                                                    ine
   if employees merit permanent status.


   It is required that the progress of probationary employee(s) be reported on the attached forms
                                                                                                  at
   the end of each 30 day period. Employees must be given a copy of the evaluation form as they
   are completed.


   Please note that the enclosed Working Test Period forms are not in triplicate. You will need
                                                                                                  to
   make two copies of each evaluation after completion (one for your files, one for this office, and
   the original to be given to the employee).


   Thank you for your cooperation in this very important administrative program, which is design
                                                                                                ed
   to protect the quality of public service.


   FJT/ev


   Enclosures

                                  Monmouth County Boad 0’ Chose’i Freer-oders
                                                           ____________________                                _____
                                                                                                                    _____
                                                                                                                             _____




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                                             COUNTY OF MONMOUTH
                                           EMQYEE PROGRESS REPORT
                                                3 M nth Workini Test Period
                                                                        3rd
                                                           2’’
                                                            (Circle One)

  To        : ROBERT BRISCOE                                          Date of Rating: 4116/2016 to 5/1512016
  Title     : CREW SUPERVISOR BUILDING SERVICES                       Department: B&G

                                                                           ABOVE          EXAMPLES REQUIRED FOR ABöF(
             FACTORS                       AVERAGE        AVERAGE     AVERAGE                    BELOW AVERAGE
            QUALITY:                                                                    .—    .t           -
                                                                                                                  --   —




 Accura:y, thoroughness,                                                                Adfl( -// /(
            QUANTITY:
 Volume of passable work                                                                                          /
    arLroed
       JOB KNOWLEDGE:
 Knowledge and understanding of

           AflNDANCE:
 Maintain level necessary to meet
LjesPO11siitie
           JOB ATTITUDE:
                                                                           V
 Willingness to do assigned work,
 interest, cooperation with others.
           WORK HABITS:
                                                                           V
                                                                                              /7DT- 13
 AdaptabilIty, safety, need for
‘supervision.
     COMMUNiCATION SKILLS:
                                                           V                                        t/         //      6{i1Jr741/i
                                                                                                                                            g
 Transmits knowledge & Ideas of
 position requirements.                                    /
  For the above rating period your performance is:           IirISFACToRY                  0 UNSATISFACTORY
  Supervisor’s recommendations: Behaviors you should do differe
                                                                ntly:                    /1’.4’ rE

       ‘   More of:
                                       //,f                              V         /

       .   Less of:


       Check if additional sheets attached

 SUPERVISOR’S SIGNATURE
                                                                                                   DATE:
 DEPARTMENT HEAD SIC
                  / _/
                       IA
                                                      -
                                                                c-L                                DATE:       5L/i
 My signature means that I have recejyad—ali r      wed this evalution bu              not Indicate my approval or disapproval of
 this evaluation. I understand

 EMPLOYEE SIGNATURE:                                                                               DATE:/(/(
                      Original   —   Employee    Copy— Department file        Copy — Personnel Department
                                                                                                                           HR-06 rev 9108
                                                                                       _____
                                                                                           ____
                                                                                             _
                                                                                               _____
                                                                                                    _____
                                                                                                    _____
                                                                                                          ____
                                                                                                             _____
                                                                                                                                      _




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                                           COUNTY OF MONMOUTH
                                        EMPLOYEE PROGRESS REPORT
                                           3 Month Wo Test Period
                                            1st                                     3rd
                                                              (   irc   ne


  To        : ROBERT BRISCOE                                              Date of Rating: 5116/2016 to 61i512016
  Title     : CREW SUPERVISOR BUILDING SERVICES                           Department: &G

                                             BELOW                         ABOVE          EXAMPLES REQUiRED FOR ABOVöW
               FACTORS                       AVERAGE      AVERAGE         AVERAGE                BELOW AVERAGE


                                                                             / ?7
              QUALITY:
 Accuracy, thoroughness,
 timeliness.
             QUANTITY:
 VOlume 01 passable work
rIroduced                                                                    V             ‘


                                                                                                         c.
                                                                                                               ffj //
         JO KNOWLEDGE:
 Knowledge and understanding of
Jsgpsibilities.                                              V
           ATTENDANCE:
Maintain level necessary to meet
job rospnslbiI1tios.
          JOB ATTITUDE:
                                                                          V                              —--




WiIlin9ness to do assigned work,                                                          w iñV7
Interest, cooperation with Others.
          WORK HAB1TS:
                                                                          V               If

Adaptability, safety, need for
supervision.
    COMMUNICATION SKILLS
Transniits knowledge & Ideas of
plon requirements.

 For the above rating period your performance is:                            FACTORY           Q   UNSATISFACTORY
 Supervisor’s recommendations: Behaviors you should do differently:
                                                                                   _2C—
     •    More of:                                                  1   ,(      f-u cti ç
                                       _7      ,,                                                                       ,



     .    Less of:


       Check If additional sheets attache

 SUPERVISOR’S SIQNATURE                                    4                 •—‘
                                                                                               DATE:
 DEPARTMENT HEAD S1G)J
                                               /L      -      S._-                             DATE:
 My signature means that have racelvedand u e ed this ova ation, but doos not Indicat
 this evaluation. I understand that I may atta
                                               -
                                                                                      e my approval or disapproval of
                                               a re ponse to th ratiny.
 EMPLOYEESIGNATURE:
                                                                                               DATE:
                     Original   — Employee         Copy—Department file        Copy— Personnel Department
                                                                                                                    IIR-06 rev 9?06
                                                                                                         ______      ______
                                                                                                           ________________




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                                              COUNTY OF MONMOUTH
                                           EMPLOYEE PROGRESS REPORT
                                                 3 Month Worknq Test Per]
                                                  jst                            3rd
                                                                     2
                                                                 (Circle One)


 To       : ROBERT BRISCOE                                                 Date of Rating: 6(1612016 to 7/1512016

 Title    : CREW SUPERVISOR BUILDING SERVICES                              Department: B&G

                                                BELOW                       ABOVE            EXAMPLES REQUIRED FOR ABOVE OR
             FACTORS                           AVERAGE     AVERAGE         AVERAGE                   BELOW AVERAGE                   -




             QUALITY:
Accuracy, thoroughness1
timeliness.                                                                      /
                                                                                             Vy            /-4
            QUANTITY:                                                                                      --5
Volume of passable work
regularly produced
                                                                                 V           C
        JOB KNOWLEDGE:
Knowledge and understanding of
job responsibilities.                                             V
           ATTENDANCE:
Maintain level necessary to meet
job responsibilities.
                                                                 V
          JOB ATTITUDE:                                                                                “7’
Willingness to do assigned work,
interest, cooperation with others.
          W6RK HABITS:
                                                                                 /               tr%          /Y            ‘ir
Adaptability, safety, need for
supervision.
   COMMUNICATION SKILLS:
Transmits knowledge & Ideas of
position requirements,

 For the above rating period your performance is:                  f1TISFACTORY                    UNSATISFACTORY

 Supervisor’s recommendations: Behaviors you should do differently:


      •   More of:
                                                                                     7
      •   Less of:


 fl   Check f additional sheets attache

 SUPERVISOR’S SIGNATURE:
                                    ,--.   /
                                                                  a                                         7/ /r
 DEPARTMENT HEAD SIq3LIE:                                                                        DATE:

 My signature means that I have recevedsni revIeWe1 this evaluation, but does not Indicate my approval or disapprovai of
 this evaluation. I understand taii iay atti a rponse to this rating.                                /        /
 EMPLOYEE SlGNATURE:(                              [                                             DATE:

                     Original   —   Employee        Copy   —   Department tile   Copy    —   Personnel Department
                                                                                                                    NR-08 rev 9106
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                                                MONMOUTH CourY
                                 DEPARTMENT OP HUMAN RESOURCES
                                        One East Main Strat • Freehold, NJ 07728
                                           Phcre; 72•4)73DO i-ox 73>4314c22                    •,.




              Frank 3. Trano, ,ir.                                                 FO
             r.crc$h&pnn (esores
                                                                                                     U



                                                                                        1 JUL 2 A
       July 19, 2016


      Mr. Robert Briscoe
      95 Neville St.
      Tinton Falls, NJ 07724

      RE: TJTLE: Crew Supervisor Building Maintenance Workers
          EFFECTWE DATE: April 16, 2016

      Dear Mr. Briseoe:

      It gives me great pleasure to officially advise you that you have satisfactorily
      completed your probationary period. You now have permanent status in your title
      effective April 16, 2016,

      The Board of Chosen Freeholders offers their congratulations and trusts you will
      continue to perform your present and any future duties in the same manner.



      Sincerely,


      Frank J. Tragno, Jr., Director
      Department of Human Resources

      By’.


      Elizabeth ollbrecht, Keyboarding Clerk 2
      Department of Human Resources

      Cc: R. Compton




                                     Monmouth Counti Board of Chosen lreeholdeis
                                               www.vlsitmonrnouth.com
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           EXHIBIT F
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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY


                                                  CIVIL ACTION
         LUTHER GRAHAM                       :    NO.    16-1578
                     Plaintiff,

                  V.

                                                  VOLUME       II
         MONMOUTH COUNTY
         BUILDING and GROUNDS
                and
         DAVID KRZYZANOWSKI
               and
         ROBERT W. COMPTON
               and
         CRAIG BELL
                     Defendants.




                                    OCTOBER      18,    2019




                                   ORAL    DEPOSITION OF ROBERT             COMPTON,
         before    Cindy D.    Liffman,     Professional            Court   Reporter
         and Notary      Public,    taken pursuant            to Notice     at   the
         Monmouth      County Hall    of   Records,       1    East Main     Street,
         Freehold,     New Jersey     07728,      commencing at         10:09     a.m.



                                R&K REPORTING, INC.
                            Court Reporting Services
                                    P.O. Box 1372
                          Levittown, Pennsylvania 19058
                                   (215) 946—7009




                                                                        I
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          APPEARANCES
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                 Two Greenwood Square
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                 Phone:  215—639—0801
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           -- Counsel for Plaintiff, Cross Defendant

           CLEARY, GIACOBBE, ALFIERI & JACOBS,                LLC
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                  P0 Box 533
                  Matawan, New Jersey 07747
                   (732) 583—7474
                  mweiss@cgajlaw.com
           --  Counsel for Robert W. Compton
               Defendant

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             BY:  DOUGLAS J. KOVATS, ESQUIRE
                  The Courts of Red Bank
                  130 Maple Avenue
                  Building 8
                  Red Bank, New Jersey 07701
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               Defendant, Cross Defendant

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                  P0 Box 1040
                  Asbury Park, New Jersey 07712
                  (732) 775—6520
                  Padams@campbellfoley. corn
           --  Counsel for David Kryzanowski
               Defendant, Cross Defendant, Cross                Claimant




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   1      REQUEST FOR INFORMATION

  2              Page/Line
                  319/24
  3       re:   Organizational chart

  4

  5

  6

  7

  8

  9

 10

 11.

 12

 13

 14

 15

 16

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 20

 21

 22

 23

 24




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  1       the    facility.

  2              Q.      It’s broad?

  3              A.      It’s very broad.

  4

  5                                          (Exhibit Monmouth-2,                     scoring

  6                          worksheet,            was marked for purposes                         of

  7                          identification and attached hereto.)

  8

  9       BY MR.       KROCKER:

 10              Q.      I    just placed a               document          in    front of          you

 11       marked Monmouth-2.                      It    has    several pages                at    the   top.

 12       Its    designation               says    document          78,    page      43     of    171.

 13       It    runs    consecutively to page                        52    of    171,       the    same

 14       document,          78.       Do    you       recognize          this    document?

 15              A.      Yes.          I    do.

 16              Q.      What      is       your understanding of                     that document?

 17              A.      It’s      a       scoring worksheet                for the position of

 18       crew    supervisor building                     services.

 19              Q.      It’s      from 2016.                 At    least       the   top left

 20       corner?

 21              A.      Yes.          It was.

 22              Q.      Do you            know    if    you       created this             document?

 23              A.      I    didn’t         create       the document.                 I    created the

 24       data    inside       the         document.




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Phone:   215-946-7009                                                           rkreporting@gmail.com
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                                                                                                      [Page 251]


  1              Q.      So       the       first page         of,    at    least          from       the

  2       template       first,             right?

  3              A.      Correct.

  4              Q.      All       right.          You    see       there’s       a column             B,

  5       percentage points.                      Do   you     see where          I    am?

  6              A.      Yes.

  7              Q.      It       says percentage and points.                                  Did    you    set
  8       those values?

  9              A.      Yes.           I   did.

 10              Q.      What       did you base               those values                on?

 11              A.      I       can’t      recall       exactly at this                   time.        When       I
 12       created this back in                     2016,       there was,             those          are how

 13       I   weighed each              section.

 14              Q.      What       you      thought was more                important,                right?

 15              A.      Yes.           I   would clarify that                for          sure       but    I

 16       made each decision                   for the         reason.        I       don’t          remember

 17       exactly the parameters                       why but        I    can’t       say the word

 18       important.

 19              Q.      It’s       a weighting;               is    that    correct?

 20              A.      Yes.

 21              Q.      Turn to            the    next page.              What       is       this    page?

 22              A.      This       is      just an       internal paper                   I    had    so    I

 23       make    sure       I   follow,          gives      somebody a working agenda

 24       when    I   interview each person.                          I    follow this                same




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                                                                                              [Page 252]


   1      format.

  2              Q.      So that          it’s      sort of             standardized?

  3              A.      Yes.

  4              Q.      Would you agree,                        it’s   off a    script,      right?
  5              A.      More       or    less,         I    touch on each thing,              yes.
  6       don’t       say a    script.

  7              Q.      You    keep          it   as       standard as possible?

  8              A.      Yes.

  9              Q.      Turn to          the next page.                  Now,    on page      1    of
 10       your    interview report,                     top       left and page      1   of    8.        Do
 11       you    see where          I    am?

 12              A.      Yes.

 13              Q.      So these were                  the questions            for the
 14       interview,          correct?

 15              A.     Yes.

 16              Q.     You wrote those questions?

 17              A.     No.

 18              Q.     Who wrote those                      questions?

 19              A.     I    have        no    idea.          I    selected them out of             the
 20       database but          I       didn’t     author           them.

 21              Q.     I    understand.

 22             A.      I’m sorry if               I        confused you.         Sorry.
 23             Q.      No.         I    appreciate               it.

 24                         What        database        did you          select them out of?




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                                                                                              [Page 253]


      1           A.      The       county interview database                     for
  2        interviews.

  3               Q.      Just take               a    second    for you to       review the
  4        first       two questions                  on this page.        Let me       know when
  5        you’re       ready.

  6               A.      Okay.

  7               Q.      So the         first question,                generally,          you take
  8        notes       during the            interview          itself?

  9               A.      I    make minor notes.                   I    don’t write
 10        everything.

 11               Q.      Do    you      take any notes                after    the    interviews
 12        to    your    recollection?

 13              A.       No.       I    do not.

 14              Q.       There         is    a       rating    system here.           Do    you give
 15        the   rating during the                      interview itself?

 16              A.       Yes.

 17              Q.       Do    you do            that     immediately,         the questions
 18        and answers?

 19              A.       I    do   it while the                questions       are being
 20        answered.           It’s      an       interactive process             in    talking to
 21        applicants          so   sometimes people might pause                            and might
 22        think the question’s                       over and then add additional

 23        stuff,       go completely                 in   a different direction.                I
 24        might modify it during the                           time but       at the end of




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                                                                                                 [Page 254]


  1       that question,                they have       a    score.

  2              Q.      Do       you ask any          follow    --    do you generally

  3       ask    follow up questions                   as well    or    --




  4              A.      Well,          yeah.

  5              Q.      Do       you ask any follow up questions?

  6              A.      When you             say    follow up questions,                   after all
  7       the    questions          are       done?

  8              Q.      Well,          letTs       do both.     The original

  9       questions,             do you       ask    follow up?

 10              A.      It could lead to                   a question       I       need

 11       clarification on.                    It’s    an interactive                conversation

 12       when    I    ask       the question.              Depending on             that

 13       question,          a    lot    of    times    they provided an example.

 14       I   might ask           for clarification.              At the             time,       I make
 15       small       notes.        It’s       far    from a    recorded conversation.

 16       I   just     jot       it down       for my own       records.

 17              Q.      The notes             are    fairly informal?

 18              A.      Very.           I    was    never advised that                I    had to

 19       document every word or they’re                         definitely not

 20       recorded.              It was very          short    notes   I     would put down.

 21              Q.      Of      these,        going back to page                1    of    8    of the
 22       interview report,                   question one       asked about                an

 23       analysis       of a problem,                right?

 24              A.      Yes.




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  1              Q.       So       you would make               your decision based on

  2       their answer and your                       subjective               opinion of         that?
  3              A.       It would be up to my                        --       it would be         my
  4       decision.               If,    I mean,       I    was      interviewing

  5       candidates,              I    guess my opinion                  is    that    if the      answer
  6       was    on   a   score          zero to       three,         I    would score.

  7              Q.       It       seems    that based on                  the    italicized answer

  8       one,    that        you’re       trying to            get       a measure      of       the
  9       interviewee’s                 character on this                  question?

 10                                         MR.       WEISS:          Objection         to    form.
 11                           You       can answer          if you understand.

 12                                         THE WITNESS:                   That    answer         one   is
 13                           not mine.              That    comes         from the      database.
 14                           That’s what             they      -—    when       they   --    I    might
 15                           have my own             opinion,            every one.          I    mean,
 16                           I    read the question and I                        knew what         I
 17                           was       looking       for and chose               the question.

 18                           I’m sure          I    was    not      focusing on         that
 19                           answer alone.

 20       BY MR.      KROCKER:

 21              Q.       I       see.

 22              A.       Because          that might match that up.                              It all
 23       depends     on          the questions.                I    believe       there’s        over 20
 24       questions.               I    don’t       know exactly.




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  1              Q.      For these analytical questions,                                 were    any of

  2       them based on an                objective measure?

  3                                        MR.       WEISS:        Objection.

  4                                        THE WITNESS:                 When    you      say    --




  5                          what       exactly are             you questioning me               when

  6                          you    say objective?

  7       BY MR.       KROCKER:

  8              Q.      Were       any of       them not based on                  your       opinion

  9       of    the    answer given by an                      interviewee?

 10             A.       I    believe every answer                      in    the   interview

 11       would be up             to my    interpretation trying to get                              a

 12       sense how they would be                      in       the position,            right,

 13       trying to get             a    sense,       correct.           You    can      say    that.
 14       How they would react                   in a       certain          situation.

 15             Q.       Okay.           Page    2    of    8,    the    top    right corner,             do
 16       you    see   that?

 17             A.      Next page,              yes.

 18             Q.      Question           three,          is    that    asking about            a
 19       specific       situation and how they would respond,

 20       right?

 21             A.      Question           three,          you    said,      under       teamwork?

 22             Q.      Question three,                    yes.     That       is   an    example        of
 23       you considering how they would respond to                                       a    similar

 24       situation          in    the    job,       right?




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  1            A.        Yes.

  2            Q.        When you do          interviews,         were       you always
  3       alone     in   the    interview here?

  4            A.        Clarify.

  5            Q.        Are    you always       the      sole    interviewer?

  6            A.        Can you be more             specific?

  7            Q.        Is    there    --    were    there any situations                in
  8       which you had another person                     sitting in on the

  9       interview apart          from you          and the      candidate being

 10       interviewed?

 11                                     MR.    WEISS:       Objection.

 12                                     THE WITNESS:             Are    you talking
 13                       this    interview or other               interviews         in,
 14                       over my       30    years      career?

 15       BY MR.    KROCKER:

 16            Q.        Interviews          over your      30    year career?

 17            A.        Many are done myself.                   I’m by myself.

 18            Q.        Are    there    other       interviews         where    there      are
 19       other people with             you?

 20            A.        It all depends          on what         job we’re       actually
 21       trying to       fill    a posting          for versus         --   it all

 22       depends.

 23            Q.        So    you would have,           for example,           another
 24       person to evaluate             the candidate            in    terms    of   a




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  1       specific          area?

  2                 A.      Kind of,          yes.           If    it was          an    electrician,                 I
  3       don’t have          knowledge             of electrical.                       I’m not        an
  4       electrician so             I    would not be                      interviewing a              person
  5       on    that one.           I might          sit          in    on       that    interview.               I
  6       wouldn’t          take the          lead on             those          questions.

  7                 Q.      Because       you don’t have                         the experience              in
  8       that       specific area?

  9                 A.      I’m sorry to             step over                   you.     Discipline,
 10       right.

 11                 Q.      Were    there       any other                   situations         apart         from
 12       specific          knowledge          of,       discipline                or area         in   which
 13       you would have another person                                     as    an    interviewer with
 14       you?

 15                 A.      There,       if    there          is       availability,               yes.       I
 16       just       interviewed,             like       I    said,          20 people         this       year.
 17       They were          going to be working in building services

 18       50    I    had building             services             general             supervisors           sit
 19       in.        When    they’re available,                         I    have       one   of    them sit
 20       in.        There’s multiple but                      I       conduct          the   interview.

 21       I    did the       evaluation.                 I    did the            score.

 22                 Q.      Would you          consider having another

 23       interviewer with you                      if       you had a personal

 24       relationship with                   the    interviewee?




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   1                                MR.    WEISS:                Objection.             You       can
  2                     answer.

  3                                 THE WITNESS:                    A personal

  4                     relationship?               If       I   felt       I    was going to

  5                     be biased or           if       I    was    going to be

  6                     negative     against                someone,            yeah.    I    would
  7                     remove myself but                    I   never had to do

  8                     that.

  9       BY MR.    KROCKER:

 10            Q.     You would remove               yourself entirely?

 11            A.     From the      actual          interview process                    if       I    felt
 12       necessary.       That never happened.                         I       would have            to
 13       address    that when      the    time             came.

 14            Q.     Did you      say 30      year career?

 15            A.     32   years.

 16            Q.     And that      32    year career,                  you never

 17       considered yourself to have                        sufficient bias                 to
 18       remove yourself         from an      interview?

 19            A.    No.     I    have    not.

 20            Q.     In   your entire         career?

 21            A.    Nor has       anyone      asked me              not        to do their

 22       interview.

 23            Q.     If   they did,       I   assume              it depends           on the

 24       situation?




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  1                                       MR.   WEISS:       Objection.

  2                                       THE WITNESS:         I    believe    I    would
  3                         accommodate whatever the                 request would

  4                         be.

  5       BY MR.      KROCKER:

  6             Q.         In   your mind,       when      you’re    interviewing
  7       someone,         what purposes         do you have         for the

  8       interviewing apart               from seeing how they would react

  9       to   situations          that will         come up   in    the   job?
 10                                       MR.   WEISS:       Objection.

 11                                       THE WITNESS:         Can    you clarify
 12                         that better         so    I   can understand where

 13                         you’re    going.

 14       BY MR.      KROCKER:

 15            Q.          Sure.     So we      talked a bit         about    one       specific
 16       question,         teamwork,       question       three     in which       I    asked
 17       about      the    interviewee dealing with a belligerent

 18       person?

 19            A.          Yes.

 20            Q.          And as    an    interviewer,        that helps          you
 21       understand how the               candidate would react             to that
 22       type of      situation,          right?

 23                                       MR.   WEISS:      Objection.

 24                                       THE WITNESS:         In    theory,       in    that




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   1                    situation but when                I    do all      the
  2                     questions,       I    always          let people         know that
  3                     if they don’t have                something to relate

  4                     to   their current              job or previous            job,
  5                     they can give me                an example         that    can
  6                     explain the          situation          similarly.          That
  7                     is part    of    the    interactive process                  of me
  8                     explaining       it.

  9       BY MR.     KROCKER:

 10             Q.     Did you    consider the                candidate’s manner            in
 11       responding to        your questions?

 12             A.     When you    say manner,                in what way?          What are
 13       you   looking for?

 14             Q.     Tone,    length of       response?

 15                                MR.       WEISS:           Objection.

 16                                THE WITNESS:                 I   never   cut
 17                     somebody off during their answer.                            I    let
 18                     them speak       clearly and when they’re

 19                     complete,       then    I       move    on to the         next
 20                     question.        I    do not       rush them or

 21                     pressure    them to give me                 an   answer.
 22       BY MR.     KROCKER:

 23             Q.     If you    can turn to             interview report page                  78,
 24       top of     the document    78,       page       51   of   171,    are     you




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                                                                                          [Page 262]


      1    there?

      2              A.      I    believe       it’s   one    here.

   3                 Q.      Page    78    at the      top    right?

   4                 A.      Yes.

   5                 Q.      Okay.        The   copy’s       not great.       I   apologize
   6       for       that.        We’ll probably see              that,    clearer copies
  7        in    a    second but          it appears         that   the    question,          the
  8        top question one                approximate position requires                       two
  9        years          experience work          involving        inspection.           I
 10        believe          all    cleaning and general maintenance                       and
 11        goes       on.        That’s   difficult          to   read but do       you       see
 12        that?

 13                  A.      Yes.

 14                  Q.      Did I    approximately read that                 right?
 15                  A.      Yes.     You did.

 16                  Q.      And so this         is    looking      for    specific
 17        experience,             right?

 18               A.         Yes.

 19               Q.         Now,    that’s a more           objective measure of

 20        someone’s          qualifications,            right?

 21               A.         Yes.

 22               Q.         For this position,              did you       consider
 23        experience             that was outside           of working       for   the
 24        county?




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  1                 A.      Yes.

  2                 Q.      Do    you    always       look at any experience                        they
  3       provide?

  4                 A.      Any experience they provide at the

  5       interview,             yes.

  6                 Q.      Would you give more weight                           to experience at
  7       the       county specific,               relevant to             an    area?

  8                 A.      Yeah.        I    wasn’t      --    I       didn’t    care    20    years          or
  9       two years.              It    required two years.                      As   long as        you
 10       have       two    years.           That’s what            I    mean    objectively.

 11                 Q.      Even if          it was      for another employer?

 12                 A.      Yes.

 13                 Q.      Did it matter             if the work was volunteer?

 14                 A.      No.        It wouldn’t.

 15                 Q.      Would it matter to                  you       if    it were mixed with

 16       other          job duties?

 17                 A.      Job duties,            all   specific,              giving a very

 18       broad example                kind of hard            for me to          answer.
 19                 Q.      I    guess my question                  is with       regards       to
 20       giving a          score       on question            one here          on page       7,    if
 21       someone had the                two   years      of experience,                 would that
 22       be    a    one,       two,    three?

 23                                          MR.   WEISS:               Objection.

 24                                          THE WITNESS:                 To    also,    back to




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      1                      the    interactive process                the way they
   2                         described their two                years     of experience,
   3                         what    they did,       what       their
   4                         responsibilities were whether they                        met
   5                         the    requirements.

   6       BY MR.      KROCKER:

  7               Q.     That would determine what their score,                               how
  8        to    determine their           score.         If they didn’t have             the
  9        two years,         it would be        a   zero?

 10              A.      I    believe      so,   yes.

 11              Q.     You        can   review that.            Correct me       if   I’m
 12        wrong but my understanding                     is    that there’s       two
 13        questions         at    the   end of this           sheet    that refer       to   a
 14        specific     required experience and required experience

 15        section;     is        that   correct     to    your understanding?
 16              A.     Yes.

 17              Q.     So        approximately 20             questions.     I   don’t have
 18        the   exact number but            only two questions              on    specific
 19        required experience,              right?

 20              A.     Well.

 21              Q.     Co back to         the very            first page of      the
 22        exhibit.

 23              A.     Yes.

 24              Q.     Required experience,                   he   got   zero points,            2.0



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      1    percent of        importance,         right?

   2             A.        Yes.

   3             Q.        Could a person be           qualified without                 a good
   4       score      in   required experience            for    this position?
   5                                     MR.   WEISS:      Objection.
   6                                     THE WITNESS:           Can    I    clarify your
  7                         question,      the    first question?                When     you
  8                         asked me      that,    I   didn’t       answer clearly.
  9                                      MR.   KROCKER:         Sure.
 10                                      THE WITNESS:           You    said there’s
 11                         only two questions            for experience.
 12                         There’s      three    and you       spoke       about       all
 13                         three.       My mistake.        Just       a
 14                         clarification.

 15                                      MR.   KROCKER:         Thank you.
 16        BY MR.     KROCKER:

 17              Q.        First    is   the   learning,        for example,             a person
 18        can   learn      the    job duties     on the        job,       right?
 19                                      MR.   WEISS:     Objection.
 20                                      THE WITNESS:          It     all    depends          on
 21                         the person.

 22        BY MR.     KROCIKER:

 23              Q.        But with      regard to this position,                   a   crew
 24        supervisor building             services      for     2016,      it   seems




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  1       their      required experience                in   cleaning was            about    20
  2       percent      --




  3                                    MR.    WEISS:         Objection.

  4                                    MR.    KROCKER:            --    of the       score,

  5                         right?

  6                                    MR.    WEISS:         Same       objection.

  7                                    THE WITNESS:               Yes    and no.          That

  8                         category of       the   three questions,                  yes.

  9                         It’s    20 but    the whole           interview itself

 10                         is    around a    crew supervisor position.

 11       BY MR.     KROCKER:

 12             Q.     So        you’re making the decision                    yourself as         to
 13       the   candidate wholistically.                     Is    that accurate?

 14                                    MR.    WEISS:         Objection.

 15                                    THE WITNESS:               My job       is    to
 16                         interview,       is   to determine            if    the person

 17                         can do    the    job and score              them,       to do    the
 18                         job    I’m looking for them to do.

 19                                    MR.    KROCKER:            All    right.

 20

 21                                     (Exhibit Monmouth-3,                   Interview

 22                     Acknowledgement             Form,         was marked for

 23                     purposes        of    identification and attached

 24                     hereto.)




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      1

   2       BY MR.        KROCKER:

   3               Q.         I    placed a document                      in    front of you            marked
   4       Exhibit Monmouth-3.                           Take    a moment            to    review       it.
  5        Let me        know when             you’re          ready.

   6              A.          I’m ready.

  .7              Q.          That       is marked at                the       top document            78    page    3
  8        of    171.         Then runs             to page          5    of    171.       Do    you
  9        recognize              this    document?

 10               A.          Yes.        I    do.

 11               Q.          What do you understand this                                 document          to be?
 12               A.          This       is    an       interview acknowledgement                           form
 13        saying the person was                          interviewed and acknowledged

 14        that they sat down with me                                so    they      sign off          on    it.
 15               Q.          Was    there          a    time    limit          for the         interview?
 16               A.          I’m not          sure       your       question,            time       frame that
 17        I    have     to       interview the people within?

 18               Q.          Sorry.           Here,          first       one    says      last name
 19        Cahoon.            You    see       it over          on the          right.          It   says
 20        time,        8:30.        Do       you       see    that?

 21               A.          Yes.

 22               Q.          That was          the       start?

 23              A.           Yes.

 24              Q.           And then          the       next       one,       it   says    time,          9:15?




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      1           A.      Yes,    Charles             Lorigo      started at          9:15.
   2              Q.      Right.        So were             these       scheduled for            specific
   3       times?

   4              A.      We attempted to.                       The problem is            I    have
  5        several people             coming from several                      different
   6       facilities.           We    did put a time down but                        also       at any
  7        time,       one person’s          interview can be held up,                           started
  8        late    or ahead.           If    they’re there                early,      they might
  9        be   pulled in earlier.                     If    I    have    an    emergency,               I
 10        automatically or             issue          arises          that a    superintendent
 11        --   they might get              to    leave          10,    15 minutes but               I       have
 12        people,       it depends          on,       for example,             two people are
 13        coming      from one        facility,             I    scheduled them back to

 14        back and one person might be waiting on the bench

 15        outside while the other one                            is    being questioned so
 16

 17               Q.     You     said before                you wouldn’t cut off                     an
 18        interviewee,          right?

 19             A.       No.      I    would not.                Right.

 20             Q.       Correct me              if    I’m wrong but based on                        this
 21        document,      it     seems      like        interviews             for a position
 22        took place on the             22nd of March                   of    2016   to       the       23rd
 23        of March 2016          and the             24th of March             2016?
 24                                      MR.          WEISS:           Objection.




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  1                                       THE WITNESS:                   Yes.        That    is my

  2                      recollection,               understanding.

  3       BY MR.      KROCKER:

  4              Q.     When did you make                        the decision as             to who          you
  5       would choose         for       the opening?                  What     are    the       options?

  6              A.     Right          after the         interview,             I    did the       score

  7       sheets.       Then       I    completed the paperwork.                            And    I

  8       would say within a week,                       I       had them all          ready.           At

  9       the    same   time,          other managers                  in my department were

 10       interviewing people                  and completed theirs also.                               They

 11       all went up         together          I   believe by April                   1st.

 12       Somewhere      around there all                        the   selections           in    one

 13       package.

 14              Q.     Who    is       they?

 15              A.     All    the people            that were             selected for this

 16       position,      crew          supervisor building                    services,           three

 17       people were promoted Lou Bellardino,                                      Kevin Baxter

 18       and Robert Briscoe.                   Those            three    employees          change          of

 19       statuses went up.

 20                            There’s          also         a    senior plumber,                senior

 21       electrician,         public works                  repair       and assistant

 22       supervisor,         building          services.                There might have

 23       been    one   or    two people            in       each one         of     the

 24       categories.          I       don’t    remember exactly.                      It    all went




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  1       up,     senior      security guard,                      all went up together.

  2                              So       to    answer your question,                        clarify your
  3       question,        that would be physically impossible                                          for me
  4       to     conduct      all     those       interviews.                      We    had multiple
  5       people      conduct         them.           Everyone            did their          scoring.
  6       tallied up the              score       sheets            and they all went                   down
  7       as    a package.

  8              Q.      How about              the crew supervisor building

  9       services position?                     You          reviewed your               score    sheets
 10       after the        interviews             to make            a decision?

 11              A.      Yes.         I    reviewed them.                      I    put them in         the
 12       computer which then punches out                                  a       score.

 13              Q.      Then        you       take       the highest               candidates?

 14              A.      Yes.         I    do.        This         time    I       took,    there’s       12
 15       candidates          I believe.                  I    took the            top three       to   fill
 16       the    needs     of    the       organization at                     that time,          of the
 17       department,           not       the    organization.                      I    apologize.
 18              Q.      It’s        fine.        You          recall      Luther Graham

 19       interviewed for                 that position,                  crew supervisor

 20       building       services?

 21              A.      Yes.

 22              Q.      What do           you    recall           about           the    interview?
 23              A.      As     of    today,          I       remember he was,               his    score
 24       was,    what    I     reviewed his                   score was            closer    to    the




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  1       bottom than        the       top.

  2             Q.     Why was          that?

  3             A.     I    guess       the way he         scored,       answered.                 From
  4       the way he        answered the             questions.

  5             Q.     What do          you    recall      about his manner                   at    the
  6       interview,        if anything?

  7             A.     It was          civil.        To be honest,         no    issue.              He
  8       was   not uncomfortable at all.                       Neither was              I.

  9             Q.     You’re          familiar with Luther              Graham,              correct?
 10             A.     Absolutely.

 11             Q.     Are       you    familiar with his work at                        all?
 12             A.     I    know he       is    an    electrician.          As       I

 13       previously said,              I’m not       an electrician            so       .




 14             Q.     Were       you    aware       of any complaints               of

 15       discrimination made by Mr.                      Graham at      that point                on
 16       the   22nd of March            of    2016?

 17                                      MR.    WEISS:        Objection         to       form.

 18                        You   can     answer.

 19                                      THE WITNESS:           As   I   previously

 20                        said,       there was       some     stuff going on but

 21                        it wasn’t between Mr.                Graham and               I    so
 22                        was   not uncomfortable at                all.

 23       BY MR.     KROCKER:

 24             Q.     What were          you    aware     of   to   your       recollection?




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   1             A.        There were         investigations                   that were          going
   2      on.        Some were        completed.                  Some weren’t.             I    was    not,
   3      my recollection,              best way              I    can   say wasn’t between
   4      Luther and           I    at that     time,             at   any time.        We       still
  5       have       a   relationship.             We’re very cordial                   to each
  6       other.          We never had an            argument,                never an          issue.       I
  7       felt comfortable              to    talk to              Luther.       And    I       thought
  8       he    felt      comfortable         to    talk to me.

  9              Q.        You didn’t         consider having another person to

 10       do the         interview?

 11              A.        I   didn’t    think       it necessary and I                         guess Mr.
 12       Graham didn’t at the                 time because he didn’t                            request
 13       it.

 14              Q.       Did you       consider          having another person                         in
 15       the    room for the           interview?

 16              A.       No,       because    I    didn’t             have    anyone       in    the    room
 17       for any of those              interviews.

 18             Q.        Did you have             any involvement with the

 19       investigations              that were       ongoing at that point                         that
 20       you    referred to?

 21             A.        At that       time,       no.           I    did not.
 22             Q.        How were you             aware          of them?

 23             A.        There was          some closure document                      and I       don’t
 24       remember exactly.                  It was       several             years   ago but




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  1       there was            a    complaint made by Luther’s boss                           and
  2       there was            some    interaction handled by FIR and                          other
  3       people.          I       wouldn!t be             involved in the

  4       investigation.                This was             a      separation between

  5       Luther’s         entire crew not                   just him from their

  6       immediate            supervisor.                 There’s         another general

  7       supervisor overseeing that                                crew but    it did not

  8       create      an       issue.

  9              Q.        Who was         the        general         supervisor?

 10              A.        Which one?

 11              Q.        The one         you        just       referred to      that oversaw
 12       Luther’s         crew?

 13              A.        At that         time        I   think there was             a    transition
 14       from Craig Bell               to       Jim Shirley but               that was       at the
 15       direction above me.

 16              Q.        During their                investigation,            who was       above
 17       you?

 18              A.        I   believe Kevin Burk might have been

 19       involved.            He was,           he   had multiple             titles.        He was
 20       HR director              for a while,              deputy administrator.                  He
 21       was    involved and a                  few other people,               the
 22       investigation but                  .   .




 23              Q.    Were          you aware             at       that   time Mr.        Graham made
 24       a   complaint            about     the promotion                 in particular?




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   1            A.        I       know there was,                       I    don’t      recall exactly.

  2       might before              --       I       think     I       found about           it afterwards.

  3       I   know   it       --    at that              time,         my recollection was

  4       mainly his              superior had an                      issue with the                  county and

  5       there was           a    complete              investigation but                    I    was       kind of
  6       removed out of                 it.

  7             Q.        When       you             say his       supervisor,               are       you

  8       referring to Aaron Kinney?

  9             A.        Yes.           I       am.

 10             Q.        Was      there             any other               knowledge        you have             about
 11       Mr.   Graham’s           complaint                  at that point                 that you

 12       haven’t     already testified to?

 13             A.        Nothing                I   haven’t mentioned either today or

 14       at my previous                 deposition,                   no.        I   don’t have             any
 15       other recollection.

 16

 17                                                  (Exhibit Monmouth-4,                     Job Posting
 18                        Application,                       was marked for purposes                          of
 19                           identification and attached hereto.)

 20

 21       BY MR.     KROCKER:

 22             Q.     I      just placed a document                                  in    front of          you.
 23       It’s marked as Monmouth-4.                                        The   top      says    case       number
 24       document,        78,      page             6   of    171      through page               8   of     171.




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   1      The bottom right                    says    Defendant’s Exhibit-B.                 Do    you
  2       recognize              that document?

  3                A.        Yes.        I    do.

  4                Q.        What do you understand that                      document       to
  5       contain?

  6                A.        After       I    posted the position,             Luther
  7       responded to              the posting,             submitted by the deadline.

  8       There         it   says he          submitted it March             6th at    5:55       a.m.
  9       on March           11th.           I’m sorry.

 10                Q.        That’s          fine.        Did you    review the
 11       applications              as       they came       in?

 12                A.        No.     I       didn’t.

 13                Q.        Did you          review them all          at    once?
 14                A.        I   didn’t        review these          applications.

 15                Q.        You haven’t             --   you didn’t        review them at
 16       all?

 17                A.        No.

 18                Q.        Did someone else                review them to your

 19       knowledge?

 20                A.        No.     All       that happened was             that Cecelia
 21       Thomas,        my assistant gathered them all,                         put    them all
 22       in   a    folder         for me       and assisted me with the

 23       interviews.

 24                Q.        Would you          review the          applications       in   advance




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      1    of   the         interviews?

   2              A.          I    wouldn’t        review these               applications,                no.
   3       wait        on    the    actual    interview.

   4              Q.          So you wouldn’t have                      considered it at all?

  5               A.          No.

   6

  7                                           (Exhibit Monmouth-5,                        Scoring
  8                               Worksheet,       was marked for purposes                            of
  9                               identification and attached hereto.)

 10

 11        BY MR.           KROCKER:

 12               Q.          I’ve placed a document                      in       front of       you
 13        marked Monmouth-5.                  At the             top    it    says       case    number
 14        document           78,    page    127    of    171.           Then       it    runs    through
 15        page    135        of    171.     I’ll    represent                to    you    it    runs
 16        through consecutively.                        Do       you    recognize this
 17        document?

 18               A.         Yes.

 19               Q.         What do        you understand this                      document          to be?
 20               A.         A scoring worksheet                    created for Luther

 21        Graham off the              results       of his questions.

 22               Q.         As we discussed,                 you       filled this             out   during
 23        —-   well,        strike        that.

 24                           Turn     to    the    second page                of    the exhibit.                It




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      1    says        interview report                   on    the   top    left then on page                1
  2        of    8     on the           top right.             Do   you    see    that?
  3                  A.        Yes.

  4                  Q.        So       on   the    interview report,               these were          the
  5        notes          and scores           your took down during the                          interview
  6        of Mr.          Graham,           correct?

  7                  A.        Yes.          Personal          notes,      correct.
  8                  Q.        And as we discussed,                       you made     these        scores
  9        immediately                  following when              you    thought Mr.            Graham
 10        was       finished his              response on each question,                          right?
 11                  A.        Yes.          All    these       scores were definitely

 12        tallied when Mr.                    Graham was present.

 13                  Q.        I’m going to               go    through these with you.                     The
 14        first question,                    analytical.             Just       review the
 15        question            and your notes.                   Let me      know when            you’re
 16        ready.

 17               A.           I    did.       I    just need to            focus.        I   apologize.
 18               Q.           Okay.          Could you          read out        your handwritten
 19        notes          to   question            one and answer one?

 20               A.           Barely not because of my sight because                                   I   was
 21        scribbling.                  Once       again,       these are        not documents
 22        that       I    thought were              --       would ever      --   the way          I
 23        process when talking,                          a    lot of times        I   just write
 24        the    notes            so    I   have    an understanding.                 So     I   wasn’t




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   1      --   but     I   think I          review,             learn      from the       review and
  2       then gave            an example             of the         doctor,       his    license,
  3       looks       like protect ability.

  4              Q.        What do          you recall               of Mr.       Graham’s         response,
  5       if anything?

  6              A.        I    don’t       remember the                  exact details.                As    I
  7       said,       it’s      an    interactive process.                         Mr.    Graham
  8       definitely said more than                             those eleven words,

  9       whatever but               it’s       an    interactive process                  for me            to
 10       --   his     answers.             I    don’t believe he provided,                             for
 11       example,         didn’t believe he provided a                                 situation,
 12       provided an            example,             explained to me                  about   a       doctor
 13       with a       license but               I    don’t         recall    exactly.             It was
 14       years       ago that we were                     --   had this          conversation               so
 15

 16              Q.        Do    you      recall           a particular            reason that you
 17       gave      him a       score       of       one    for      that question?

 18              A.        Like      I    said,        it was         a   conversation.                 So    for
 19       me   to     know exactly every word he                             or    I   said,       I    don’t
 20       remember         exactly.

 21              Q.        That’s         fine.

 22              A.        I    gave him a             one      as    a   result.

 23              Q.        I’m exploring your                        recollection.

 24              A.        Okay.




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      1           Q.         The     next question,                      do you have          any specific
   2       recollection             of his                response        to    that question?

   3              A.         The    question was                       tell me    about a       recent
  4        project       you       received.                 What        are    some    of the    things
  5        you do?           He provided me with an                             answer,       review,
  6        study qualifications and explained to me                                            that    he
  7        follows       the Electrical Code                            and sometimes he              does       a
  8        rough draft             on paper.

  9                                 He          didn’t give me,                 from looking          here,          I
 10        can’t,       my       recollection,                   he    failed to provide              me    a
 11        recent project.                       He was          just giving me           his
 12        methodology             so       I    gave him a one.                  I    believe but          I
 13        can’t       confirm,             he       gave me a methodology on how he

 14        would do          it but             he    didn’t give me a                 real   life
 15        example.

 16               Q.         I    don’t want you                      to guess.         What you       recall
 17        or don’t          recall.                 If    you don’t           recall,    you can just
 18        say    I    don’t       remember specifically.

 19                              Just       see       if    this       refreshes        your memory.
 20               A.         Okay.              Well.        I   just want            to answer       you       as
 21        best       and accurately as                      I   can.

 22               Q.         I    appreciate                that.

 23               A.         It’s       a       little hard to             answer the           question
 24        almost       four       years             ago.




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   1             Q.        I    understand.              See    if we       can approach       this
  2       in    another way.                If    you    turn    to,    it    says page       130   of
  3       171    at   the top?

  4             A.         Yes.

  5             Q.         These questions                relate to          leadership,       right,
  6       these two            on this       page?

  7             A.         Yes.

  8             Q.         What       do    you    recall       about Mr.       Graham’s
  9       response         as    to    leadership,             if anything?

 10             A.         Without          looking at          the page,       I   would have        no
 11       idea.       Do       you want me          to    review it?

 12             Q.         Yeah.           Please       review it.

 13             A.         Let me          see.     For    clarification,            before we
 14       say about            leadership,          there was          three questions

 15       here.       It was          a duplicate          one,       was    removed.     I
 16       believe everybody was                     given       the    same    score.     I
 17       forget that.                There was          a duplicate question            here.
 18       Everybody just got                  the    same       score       for the question.
 19             Q.         Thank you.

 20             A.         The question was               have        you ever      tried to do a
 21       job which            you were unqualified?                    How did you      react
 22       at   the    time?        What was          your      --     how you were      going to
 23       accomplish your                  task?     He   responded           I’m a book
 24       person.          I    read to be          familiar,          educate myself prior




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      1    and mainly,          I put parenthesis                over here,           he does
   2       research       first,          something I        gathered talking                to him,
   3       what he was          saying.           He   failed to      identify a             job,       my
  4        recollection but                from seeing        it,    he       didn’t give me

  5        an example          of a       job he was        unqualified for.                 More       or
  6        less    telling me how to prevent being unqualified but

  7        without       --    interview four            years      ago.        I    have    no    idea
  8        exactly what             that was.

  9               Q.      So    it’s       fair to      say on the            example       response,
 10        at    least    some of          these questions?

 11               A.      On    some       of the      form questions,               it’s    asked
 12        for    it or provided that.                  A 1t        of them say provide
 13        an example          or    situation.

 14               Q.      If you          look at the bottom,                 bottom right,
 15        well,       if you       can    just   read out       your handwriting

 16        response       for       leadership,        question three?

 17               A.      How do          you contribute         to the         county’s
 18        strategies          and policies?            And what          I   wrote down was,
 19        he    responded he was             a policy person.                  He   tries        to
 20        follow to          the best       of his     ability.

 21                                 He had a previous position where                         he
 22        enforced policies               and understood policies                    and so           on.
 23        Then    I   wrote here          not    true.      I   am not         sure he      is        --




 24        policies.




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  1              Q.         What was             that    referring to?

  2              A.         Because             at    that time          I    was    dealing with Mr.

  3       Graham a          lot       in multiple          capacities                and Mr.      Graham

  4       disagreed on many county policies                                     and procedures

  5       such as          timely attendance,                       time punching

  6       requirement,                for       sick leave,             vacation leave,            how to

  7       use    it,       the       Department of                 Public Works         for all

  8       essential personnel,                         he would be             adamantly against

  9       that.           These are not my policies.                                They’re    county

 10       policies but he                   had an       opinion against those.                      He

 11       didn’t          like,       acknowledge policy.

 12                                   So    I    thought       it was weird when he                  said

 13       that his previous position,                               it was          to enforce

 14       policies.              I    understood that but                      in his       capacity as

 15       an    electrician an                   a mechanic also,                   in his union

 16       position and adamant against                                  the    county policies            so

 17       I    found that             interesting there.

 18              Q.         So       you    considered your                   knowledge       of his

 19       interaction with county                         strategies                and policies

 20       outside of his                   response       in       the       interview?

 21              A.         No.        It was,          yes.        I    took the big picture                  of

 22       the    knowledge             I    have       and conversations                I previously

 23       had.        I   did that with all my people,                                all   the

 24       candidates             if it’s             something but             his    answer was       that




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  1       he’s    a policy person,                  procedure            and enforced                them in
  2       the past.          That was his                example         to me.           That’s why

  3       he    got   the    score          of one.           He wasn’t penalized.                      He
  4       didn’t      get    a    zero because                I    knew.       I    wrote       in    the
  5       corner.

  6              Q.     So       is    it    fair to          say that         for each

  7       candidate,         you       consider your                knowledge            of them

  8       outside of an               interview in                addition         to    the    interview

  9       responses?

 10                                         MR.     WEISS:           Objection.

 11                                         THE WITNESS:                 I wouldn’t             say
 12                         outside on             --    I believe            they overlapped

 13                         each       other during                the   interactive

 14                         process.           I    don’t          remember         every exact

 15                         word me         and Luther had that                         day.     He’s
 16                         not a       shy man          so when         --   our

 17                         conversation was more                        than       10    words.

 18                         How,       recollection exactly but                           I’m sure

 19                         we touched on county policies                                 at    that
 20                         time       on that          question         and his          other

 21                         questions.

 22       BY MR.      KROCKER:

 23             Q.      What          I’m asking          is      for the          scores,       at    least
 24       you   considered knowledge                      of      a person          that       you had to




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  1       work as       well;      is       that    right?

  2                                          MR.    WEISS:          Objection.           Could you

  3                       clarify what you’re                       trying to talk

  4                       about?             Is    it with         respect        to a

  5                       particular question?                        Could you get

  6                       specific because                     you’re     talking

  7                       generalities                  and I’m not          sure what

  8                       you’re            trying to get out of the witness.

  9       BY MR.      KROCKER:

 10              Q.     Mr.       Compton,          you       testified you have

 11       knowledge that Mr.                  Graham had objected to                     several

 12       policies      and procedures,                   correct?

 13              A.      Part of the               conversation we were having that

 14       day    I’m sure.

 15              Q.      In   the       interview,            you were discussing?

 16              A.     But he          received a            score     of    a   one    in   that

 17       category as         I    said,          based on his          answer.

 18              Q.     Thank you.

 19                       Turn      to page             134   of   171.      Well,       it   looks

 20       like    the   copy’s          a   little better.                Question one,           the
 21       position      requires            two years          experience work

 22       involving       inspection               in    cleaning and general

 23       maintenance,            office          furniture,        buildings.            Did I

 24       read that accurately?




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  1              A.      Yes.

  2              Q.      What do       you    recall,             if anything,            about Mr.

  3       Graham’s       response?

  4              A.      At    this    time       I    don’t remember exactly but

  5       from looking at             it,    he was,             something about during

  6       college,       cleaned his          area and he                helped his mother

  7       clean.        Then something with                      for Monmouth,            he    said he

  8       helped out          there but       I       don’t       remember exact details

  9       at    the    time.     Whatever he                said,       that one part            he    did

 10       say that he          knows    how to          dust,          clean and dust.                I’ve

 11       done    all    that.        What    I       wrote       there.

 12                             He was       unable          at    the    time       in   that

 13       specific question to provide me with where he met

 14       the    two    years    of    experience                cleaning,       maintaining

 15       office       furniture       or buildings                in    any way to            answer

 16       that question.

 17              Q.      It    seems    to    say,       correct me             if    I’m wrong in

 18       reading,       I    don’t    think,         but        years    ago,       cleaning

 19       company-prior plus                college.              Do    you    see    that?

 20              A.      Yes.     Prior to             college.

 21              Q.      Thank you.           And do             you    recall       if Mr.      Graham

 22       said he       had any years             of experience with any length

 23       of    time?

 24              A.      He was       answering,             I    don’t       remember what




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                                                                                                     [Page 286]


  1       exactly he             said now but             at       the    time,       at that        time,

  2       that’s       definitely what he                      expressed to me.                  He did

  3       not meet          the    requirement.                    I    don’t       remember exactly

  4       what he          said at       that    time.                 He made       reference        to

  5       years       ago,       something,          a    cleaning company prior                       to

  6       college.           That’s what             I    recall.              I    don’t    know     if he

  7       said he worked there                   one week,                two weeks,         a   summer

  8       job.        No    recollection but                   at       that       time what he        said

  9       during       that conversation,                      I       felt he       did not meet           the

 10       requirements.

 11              Q.         If you       could review the                      next question,              your

 12       response.              Let me    know when                   you’re       ready.

 13              A.         I’m ready.

 14              Q.         This    asks    for what                   knowledge and experience

 15       do    you have          completing building maintenance work or

 16       directing building maintenance                                  staff.        Did I        read

 17       that    correctly?

 18              A.         Yes.

 19              Q.         Can    you    read your handwritten notes                                for me?

 20              A.         He    told me       the previous                   director who           owned

 21       the    company,          my job       is       to ensure             the building’s up

 22       to par,          vacuum and clean,                   volunteer             staff of up to

 23       20 people.

 24              Q.         Why did you          consider that                     response      a    one?




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  1              A.      Because when          I    asked the question             it you

  2       have    knowledge          and experience,             his    answer,    I    think

  3       he   said he       had,     oversaw volunteer                staff at    one point

  4       of   20 people        there,       vacuuming and cleaning the

  5       buildings.           They didn’t maintain                the buildings.

  6       They didn’t go             into all       the       stuff they did on

  7       buildings.           He    just    said they vacuum and clean and

  8       he   said he       had a        staff of       20 people.

  9                             So    I    didn’t give him a             zero.     It

 10       contradicted his previous                      answer.        That wasn’t a

 11       question       I   was     reviewing here.              The    question       I was

 12       reviewing was             this    one.        He    identified some but he

 13       didn’t       identify three,             didn’t       identify       zero.     At the

 14       time,       my assessment was             I    gave him a one.

 15              Q.      Lastly,          required experience on question

 16       three.        Would you          read it,          the question and your

 17       response?

 18              A.      The    question was             how do    you    feel    your

 19       experience qualifies                you       for this position.              And he

 20       gave me       three       answers,       communicate.           He has       the

 21       ability to         communicate           and he       doesn’t use bad

 22       language.

 23              Q.     And you           considered that          a    one?

 24            A.        Yes,       because    one       of   the biggest things             in




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  1       facility management                   is    communication.                So

  2       communicating is             important to me,                   the way I

  3       interpret       it,    yes.           He    shared with me he doesn’t use

  4       bad language.           I    wasn’t             too    concerned about               that but

  5       he didn’t       share       anything else with me about how he

  6       feels his       experience qualifies him.                             Those are           just

  7       his bullet points                on    the       topics.

  8            Q.     Do    you       recall          if you asked him follow up

  9       questions       about       the       topics?

 10            A.     I    don’t       remember two years                      ago.       As    I

 11       previously said,             I    would not             cut    him off on his

 12       opportunity to provide                      an    answer.

 13                                        MR.       KROCKER:           Why don’t we            take a

 14                       five minute break to go                         to    the bathroom.

 15

 16                                        (A short break was                   taken.)

 17

 18       BY MR.    KROCKER:

 19            Q.     Mr.       Compton,             we    just took a          short break.               Do

 20       you understand you’re                      still under oath?

 21            A.     Yes.        I    do.

 22            Q.     We were          speaking about                   the    interview of Mr.

 23       Graham.     Now,       I’d       like       to move over             to   the    interview

 24       with Robert Briscoe,                   the       crew supervisor building




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  1       maintenance worker position.                             Are you       familiar with

  2       Robert Briscoe?

  3              A.      Yes.       He was    one        of    the    candidates.                He was

  4       one    of    three people         chosen        for the position.

  5              Q.      What   do    you    recall           about       the    interview with

  6       Mr.    Briscoe?

  7              A.      Off the      top    of my head,              I    don’t       recall.

  8              Q.      Do   you    recall       if he        did well?

  9              A.      He did well,         yes.

 10              Q.      He was      hired,       right?

 11              A.      Correct.       From what              I    recall       that      is

 12       specific       from the day,            that        interview day,               I    do not.

 13              Q.      Do   you    know generally how wellhe did?

 14              A.      He   scored the highest out of                          12    candidates.

 15

 16                                    (Exhibit Monmouth-6,                          Job   Posting

 17                       Application,            was marked for purposes                            of

 18                       identification and attached hereto.)

 19

 20       BY MR.       KROCKER:

 21              Q.      I’ve   just placed a document                          in    front      of       you
 22       that has been marked as Monmouth-6.                                   The    top      it    says
 23       case    number document            78    and then page                 9    of   171.           Do
 24       you    see    that?




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  1                 A.     Yeah.

  2                 Q.     Do you       recognize              this    document?

  3                 A.     A job       listing application                    for Mr.      Briscoe.

  4                 Q.     We discussed the                    job application.              Did you

  5       review this            in    advance           of your       interview with Mr.

  6       Briscoe?

  7                 A.     No.

  8                 Q.     Did you       review this              after your         interview

  9       with Mr.         Briscoe?

 10                 A.     No.

 11                 Q.     Do    you    know        if    anyone       in    your office

 12       reviewed it            on    your behalf?

 13                 A.     They definitely did not on my behalf.                                      I

 14       mean       it   says    Cecelia           Thomas       accepted it         and put          it

 15       in    a    folder or         she might have                 assisted with

 16       scheduling the               interview           similar to Mr.            Graham.

 17                 Q.     Just to be perfectly clear,                          this      document

 18       itself did not affect                      your decision             of   the    scores          in

 19       the       interview,         right?

 20                 A.    Unless       he       took something out of                  the       --   said

 21       while he was            answering questions                       that would be,

 22       might be        a duplication.                  This        does    not have       a

 23       weight,         similar to either a                    resume       score.       There          is

 24       no mechanism that                 .   .




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  1              Q.      Understood.

  2

  3                                       (Exhibit Monmouth—7,                Scoring

  4                          Worksheet,      was marked             for purposes          of

  5                          identification         and attached hereto.)

  6

  7       BY MR.       KROCKER:

  8              Q.      I    placed a document               in    front   of     you marked

  9       Monmouth-7          at    the   top.     It    says       document       78    then

 10       page    53    of    171    running through to page                  61    of    171.

 11       Take    your       time    to   review it.           Let me       know when

 12       you’re       ready.

 13              A.      I’m ready.

 14              Q.      Do    you    recognize         this       document?

 15              A.      Yes.

 16              Q.      What do you understand that document                              to

 17       contain?

 18              A.      That’s       a   score    sheet authored by Robert

 19       Briscoe,       his       answers   to his          questions.

 20              Q.      If you       flip   to    the       second page         of the

 21       exhibit.           The    second page         of    the exhibit,          if you

 22       review this          page,      let me    know when          you’re       ready.

 23              A.      When you         say the       second page?

 24              Q.      The       second page      of       the   exhibit,        the




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  1       interview report,                  page         1    of    8    at    the    top,          analytical

  2       questions.             What      do       you       recall          after    reviewing this

  3       about Mr.            Briscoe’s            responses             on the analytical

  4       questions?

  5              A.        First question                     about       a    situation,             he

  6       provided me            an    issue            that pertained to,                      the    tile          job
  7       at   the     courthouse.                  He gave          examples          of       the    tile,

  8       something with the                    --       something with the wall.                                And

  9       he mentioned something about                                   the    lack of             knowledge

 10       in   the     interview.               I       don’t       know exactly how he

 11       referenced that but                       it was          referenced I                guess.           I
 12       have    from what            I   see here,                make       an assumption                it

 13       would be         something where                     a    knowledge of                a    certain

 14       type    tile         they were            installing.                 He    learned          from

 15       this.

 16              Q.        I’m looking at                     your       or    --    refresh          your

 17       recollection.                You don’t need to make                              an       assumption.

 18              A.        I    just,      words          I    read.

 19              Q.        You don’t have                     any further             recollection

 20       after       reviewing this?

 21              A.        As    I    said,         I   just        know what popped in my

 22       head.        I   looked at            the       tiles.              And I    remember he

 23       gave    some         type    of example                  that pertained to                   the

 24       courthouse,            a    tile      job that he                   did.     I    don’t




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  1       remember all               the    ins    and outs          of the    question.           By

  2       the answer,            he    scored a             two on his       answer.        It was

  3       good but         I    don’t       remember the             exact    details       of    it.

  4              Q.        Do you have             any       further       recollection beyond

  5       your notes            from question two,                   analytical?

  6              A.        No.        He    just    explained the             job.     He    was

  7       using,      discussing the                importance of             the materials

  8       and tools.             He    explained the                tool    room is    locked.

  9       There’s      --       want to make                sure    you    know the materials

 10       you need to do the                     job.        I   don’t     remember exactly

 11       what    job he was               talking about but he was giving an

 12       example here to                  say the          tool    room is    locked.           The

 13       materials,            tools       list,       most       important.        More    or    less

 14       that    can’t         do    the    job    if       you don’t       have    the

 15       materials,            the    tools.           I    don’t    remember       anything

 16       else.

 17              Q.        Flip       to    the next page.                 It’s marked page             5
 18       of   171    at       the    top?

 19              A.        Yes.

 20              Q.        Do    you       see    that?

 21              A.        Yeah.

 22              Q.        If    you       look at          the teamwork question,                one.

 23       Just    review the               question and your               response.

 24              A.        Okay.




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  1              Q.            I    see       there      is    a       circled 3.                   Do    you    see

  2       that?

  3              A.            Yes.

  4              Q.            And that was because his                                   response was

  5       excellent?

  6              A.            Yes.

  7              Q.            That          is    in your handwritten notes,                                   right?

  8              A.            Actually wrote                  the       handwritten notes,                          yes,

  9       and then moved it down below.

 10              Q.            Do       you recall            what was            so          excellent          about

 11       the    response?

 12              A.            I    don’t          recall      off the top of my head except

 13       he was,          his words,                  more    important,                     so much fun,             so

 14       much    --       I       can’t          read the         next word.                      So much       time       is

 15       wasted,          people             trying to prove who                             is    correct.           He

 16       gave an          example of                  some    sort         and       I       was       happy with

 17       the    answer.                 I    can’t      recall         exactly what                      it was.

 18       Similar to                I    couldn’t            recall Mr.               Graham’s                answers.

 19              Q.            Turn          to the      next page,               page             56    of    171   at the

 20       top.        If       you       can      look at          the bottom,                     similar,

 21       question             three.             Do    you    see where                  I    am,       three?

 22              A.            Okay.

 23              Q.            And this            score here               is    a       one on          leadership

 24       question             three          or am      I    out      of    order here?




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  1              A.      Yeah.           It’s       a    one       on the next page                     I

  2       believe,       yes.

  3              Q.      Okay.           You don’t have                     any recollection                         of
  4       why Mr.       Briscoe got a                   one       there?

  5              A.      All       I    can    do       is    read the               notes.        As       I
  6       previously said,                12 people,                  20    questions each,                      four
  7       years       ago.        For me       to       refresh exact details                           to       say
  8       why    I    scored that.              I might have                     a    different             answer.
  9       Without me          assuming or making an                              assumption,                without
 10       --    you    said before,             it’s          kind of difficult                     for me                to
 11       answer.

 12              Q.      Okay.

 13              A.      That goes             for all of                  these questions                      unless
 14       it’s       something specifically spelled out where                                                   to
 15       identify for you,                   yes,       but      I    only can            identify

 16       what’s       on paper,          my recollection.

 17              Q.      Turn          to the       next page,               7       of   171?      Look at

 18       the customer             service          orientation question                           one.              It

 19       seems       like    a    few more             notes         here.           Can you       read out

 20       the written portion                   or       show what was written                              there?

 21              A.      How to          handle          negative            feedback from angry

 22       clients.           How do you normally respond?                                     He    responded

 23       bullets,       I    see      every situation                     is        different.

 24       Communicate,             looks       like          correct perspective                        and




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  1       contact      all     involved,         fully educate                   each person,

  2       ones    that       complain but          I    can’t         see.        It       says    was,

  3       correct,       I    can’t       really       ——   he       says    over here

  4       something,          communicate with                your        supervisor and,

  5       correct.           But other than             that,         I   can’t        --    I    don’t

  6       recall      exactly what example,                      how he          explained          it

  7       that day but          a good answer.                   I    know he did that.

  8              Q.      Because          you put       a   3?

  9              A.      Yes.     As previously said,                        these          are    just my

 10       current      notes.         I    never       thought,           though,           30    years

 11       from now,          I’d be       sitting here               trying to             figure       out

 12       what    I   scribbled.            I   apologize             for that.

 13              Q.      Not a problem.

 14                          If you       can   turn to page                60   of        171,    these

 15       are    required experience questions.                                  If you can

 16       review your          response,         your notes,                excuse me,             to

 17       question       one    and let me             know      if that          refreshes             your

 18       recollection as             to Mr.       Briscoe and his                     response?

 19              A.      Yes.

 20              Q.      What do you            recall?

 21              A.      There’s          a period of            time he was                a worker at

 22       the    courthouse before being promoted.                                     I    believe       he

 23       went    from a building maintenance worker and then to

 24       a   carpenter and then                also APP,            Asbury Park Press.




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  1       He   did everything             from carpeting and cleaning

  2       furniture,         maintenance at his previous position,

  3       previous      job before he            came    to    the    county.

  4              Q.     Thank you.

  5              A.     He went       into detail         explaining,          actually

  6       across      the    street,       across where         the       interviei was

  7       being conducted,            my shop,      he was       explaining his             role

  8       at   that work.

  9              Q.     In maintenance among other                        things,    right?

 10              A.     He    started the whole maintenance,                        that

 11       operation where he worked on everything at a

 12       warehouse.

 13              Q.     Do    you    recall how many years                  experience he

 14       had?

 15              A.     He   describe more          than two.

 16              Q.     Thats        as    to   the notes       under       required

 17       experience,        question two,          experience question.                    Does

 18       that    refresh your            recollection as            to   any further

 19       information about Mr.                 Briscoe’s experience?

 20              A.     Experienced in building maintenance works                              or

 21       directing maintenance                 staff.        He gave me       examples

 22       again as      to   the work at          the    courthouse.

 23                           He mentioned that he                   took    lead as       needed

 24       and something about determines,                       etcetera but          I    don’t




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  1       recall what                is written,          what       else he       said at          this

  2       time but whatever he provided was                                  a good answer

  3       because          I    put a       3.

  4                 Q.         That’s,       we’ll       finish it out,                requires

  5       experience,                question three.                 Do    your notes          refresh

  6       your       recollection as                to    anything not written                      here?

  7                 A.         No.     But what          is    written here             says    he

  8       expressed having building                               services       experience,

  9       supervisory experience prior to                                  the    county and he

 10       was       trained in multiple                   disciplines             of    trades.          So    I

 11       guess,          he,    like,       his    answer at             that    time,    I    gave him

 12       a    3.

 13                 Q.         Does    that       document          refresh       you to       anything

 14       else about Mr.                   Briscoe’s          interview,          your memory?                Do

 15       you       recall?

 16                 A.         Not    specifically.

 17                 Q.         Any generally?

 18                 A.         Not    --   he     was    informative             there.        He    was      one

 19       of    12       people       interviewing                for the position.                 He

 20       scored very well,                      did very well.

 21

 22                                              (Exhibit Monmouth-8 Memorandum

 23                             4/15/16,         was marked for purposes                       of

 24                             identification and attached hereto.)




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  1

  2       BY MR.      KROCKER

  3              Q.     I’ve placed a document                            in    front of you that

  4       has been marked Monmouth-8.                               Take       a mome’nt        to        review

  5       that    and let me               know when             you’re    ready.

  6              A.     Yes

  7              Q.     See       at       the bottom it’s marked Compton                                  005.

  8       Do    you   recognize                this       document?

  9              A.     Yes,       but             that’s    not my thing.                 Just       .




 10              Q.     Right

 11              A.     That was                   not here.        This       was    --




 12              Q.     I    was       just          trying to designate                   a document.

 13              A.     Yes.           I       know what          the document             is

 14              Q.     What do you understand is                               contained?

 15              A.     This       is          a    form letter we use when                     someone           is

 16       selected.          So    it’s             used department-wide,                   highway

 17       department,         building and grounds.                             I    didn’t actually

 18       author      it.     I    took ownership of                      it    so where          I       would

 19       get    notify people                     that    applied once             another person

 20       had been      selected

 21                               We also             say    if    you    have       any further

 22       questions         regarding,                please       contact me,             the number

 23       at    the bottom

 24              Q.     Okay.              I       just wanted to          confirm?




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  1              A.         But the             subject matter                is    first notify Mr.

  2       Graham April             15th,             2016,       that he did not             receive            a

  3       promotion.

  4              Q.         Are    these             -—    were       these       all    sent out          at   the

  5       same    time       as    the offer was made                         to the       successful

  6       candidates?

  7              A.         When    I       was made             aware       that an administrator

  8       signed off on a                   change          of       status,       they’re       the       three

  9       people       that are             set up.              So    there’s          no offer          letter.

 10       That    is    when       you get promoted to                            change    of       status.

 11                                As       I    previously mentioned,                      the       change of

 12       status       for    an employee                   after       it    leaves me          and       I

 13       clarified in             the          first deposition given,                      it       leaves

 14       me   and goes           to HR.              They do          their due diligence,

 15       service       requirement,                      anything like             that.        They check

 16       that part.              Then          it    goes       to    finance.           Then       it    goes

 17       to   the     county administrator.                                We don’t do anything

 18       that,       the    county administrator                            signs       off on       it.       We

 19       make    sure       that       I       have       authorization and then                         the

 20       county administrator                            signs       off    on    that    change          of

 21       status       in    front          of       you,    the       date       that the       county

 22       administrator signed off on                                  it.        And then       I    can move

 23       forward with             this          letter to bring closure                         to       the

 24       crew so       they’re not wondering was                                  somebody promoted




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                                                                                               [Page 301]


  1       rather than      them at          the       time.        They get         the    letter

  2       before    they find out               on the          street that         someone        else

  3       got promoted.          I    do    it       as       fast as      I    can whenever

  4       possible.

  5            Q.     Understood.

  6

  7                                     (Exhibit Monmouth-9,                       Employee

  8                      Change of          Status,            was marked          for

  9                      purposes          of       identification and attached

 10                      hereto.)

 II

 12       BY MR.    KROCKER:

 13            Q.     I’ve placed an exhibit                          in       front of you

 14       marked as Monmouth-9.                      It has       several pages            at    the

 15       top labeled document                  78,       then page            166 of    171

 16       through    171   of    171.           There are          several         different

 17       documents      contained so               just       review it and let me

 18       know when you’re            ready.              Okay?

 19            A.     Yep.       Yes.           I   am familiar with all                   these

 20       documents.

 21            Q.     On the         first page,               what     do      you understand

 22       that document         to be?

 23            A.     It’s      an employee                change       of      status    required

 24       when anyone      gets      any change pertaining to                            title,




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                                                                                                   [Page 314]


  1       didn’t discuss            the    crew       supervisor position with

  2       Dave Krzyzanowski.                   Does       that       refresh your          -—




  3              A.     Not    in    2016,          no.        I    apologize,       yes.

  4              Q.     You didn’t             discuss             it with    any other             person?

  5              A.     No.

  6              Q.     As    to this          decision?

  7              A.     No    reason       to.

  8              Q.     And looking at                supplemental             interrogatory

  9       number      five,    we’ve       gone       through          some    details             of Mr.

 10       Graham’s      and Mr.          Briscoe’s             score worksheets.                    Does

 11       that    refresh your            recollection at all                      of the          reason

 12       why Mr.      Graham was          not       selected          for the       crew

 13       supervisor position apart                           from what       is    listed here?

 14                                       MR.       WEISS:           Objection.

 15                                       THE WITNESS:                 What was          listed

 16                      here       is    the       Plaintiff          scored a          lot       lower

 17                      than       the    top       three          candidates.           Thus,          on

 18                      the    review of             the          document    stuff,          I    am

 19                      aware he was                the third from the bottom.

 20                      And out of             12    people,          I    think he was

 21                      number          10,    I    think.           It wasn’t          like       he

 22                      was number             four.              He was    not    in    the       top

 23                      three       selected.

 24       BY MR.      EROCKER:




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                                                                                                 [Page 315]


  1             Q.            Looking at            supplemental             interrogatory number

  2       seven and the                  response which goes                  to   the next       page?

  3             A.            Yes.

  4             Q.            It   says       that Michael Markert,                  Mike McCulloch

  5       were hired to the                    crew supervisor position on                        or

  6       about      December             1st,      2017;       is    that    correct?

  7             A.            Yes.       As    part of          five people promoted at

  8       that time.

  9             Q.            Were       there      just    five openings            at    that point?

 10             A.            There wasn’t            a    situation of            five    openings.

 11       Simply 2016,               I    interviewed a               list of candidates               and

 12       I   assessed the needs                     of    the       department.          That    at    the

 13       time,      I       found five places               that       I    needed supervisors.

 14       I   chose          the   five       top    scores          of those      five

 15       individuals.

 16             Q.            Looking below,               the       table,    response,         response

 17       part C,            specifically Markert,                     Michael,      same page?

 18             A.            Yes.

 19             Q.            And that         says       that Mr.          Markert was      a    heating

 20       and air            conditioning mechanic and assistant

 21       supervisor,              heat       and air       conditioner mechanic                  and

 22       became         a    crew supervisor               of building maintenance

 23       workers?

 24             A.            Yes.




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  1              Q.      Is       that       correct?

  2              A.      Yes.

  3              Q.      Do       you    recall what            experience       he had,     if

  4       any,    with maintenance?

  5              A.      I mean,             he was    assigned to an actual

  6       facility,       the          courthouse.          To clarify,          when   you’re        a
  7       trade,       you’re working on                a   facility,       you have       do

  8       everything.

  9                                I    did not conduct the               2017    interviews.

 10       I   don’t have           that       knowledge         off the    top of my head.

 11              Q.      So       you don’t have            knowledge of Mr.

 12       Mccullough’s working conditions.                              Well,     strike     that.

 13       You    answered my question                   immediately.

 14              A.     Well,           to   clarify,       from the       interview,        as   I

 15       specified,          I    don’t have          --   I   mean,     he’s    a very

 16       knowledgeable guy.                    He works         at the    courthouse and

 17       does    an   excellent             job.

 18              Q.     You base             that on your personal                knowledge       of
 19       the work?

 20              A.     Personal             knowledge,         yeah,     skill-set.         Not by

 21       the    interview.              I   wasn’t part of          the    December       2017.

 22              Q.     What personal                 knowledge      do    you have     of

 23       Michael Mccullough’s                  maintenance          experience?

 24              A.     Very similar of Mike Markert.                            Just that




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  1       he’s    at    the    sheriff’s        complex,        police academy,

  2       sheriff’s building,                communication center.

  3              Q.      He    did the maintenance               for those buildings?

  4              A.      Yeah,          soup to nuts.       He did all             the

  5       maintenance          similar to Mike Markert.                   He was

  6       actually,       before he went            over there,          he    was       actually
  7       at   the     courthouse doing maintenance                     tasks       at    the
  8       facility,       actually works            there.

  9                                Just    for clarification,            when       you    are
 10       trades       crew,       you’re on a      trade.        The    trade,          HVAC

 11       crew,       that’s       all    you do,   all    the    HVAC    in       the

 12       building.           You’re doing all            the    access       of    the

 13       building.           As    I    specified earlier,         unrelated duties.

 14       It doesn’t matter.                 You’re taking garbage out,

 15       mowing the          lawn,       shoveling snow.          You’re          involved       in
 16       everything.

 17              Q.      Look at          the next page,         specifically,

 18       supplemental             interrogatory number eight.                      If    you    can
 19       review that          and your       response      and let me             know when

 20       you’re done          and you’re       ready.

 21            A.        I’m ready.

 22            Q.        Do    you have       any   further       information             to    your

 23       response       to    this       interrogatory to         amend your

 24       supplemental?




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